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                              UNITED STATES DISTRICT COURT

                           DISTRICT OF OREGON – EUGENE DIVISION


KELSEY CASCADIA ROSE JULIANA;                                 Case No.: 6:15-cv-01517-AA
XIUHTEZCATL TONATIUH M., through
his Guardian Tamara Roske-Martinez;             [Proposed] SECOND AMENDED
ALEXANDER LOZNAK; JACOB LEBEL;
ZEALAND B., through his Guardian Kimberly       COMPLAINT FOR DECLARATORY
Pash-Bell; AVERY M., through her Guardian       AND INJUNCTIVE RELIEF
Holly McRae; SAHARA V., through her
Guardian Toña Aguilar; KIRAN ISAAC              Constitutional Rights; Declaratory
OOMMEN; TIA MARIE HATTON; ISAAC                 Judgment Action (28 U.S.C. §§ 1331, 2201,
V., through his Guardian Pamela Vergun;         2202)
MIKO V., through her Guardian Pamela
Vergun; HAZEL V., through her Guardian
Margo Van Ummersen; SOPHIE K., through
her Guardian Dr. James Hansen; JAIME B.,
through her Guardian Jamescita Peshlakai;
JOURNEY Z., through his Guardian Erika
Schneider; VIC B., through his Guardian Daisy
Calderon; NATHANIEL B., through his
Guardian Sharon Baring; AJI P., through his
Guardian Helaina Piper; LEVI D., through his
Guardian Leigh-Ann Draheim; JAYDEN F.,
through her Guardian Cherri Foytlin;
NICHOLAS V., through his Guardian Marie
Venner; EARTH GUARDIANS, a nonprofit
organization; and FUTURE GENERATIONS,
through their Guardian Dr. James Hansen;
                Plaintiffs,

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       vs.
The UNITED STATES OF AMERICA; The
OFFICE OF THE PRESIDENT OF THE
UNITED STATES; MATT LEE-ASHLEY,
in his official capacity as Acting Director of
Council on Environmental Quality; ROB
FAIRWEATHER, in his official capacity as
Acting Director of the Office of Management
and Budget; KEI KOIZUMI, in his official
capacity as Acting Director of the Office of
Science and Technology Policy; The UNITED
STATES DEPARTMENT OF ENERGY;
JENNIFER GRANHOLM, in her official
capacity as Secretary of Energy; The UNITED
STATES DEPARTMENT OF THE
INTERIOR; SCOTT DE LA VEGA, in his
official capacity as Acting Secretary of Interior;
The UNITED STATES DEPARTMENT OF
TRANSPORTATION; PETE BUTTIGIEG,
in his official capacity as Secretary of
Transportation; The UNITED STATES
DEPARTMENT OF AGRICULTURE;
THOMAS J. VILSACK, in his official
capacity as Secretary of Agriculture; The
UNITED STATES DEPARTMENT OF
COMMERCE; GINA RAIMONDO, in her
official capacity as Secretary of Commerce;
The UNITED STATES DEPARTMENT OF
DEFENSE; LLOYD AUSTIN, in his official
capacity as Secretary of Defense; The UNITED
STATES DEPARTMENT OF STATE;
ANTONY BLINKEN, in his official capacity
as Secretary of State; The UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY; JANE NISHIDA, in her official
capacity as Acting Administrator of the EPA;
               Defendants.




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                                       INTRODUCTION

        1.     For over fifty years, the United States of America1 has known that carbon dioxide

(“CO2”) pollution from burning fossil fuels was causing global warming and dangerous climate

change, and that continuing to burn fossil fuels would destabilize the climate system on which

present and future generations of our nation depend for their wellbeing and survival. Defendants

also knew the harmful impacts of their actions would significantly endanger Plaintiffs, with the

damage persisting for millennia. Despite this knowledge, Defendants continued their policies

and practices of allowing the exploitation of fossil fuels. Specifically, Department of Energy has

approved the export of liquefied natural gas (“LNG”) from the Jordan Cove LNG terminal in

Coos Bay, Oregon. This export terminal will be the largest projected source of CO2 emissions in

Oregon, and will significantly increase the harm that Defendants’ actions are causing to

Plaintiffs. Defendants have long-standing knowledge of the cumulative danger that their national

energy system, and the aggregate actions taken thereunder, are causing Plaintiffs. The Jordan

Cove project enhances the cumulative danger caused by Defendants’ affirmative aggregate

actions.

        2.     In a 1965 White House Report on “Restoring the Quality of Our Environment,”

for example, the President’s Science Advisory Committee stated: “The land, water, air and living

things of the United States are a heritage of the whole nation. They need to be protected for the

benefit of all Americans, both now and in the future. The continued strength and welfare of our

nation depend on the quantity and quality of our resources and on the quality of the environment

in which our people live.”



1
   Throughout this Complaint, the terms “United States” or “Federal Government” refer to
Defendant United States of America. Alternatively, “U.S.” refers to the country, not the
Defendant.

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       3.      The United States Environmental Protection Agency (“EPA”) in 1990 and the

Congressional Office of Technology Assessment in 1991 prepared plans to significantly reduce

our nation’s CO2 emissions, stop global warming, and stabilize the climate system for the benefit

of present and future generations. Both the EPA’s 1990 Plan, “Policy Options for Stabilizing

Global Climate,” and the OTA’s 1991 Plan, “Changing By Degrees: Steps to Reduce

Greenhouse Gases,” were prepared at the request of, and submitted to, Congress. Despite the

imminent dangers identified in both the EPA’s 1990 Plan and the OTA’s 1991 Plan, Defendants

never implemented either plan.

       4.      Since 1990, Defendants have known that CO2 levels in the atmosphere must be

stabilized at or below 350 parts per million (“ppm”) in order to protect our nation’s climate

system and that a swift transition away from fossil fuels was necessary. Twenty-five years later,

today’s best science confirms that 350 ppm is the maximum safe level of atmospheric CO2

required to restore a stable climate system.

       5.      Defendants have for decades ignored experts they commissioned to evaluate the

danger to our Nation, as well as their own plans for stopping the dangerous destabilization of the

climate system. Specifically, Defendants have known of the unusually dangerous risks of harm

to human life, liberty, and property that would be caused by continued fossil fuel burning.

Instead, Defendants have willfully ignored this impending harm. By their exercise of sovereign

authority over our country’s atmosphere and fossil fuel resources, they permitted, encouraged,

and otherwise enabled continued exploitation, production, and combustion of fossil fuels, and so,

by and through their aggregate actions and omissions, Defendants deliberately allowed

atmospheric CO2 concentrations to escalate to levels unprecedented in human history, resulting

in a dangerous destabilizing climate system for our country and these Plaintiffs.



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       6.      The 1965 Report and the 1990 and 1991 Plans are only examples of the extensive

knowledge Defendants have had about the dangers they caused to present and future generations,

including Plaintiffs. Since 1965, numerous other studies and reports also have informed

Defendants of the significant harms that would be caused if Defendants did not reduce reliance

on carbon-intense energy from fossil fuels and rapidly transition to carbon-free energy. These

studies and reports concluded that continued fossil fuel dependency would drive the atmospheric

concentration of CO2 to dangerous levels that would destabilize the climate system.

       7.      Yet, rather than implement a rational course of effective action to phase out

carbon pollution, Defendants have continued to permit, authorize, and subsidize fossil fuel

extraction, development, consumption and exportation – activities producing enormous

quantities of CO2 emissions that have substantially caused or substantially contributed to the

increase in the atmospheric concentration of CO2. Through its policies and practices, the Federal

Government bears a higher degree of responsibility than any other individual, entity, or country

for exposing Plaintiffs to the present dangerous atmospheric CO2 concentration. In fact, the

United States is responsible for more than a quarter of global historic cumulative CO2 emissions.

       8.      The present level of CO2 and its warming, both realized and latent, are already in

the zone of danger. Defendants have acted with deliberate indifference to the peril they

knowingly created. As a result, Defendants have infringed on Plaintiffs’ fundamental

constitutional rights to life, liberty, and property. Defendants’ acts also discriminate against these

young citizens, who will disproportionately experience the destabilized climate system in our

country.

       9.      By and through natural gas imports and exports, the Federal Government and the

Department of Energy are further enhancing the dangerous climate situation, without due process



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and in violation of Plaintiffs’ right to equal protection. As noted above, the Jordan Cove LNG

Terminal in Coos Bay, Oregon, is the sole LNG export terminal in the Northwest and Oregon’s

largest projected source of CO2 emissions. The Department of Energy’s approval of LNG

exports from the Jordan Cove LNG Terminal heightens the danger to Plaintiffs that Defendants’

actions in the aggregate have created. The result is an unconstitutional violation of Plaintiffs’

fundamental rights.

       10.     Plaintiffs are especially vulnerable to the dangerous situation that Defendants

have substantially caused. This Court is Plaintiffs’ last resort to ensure their reasonable safety,

and that of our Posterity, from the harm perpetrated by Defendants. There is an extremely

limited amount of time to preserve a habitable climate system for our country; otherwise, the

warming of our nation will become locked in or rendered increasingly severe. Recent scientific

studies conclude that our country is now in a period of “carbon overshoot,” with early

consequences that are already threatening and that will, in the short term, rise to unbearable

unless Defendants take immediate action to rapidly abate fossil fuel emissions and restore energy

balance at a lower atmospheric CO2 concentration.

       11.     The current policies, plans, and practices of the Federal Government will not

achieve even a proportionate share of the fossil fuel emission reductions that must occur within

this century. To the contrary, Defendants’ policies, plans, and practices permit, authorize, and

subsidize fossil fuel exploitation and consumption, and thus press our climate system further

toward irretrievable impacts. A key recent instance is the government’s approval of LNG

exports from the Jordan Cove LNG Terminal. If Defendants continue to promote such

development and further delay rapid, systematic annual emissions reductions, they will ensure a

far less hospitable climate system, with far-reaching damage to our nation and Plaintiffs alike.



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       12.     This Court should issue a declaratory judgment to resolve this actual

constitutional case and controversy between these young Plaintiffs and the government

Defendants as to whether Defendants’ national energy system has violated and continues to

violate Plaintiffs’ Fifth Amendment rights as described herein. Until the Court resolves this

constitutional controversy, these young Plaintiffs will continue to be harmed and put at extreme

risk by Defendants’ energy system and Defendants will continue policies and practice, made up

of many aggregate actions, to perpetuate an unconstitutional energy system, avoiding the

constitutional check of Article III courts and undermining the separation of powers that the

Framers intended. Without declaratory relief in the first instance, Defendants will be free to, and

will, continue their policies and practices that make the nation’s energy system in a manner that

“may hasten an environmental apocalypse” and carry out “the Nation’s willful destruction.”

Declaratory judgment will eliminate the current and substantial legal controversy and inform the

parties of the unlawfulness or lawfulness of the government’s conduct, especially as to whether

Defendants’ conduct causes a deprivation of rights secured by the Constitution. It has long been

held that there is an expectation in our democracy that government officials will comply with a

declaratory judgment. Utah v. Evans, 536 U.S. 452, 463-64 (2002). If the constitutional

controversy is resolved in their favor by declaratory judgment, Plaintiffs intend to seek further

relief as deemed appropriate and consistent with the separation of powers between the three

branches of government. Plaintiffs come before this Court to defend and secure their

fundamental rights under the Constitution, before it is too late.

                                 JURISDICTION AND VENUE

       13.     This action is brought pursuant to the United States Constitution. It is authorized

by Article III, Section 2, which extends the federal judicial power to all cases arising in equity



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under the Constitution. An actual case and controversy exists between Plaintiffs and Defendants

because Defendants have established and carried out a national energy system, through policies,

practices and aggregate actions, that Plaintiffs claim cause a deprivation of their rights of equal

protection, substantive due process, and public trust. An actual case and controversy exists

because, while Plaintiffs claim Defendants’ national energy system causes Plaintiffs’ individual

and particularized injuries that rise to a constitutional violation, Defendants deny that their

national energy system is unconstitutional and that they are thereby causing a deprivation of

Plaintiffs’ rights secured by the Constitution. This controversy not only threatens Plaintiffs’ lives

and liberties, but threatens the very existence of our Republic until it is resolved by our Article

III courts. The resolution of that controversy involves questions of scientific, historic, and other

factual evidence. Plaintiffs have no adequate remedy at law to redress the harms herein, which

are of a continuing nature and which, if left unresolved, will be irreversible.

       14.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question) as this

action arises under the laws of the United States. This Court can grant declaratory relief in the

first instance and later consider further necessary or proper relief, if warranted, pursuant to the

Declaratory Judgment Act. 28 U.S.C. §§ 2201, et seq. Specifically, “[i]n a case of actual

controversy within its jurisdiction, [ ] any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of any interested party

seeking such declaration, whether or not further relief is or could be sought. Any such

declaration shall have the force and effect of a final judgment or decree and shall be reviewable

as such.” 28 U.S.C. § 2201. “Further necessary or proper relief based on a declaratory judgment

or decree may be granted, after reasonable notice and hearing, against any adverse party whose

rights have been determined by such judgment.” 28 U.S.C. § 2202. Only the Court has the



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authority to declare a government system unconstitutional. No other branch of government can

do that. Declaring the United States national energy system to be unconstitutional would resolve

the controversy between the parties, thereby redressing a substantial cause of Youth Plaintiffs’

constitutional injuries and minimizing and eliminating a source of their significant risk of

sustaining worsening injuries.

        15.     Venue lies in this judicial district by virtue of 28 U.S.C. § 1391(e). The majority

of Youth Plaintiffs (as hereinafter defined) reside in this judicial district, some Defendants have

offices in this judicial district, and the events, omissions, and harms giving rise to the claims

herein arise in substantial part in this judicial district. Pursuant to Local Rule 3-2, divisional

venue lies in the Eugene Division because the largest number of Youth Plaintiffs reside in this

division of the judicial district, and events, omissions, and harms giving rise to the claims herein

arise in substantial part in this division of the judicial district.

                                             PLAINTIFFS

        16.     Plaintiff Kelsey Cascadia Rose Juliana is a citizen of the U.S. and a resident of

Eugene, Oregon. Kelsey is 19 years old and was born and raised in Oregon, the state where she

hopes to work, grow food, recreate, have a family, and raise children. During the fall of 2014,

Kelsey walked 1,600 miles from Nebraska to Washington D.C. in the Great March for Climate

Action to raise awareness about the climate crisis. Kelsey is harmed by Defendants’ actions and

inactions regarding carbon pollution and the resulting climate destabilization and ocean

acidification. Specifically, Defendants’ actions have caused damage to and continue to threaten

the resources on which she relies for her survival and wellbeing. Kelsey depends on the

freshwaters of Oregon for drinking, hygiene, and recreation. She drinks the freshwater that

flows from the McKenzie River and drinks from springs in the Oregon Cascades on hiking,



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canoeing, and backpacking trips. Kelsey also depends upon the marine and estuarine waters of

Oregon as a food source and a place of recreation and vacationing. Kelsey spends time along the

Oregon coast in places like Yachats and Florence and enjoys playing on the beach, tidepooling,

and observing unique marine animals. An important part of Kelsey’s diet includes food that

comes from the marine waters and freshwater rivers, including salmon, cod, tuna, clams,

mussels, and crab. Kelsey also depends upon food grown in Oregon both by small farmers in the

Willamette Valley and by her family in their garden.

         17.   The current and projected drought and lack of snow caused by Defendants are

already harming all of the places Kelsey enjoys visiting, as well as her drinking water, and her

food sources—including wild salmon. During the summer of 2015, record-setting heat and low

water levels killed salmon in Oregon’s rivers. In the coming decades, Kelsey will suffer even

greater harm from the impacts of ocean acidification and rising sea levels on the marine life she

eats for sustenance, and on the beaches, tidepools, and other places she visits along the Oregon

coast.

         18.   In addition to coastal recreation, Kelsey enjoys snowshoeing, cross-country

skiing, and snow camping. Warmer winters and declining snowpack make it harder for her to

enjoy these winter activities. Kelsey also enjoys rafting, swimming in rivers, snorkeling on

rivers, canoeing on lakes, hiking, rock-climbing, and backpacking in the warmer seasons.

Increasing summer temperatures, and the resulting algal blooms in the lakes Kelsey visits harm

her ability to enjoy these activities and prevent her from drinking the water. Intense wildfires,

which also threaten Kelsey’s ability to enjoy summer activities. Kelsey has had to abandon

camping trips because of nearby wildfires.




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       19.      Defendants have caused psychological and emotional harm to Kelsey as a result

of her fear of a changing climate, her knowledge of the impacts that will occur in her lifetime,

and her knowledge that Defendants are continuing to cause harms that threaten her life and

wellbeing. As a result of the acts and omissions of Defendants, Kelsey believes that she will not

be able to continue to do all of the things described in this Complaint for her life, health, and

enjoyment, nor will she one day be able to share those experiences with her children.

       19-A. Kelsey’s individual injuries to her water and food sources, her personal security

and safety, her mental wellbeing, her freedom to live, travel, recreate, safely raise children and

pursue happiness in her home state of Oregon, are already occurring. Defendants’ national

energy system is a substantial cause of those actual injuries.

             a. Defendants’ national energy system worsens Kelsey’s individual injuries each

                year. Kelsey is additionally injured by each passing year of losing the ability to

                prevent the worsening of her injuries. Kelsey is also injured by each passing year

                of losing the ability to prevent the irreversibility and inevitability of a lifetime of

                worsening hardship to her water and food sources, her personal security and

                safety, her mental wellbeing, her freedom to live, travel, recreate, safely raise

                children, and pursue happiness in her home state of Oregon. The further loss of

                the ability to protect her life, while suffering these harms, is a separate concrete

                psychological, emotional, and mental health injury to Kelsey. Another separate

                injury is the deprivation of Kelsey’s ability to act in her own interest to preserve

                the window of opportunity to prevent irreversible and inevitable injury going

                forward and therefore protect her life, all the while suffering these ongoing harms

                each year from Defendants’ national energy system, which Defendants know is



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         causing these injuries. The opportunity to prevent irreversible and inevitable

         injuries is still available now and is being progressively foreclosed by the ongoing

         national energy system. When the irreversibility of these harms becomes certain,

         redress will be forever foreclosed by this Court or the political majority through

         the ballot box. Thus, Kelsey’s injuries stem precisely from Defendants’ belief,

         and resultant policies and practices, that the national energy system is

         constitutionally compliant.

      b. Every attempt Kelsey makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Kelsey and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Kelsey can prevent her irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Kelsey will permanently lose her

         ability to obtain relief that will protect herself and her rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the



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               likelihood that Kelsey would obtain relief to safeguard her life, liberty, property,

               and equal protection of the law. If the Court declares the nation’s energy system

               unconstitutional in its present form, Defendants will correct the unconstitutional

               policies and practices of the national energy system. The worsening of Kelsey’s

               injuries at the hands of her government will end, providing substantially

               meaningful partial redress of her injuries. The Court will thereby preserve

               Kelsey’s opportunity to obtain relief to safeguard her life, liberty, property, and

               equal protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       20.     Plaintiff Xiuhtezcatl Tonatiuh M., by and through his guardian and mother

Tamara Roske-Martinez, is a 15-year-old citizen of the U.S. who lives in Boulder, Colorado. For

nine years, Xiuhtezcatl has advocated for reductions in CO2 emissions before local, state, federal,

and international governmental bodies, including three speeches before the United Nations, and

service on the Presidential Youth Council to advise the President of the United States. As the

youth director for his organization Earth Guardians, Xiuhtezcatl uses music, dance, art, videos,

speeches, testimony, and youth organizing to urge his governments to stop taking actions that

promote fossil fuel exploitation and result in dangerous climate change.

       21.     Of Aztec descent, Xiuhtezcatl engages in sacred indigenous spiritual and cultural

practices to honor and protect the Earth. Xiuhtezcatl has suffered harm to his spiritual and

cultural practices from Defendants’ actions. Climate change also harms Xiuhtezcatl’s personal

safety, property, and recreational interests through the resulting increased frequency and



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intensity of wildfires, drought, declining snowpack, pine-beetle infested forests, and extreme

flooding near his home in Colorado. Xiuhtezcatl’s home, including the forests that he relies

upon for his spiritual, physical, emotional, and mental wellbeing, will continue to die and burn as

climate change worsens. Water will become increasingly scarce, adversely impacting every

aspect of his life.

        22.      Xiuhtezcatl is also harmed by the adverse impacts to his air and water quality, and

his health that result from the exploitation of fossil fuels in Colorado. Under authorizations by

the Department of Energy, natural gas extracted through fracking in Colorado will be transported

by pipeline to Oregon, liquefied at the Jordan Cove LNG Terminal in Coos Bay, and then

shipped overseas for combustion. The LNG exports from Coos Bay, Oregon will harm

Xiuhtezcatl because the export of natural gas enhances demand for natural gas extraction in

Colorado and increases the atmospheric concentration of CO2.

        22-A. Xiuhtezcatl’s individual injuries to his spiritual and cultural practices, his physical

and mental health, his personal security and safety in his home and the forests and waters he

relies upon for life sustenance and happiness are already occurring. Defendants’ national energy

system is a substantial cause of those actual injuries.

              a. Defendants’ national energy system worsens Xiuhtezcatl’s individual injuries

                 each year. Xiuhtezcatl is additionally injured by each passing year of losing the

                 ability to prevent the worsening of his injuries. Xiuhtezcatl is also injured by each

                 passing year of losing the ability to prevent the irreversibility and inevitability of

                 a lifetime of worsening hardship to his spiritual and cultural practices, his

                 physical and mental health, his personal security and safety in his home and the

                 forests and waters he relies upon for life sustenance and happiness. The further



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         loss of the ability to protect his life, while suffering these harms, is a separate

         concrete psychological, emotional, and mental health injury to Xiuhtezcatl.

         Another separate injury is the deprivation of Xiuhtezcatl’s ability to act in his own

         interest to preserve the window of opportunity to prevent irreversible and

         inevitable injury going forward and therefore protect his life, all the while

         suffering these ongoing harms each year from Defendants’ national energy

         system, which they know is causing these injuries. The opportunity to prevent

         irreversible and inevitable injuries is still available now and is being progressively

         foreclosed by the ongoing national energy system. When the irreversibility of

         these harms becomes certain, redress will be forever foreclosed by this Court or

         the political majority through the ballot box. Thus, Xiuhtezcatl’s injuries stem

         precisely from Defendants’ belief, and resultant policies and practices, that the

         national energy system is constitutionally compliant.

      b. Every attempt Xiuhtezcatl makes to safeguard his life, liberties, property, and

         equal protection of the law fails because Defendants view the national energy

         system as constitutionally compliant. As long as Defendants operate under the

         belief that the national energy system is constitutionally compliant, Defendants

         will continue to power it with fossil fuels at levels that are dangerous for

         Xiuhtezcatl and which foreclose his ability to obtain relief that will protect

         himself. The composition of the United States national energy system is the most

         important factor in the world as to whether Xiuhtezcatl can prevent his

         irreversible injury. If the national energy system remains predominantly fossil




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                fuel-based, Xiuhtezcatl will permanently lose his ability to obtain relief that will

                protect himself and his rights.

             c. If this Court should issue a declaratory judgment to resolve this actual

                constitutional case and controversy between these young Plaintiffs and these

                government Defendants as to whether Defendants’ national energy system has

                violated and continues to violate Plaintiffs’ constitutional rights as described

                herein, the Court will have ordered a change in legal status that would have

                practical consequences. A declaratory judgment would significantly increase the

                likelihood that Xiuhtezcatl would obtain relief to safeguard his life, liberty,

                property, and equal protection of the law. If the Court declares the nation’s energy

                system unconstitutional in its present form, Defendants will correct the

                unconstitutional policies and practices of the national energy system. The

                worsening of Xiuhtezcatl’s injuries at the hands of his government will end,

                providing substantially meaningful partial redress of his injuries. The Court will

                thereby preserve Xiuhtezcatl’s opportunity to obtain relief to safeguard his life,

                liberty, property, and equal protection of the law from irreversible and inevitable

                injury. Protecting the opportunity for freedom and happiness and safety and

                security, by eliminating a substantial federal government restraint on freedom and

                decreasing the substantial risk of irreversibility, is tremendously meaningful

                redress.

       23.      Plaintiff Alexander Loznak is a citizen of the U.S. and lives in the

unincorporated area of Kellogg, Oregon. He is 18 years old and graduated from Roseburg High

School in June 2015. Alex is experiencing harm caused by Defendants. For example, Alex is



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gravely concerned about how his life and his family’s farm will continue to be affected by

climate change.

        24.    Alex lives on his family’s 570-acre farm, the Martha A. Maupin Century Farm

(“Maupin Century Farm”), located along the Umpqua River. His great, great, great, great

grandmother, Martha Poindexter Maupin, founded the farm in 1868 (she was one of the first

women in Oregon to own a ranch) after arriving in the area by way of the Oregon Trail. The

Maupin Century Farm is Alex’s intellectual and spiritual base and a foundational piece of his life

and heritage, and his identity and wellbeing depend on its preservation and protection. However,

the drought conditions, unusually hot temperatures, and climate-induced migration of forest

species are harming and will increasingly harm Alex’s use and enjoyment of the Maupin Century

Farm.

        25.    Alex’s ability to fish on local rivers is harmed by drought and hot temperatures.

The Pacific Connector Natural Gas Pipeline, which would connect to the Jordan Cove LNG

Terminal at Coos Bay, would be located only about 30 miles from the Maupin Century Farm, in

a forest where Alex recreates. The Pacific Connector Natural Gas Pipeline would cross bodies of

water at 400 different locations in Oregon, including two places on the South Umpqua River

where Alex recreates. Alex has walked along the pipeline route and has seen the old growth

trees that will be logged and the special rivers that will be impacted in order to deliver natural

gas to what would be the largest, most-polluting facility and power plant in Oregon, solely built

to liquefy natural gas for export and ultimate combustion.

        26.    The Maupin Century Farm is also an important source of revenue and food for

Alex and his family. On the Farm, Alex and his family grow plum trees and hazelnut trees, raise

chickens and grass-fed cows, and have a large garden growing many of the fruits and vegetables



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that his family consumes. The record-setting heat waves and drought in Oregon adversely

impact both Alex’s life and the Farm, especially their hazelnut orchard. The heat waves and

drought harm Alex’s ability to work outside on the Farm during the summer months.

       27.     The Maupin Century Farm is home to many different species of wildlife,

including deer, bears, mountain lions, and birds, which Alex enjoys seeing. Alex and his family

hunt deer, elk, and wild turkeys to provide food. Each of these species of wildlife is adversely

impacted by climate change caused by Defendants. Other food sources for Alex, including crab

and seafood, are negatively impacted by ocean acidification, warming, and sea level rise caused

by Defendants.

       28.     The health and bodily integrity of his family and their Farm, which they rely on

for food and as a source of income—as well as for their personal wellbeing—increasingly are

harmed by climate change caused by Defendants. The Maupin Century Farm has been passed

from generation to generation in Alex’s family, and in many ways Alex’s future depends on that

family farm. He would like to reside at, raise children on, and retire to the Maupin Century

Farm, but he is concerned about how it will be further damaged by climate change caused by

Defendants. Wildfires, more common and more destructive due to warmer summers and drought

conditions, are increasingly common in Southern Oregon. The area where Alex lives is

frequently smoky due to nearby wildfires during the warmer months. Additionally, Alex is

allergic to pollen and suffers worse in unseasonably warm years. He also suffers from asthma,

which is worse in the increasingly smoky summer months. Alex’s allergies and asthma will

worsen as climate change caused by Defendants worsens.

       29.     For recreation, Alex enjoys activities in the snow in Oregon and also hiking in

Northern Washington and Glacier National Park, where he has seen the glaciers receding due to



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climate change caused by Defendants. Alex plans to return to Montana, and he also plans to

travel to Alaska, and his recreational and aesthetic interests are harmed as the glaciers continue

to disappear before he can visit them.

       30.      Alex has taken individual action to try to protect the climate system by driving an

efficient hybrid car, by starting a Climate Change Club at Roseburg High School with the goal of

installing solar panels on the school’s roof, by starting the League of Umpqua Climate Youth

(“LUCY”), and by lobbying his state legislators to pass comprehensive climate legislation.

       30-A. Alex’s individual injuries to his health, his food sources, his home, his personal

security and safety, his ability to work outside for part of the year, his family farm heritage, his

freedom to live, travel, and recreate where he wants in the United States, are already occurring.

Defendants’ national energy system is a substantial cause of those actual injuries.

             a. Defendants’ national energy system worsens Alex’s individual injuries each year.

                Alex is additionally injured by each passing year of losing the ability to prevent

                the worsening of his injuries. Alex is also injured by each passing year of losing

                the ability to prevent the irreversibility and inevitability of a lifetime of worsening

                hardship to his health, food sources, personal security and safety, ability to work,

                and protect his family farm. The further loss of the ability to protect his life, while

                suffering these harms, is a separate concrete psychological, emotional, and mental

                health injury to Alex. Another separate injury is the deprivation of Alex’s ability

                to act in his own interest to preserve the window of opportunity to prevent

                irreversible and inevitable injury going forward and therefore protect his life, all

                the while suffering these ongoing harms each year from Defendants’ national

                energy system, which they know is causing these injuries. The opportunity to



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         prevent irreversible and inevitable injuries is still available now and is being

         progressively foreclosed by the ongoing national energy system. When the

         irreversibility of these harms becomes certain, redress will be forever foreclosed

         by this Court or the political majority through the ballot box. Thus, Alex’s injuries

         stem precisely from Defendants’ belief, and resultant policies and practices, that

         the national energy system is constitutionally compliant.

      b. Every attempt Alex makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Alex and which foreclose

         his ability to obtain relief that will protect himself. The composition of the United

         States national energy system is the most important factor in the world as to

         whether Alex can prevent his irreversible injury. If the national energy system

         remains predominantly fossil fuel-based, Alex will permanently lose his ability to

         obtain relief that will protect himself and his rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Alex would obtain relief to safeguard his life, liberty, property, and



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               equal protection of the law. If the Court declares the nation’s energy system

               unconstitutional in its present form, Defendants will correct the unconstitutional

               policies and practices of the national energy system. The worsening of Alex’s

               injuries at the hands of his government will end, providing substantially

               meaningful partial redress of his injuries. The Court will thereby preserve Alex’s

               opportunity to obtain relief to safeguard his life, liberty, property, and equal

               protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       31.     Plaintiff Jacob Lebel is an 18-year-old citizen of the U.S. residing in Roseburg,

Oregon. In 2000, Jacob and his family immigrated to Oregon from Quebec, Canada, attracted by

the state’s pristine landscape and temperate weather. Since then, Jacob’s family has established

Rose Hill Farms, a diverse, organically managed farm, as well as a thriving local medical

practice at White Oak Medical Clinic. Jacob grew up working on Rose Hill Farms, where he

currently spends most of his time. Jacob intends to continue his use and enjoyment of Rose Hill

Farms for these purposes and for his vocational career in the future. Jacob derives educational,

inspirational, spiritual, and other benefits from his work at the Farm. Jacob is harmed and will

continue to be harmed by Defendants’ actions described herein and the climate change impacts

to the Farm, including the deterioration of the Farm environment, rising temperatures, and a

dwindling water supply.

       32.     In the summer, Rose Hill Farms depends on home-dug ponds to irrigate a large

garden and three greenhouses, as well as several orchards of more than four hundred fruit and



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nut trees. The recent long, dry summers, droughts, and heat waves reduced, and are currently

reducing, the supply of water in the ponds, just as the water needs of the crops and trees have

increased. As climate impacts continue to grow in severity, so will this water shortage.

Furthermore, experts predict that large destructive wildfires, aggravated by record-low

snowpacks and consistently drier and hotter conditions, will become increasingly common in

Oregon. A wildfire would destroy the fourteen years of work that have gone into making the

Rose Hill Farms. In addition to the farm structures, orchards, greenhouses, and pastures at risk

from a fire, approximately 70 percent of the 350 acres of land owned by Jacob’s family is mixed

conifer forest which they manage sustainably and which represents an enormous investment.

Already, Jacob and his family are required to invest resources to install an irrigation system in

order to contend with the increasing drought conditions as a result of climate destabilization

caused by Defendants.

       33.     Throughout Jacob’s life, wilderness and healthy natural environments have been

essential parts of his spiritual and emotional wellbeing. Jacob frequently and regularly recreates

in the natural areas of Oregon, through hiking, exploring, snowboarding, and rafting. Native

ecosystems and animal species have always been the main source of inspiration for Jacob’s

writing, music, and poetry. Jacob also spends significant time fishing, gathering mussels, and

crabbing as a source of both enjoyment and food for himself and his family. Jacob intends to

continue all of these activities in the future. In 2014-2015, Jacob experienced drastic snow

retreat on Crater Lake National Park and Mount Hood, as well as the nearby South Umpqua

River drying up in some spots, adversely affecting his use and enjoyment of these areas. Low

river flows and warm water temperatures all have contributed and contribute to losses of fish in

the salmon runs in the rivers near Roseburg, on which Jacob relies for recreation and food.



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Rising sea levels caused by Defendants threaten the natural areas of the Oregon coast used and

enjoyed by Jacob. Ocean acidification caused by Defendants has already begun to adversely

impact shellfish along the coast, and is projected to take its toll on crabs, mussels, and all shelled

seafood. Jacob is adversely affected by these changes caused by Defendants’ actions as

described herein.

       34.      The Pacific Connector Natural Gas Pipeline, which would connect to the Jordan

Cove LNG Terminal at Coos Bay, would run directly behind the Rose Hill Farms. The Pacific

Connector Natural Gas Pipeline would adversely affect Jacob’s aesthetic, inspirational, and

spiritual enjoyment of the property. This pipeline also carries risks of dangerous leaks or

explosions, which could trigger a wildfire in the hot summer months. The associated hundred-

foot clear-cut area would affect the landscape integrity and biodiversity of Jacob’s immediate

surroundings, all of which adversely impact Jacob.

       34-A. Jacob’s individual injuries to his farm and livelihood, his food and water sources,

his physical, spiritual and mental health, his personal security and safety in his home and the

snow and waters he relies upon for life sustenance and happiness are already occurring.

Defendants’ national energy system is a substantial cause of those actual injuries.

             a. Defendants’ national energy system worsens Jacob’s individual injuries each year.

                Jacob is additionally injured by each passing year of losing the ability to prevent

                the worsening of his injuries. Jacob is also injured by each passing year of losing

                the ability to prevent the irreversibility and inevitability of a lifetime of worsening

                hardship to his farm and livelihood, his food and water sources, his physical,

                spiritual and mental health, his personal security and safety in his home and the

                snow and waters he relies upon for life sustenance and happiness. The further loss



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         of the ability to protect his life, while suffering these harms, is a separate concrete

         psychological, emotional, and mental health injury to Jacob. Another separate

         injury is the deprivation of Jacob’s ability to act in his own interest to preserve the

         window of opportunity to prevent irreversible and inevitable injury going forward

         and therefore protect his life, all the while suffering these ongoing harms each

         year from Defendants’ national energy system, which they know is causing these

         injuries. The opportunity to prevent irreversible and inevitable injuries is still

         available now and is being progressively foreclosed by the ongoing national

         energy system. When the irreversibility of these harms becomes certain, redress

         will be forever foreclosed by this Court or the political majority through the ballot

         box. Thus, Jacob’s injuries stem precisely from Defendants’ belief, and resultant

         policies and practices, that the national energy system is constitutionally

         compliant.

      b. Every attempt Jacob makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Jacob and which

         foreclose his ability to obtain relief that will protect himself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Jacob can prevent his irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Jacob will permanently lose his

         ability to obtain relief that will protect himself and his rights.



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             c. If this Court should issue a declaratory judgment to resolve this actual

                constitutional case and controversy between these young Plaintiffs and these

                government Defendants as to whether Defendants’ national energy system has

                violated and continues to violate Plaintiffs’ constitutional rights as described

                herein, the Court will have ordered a change in legal status that would have

                practical consequences. A declaratory judgment would significantly increase the

                likelihood that Jacob would obtain relief to safeguard his life, liberty, property,

                and equal protection of the law. If the Court declares the nation’s energy system

                unconstitutional in its present form, Defendants will correct the unconstitutional

                policies and practices of the national energy system. The worsening of Jacob’s

                injuries at the hands of his government will end, providing substantially

                meaningful partial redress of his injuries. The Court will thereby preserve Jacob’s

                opportunity to obtain relief to safeguard his life, liberty, property, and equal

                protection of the law from irreversible and inevitable injury. Protecting the

                opportunity for freedom and happiness and safety and security, by eliminating a

                substantial federal government restraint on freedom and decreasing the substantial

                risk of irreversibility, is tremendously meaningful redress.

       35.      Plaintiff Zealand B., by and through his guardian and mother Kimberly Pash-

Bell, is an 11-year-old citizen of the U.S. and a resident of Eugene, Oregon. Zealand has worked

to increase community awareness about climate change caused by Defendants and has advocated

before local and state governmental bodies for science-based government action on climate

change. Zealand and his family minimize their impact on the environment and reduce their

carbon footprint by biking, gardening, participating in community-supported agriculture, buying



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locally-made products, and picking up litter in the places where they recreate. Zealand has

experienced and will continue to experience harm from climate change caused by Defendants if

immediate action is not taken to secure a stable climate system.

       36.     Zealand loves living in Oregon and hopes to stay in Oregon in the future. He

enjoys skiing, biking, rock climbing, rafting, and camping in Oregon. Oregon’s rivers are

especially important to Zealand. While rafting along the rivers in Oregon, Zealand enjoys the

solitude of the wilderness and the experience of seeing plants and animals in their natural habitat.

Rafting trips with his family have been canceled or shortened due to the increased temperatures,

drought, and reduced water levels. Zealand and his family twice experienced large forest fires

while rafting on Oregon rivers.

       37.     The record-setting heat during the summer of 2015 adversely impacts Zealand

and his enjoyment of outdoor activities by making bike-riding, playing soccer, and playing

basketball difficult. Zealand suffers from allergies, which have increased in severity over the

past few years, and caused him to decrease the amount of time that he spends outside in the

spring and early summer. Heat waves and an increase in pollen counts will worsen with further

climate change caused by Defendants and harm Zealand’s recreational and health interests.

       38.     Warmer winters and decreased snowpack levels in Oregon have harmed, and will

continue to harm, Zealand and his family. Zealand’s mother usually works during the winter at

the Willamette Pass ski resort, but that seasonal job was not available during the winter of 2014-

2015 due to the lack of snow, resulting in lost income. The lack of snow also meant Zealand was

unable to ski. Decreased snowpack levels in the future will also harm the availability of drinking

water for Zealand, his family, and his community, as Eugene’s only water source, the McKenzie

River, is fed by melting snowpack.



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        39.       Zealand and his family spend substantial time at the Oregon Coast. He enjoys

playing in the dunes, camping, surfing, boogie boarding, and taking pictures of the ocean and

surrounding areas. The impacts from warmer water temperatures, rising sea levels, and ocean

acidification caused by Defendants will negatively impact Zealand’s future ability to enjoy the

same areas on the coast that he now loves and to eat the same seafood, which is an important part

of his diet.

        39-A. Zealand’s individual injuries to his physical and mental health, his personal

security and safety in his home and the snow, forests, and waters he relies upon for life

sustenance and happiness are already occurring. Defendants’ national energy system is a

substantial cause of those actual injuries.

               a. Defendants’ national energy system worsens Zealand’s individual injuries each

                  year. Zealand is additionally injured by each passing year of losing the ability to

                  prevent the worsening of his injuries. Zealand is also injured by each passing year

                  of losing the ability to prevent the irreversibility and inevitability of a lifetime of

                  worsening hardship to his physical and mental health, his personal security and

                  safety in his home and the snow, forests, and waters he relies upon for life

                  sustenance and happiness. The further loss of the ability to protect his life, while

                  suffering these harms, is a separate concrete psychological, emotional, and mental

                  health injury to Zealand. Another separate injury is the deprivation of Zealand’s

                  ability to act in his own interest to preserve the window of opportunity to prevent

                  irreversible and inevitable injury going forward and therefore protect his life, all

                  the while suffering these ongoing harms each year from Defendants’ national

                  energy system, which they know is causing these injuries. The opportunity to



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         prevent irreversible and inevitable injuries is still available now and is being

         progressively foreclosed by the ongoing national energy system. When the

         irreversibility of these harms becomes certain, redress will be forever foreclosed

         by this Court or the political majority through the ballot box. Thus, Zealand’s

         injuries stem precisely from Defendants’ belief, and resultant policies and

         practices, that the national energy system is constitutionally compliant.

      b. Every attempt Zealand makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Zealand and which

         foreclose his ability to obtain relief that will protect himself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Zealand can prevent his irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Zealand will permanently lose

         his ability to obtain relief that will protect himself and his rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Zealand would obtain relief to safeguard his life, liberty, property,



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               and equal protection of the law. If the Court declares the nation’s energy system

               unconstitutional in its present form, Defendants will correct the unconstitutional

               policies and practices of the national energy system. The worsening of Zealand’s

               injuries at the hands of his government will end, providing substantially

               meaningful partial redress of his injuries. The Court will thereby preserve

               Zealand’s opportunity to obtain relief to safeguard his life, liberty, property, and

               equal protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       40.     Plaintiff Avery M., by and through her guardian and mother Holly McRae, is a

10-year-old citizen of the U.S. and a resident of Eugene, Oregon. Avery has worked to increase

awareness in her community about impacts of climate change caused by Defendants and

advocated for CO2 reductions before her representatives at both the municipal and state levels.

Avery and her family limit their carbon footprint as much as possible by recycling, biking, eating

less meat and growing some of their own food, repairing, reusing, and buying second-hand

goods, decreasing energy use at home, and minimizing their vehicle and air travel.

       41.     The impacts from climate change caused by Defendants are harming and will

continue to harm Avery and her enjoyment of and interaction with nature and wildlife. Avery’s

favorite activity is swimming in natural bodies of water. Avery and her family enjoy boating,

hiking, backpacking, camping, and watching salmon spawn throughout Oregon. In 2015, Avery

was not been able to participate in these recreational activities as frequently as past years due to

warmer temperatures, drought, low water levels, forest fires, and algal blooms. The 2015



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summer heat has caused Avery to avoid outdoor activities to prevent becoming overheated.

Avery also suffers from allergies, which will worsen with increased pollen count and a changing

climate caused by Defendants. Avery enjoys taking vacations to Yellowstone with her family

and has seen burned, beetle-killed forests on these trips. The increase of hungry bears in the area

due to the decline in white bark pine trees forced her family to postpone Avery’s first big

backpacking trip in the area.

        42.      Climate change caused by Defendants has reduced snowpack levels in Oregon,

negatively impacting Avery’s enjoyment of winter activities and the future availability of

drinking water for her and her family. Every winter, Avery takes a trip with her family to Clear

Lake, where she enjoys snowshoeing and sledding. These winter activities were not possible

from 2013-2015 due to lack of snow.

        43.      Avery enjoys eating seafood and going to the Oregon coast, where she wades in

the water and explores tide pools. At the coast, Avery has noticed coastal erosion and her

recreational experience is harmed by seeing dead wildlife from the coastal changes. Warmer

water temperatures, sea level rise, and ocean acidification caused by Defendants will worsen and

negatively impact Avery’s enjoyment of the Oregon coast and the food she eats.

        43-A. Avery’s individual injuries to the waters of Oregon, her food sources, her physical

and mental health, and the places in nature she relies upon for life, sustenance, and happiness, are

already occurring. Defendants’ national energy system is a substantial cause of those actual

injuries.

              a. Defendants’ national energy system worsens Avery’s individual injuries each

                 year. Avery is additionally injured by each passing year of losing the ability to

                 prevent the worsening of her injuries. Avery is also injured by each passing year



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         of losing the ability to prevent the irreversibility and inevitability of a lifetime of

         worsening hardship to her water and food sources, her physical and mental health,

         and the places in nature she relies upon for life, sustenance, and happiness. The

         further loss of the ability to protect her life, while suffering these harms, is a

         separate concrete psychological, emotional, and mental health injury to Avery.

         Another separate injury is the deprivation of Avery’s ability to act in her own

         interest to preserve the window of opportunity to prevent irreversible and

         inevitable injury going forward and therefore protect her life, all the while

         suffering these ongoing harms each year from Defendants’ national energy

         system, which they know is causing these injuries. The opportunity to prevent

         irreversible and inevitable injuries is still available now and is being progressively

         foreclosed by the ongoing national energy system. When the irreversibility of

         these harms becomes certain, redress will be forever foreclosed by this Court or

         the political majority through the ballot box. Thus, Avery’s injuries stem precisely

         from Defendants’ belief, and resultant policies and practices, that the national

         energy system is constitutionally compliant.

      b. Every attempt Avery makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Avery and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world



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                as to whether Avery can prevent her irreversible injury. If the national energy

                system remains predominantly fossil fuel-based, Avery will permanently lose her

                ability to obtain relief that will protect herself and her rights.

             c. If this Court should issue a declaratory judgment to resolve this actual

                constitutional case and controversy between these young Plaintiffs and these

                government Defendants as to whether Defendants’ national energy system has

                violated and continues to violate Plaintiffs’ constitutional rights as described

                herein, the Court will have ordered a change in legal status that would have

                practical consequences. A declaratory judgment would significantly increase the

                likelihood that Avery would obtain relief to safeguard her life, liberty, property,

                and equal protection of the law. If the Court declares the nation’s energy system

                unconstitutional in its present form, Defendants will correct the unconstitutional

                policies and practices of the national energy system. The worsening of Avery’s

                injuries at the hands of her government will end, providing substantially

                meaningful partial redress of her injuries. The Court will thereby preserve

                Avery’s opportunity to obtain relief to safeguard her life, liberty, property, and

                equal protection of the law from irreversible and inevitable injury. Protecting the

                opportunity for freedom and happiness and safety and security, by eliminating a

                substantial federal government restraint on freedom and decreasing the substantial

                risk of irreversibility, is tremendously meaningful redress.

       44.      Plaintiff Sahara V., by and through her guardian and mother Toña Aguilar, is an

11-year-old citizen of the U.S. and a resident of Eugene, Oregon. Sahara is experiencing harm as

a result of Defendants’ aggregate actions and omissions in causing climate change. Sahara has



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been involved in both local and state initiatives to raise awareness about climate change and

advocate for science-based CO2 emission reductions. In order to reduce her impact on the

environment, Sahara and her family bike, garden, recycle, and practice vegetarianism. Sahara

spends time with her family recreating in Oregon’s rivers, lakes, beaches, sand dunes, and

forests. She enjoys swimming, biking, camping, and mushroom hunting. Sahara frequently

visits her grandparents’ home on the Mohawk River and has witnessed the water levels decrease

dramatically.

       45.      Climate impacts caused by Defendants, such as increased temperatures and

drought conditions, infringe upon Sahara’s enjoyment and use of freshwater resources and will

continue to do so in the future if immediate action is not taken to reduce CO2 emissions. Sahara

and her family take frequent trips to the Oregon coast to visit her grandparents, who own

property in Yachats. On the Oregon coast, Sahara enjoys climbing rocks and sand dunes,

swimming, and tidepooling to see marine life. Sahara’s enjoyment of these activities is being

increasingly harmed in the future by sea level rise, greater erosion, enhanced ocean acidification,

and increased water temperatures.

       46.      Sahara has asthma, and the increased frequency of forest fires in Oregon, due to

hotter and drier conditions, has triggered severe asthma attacks for Sahara. The smoke inhibits

her ability to breath, causes her throat to close up, and necessitates the use of her inhaler. As a

result of Defendants’ actions in causing climate change, Sahara has become more susceptible to

grass allergies, further aggravating her asthma. These health effects will worsen as climate

change becomes more severe. Warmer winters and the lack of snow in Oregon have prevented

Sahara’s enjoyment of winter activities and will negatively impact her water supply in the future.




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Sahara wants to stay in Oregon, yet she fears her children and grandchildren will be unable to

experience and enjoy Oregon’s natural resources and wildlife.

       46-A. Sahara’s individual injuries to her physical and mental health, water and food

sources, her personal security and safety, her ability to seek sustenance and happiness in the

natural places she enjoys, are already occurring. Defendants’ national energy system is a

substantial cause of those actual injuries.

           a. Defendants’ national energy system worsens Sahara’s individual injuries each

               year. Sahara is additionally injured by each passing year of losing the ability to

               prevent the worsening of her injuries. Sahara is also injured by each passing year

               of losing the ability to prevent the irreversibility and inevitability of a lifetime of

               worsening hardship to physical and mental health, water and food sources, her

               personal security and safety, her ability to seek sustenance and happiness in the

               natural places she enjoys. The further loss of the ability to protect her life, while

               suffering these harms, is a separate concrete psychological, emotional, and mental

               health injury to Sahara. Another separate injury is the deprivation of Sahara’s

               ability to act in her own interest to preserve the window of opportunity to prevent

               irreversible and inevitable injury going forward and therefore protect her life, all

               the while suffering these ongoing harms each year from Defendants’ national

               energy system, which they know is causing these injuries. The opportunity to

               prevent irreversible and inevitable injuries is still available now and is being

               progressively foreclosed by the ongoing national energy system. When the

               irreversibility of these harms becomes certain, redress will be forever foreclosed

               by this Court or the political majority through the ballot box. Thus, Sahara’s



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         injuries stem precisely from Defendants’ belief, and resultant policies and

         practices, that the national energy system is constitutionally compliant.

      b. Every attempt Sahara makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Sahara and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Sahara can prevent her irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Sahara will permanently lose her

         ability to obtain relief that will protect herself and her rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Sahara would obtain relief to safeguard her life, liberty, property,

         and equal protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Sahara’s

         injuries at the hands of her government will end, providing substantially



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                meaningful partial redress of her injuries. The Court will thereby preserve

                Sahara’s opportunity to obtain relief to safeguard her life, liberty, property, and

                equal protection of the law from irreversible and inevitable injury. Protecting the

                opportunity for freedom and happiness and safety and security, by eliminating a

                substantial federal government restraint on freedom and decreasing the substantial

                risk of irreversibility, is tremendously meaningful redress.

        47.     Plaintiff Kiran Isaac Oommen is an 18-year-old citizen of the U.S. and a

resident of Eugene, Oregon. Kiran enjoys camping, hiking, kayaking, biking, and swimming in

Oregon. In recent years, decreased water levels and rising temperatures have limited Kiran’s

enjoyment of both these activities and the special places in Oregon Kiran visits. Local Oregon

produce and seafood are staples in Kiran’s diet. Ocean acidification and the warmer water

temperatures and lower water levels in rivers and streams have negatively impacted Kiran’s

ability to enjoy eating shellfish and salmon. Kiran enjoys cross-country skiing in the winter, but

was not able to ski in 2015 due to the lack of snow in Oregon. Kiran enjoys visiting the Oregon

coast to walk along the beach, swim, and go tidepooling. Impacts of climate change, such as sea

level rise, will negatively impact Kiran’s future ability to enjoy the Oregon coast.

        48.     Due to drastic seasonal variations, Kiran has endured increasingly severe grass

and tree pollen allergies, making it difficult for them to enjoy outdoor activities. Kiran used to

be able to regularly visit their friend’s family farm in southern Oregon but the increased

prevalence of forest fires due to dry conditions and high temperatures has impacted Kiran’s

ability to visit this farm, as the intensity of the smoke and ash have shortened their trips and

inhibited their ability to breathe.




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        49.        Kiran has family they visit in Olympia, Washington and near Miami, Florida,

both areas scientists predict will be gravely impacted by sea level rise. When Kiran visited

Florida in the past, they enjoyed seeing wildlife and experiencing the beauty of the Florida Keys,

which is a place Kiran plans to visit again. Kiran would like to continue visiting their family in

these coastal areas in the future, but the increasing severity of climate impacts, unless promptly

abated, will prevent them from doing so – as large portions of these areas will be inundated by

the rising seas.

        49-A. Kiran’s individual injuries to their water and food sources, their personal security

and safety, their mental wellbeing, and their freedom to live, travel, and recreate safely, are

already occurring. Defendants’ national energy system is a substantial cause of those actual

injuries.

              a. Defendants’ national energy system worsens Kiran’s individual injuries each year.

                   Kiran is additionally injured by each passing year of losing the ability to prevent

                   the worsening of their injuries. Kiran is also injured by each passing year of

                   losing the ability to prevent the irreversibility and inevitability of a lifetime of

                   worsening hardship to their water and food sources, their personal security and

                   safety, their mental wellbeing, and their freedom to live, travel, and recreate

                   safely. The further loss of the ability to protect their life, while suffering these

                   harms, is a separate concrete psychological, emotional, and mental health injury

                   to Kiran. Another separate injury is the deprivation of Kiran’s ability to act in

                   their own interest to preserve the window of opportunity to prevent irreversible

                   and inevitable injury going forward and therefore protect their life, all the while

                   suffering these ongoing harms each year from Defendants’ national energy



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         system, which they know is causing these injuries. The opportunity to prevent

         irreversible and inevitable injuries is still available now and is being progressively

         foreclosed by the ongoing national energy system. When the irreversibility of

         these harms becomes certain, redress will be forever foreclosed by this Court or

         the political majority through the ballot box. Thus, Kiran’s injuries stem precisely

         from Defendants’ belief, and resultant policies and practices, that the national

         energy system is constitutionally compliant.

      b. Every attempt Kiran makes to safeguard their life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Kiran and which

         foreclose their ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Kiran can prevent their irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Kiran will permanently lose their

         ability to obtain relief that will protect themself and their rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the



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               likelihood that Kiran would obtain relief to safeguard their life, liberty, property,

               and equal protection of the law. If the Court declares the nation’s energy system

               unconstitutional in its present form, Defendants will correct the unconstitutional

               policies and practices of the national energy system. The worsening of Kiran’s

               injuries at the hands of their government will end, providing substantially

               meaningful partial redress of their injuries. The Court will thereby preserve

               Kiran’s opportunity to obtain relief to safeguard their life, liberty, property, and

               equal protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       50.     Plaintiff Tia Marie Hatton is a citizen of the U.S. and a resident of Bend,

Oregon. She is 18 years old and will enter the University of Oregon in September 2015. For the

past two years Tia has experienced pronounced climate change impacts in Bend and surrounding

areas. Tia is an avid Nordic skier, and has skied competitively since middle school. During

2013-2015, her ability to ski was limited by the record low snowfall in the Bend area. Tia

regularly skis at Virginia Meissner Sno-Park and Willamette Pass Resort. These areas were

closed this past winter because of record low snowfall. In 2015, ski teams from across Oregon,

including Tia’s team, had to move their state competition to higher elevations at Mt. Bachelor

where trails were limited and not well groomed. In the future, unless the severe impacts to our

nation’s climate system are immediately abated, she will not be able to ski at all, even at higher

elevations.




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        51.      For the 2015 summer, Oregon’s Governor issued a drought declaration for

Deschutes County, where Tia lives. Tia spends most of her time recreating outdoors, not only

skiing, but cross-country running, rock climbing, hiking, camping, and kayaking. Warmer

summer temperatures and forest fires in Deschutes National Forest south of Bend are preventing

Tia from participating in these activities as often as she would like and once could. For the past

several years there have been fires every summer in the forests surrounding Bend, and residents

have had to evacuate. Tia is psychologically impacted by these events, as it is hard for her to

watch the destruction of the wilderness she loves and its ecosystems. Tia and her family

vacation around Oregon and have experienced coastal erosion in Seaside, Florence, and

Newport. Tia has also experiences the climate impacts similar to those in the Bend area when

she visits the Steens Mountain for running camp.

        52.      Tia works hard to protect the environment and create awareness about the impacts

of climate change caused by Defendants. In high school she was a member of her school’s

Green Club, and spent time planning Earth Day activities to raise awareness and educate the

student body. Tia tries to limit her transportation via cars and is participating in the Bend Energy

Challenge, a nationwide energy-saving competition, to help her family save energy and make

their home healthier.

        52-A. Tia’s individual injuries to her physical and mental wellbeing, her personal

security and safety, and the snow that she depends on for her health and her pursuit of happiness

are already occurring. Defendants’ national energy system is a substantial cause of those actual

injuries.

              a. Defendants’ national energy system worsens Tia’s individual injuries each year.

                 Tia is additionally injured by each passing year of losing the ability to prevent the



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         worsening of her injuries. Tia is also injured by each passing year of losing the

         ability to prevent the irreversibility and inevitability of a lifetime of worsening

         hardship to her physical and mental wellbeing, her personal security and safety,

         and the snow that she depends on for her health and her pursuit of happiness. The

         further loss of the ability to protect her life, while suffering these harms, is a

         separate concrete psychological, emotional, and mental health injury to Tia.

         Another separate injury is the deprivation of Tia’s ability to act in her own interest

         to preserve the window of opportunity to prevent irreversible and inevitable injury

         going forward and therefore protect her life, all the while suffering these ongoing

         harms each year from Defendants’ national energy system, which they know is

         causing these injuries. The opportunity to prevent irreversible and inevitable

         injuries is still available now and is being progressively foreclosed by the ongoing

         national energy system. When the irreversibility of these harms becomes certain,

         redress will be forever foreclosed by this Court or the political majority through

         the ballot box. Thus, Tia’s injuries stem precisely from Defendants’ belief, and

         resultant policies and practices, that the national energy system is constitutionally

         compliant.

      b. Every attempt Tia makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Tia and which foreclose

         her ability to obtain relief that will protect herself. The composition of the United



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                States national energy system is the most important factor in the world as to

                whether Tia can prevent her irreversible injury. If the national energy system

                remains predominantly fossil fuel-based, Tia will permanently lose her ability to

                obtain relief that will protect herself and her rights.

             c. If this Court should issue a declaratory judgment to resolve this actual

                constitutional case and controversy between these young Plaintiffs and these

                government Defendants as to whether Defendants’ national energy system has

                violated and continues to violate Plaintiffs’ constitutional rights as described

                herein, the Court will have ordered a change in legal status that would have

                practical consequences. A declaratory judgment would significantly increase the

                likelihood that Tia would obtain relief to safeguard her life, liberty, property, and

                equal protection of the law. If the Court declares the nation’s energy system

                unconstitutional in its present form, Defendants will correct the unconstitutional

                policies and practices of the national energy system. The worsening of Tia’s

                injuries at the hands of her government will end, providing substantially

                meaningful partial redress of her injuries. The Court will thereby preserve Tia’s

                opportunity to obtain relief to safeguard her life, liberty, property, and equal

                protection of the law from irreversible and inevitable injury. Protecting the

                opportunity for freedom and happiness and safety and security, by eliminating a

                substantial federal government restraint on freedom and decreasing the substantial

                risk of irreversibility, is tremendously meaningful redress.

       53.      Plaintiff Isaac V., by and through his guardian and mother, Pamela Vergun, is a

thirteen-year-old U.S. citizen and a resident of Beaverton, Oregon. Isaac is involved in climate



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activism and he founded Plant for the Planet Academy in Oregon, along with his mom and sister.

Isaac started a petition asking the city of Beaverton to adopt a resolution to lower the city’s

carbon emissions. At home, his family installed solar panels on their roof and they drive an

electric vehicle.

        54.     Isaac and his family are experiencing the adverse impacts of climate change

caused by Defendants. 2015 has been the hottest summer Isaac remembers, with temperatures at

100 degrees Fahrenheit in his hometown. The groundwater level in his backyard has dropped

significantly, causing trees to die. Isaac enjoys recreating along the Spring Water Trail near

Portland, Oregon and is harmed by the drought conditions, which have eliminated a substantial

portion of the flow in Johnson Creek. In parts of southern and eastern Oregon, wildfires are

tearing through forests where Isaac enjoys recreating, threatening the ecosystems he relies upon

for his personal enjoyment.

        55.     In winter, Isaac recreates in the Oregon snow and thereby derives emotional,

spiritual, and physical benefits. He intends to continue his use and enjoyment of the snow. The

record-low snowfall across the state, caused by Defendants’ actions and the climate change

resulting from those actions, harms Isaac by reducing his opportunity to recreate in the snow.

        56.     Since he was very young, Isaac has had asthma. Isaac’s asthma is worsening and

will continue to worsen as air quality becomes more polluted from increased pollen counts and

smoke from wildfires. Isaac enjoys athletic activities including hiking, soccer, and basketball.

He intends to continue these activities in the future. Increasing temperatures caused by

Defendants’ actions will worsen his asthma, affect his athletic performance, and make him less

likely to play sports.




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       56-A. Isaac’s individual injuries to his lungs and his overall physical and mental health,

as well as his personal security and safety, are already occurring. Defendants’ national energy

system is a substantial cause of those actual injuries.

           a. Defendants’ national energy system worsens Isaac’s individual injuries each year.

               Isaac is additionally injured by each passing year of losing the ability to prevent

               the worsening of his injuries. Isaac is also injured by each passing year of losing

               the ability to prevent the irreversibility and inevitability of a lifetime of worsening

               hardship to his overall physical and mental health, as well as his personal security

               and safety. The further loss of the ability to protect his life, while suffering these

               harms, is a separate concrete psychological, emotional, and mental health injury

               to Isaac. Another separate injury is the deprivation of Isaac’s ability to act in his

               own interest to preserve the window of opportunity to prevent irreversible and

               inevitable injury going forward and therefore protect his life, all the while

               suffering these ongoing harms each year from Defendants’ national energy

               system, which they know is causing these injuries. The opportunity to prevent

               irreversible and inevitable injuries is still available now and is being progressively

               foreclosed by the ongoing national energy system. When the irreversibility of

               these harms becomes certain, redress will be forever foreclosed by this Court or

               the political majority through the ballot box. Thus, Isaac’s injuries stem precisely

               from Defendants’ belief, and resultant policies and practices, that the national

               energy system is constitutionally compliant.

           b. Every attempt Isaac makes to safeguard his life, liberties, property, and equal

               protection of the law fails because Defendants view the national energy system as



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         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Isaac and which

         foreclose his ability to obtain relief that will protect himself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Isaac can prevent his irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Isaac will permanently lose his

         ability to obtain relief that will protect himself and his rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Isaac would obtain relief to safeguard his life, liberty, and equal

         protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Isaac’s

         injuries at the hands of his government will end, providing substantially

         meaningful partial redress of his injuries. The Court will thereby preserve Isaac’s

         opportunity to obtain relief to safeguard his life, liberty, and equal protection of

         the law from irreversible and inevitable injury. Protecting the opportunity for

         freedom and happiness and safety and security, by eliminating a substantial



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                federal government restraint on freedom and decreasing the substantial risk of

                irreversibility, is tremendously meaningful redress.

         57.    Plaintiff Miko V., by and through her guardian and mother, Pamela Vergun, is a

14-year-old citizen of the United States and a resident of Beaverton, Oregon. Miko is a climate

activist. Along with her Mother and brother, Miko started the first Plant for the Planet Academy

in Oregon to help plant 150 trees per person in the United States to combat deforestation. She is

spreading awareness to other young people and working to educate adults about the climate

crisis. At home, her family has solar panels on their roof and they use an electric hybrid vehicle

to reduce their emissions when they drive. Miko is committed to living a low-carbon lifestyle.

         58.    Miko was born in the Marshall Islands, and her low-lying home island is

threatened by sea level rise. She fears she will never be able to travel back to the Marshall

Islands as she intends to because the islands will likely be underwater in the future. In the last

couple of years, Miko has experienced record-breaking heat waves in Beaverton and Portland,

Oregon. Miko recently visited Timothy Lake, 75 miles southeast of Beaverton, to swim and fish,

but the water levels were lower than usual, negatively impacting her use and enjoyment of the

area.

         59.    Seafood is an important part of Miko’s diet. Ocean acidification and warming

ocean, coastal, and river waters are negatively affecting the health of fish and sea life on which

Miko depends.

         59-A. Miko’s individual injuries to her familial heritage and land, her food sources, her

personal security and safety, her mental wellbeing, and her freedom to travel to and spend time

in the Marshall Islands, are already occurring. Defendants’ national energy system is a

substantial cause of those actual injuries.



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      a. Defendants’ national energy system worsens Miko’s individual injuries each year.

         Miko is additionally injured by each passing year of losing the ability to prevent

         the worsening of her injuries. Miko is also injured by each passing year of losing

         the ability to prevent the irreversibility and inevitability of a lifetime of worsening

         hardship to her familial heritage and land, her food sources, her personal security

         and safety, her mental wellbeing, and her freedom to travel to and spend time in

         the Marshall Islands. The further loss of the ability to protect her life, while

         suffering these harms, is a separate concrete psychological, emotional, and mental

         health injury to Miko. Another separate injury is the deprivation of Miko’s ability

         to act in her own interest to preserve the window of opportunity to prevent

         irreversible and inevitable injury going forward and therefore protect her life, all

         the while suffering these ongoing harms each year from Defendants’ national

         energy system, which they know is causing these injuries. The opportunity to

         prevent irreversible and inevitable injuries is still available now and is being

         progressively foreclosed by the ongoing national energy system. When the

         irreversibility of these harms becomes certain, redress will be forever foreclosed

         by this Court or the political majority through the ballot box. Thus, Miko’s

         injuries stem precisely from Defendants’ belief, and resultant policies and

         practices, that the national energy system is constitutionally compliant.

      b. Every attempt Miko makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to



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         power it with fossil fuels at levels that are dangerous for Miko and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Miko can prevent her irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Miko will permanently lose her

         ability to obtain relief that will protect herself and her rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Miko would obtain relief to safeguard her life, liberty, property,

         and equal protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Miko’s

         injuries at the hands of her government will end, providing substantially

         meaningful partial redress of her injuries. The Court will thereby preserve Miko’s

         opportunity to obtain relief to safeguard her life, liberty, property, and equal

         protection of the law from irreversible and inevitable injury. Protecting the

         opportunity for freedom and happiness and safety and security, by eliminating a

         substantial federal government restraint on freedom and decreasing the substantial

         risk of irreversibility, is tremendously meaningful redress.



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       60.     Plaintiff Hazel V., by and through her guardian and mother Margo Van

Ummersen, is an 11-year-old citizen of the U.S. and a resident of Eugene, Oregon. Hazel has

advocated in her community to raise awareness about climate change caused by Defendants and

before her city leaders to ask for science-based reductions of CO2 emissions. Hazel and her

family reduce their carbon footprint by gardening, recycling, buying local products, biking, and

walking.

       61.     Hazel enjoys swimming, canoeing, kayaking, camping, and hiking in Oregon. In

recent years, she has been unable to fully enjoy these activities and special places she visits due

to the increased temperatures, low water levels, and abnormal seasonal variations caused by the

acts and omissions of Defendants. Hazel frequently visits the Oregon coast, where she enjoys

bodysurfing, playing on the beach, tidepooling, harvesting seaweed, and hunting mushrooms.

Increased surface and ocean temperatures, sea level rise, and ocean acidification caused by the

acts of Defendants threaten Hazel’s future ability to enjoy these activities, which are important

aspects of her childhood. Salmon and seafood are important parts of Hazel’s diet that will

continue to be threatened due to increased water temperatures, drought, and ocean acidification

caused by the acts of Defendants.

       62.     During the winter, Hazel enjoys skiing and sledding. However, due to declining

snowpack and warmer winters, she has been unable to ski or sled. Decreased snowfall in the

Cascades will have long-term adverse impacts on the water level in the McKenzie River, which

provides drinking water to Hazel’s hometown of Eugene. In June 2015, extreme heat caused by

the acts of Defendants adversely impacted Hazel’s health on a trip she took to Washington, D.C.

During that trip, she suffered from two episodes of heat exhaustion.




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        62-A. Hazel’s individual injuries to her personal security and safety, her mental

wellbeing and physical health, and her freedom to live, recreate, and pursue happiness, are

already occurring. Defendants’ national energy system is a substantial cause of those actual

injuries.

            a. Defendants’ national energy system worsens Hazel’s individual injuries each

               year. Hazel is additionally injured by each passing year of losing the ability to

               prevent the worsening of her injuries. Hazel is also injured by each passing year

               of losing the ability to prevent the irreversibility and inevitability of a lifetime of

               worsening hardship to her personal security and safety, her mental wellbeing and

               physical health, and her freedom to live, recreate, and pursue happiness. The

               further loss of the ability to protect her life, while suffering these harms, is a

               separate concrete psychological, emotional, and mental health injury to Hazel.

               Another separate injury is the deprivation of Hazel’s ability to act in her own

               interest to preserve the window of opportunity to prevent irreversible and

               inevitable injury going forward and therefore protect her life, all the while

               suffering these ongoing harms each year from Defendants’ national energy

               system, which they know is causing these injuries. The opportunity to prevent

               irreversible and inevitable injuries is still available now and is being progressively

               foreclosed by the ongoing national energy system. When the irreversibility of

               these harms becomes certain, redress will be forever foreclosed by this Court or

               the political majority through the ballot box. Thus, Hazel’s injuries stem precisely

               from Defendants’ belief, and resultant policies and practices, that the national

               energy system is constitutionally compliant.



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      b. Every attempt Hazel makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Hazel and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Hazel can prevent her irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Hazel will permanently lose her

         ability to obtain relief that will protect herself and her rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Hazel would obtain relief to safeguard her life, liberty, property,

         and equal protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Hazel’s

         injuries at the hands of her government will end, providing substantially

         meaningful partial redress of her injuries. The Court will thereby preserve Hazel’s

         opportunity to obtain relief to safeguard her life, liberty, property, and equal



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               protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       63.     Plaintiff Sophie K., by and through her guardian and grandfather, Dr. James

Hansen, is a 16-year-old citizen of the U.S., and a resident of Allentown, Pennsylvania. Through

stories from her grandfather, Dr. James Hansen, Sophie has become passionate about climate

science and feels a sense of urgency and responsibility to compel government action on climate

change. Extreme weather events, including Hurricane Sandy, caused Sophie to miss school on

many occasions; hailstorms have damaged her house; floodwaters often inundate roads by her

house; and Sophie has even been forced to prepare for tornado warnings, which are very unusual

for the area where she lives. Intense summer heat now diminishes Sophie’s ability to participate

in and enjoy outdoor activities, including track and tennis. Sophie would like to have the ability

to one day live in coastal cities like New York or Los Angeles, but rising sea levels may inundate

these coastal areas within Sophie’s lifetime unless Defendants cease their actions that otherwise

will soon ensure these catastrophic impacts. Sophie is distressed knowing the inundation of

these, and other coastal hubs of our nation’s economy and commerce, will have profoundly

negative economic impacts on our nation and on her own life as she gets older, looks for work to

support herself, and begins her professional career.

       64.     Climate change substantially caused by the acts of Defendants is harming, and

will continue to harm, the ability of Sophie and her family to grow food in her garden as the

population of bees and other pollinators decline. In 2015, Sophie’s health was adversely

impacted for the first time by pollen allergies, a condition exacerbated by global and regional



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warming. Extreme weather events, intense heat, and rising seas have had, and will increasingly

have, a negative impact on Sophie. Sophie is deeply concerned about the future because she

knows that climate change will not only harm her, but will also harm the entire fabric of human

civilization and all living things on Earth that she cherishes and relies on for her life, liberties,

and property.

        64-A. Sophie’s individual injuries to her food sources, her personal security and safety,

her physical health and mental wellbeing, and her freedom to live in coastal areas and to pursue

her happiness, are already occurring. Defendants’ national energy system is a substantial cause

of those actual injuries.

            a. Defendants’ national energy system worsens Sophie’s individual injuries each

                year. Sophie is additionally injured by each passing year of losing the ability to

                prevent the worsening of her injuries. Sophie is also injured by each passing year

                of losing the ability to prevent the irreversibility and inevitability of a lifetime of

                worsening hardship to her food sources, her personal security and safety, her

                physical health and mental wellbeing, and her freedom to live in coastal areas and

                to pursue her happiness. The further loss of the ability to protect her life, while

                suffering these harms, is a separate concrete psychological, emotional, and mental

                health injury to Sophie. Another separate injury is the deprivation of Sophie’s

                ability to act in her own interest to preserve the window of opportunity to prevent

                irreversible and inevitable injury going forward and therefore protect her life, all

                the while suffering these ongoing harms each year from Defendants’ national

                energy system, which they know is causing these injuries. The opportunity to

                prevent irreversible and inevitable injuries is still available now and is being



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         progressively foreclosed by the ongoing national energy system. When the

         irreversibility of these harms becomes certain, redress will be forever foreclosed

         by this Court or the political majority through the ballot box. Thus, Sophie’s

         injuries stem precisely from Defendants’ belief, and resultant policies and

         practices, that the national energy system is constitutionally compliant.

      b. Every attempt Sophie makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Sophie and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Sophie can prevent her irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Sophie will permanently lose her

         ability to obtain relief that will protect herself and her rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Sophie would obtain relief to safeguard her life, liberty, property,

         and equal protection of the law. If the Court declares the nation’s energy system



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               unconstitutional in its present form, Defendants will correct the unconstitutional

               policies and practices of the national energy system. The worsening of Sophie’s

               injuries at the hands of her government will end, providing substantially

               meaningful partial redress of her injuries. The Court will thereby preserve

               Sophie’s opportunity to obtain relief to safeguard her life, liberty, property, and

               equal protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       65.     Plaintiff Jaime B., by and through her guardian and mother Jamescita Peshlakai,

is a 14-year-old citizen of the U.S. and a resident of Flagstaff, Arizona. Jaime is a member of the

Navajo Nation. Jaime was born into the Bitter Water Clan, with maternal grandfathers of the

Red House Clan and paternal grandfathers of the Towering House Clan. Jaime and her family

are experiencing harm from climate change caused by the acts of Defendants and will experience

even more severe climate impacts in the future. Since she was four years old, Jaime has been

working to protect the earth. Beginning in elementary school, Jaime has written letters to

President Obama about her concerns for the environment, asking him to protect the Arctic

National Wildlife Refuge and ensure that oil spills do not continue to happen.

       66.     Jaime grew up in Cameron, Arizona, on the Navajo Nation Reservation. In 2011,

Jaime and her Mother had to move from Cameron to Flagstaff because of water scarcity. Jaime

and her extended family on the Reservation remember times when there was enough water on

the Reservation for agriculture and farm animals, but now the springs they once depended on

year-round are drying up. Jaime and her Mother were not able to sustain living on the



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Reservation because of the costs of hauling water into Cameron for themselves and their

animals. Jaime is worried that her extended family, all of whom live on the Reservation, will

also be displaced from their land, which will erode her culture and way of life. Participating in

sacred Navajo ceremonies on the Reservation is an important part of Jaime’s life, and climate

impacts caused by the acts of Defendants are starting to harm the ability for Jamie and her tribe

to participate in their traditional ceremonies.

         67.    Jaime now lives on property her Mother owns in the Kaibab National Forest. The

forest is Jaime’s favorite place to spend time. Jaime finds peace being outside in the forest

surrounding her home, and she walks for 1-2 hours in the forest after school every day. Jaime’s

ability to spend time in the forest is going to be limited due to increasing climate change caused

by the acts of Defendants. Large parts of the Kaibab National Forest have been destroyed due to

pine beetle infestations and forest fires. In 2014, Jaime and her Mother were evacuated from

their home for two days because of the Oak Creek Canyon fire north of their property. Winds

brought smoke and ash into their neighborhood. Jaime is worried that the area surrounding their

home is becoming unsafe due to an increase in drought conditions and forest fires caused by the

acts of Defendants. Jaime and her Mother have seen climate change impact the vegetables they

grow for food on their property in Flagstaff. Jaime’s severe allergies have become increasingly

worse over the last several years. She takes over-the-counter medication to combat her

symptoms. With record-setting temperatures and a drought that has lasted several years, Jaime

fears for her future and for the future of her family, their history, their traditions, and their way of

life.

         67-A. Jaime’s individual injuries to her indigenous way of life, culture, and traditions,

her family’s property, her water and food sources, her personal security and safety, her physical



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and mental health, and her freedom to pass to the next generation of Dine´ their heritage, are

already occurring. Defendants’ national energy system is a substantial cause of those actual

injuries.

            a. Defendants’ national energy system worsens Jaime’s individual injuries each

               year. Jaime is additionally injured by each passing year of losing the ability to

               prevent the worsening of her injuries. Jaime is also injured by each passing year

               of losing the ability to prevent the irreversibility and inevitability of a lifetime of

               worsening hardship to indigenous way of life, culture, and traditions, her family’s

               property, her water and food sources, her personal security and safety, her

               physical and mental health, and her freedom to pass to the next generation of

               Dine´ their heritage. The further loss of the ability to protect her life, while

               suffering these harms, is a separate concrete psychological, emotional, and mental

               health injury to Jaime. Another separate injury is the deprivation of Jaime’s

               ability to act in her own interest to preserve the window of opportunity to prevent

               irreversible and inevitable injury going forward and therefore protect her life, all

               the while suffering these ongoing harms each year from Defendants’ national

               energy system, which they know is causing these injuries. The opportunity to

               prevent irreversible and inevitable injuries is still available now and is being

               progressively foreclosed by the ongoing national energy system. When the

               irreversibility of these harms becomes certain, redress will be forever foreclosed

               by this Court or the political majority through the ballot box. Thus, Jaime’s

               injuries stem precisely from Defendants’ belief, and resultant policies and

               practices, that the national energy system is constitutionally compliant.



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      b. Every attempt Jaime makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Jaime and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Jaime can prevent her irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Jaime will permanently lose her

         ability to obtain relief that will protect herself and her rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Jaime would obtain relief to safeguard her life, liberty, property,

         and equal protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Jaime’s

         injuries at the hands of her government will end, providing substantially

         meaningful partial redress of her injuries. The Court will thereby preserve Jaime’s

         opportunity to obtain relief to safeguard her life, liberty, property, and equal



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               protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       68.     Plaintiff Journey Z., by and through his guardian and mother Erika Schneider, is

a 15-year-old citizen of the U.S. Journey is a Native American born in South Dakota and a

federally enrolled member of the Yankton Sioux Tribe. In 2009, Journey and his family moved

to the island of Kaua‘i, Hawai‘i. Journey attends a Hawaiian cultural immersion school, has

adopted the Hawaiian culture as his own, and speaks the native Hawaiian language. Journey has

deep cultural and spiritual connections with the Earth and all life. These connections depend on

a stable climate system for survival, providing Journey with a fundamental sense of

responsibility to protect the Earth for his generation and for future generations. Journey is a

youth leader on the Rising Youth for a Sustainable Earth (“RYSE”) Youth Council and a youth

ambassador for the Center for Native American Youth. Journey has advocated directly to

President Obama’s administration and other federal government officials to secure government

action to stabilize the climate system and protect his fundamental rights.

       69.     Journey participates in many culturally important activities, such as working in

the taro fields, organic farming, playing Tahitian drum, fire dancing, and performing Halau Hula

O Leilani. He also enjoys swimming, snorkeling, fishing, canoeing, stand-up paddle boarding,

and walking and biking along the beach. His participation in and enjoyment of these activities

has been and will continue to be negatively impacted by the impacts of climate change and ocean

acidification caused by Defendants.




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       70.     Journey’s food security and his enjoyment of the biological diversity of the coral

reefs are and will continue to be adversely impacted by ocean acidification and the climate

change impacts of sea-level rise, increased sea surface temperature, alteration in ocean

circulation, and increased storm intensity, all caused by the acts of Defendants. These problems

are all deleterious to coral reefs in Hawai‘i and their associated ecosystems and fisheries.

Journey’s health, personal safety, cultural practices, and recreational interests are adversely

impacted by the climate impacts of rising sea levels and intense storms that increase coastal

flooding and erosion in Hawai‘i, damaging coastal ecosystems, infrastructure, and agriculture, on

which Journey relies. Watching beaches erode away and disappear has emotionally harmed

Journey. Journey performs Halau Hula O Leilani at the hotels along the beaches and will not be

able to do so in the future with continued sea level rise. The rock wall at Journey’s favorite

swimming beach eroded and fell into the ocean, and additional erosion will make it unsafe for

Journey to swim there in the future. Decreased rainfall on Kaua‘i and the resulting lower river

water levels, combined with saltwater inundation from sea level rise, have caused serious water

quality problems, high bacteria levels, and increased shark activities that threaten Journey’s

health and safety, preventing his use and enjoyment of rivers he frequently enjoyed. Declining

freshwater availability also threatens Journey’s future access to drinking water and ability to stay

on the island. Drought conditions on part of Kaua’i and saltwater inundation negatively impact

the soil and the agricultural productivity of the farms and taro patches where Journey works.

While total rainfall has decreased, rain intensity has increased. In 2012, this increased rain

intensity threatened Journey’s personal safety when he and his family were displaced by

widespread flooding and evacuated to a Red Cross shelter.




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       70-A. Journey’s individual injuries to his physical and mental health, personal security

and safety, cultural practices, food and freshwater sources, and the coral reefs and ocean life he

depends on for sustenance and happiness are already occurring. Defendants’ national energy

system is a substantial cause of those actual injuries.

           a. Defendants’ national energy system worsens Journey’s individual injuries each

               year. Journey is additionally injured by each passing year of losing the ability to

               prevent the worsening of his injuries. Journey is also injured by each passing year

               of losing the ability to prevent the irreversibility and inevitability of a lifetime of

               worsening hardship to his physical and mental health, personal security and

               safety, cultural practices, food and freshwater sources, and the coral reefs and

               ocean life he depends on for sustenance and happiness. The further loss of the

               ability to protect his life, while suffering these harms, is a separate concrete

               psychological, emotional, and mental health injury to Journey. Another separate

               injury is the deprivation of Journey’s ability to act in his own interest to preserve

               the window of opportunity to prevent irreversible and inevitable injury going

               forward and therefore protect his life, all the while suffering these ongoing harms

               each year from Defendants’ national energy system, which they know is causing

               these injuries. The opportunity to prevent irreversible and inevitable injuries is

               still available now and is being progressively foreclosed by the ongoing national

               energy system. When the irreversibility of these harms becomes certain, redress

               will be forever foreclosed by this Court or the political majority through the ballot

               box. Thus, Journey’s injuries stem precisely from Defendants’ belief, and




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         resultant policies and practices, that the national energy system is constitutionally

         compliant.

      b. Every attempt Journey makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Journey and which

         foreclose his ability to obtain relief that will protect himself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Journey can prevent his irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Journey will permanently lose

         his ability to obtain relief that will protect himself and his rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Journey would obtain relief to safeguard his life, liberty, property,

         and equal protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Journey’s

         injuries at the hands of his government will end, providing substantially



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               meaningful partial redress of his injuries. The Court will thereby preserve

               Journey’s opportunity to obtain relief to safeguard his life, liberty, property, and

               equal protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       71.     Plaintiff Vic B., by and through his guardian and mother Daisy Calderon, is a 16-

year-old citizen of the U.S. and a resident of White Plains, New York. In September 2015, Vic

will be a junior in high school at Notre Dame School of Manhattan in New York City. Since

2013, Vic has been active in the climate movement, educating people about climate change and

working to mitigate it. Vic was a fellow with the Alliance for Climate Education and continues

to advocate for education and action on climate change in New York.

       72.     Vic has become emotionally distressed by the increase in superstorms in the

Northeast. Vic was harmed by Hurricane Sandy when he and his family lost power to their

home, his school shut down, and his forms of public transportation were not operating. Vic is

also harmed by the increasing sweltering summer temperatures, which limit the time he spends

outdoors in New York. In recent years, his pollen allergies have become worse, making it even

more difficult to enjoy being outside. Vic lives on low-lying land, which is threatened by rising

sea levels and more frequent storm surges.

       72-A. Vic is Honduran-American and belongs to the Afro-Indigenous Garifuna

community that settled on the northern coast of Honduras hundreds of years ago and his and his

family’s traditional heritage, way of life, food sources, land, and home are critically endangered

by sea level rise. Vic’s individual injuries to his Garifuna heritage, his physical and mental



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health, his personal security and safety, and his family’s property are already occurring.

Defendants’ national energy system is a substantial cause of those actual injuries.

           a. Defendants’ national energy system worsens Vic’s individual injuries each year.

               Vic is additionally injured by each passing year of losing the ability to prevent the

               worsening of his injuries. Vic is also injured by each passing year of losing the

               ability to prevent the irreversibility and inevitability of a lifetime of worsening

               hardship to his Garifuna heritage, his physical and mental health, his personal

               security and safety, and his family’s property. The further loss of the ability to

               protect his life, while suffering these harms, is a separate concrete psychological,

               emotional, and mental health injury to Vic. Another separate injury is the

               deprivation of Vic’s ability to act in his own interest to preserve the window of

               opportunity to prevent irreversible and inevitable injury going forward and

               therefore protect his life, all the while suffering these ongoing harms each year

               from Defendants’ national energy system, which they know is causing these

               injuries. The opportunity to prevent irreversible and inevitable injuries is still

               available now and is being progressively foreclosed by the ongoing national

               energy system. When the irreversibility of these harms becomes certain, redress

               will be forever foreclosed by this Court or the political majority through the ballot

               box. Thus, Vic’s injuries stem precisely from Defendants’ belief, and resultant

               policies and practices, that the national energy system is constitutionally

               compliant.

           b. Every attempt Vic makes to safeguard his life, liberties, property, and equal

               protection of the law fails because Defendants view the national energy system as



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         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Vic and which foreclose

         his ability to obtain relief that will protect himself. The composition of the United

         States national energy system is the most important factor in the world as to

         whether Vic can prevent his irreversible injury. If the national energy system

         remains predominantly fossil fuel-based, Vic will permanently lose his ability to

         obtain relief that will protect himself and his rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Vic would obtain relief to safeguard his life, liberty, property, and

         equal protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Vic’s

         injuries at the hands of his government will end, providing substantially

         meaningful partial redress of his injuries. The Court will thereby preserve Vic’s

         opportunity to obtain relief to safeguard his life, liberty, property, and equal

         protection of the law from irreversible and inevitable injury. Protecting the

         opportunity for freedom and happiness and safety and security, by eliminating a



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               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       73.     Plaintiff Nathaniel B., by and through his guardian and mother Sharon Baring, is

a 15-year-old citizen of the U.S. and a resident of Fairbanks, Alaska. Nathaniel and his family

are already witnessing the impacts of climate change and he is psychologically harmed knowing

of the inevitable and increasingly severe climate impacts he will experience in the future.

       74.     Nathaniel is an avid Nordic skier who also enjoys downhill skiing. Nathaniel has

been harmed by the reduced snowfall during the past few winters. Snow that typically comes in

August is coming as late as November. In 2014-2015, Anchorage received its lowest seasonal

snowfall to date. Nathaniel is experiencing more ice storms in Fairbanks. Last year the city

declared a state of disaster after a severe ice storm created widespread power outages. Nathaniel

and his family suffered without power for nearly a week in temperatures of 18 degrees

Fahrenheit.

       75.     This summer, Alaska experienced over 300 wildfires across the state, all

occurring at once. Wildfires have become a common occurrence every summer in Alaska.

During the summer of 2015, Fairbanks was surrounded by numerous wildfires and air quality

rivaled that of some of the world’s smoggiest cities. As an asthma and allergy sufferer, the hot

dry wildfire season makes it hard for Nathaniel to breathe outside and participate in cross-

country running, one of his favorite sports. Nathaniel is distraught knowing that changing

temperatures caused by Defendants will affect his way of life and the animals and ecosystems

that surround him and on which he relies for recreation and food. His family raises chickens on

their property and they hunt for moose and grouse for food. These animals are harmed by the

extreme climate changes happening in Alaska caused by Defendants. Nathaniel has also noticed



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a sharp decline of salmon, especially king salmon, which is important for his diet. This summer

Alaska had a very small king salmon run on the Yukon River. Nathaniel and his family take

fishing trips and he has experienced firsthand the decline in salmon runs. Nathaniel enjoys

visiting Alaska’s glaciers and intends to continue to do so. However, the glaciers Nathaniel

visits are significantly receding, including the Mendenhall Glacier in Juneau, which has retreated

over 1.5 miles.

       76.        Nathaniel is working hard to take actions to reverse and mitigate the effects of

climate change through his membership in Alaska Youth for Environmental Action and his work

with Citizens Climate Lobby and his church. At home, Nathaniel and his family try to ride bikes

as much as possible. Nathaniel participates in the “dime a gallon” program at church, where

members contribute a certain pre-arranged amount for every gallon of gas they use for

transportation, which is then used to install insulation in their buildings, and other greening

projects, such as solar panels.

       76-A. Nathaniel’s individual injuries to his physical and mental health, his food sources,

his personal security and safety in his home, and the snow and winter conditions that he relies

upon for life, sustenance, and happiness are already occurring. Defendants’ national energy

system is a substantial cause of those actual injuries.

             a. Defendants’ national energy system worsens Nathaniel’s individual injuries each

                  year. Nathaniel is additionally injured by each passing year of losing the ability to

                  prevent the worsening of his injuries. Nathaniel is also injured by each passing

                  year of losing the ability to prevent the irreversibility and inevitability of a

                  lifetime of worsening hardship to his physical and mental health, his food sources,

                  his personal security and safety in his home, and the snow and winter conditions



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         that he relies upon for life, sustenance, and happiness. The further loss of the

         ability to protect his life, while suffering these harms, is a separate concrete

         psychological, emotional, and mental health injury to Nathaniel. Another separate

         injury is the deprivation of Nathaniel’s ability to act in his own interest to

         preserve the window of opportunity to prevent irreversible and inevitable injury

         going forward and therefore protect his life, all the while suffering these ongoing

         harms each year from Defendants’ national energy system, which they know is

         causing these injuries. The opportunity to prevent irreversible and inevitable

         injuries is still available now and is being progressively foreclosed by the ongoing

         national energy system. When the irreversibility of these harms becomes certain,

         redress will be forever foreclosed by this Court or the political majority through

         the ballot box. Thus, Nathaniel’s injuries stem precisely from Defendants’ belief,

         and resultant policies and practices, that the national energy system is

         constitutionally compliant.

      b. Every attempt Nathaniel makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Nathaniel and which

         foreclose his ability to obtain relief that will protect himself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Nathaniel can prevent his irreversible injury. If the national energy




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                system remains predominantly fossil fuel-based, Nathaniel will permanently lose

                his ability to obtain relief that will protect himself and his rights.

             c. If this Court should issue a declaratory judgment to resolve this actual

                constitutional case and controversy between these young Plaintiffs and these

                government Defendants as to whether Defendants’ national energy system has

                violated and continues to violate Plaintiffs’ constitutional rights as described

                herein, the Court will have ordered a change in legal status that would have

                practical consequences. A declaratory judgment would significantly increase the

                likelihood that Nathaniel would obtain relief to safeguard his life, liberty,

                property, and equal protection of the law. If the Court declares the nation’s energy

                system unconstitutional in its present form, Defendants will correct the

                unconstitutional policies and practices of the national energy system. The

                worsening of Nathaniel’s injuries at the hands of his government will end,

                providing substantially meaningful partial redress of his injuries. The Court will

                thereby preserve Nathaniel’s opportunity to obtain relief to safeguard his life,

                liberty, property, and equal protection of the law from irreversible and inevitable

                injury. Protecting the opportunity for freedom and happiness and safety and

                security, by eliminating a substantial federal government restraint on freedom and

                decreasing the substantial risk of irreversibility, is tremendously meaningful

                redress.

       77.      Plaintiff Aji P., by and through his guardian and mother Helaina Piper, is a 15-

year-old citizen of the U.S. and a resident of West Seattle, Washington. Aji is experiencing the

impacts of climate change caused by Defendants, and has been harmed by the increasing severity



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of such impacts. In 2014, the State of Washington had the worst wildfire in the state’s recorded

history, the Carlton Complex fire. Aji and his family were impacted by that wildfire while on a

trip through the Cascade Mountains when they were forced to breathe the smoke in the air.

During the summer of 2015, Aji has struggled to participate in his regular summer outdoor

activities because of temperatures climbing above 90 degrees Fahrenheit for extended periods,

which is highly unusual for temperate Seattle.

       78.     Aji has also experienced the negative effects of climate change on Puget Sound

and the freshwater systems and fish. The decreasing water quality in Puget Sound is causing

dead zones to occur and ocean acidification is killing fish and shellfish. Aji recreates in these

areas and enjoys seeing marine life. The impacts to shellfish and the diminishing numbers of

starfish harm Aji’s recreational and aesthetic interests. Aji has also been unable to touch or eat

shellfish in Puget Sound due to toxicity levels. Aji is distraught by seeing the ecosystems

surrounding his home harmed by climate change and ocean acidification caused by Defendants.

       79.     The impacts of climate change in other places in the western United States are

also affecting Aji. On a trip to Montana with his grandparents, Aji experienced dead forests

killed by pine bark beetles. Although Aji’s mother is from Albuquerque, New Mexico, and they

have family there, Aji and his family will not move back to New Mexico because of water

shortage issues and the declining aquifer.

       80.     Aji advocates for actions to reverse and mitigate the effects of climate change

caused by Defendants. He is a member of Plant for the Planet Leadership Corps, in which he

plants trees, helps restore local forests, and speaks to the public about climate change impacts.

He is also a member of Rising Youth for a Sustainable Earth. Aji is a vegetarian and he and his




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family try to limit the time they spend driving as much as possible, opting to walk, bike, or take

public transportation.

       80-A. Aji’s individual injuries to his physical and mental health, his personal security

and safety, and the natural areas he relies upon for life, sustenance, and happiness are already

occurring. Defendants’ national energy system is a substantial cause of those actual injuries.

           a. Defendants’ national energy system worsens Aji’s individual injuries each year.

               Aji is additionally injured by each passing year of losing the ability to prevent the

               worsening of his injuries. Aji is also injured by each passing year of losing the

               ability to prevent the irreversibility and inevitability of a lifetime of worsening

               hardship to his physical and mental health, his personal security and safety, and

               the natural areas he relies upon for life, sustenance, and happiness. The further

               loss of the ability to protect his life, while suffering these harms, is a separate

               concrete psychological, emotional, and mental health injury to Aji. Another

               separate injury is the deprivation of Aji’s ability to act in his own interest to

               preserve the window of opportunity to prevent irreversible and inevitable injury

               going forward and therefore protect his life, all the while suffering these ongoing

               harms each year from Defendants’ national energy system, which they know is

               causing these injuries. The opportunity to prevent irreversible and inevitable

               injuries is still available now and is being progressively foreclosed by the ongoing

               national energy system. When the irreversibility of these harms becomes certain,

               redress will be forever foreclosed by this Court or the political majority through

               the ballot box. Thus, Aji’s injuries stem precisely from Defendants’ belief, and




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         resultant policies and practices, that the national energy system is constitutionally

         compliant.

      b. Every attempt Aji makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Aji and which foreclose

         his ability to obtain relief that will protect himself. The composition of the United

         States national energy system is the most important factor in the world as to

         whether Aji can prevent his irreversible injury. If the national energy system

         remains predominantly fossil fuel-based, Aji will permanently lose his ability to

         obtain relief that will protect himself and his rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Aji would obtain relief to safeguard his life, liberty, and equal

         protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional

         policies and practices of the national energy system. The worsening of Aji’s

         injuries at the hands of his government will end, providing substantially



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               meaningful partial redress of his injuries. The Court will thereby preserve Aji’s

               opportunity to obtain relief to safeguard his life, liberty, and equal protection of

               the law from irreversible and inevitable injury. Protecting the opportunity for

               freedom and happiness and safety and security, by eliminating a substantial

               federal government restraint on freedom and decreasing the substantial risk of

               irreversibility, is tremendously meaningful redress.

       81.     Plaintiff Levi D., by and through his guardian and mother Leigh-Ann Draheim, is

a citizen of the U.S. and a resident of Indialantic, Florida. Levi is 8-years-old and he is

experiencing the impacts of climate change and working to take action and spread awareness

about protecting the climate system.

       82.     Levi lives with his Mother and maternal grandparents in Indialantic, which is

situated on a barrier island that separates the Indian River Lagoon from the Atlantic Ocean. The

barrier island consists of primarily unconsolidated sand that sits on top of porous limestone

bedrock. During the summer of 2015, Levi experienced a lack of rainfall that the island usually

receives in the afternoons. Temperatures have been abnormally hot, making it harder than

normal for Levi and his family to grow vegetables and herbs.

       83.     The beaches on the island are Levi’s backyard. During the summer months he

spends time at the beach five days a week. In the last couple of years, Levi has noticed a

Sargassum seaweed invasion, with seaweed covering the beaches along the island. Levi is

having a hard time enjoying beach activities because the rotting seaweed smells like sulfur. Levi

has also seen climate impacts affect ecosystems at the beach, and has specifically experienced

fewer sea turtles in the area. Levi can no longer swim in the Indian River Lagoon because of

increasing flesh-eating bacteria and dead fish. Levi and his family are able to smell the dead fish



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in their community. He is also now limited by where he can swim in the Atlantic Ocean, due to

an increase in flesh-eating bacteria.

        84.      Levi and his family regularly visit the City of Satellite Beach. In 2009, Satellite

Beach, an 8-minute drive from Levi’s house, authorized a project to assess rising sea levels and

work to mitigate impacts. In July 2010, the Sea Level Rise Subcommittee of Satellite Beach

provided the results of the study: the City needs to plan for sea level rise. The island’s real estate

prices are declining, and Levi’s family knows the property they own will decrease in value, and

could eventually be lost completely, due to sea level rise caused by climate change and melting

ice.

        85.      In the last two years, Levi’s severe allergies have made it harder for him to spend

time outdoors. Experiencing nature and wilderness in healthy conditions is important for Levi’s

emotional wellbeing, and his fears for the future of the beaches and springs in Florida and the

wildlife that inhabit them are causing adverse psychological impacts to Levi. Levi works hard to

keep the environment healthy on the coast by cleaning up the beaches and maintaining the dunes;

at church by teaching his friends about how they can help the environment; and at home by

conserving water by taking short timed showers, eating a vegetarian diet, and recycling.

        85-A. Levi’s individual injuries to his physical and mental health, his personal security

and safety in his home, his family’s property, and the waters and beaches and wildlife he relies

upon for life, sustenance, and happiness are already occurring. Defendants’ national energy

system is a substantial cause of those actual injuries.

              a. Defendants’ national energy system worsens Levi’s individual injuries each year.

                 Levi is additionally injured by each passing year of losing the ability to prevent

                 the worsening of his injuries. Levi is also injured by each passing year of losing



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         the ability to prevent the irreversibility and inevitability of a lifetime of worsening

         hardship to his physical and mental health, his personal security and safety in his

         home, his family’s property, and the waters and beaches and wildlife he relies

         upon for life, sustenance, and happiness. The further loss of the ability to protect

         his life, while suffering these harms, is a separate concrete psychological,

         emotional, and mental health injury to Levi. Another separate injury is the

         deprivation of Levi’s ability to act in his own interest to preserve the window of

         opportunity to prevent irreversible and inevitable injury going forward and

         therefore protect his life, all the while suffering these ongoing harms each year

         from Defendants’ national energy system, which they know is causing these

         injuries. The opportunity to prevent irreversible and inevitable injuries is still

         available now and is being progressively foreclosed by the ongoing national

         energy system. When the irreversibility of these harms becomes certain, redress

         will be forever foreclosed by this Court or the political majority through the ballot

         box. Thus, Levi’s injuries stem precisely from Defendants’ belief, and resultant

         policies and practices, that the national energy system is constitutionally

         compliant.

      b. Every attempt Levi makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Levi and which foreclose

         his ability to obtain relief that will protect himself. The composition of the United



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                States national energy system is the most important factor in the world as to

                whether Levi can prevent his irreversible injury. If the national energy system

                remains predominantly fossil fuel-based, Levi will permanently lose his ability to

                obtain relief that will protect himself and his rights.

             c. If this Court should issue a declaratory judgment to resolve this actual

                constitutional case and controversy between these young Plaintiffs and these

                government Defendants as to whether Defendants’ national energy system has

                violated and continues to violate Plaintiffs’ constitutional rights as described

                herein, the Court will have ordered a change in legal status that would have

                practical consequences. A declaratory judgment would significantly increase the

                likelihood that Levi would obtain relief to safeguard his life, liberty, property, and

                equal protection of the law. If the Court declares the nation’s energy system

                unconstitutional in its present form, Defendants will correct the unconstitutional

                policies and practices of the national energy system. The worsening of Levi’s

                injuries at the hands of his government will end, providing substantially

                meaningful partial redress of his injuries. The Court will thereby preserve Levi’s

                opportunity to obtain relief to safeguard his life, liberty, property, and equal

                protection of the law from irreversible and inevitable injury. Protecting the

                opportunity for freedom and happiness and safety and security, by eliminating a

                substantial federal government restraint on freedom and decreasing the substantial

                risk of irreversibility, is tremendously meaningful redress.

       86.      Plaintiff Jayden F., by and through her mother and guardian Cherri Foytlin, is a

12-year-old citizen of the U.S. and a resident of Rayne, Louisiana. In 2005, Jayden moved to



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Louisiana Since then, she has lived through three hurricanes and many more tropical storms.

Jayden has suffered harm and will continue to suffer harm to her and her family’s personal

safety, bodily integrity, property, economic stability, food security, and recreational interests

from rising sea levels, increased frequency and severity of hurricanes with ensuing storm surges,

flooding, and high winds, all associated with or exacerbated by climate change caused by

Defendants. Jayden is also directly harmed by Defendants’ support and promotion of fossil fuel

development in Louisiana, which adversely impacts her air and water quality and health and

exacerbates the climate impacts she has experienced and will experience in the region.

       87.     Impacts from climate change and fossil fuel development threaten Jayden’s life,

liberty, and property. With warmer ocean water temperatures, hurricanes are becoming more

frequent and more destructive. Rising sea level means higher storm surges, even from relatively

minor storms, which increase coastal flooding, storm damage, and land loss where she lives.

Defendants’ approval of the dredging of canals through marshes for oil and gas exploration and

pipelines has compounded the problem by its destruction of natural storm barriers, increased

erosion, and intense saltwater intrusion, resulting in additional land loss. In 2008, during

Hurricane Gustav, Jayden’s family lost power and water for a week.

       88.     The air and water pollution from the development of fossil fuels in southern

Louisiana also threaten the health of Jayden and her family. Jayden and her family used to enjoy

visiting the beach frequently, swimming in the Gulf of Mexico, crabbing, and eating seafood, but

she has avoided these activities since the BP oil spill because residual oil is continually dispersed

across the Gulf when the increasing number of storms or hurricanes come ashore due to climate

change, making such normally enjoyable activities dangerous. Jayden enjoys traveling and

visiting family friends all along the Gulf Coast in every state from Texas to Florida and plans to



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do so in the future, but the coastal impacts from climate change caused by Defendants, including

increased coastal flooding, storm damage, and land loss, will impair her ability to do so in the

future.

          88-A. Jayden’s individual injuries to her personal security, her safety and bodily

integrity, her mental health, her home and property, her food and water security, the air she

breathes, and her pursuit of happiness in nature, are already occurring. Defendants’ national

energy system is a substantial cause of those actual injuries.

             a. Defendants’ national energy system worsens Jayden’s individual injuries each

                 year. Jayden is additionally injured by each passing year of losing the ability to

                 prevent the worsening of her injuries. Jayden is also injured by each passing year

                 of losing the ability to prevent the irreversibility and inevitability of a lifetime of

                 worsening hardship to her personal security, her safety and bodily integrity, her

                 mental health, her home and property, her food and water security, the air she

                 breathes, and her pursuit of happiness in nature. The further loss of the ability to

                 protect her life, while suffering these harms, is a separate concrete psychological,

                 emotional, and mental health injury to Jayden. Another separate injury is the

                 deprivation of Jayden’s ability to act in her own interest to preserve the window

                 of opportunity to prevent irreversible and inevitable injury going forward and

                 therefore protect her life, all the while suffering these ongoing harms each year

                 from Defendants’ national energy system, which they know is causing these

                 injuries. The opportunity to prevent irreversible and inevitable injuries is still

                 available now and is being progressively foreclosed by the ongoing national

                 energy system. When the irreversibility of these harms becomes certain, redress



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         will be forever foreclosed by this Court or the political majority through the ballot

         box. Thus, Jayden’s injuries stem precisely from Defendants’ belief, and resultant

         policies and practices, that the national energy system is constitutionally

         compliant.

      b. Every attempt Jayden makes to safeguard her life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Jayden and which

         foreclose her ability to obtain relief that will protect herself. The composition of

         the United States national energy system is the most important factor in the world

         as to whether Jayden can prevent her irreversible injury. If the national energy

         system remains predominantly fossil fuel-based, Jayden will permanently lose her

         ability to obtain relief that will protect herself and her rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Jayden would obtain relief to safeguard her life, liberty, property,

         and equal protection of the law. If the Court declares the nation’s energy system

         unconstitutional in its present form, Defendants will correct the unconstitutional



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               policies and practices of the national energy system. The worsening of Jayden’s

               injuries at the hands of her government will end, providing substantially

               meaningful partial redress of her injuries. The Court will thereby preserve

               Jayden’s opportunity to obtain relief to safeguard her life, liberty, property, and

               equal protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       89.     Plaintiff Nicholas V., by and through his legal guardian and mother, Marie

Venner, is a 14-year-old citizen of the U.S. and a resident of Lakewood, Colorado. Nick sees

climate change caused by Defendants as a threat to human civilization and has given numerous

presentations educating people about the science of climate change. As a Catholic, he is drawn

to the intersection between his church and environmental stewardship, and was inspired by Pope

Francis’s 2015 encyclical, On Care for Our Common Home.

       90.     Pine beetles and wildfires, forcing Nick to stop visiting some of his favorite

places, have destroyed forests in Colorado, where Nick used to go hiking, fishing, and camping.

Nick enjoys fishing, especially in Boulder Creek, but due to wildfires and variable water flows

from droughts and floods, he has not been able to go fishing for the past three years. Nick and

his family grow fruit trees, have a garden, and buy food from local farmers. Hail, rainstorms,

drought, and pests have ruined their garden several years over the last decade. The unusual

weather has affected Nick’s consumption of the locally grown produce available through

community-supported agriculture. Rising summer temperatures make it harder for Nick to enjoy




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outdoor activities, including hiking, biking, and tennis. Warmer winters mean Nick gets to ski

less; moreover, when he does go skiing, his favorite parts of the mountain frequently are closed.

       90-A. Nick suffers from asthma that is made worse by fossil fuel burning and climate

destabilization, especially the increase in the number of very hot days and the extended wildfire

and smoke season where Nick lives, breathes, and recreates. Nick’s mental health is harmed by

both his physical injuries and living in a nation whose government is knowingly harming him

and Earth’s ability to sustain human life. Nick’s individual injuries to his lungs, and his overall

physical and mental health, and access to the food, forests, and waters he relies upon for life,

sustenance, and happiness are already occurring. Defendants’ national energy system is a

substantial cause of those actual injuries.

           a. Defendants’ national energy system worsens Nick’s individual injuries each year.

               Nick is additionally injured by each passing year of losing the ability to prevent

               the worsening of his injuries. Nick is also injured by each passing year of losing

               the ability to prevent the irreversibility and inevitability of a lifetime of worsening

               hardship to his lungs, and his overall physical and mental health, and access to the

               food, forests, and waters he relies upon for life, sustenance, and happiness. The

               further loss of the ability to protect his life, while suffering these harms, is a

               separate concrete psychological, emotional, and mental health injury to Nick.

               Another separate injury is the deprivation of Nick’s ability to act in his own

               interest to preserve the window of opportunity to prevent irreversible and

               inevitable injury going forward and therefore protect his life, all the while

               suffering these ongoing harms each year from Defendants’ national energy

               system, which they know is causing these injuries. The opportunity to prevent



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         irreversible and inevitable injuries is still available now and is being progressively

         foreclosed by the ongoing national energy system. When the irreversibility of

         these harms becomes certain, redress will be forever foreclosed by this Court or

         the political majority through the ballot box. Thus, Nick’s injuries stem precisely

         from Defendants’ belief, and resultant policies and practices, that the national

         energy system is constitutionally compliant.

      b. Every attempt Nick makes to safeguard his life, liberties, property, and equal

         protection of the law fails because Defendants view the national energy system as

         constitutionally compliant. As long as Defendants operate under the belief that the

         national energy system is constitutionally compliant, Defendants will continue to

         power it with fossil fuels at levels that are dangerous for Nick and which foreclose

         his ability to obtain relief that will protect himself. The composition of the United

         States national energy system is the most important factor in the world as to

         whether Nick can prevent his irreversible injury. If the national energy system

         remains predominantly fossil fuel-based, Nick will permanently lose his ability to

         obtain relief that will protect himself and his rights.

      c. If this Court should issue a declaratory judgment to resolve this actual

         constitutional case and controversy between these young Plaintiffs and these

         government Defendants as to whether Defendants’ national energy system has

         violated and continues to violate Plaintiffs’ constitutional rights as described

         herein, the Court will have ordered a change in legal status that would have

         practical consequences. A declaratory judgment would significantly increase the

         likelihood that Nick would obtain relief to safeguard his life, liberty, and equal



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               protection of the law. If the Court declares the nation’s energy system

               unconstitutional in its present form, Defendants will correct the unconstitutional

               policies and practices of the national energy system. The worsening of Nick’s

               injuries at the hands of his government will end, providing substantially

               meaningful partial redress of his injuries. The Court will thereby preserve Nick’s

               opportunity to obtain relief to safeguard his life, liberty, property, and equal

               protection of the law from irreversible and inevitable injury. Protecting the

               opportunity for freedom and happiness and safety and security, by eliminating a

               substantial federal government restraint on freedom and decreasing the substantial

               risk of irreversibility, is tremendously meaningful redress.

       91.     Plaintiff Earth Guardians is a tribe of young activists, artists and musicians from

across the globe stepping up as leaders and growing a resilient movement with youth, at the

forefront, who are empowered to create a sustainable world for themselves and future

generations. Earth Guardians has crews and youth members across the United States and

globally, including in Eugene, Oregon. Earth Guardians’ Rising Youth for a Sustainable

Earth is a diverse council of young climate leaders who are taking action and empowering youth

around the world to do the same. The Generation RYSE Youth Council is made up of 16 youth

leaders from around the nation, ages 10-21, who conduct trainings and sustainability initiatives

in their own communities, working to protect their climate system. Members of Earth Guardians

and RYSE are youth beneficiaries of the federal public trust and are harmed by the substantial

impairment and alienation of their public trust resources. Their fundamental rights are infringed

by Defendants ongoing actions to allow fossil fuel exploitation, which endangers their lives,

liberties and property.



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       92.     Plaintiff Future Generations, by and through their Guardian Dr. James

Hansen, retain the legal right to inherit well-stewarded public trust resources and to protection of

their future lives, liberties, and property – all of which are imminently threatened by the actions

of Defendants challenged herein. Guardian Hansen stands in this case both to demand effective

governmental action to protect these fundamental rights and, until that is done, a cessation of

governmental action that exacerbates the imposed risk.

       93.     Dr. James Hansen is the former Director of the NASA Goddard Institute for

Space Studies, and is presently an Adjunct Professor at Columbia University’s Earth Institute,

where he directs a program in Climate Science, Awareness, and Solutions. Dr. Hansen trained in

physics and astronomy in the space science program of Dr. James Van Allen at the University of

Iowa, receiving a bachelor’s degree with highest distinction in physics and mathematics,

master’s degree in astronomy, and Ph.D. in physics in 1967. In his early research Dr. Hansen

used telescopic observations of Venus to extract detailed information on the physical properties

of the cloud and haze particles that veil Venus. Since the mid-1970s, Dr. Hansen has focused on

studies and computer simulations of the Earth’s climate, for the purpose of understanding the

human impact on global climate. His testimony on climate change to Congress in the 1980s

helped raise broad awareness of the global warming issue.

       94.     In recent years, Dr. Hansen has drawn attention to the danger of passing climate

tipping points, producing irreversible climate impacts that would yield a different planet from the

one on which civilization developed. Dr. Hansen has also outlined steps that are needed to

stabilize climate. Dr. Hansen’s most recent work clearly establishes that danger and those steps,

and it is summarized in Dr. Hansen’s declaration, which Plaintiffs attach hereto as Exhibit A.




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Dr. Hansen has long advocated for government actions to protect the climate system for present

and future generations.

       95.     Dr. Hansen is an elected member of the United States National Academy of

Sciences (1995) and a recipient of the Heinz Award for the Environment (2001), the Leo Szilard

Award for Use of Physics for the Benefit of Society (2007), the American Association for the

Advancement of Science Award for Scientific Freedom and Responsibility (2007), the Sophie

Prize (2010), and the Blue Planet Prize (2010).

       95-A. As described above, Youth Plaintiffs are actually harmed in uniquely individual

and particularized ways by Defendants’ fossil fuel energy policies and practices that make up the

national energy system. Youth Plaintiffs are actually harmed physically by the national energy

system. Youth Plaintiffs are actually harmed psychologically, mentally, and emotionally by the

national energy system. Youth Plaintiffs are also being injured because their federal government

continues to put them at greater risk of even more physical and mental health harm than they

already experience, as the policies and practices that make up the national energy system

continue and the climate crisis worsens. The United States’ ongoing energy system places Youth

Plaintiffs at great risk of sustaining additional irreversible physical and mental health harms.

The national energy system hastens the irreversibility and worsening of the existing injuries and

that hastening in and of itself is an injury to Youth Plaintiffs. Declaratory judgment in Youth

Plaintiffs’ favor would be substantially likely to stop the United States’ hastening of the

environmental apocalypse that locks in irreversible injuries to Plaintiffs.

       95-B. If the national energy system is not declared unconstitutional, Youth Plaintiffs

will disproportionately and irrevocably suffer from the worsening physical and mental health

harms caused by the national energy system and the hastening irreversibility of them. If the



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energy system is not declared unconstitutional, the energy system will inflict additional

irreversible and catastrophic harm on these young Plaintiffs. If the energy system is declared

unconstitutional, on information and belief, Defendants will take corrective action and change

and/or cease the policies and practices that make the national energy system unconstitutional. If

the national energy system is declared unconstitutional and Defendants thereafter abide by this

Court’s declaratory judgment, it is substantially likely that Youth Plaintiffs’ injuries will be

minimized, reduced to some meaningful extent and in some cases abated entirely. It is also

substantially likely that the hastening of the irreversibility of these injuries will slow or cease.

        95-C. The systematic conduct making up the national energy system, which has caused

and is causing Plaintiffs’ ongoing injuries, includes government policies, practices, and

aggregate actions, such as permits, licenses, leases, subsidies, standards, and authorizations for

the extraction, development, processing, combustion, and transportation of fossil fuel. Until the

Court resolves this constitutional controversy, these young Plaintiffs will continue to be harmed

and put at extreme risk by the GHG emissions caused by Defendants’ national energy system

and Defendants will be free to continue to operate the national energy system to cause harmful

GHG emissions in an unconstitutional manner, avoiding the constitutional check of Article III

courts and undermining the separation of powers that the Framers intended. Without declaratory

relief in the first instance, Defendants will be free to continue this systematic conduct that “may

hasten an environmental apocalypse” and carry out “the Nation’s willful destruction.”

        95-D. Declaratory judgment will eliminate the current and substantial legal controversy

and inform the parties of the unlawfulness or lawfulness of the government’s national energy

system, especially as to whether Defendants’ policies, practices, and aggregate actions cause a

deprivation of rights secured by the Constitution. That declaratory judgment will have immediate



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practical consequences and will be substantially likely to provide meaningful redress because

upon information and belief Defendants will abide by any declaratory judgment order and bring

the national energy system into constitutional compliance.

        96.     Youth Plaintiffs2 represent the youngest living generation, beneficiaries of the

public trust. Youth Plaintiffs have a substantial, direct, and immediate interest in protecting the

atmosphere, other vital natural resources, their quality of life, their property interests, and their

liberties. They also have an interest in ensuring that the climate system remains stable enough to

secure their constitutional rights to life, liberty, and property, rights that depend on a livable

future, in other words, a stable climate system capable of sustaining human life. A livable future

includes the opportunity to drink clean water, to grow food, to be free from direct and imminent

property damage caused by extreme weather events, to benefit from the use of property, and to

enjoy the abundant and rich biodiversity of our Nation. Youth Plaintiffs are suffering both

immediate and threatened injuries as a result of actions and omissions by Defendants alleged

herein and will continue to suffer life-threatening and irreversible injuries without the relief

sought. Youth Plaintiffs have suffered and will continue to suffer harm to their health, personal

safety, bodily integrity, cultural and spiritual practices, economic stability, food security,

property, and recreational interests from the impacts of climate change and ocean acidification

caused by Defendants. Youth Plaintiffs have also been denied the procedural right to participate

in decision-making regarding the Department of Energy’s approval of LNG exports from the

Jordan Cove LNG terminal in Coos Bay, Oregon. Youth Plaintiffs, and all of them, have

suffered procedural harm as a result of this denial.

        97.     [DELETED]



2
     The term “Youth Plaintiffs” refers to each of the individually named Plaintiffs.

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                                          DEFENDANTS

         98.    Defendant the United States of America (“United States”) is the sovereign

trustee of national natural resources, including air, water, sea, shores of the sea, and wildlife. In

its sovereign capacity, the United States controls our nation’s air space and atmosphere. In its

sovereign capacity, the United States controls federal public lands, waters, and other natural

resources, including fossil fuel reserves. In its sovereign capacity, the United States controls

articles of interstate and international commerce, including extraction, development, and

conditions for the utilization of fossil fuels, such as allowing CO2 emissions from major sources.

As a result of both its exercise of control over the national energy system, exercised through its

fossil fuel energy policies, practices, and aggregate actions, as well as its failure to limit and

phase-out CO2 emissions, the United States has caused dangerous levels of CO2 to build up in

the atmosphere. That build-up seriously threatens the relatively stable climate system that

enabled civilization to develop over the last 10,000 years. It impairs essential national public

trust resources required by Youth Plaintiffs and future generations. This failure to prevent the

present and looming climate crisis constitutes a breach in the government’s basic duty of care to

protect Plaintiffs’ fundamental constitutional rights. United States’ ongoing energy system places

Youth Plaintiffs at great risk of sustaining additional irreversible physical and mental health

harms.

         99.    [DELETED]

         100.   Defendant the Office of the President of the United States includes the Council

on Environmental Quality (“CEQ”), the Office of Management and Budget (“OMB”), and the

Office of Science and Technology Policy (“OSTP”).




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         a.    CEQ’s mission is to promote the well-being of our country for both

               current and future generations, which includes curbing the carbon

               pollution that is causing climate change.

         b.    OMB serves as the implementation and enforcement arm of all

               Presidential policy, including budget development and execution,

               coordination and review of all significant federal regulations, and issuance

               of executive orders. OMB promotes the government’s affirmative

               aggregate acts in the areas of fossil fuel production, consumption, and

               combustion by coordination and review of Federal regulations by

               executive agencies and review and assessment of information collection

               requests.

         c.    OSTP leads interagency efforts to develop and implement sound science

               and technology policies and budgets, and to work with state and local

               governments, the scientific community, private sectors, and other nations

               toward this end. Pursuant to authority granted by Congress under National

               Science and Technology Policy, Organization, and Priorities Act of 1976,

               President Bush’s 2001 Executive Order 13226, and President Obama’s

               2010 Executive Order 13539, OSTP has been involved in the President’s

               strategy for addressing climate change. Despite its charge to ensure that

               the policies of the Executive are informed by sound science, OSTP has

               permitted additional fossil fuel projects, including extraction, processing,

               transportation, combustion, and exportation of coal, oil, and gas from

               conventional and unconventional reserves.



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       101.    The policies and practices promoted by CEQ, OMB, and OSTP have been

contrary to sound science. These policies and practices have led to the current dangerous levels

of atmospheric CO2, dangerous interference with a stable climate system, and violations of

Plaintiffs’ constitutional rights. Specifically, the policies and practices continue to allow

dangerous levels of carbon pollution and, at best, promise very modest future limitations and no

near-term CO2 phase out, as is required to preserve a stable climate system capable of sustaining

human life.

       102.    Defendant Matt Lee-Ashley is the current Acting Director of CEQ, and in his

official capacity is responsible for all actions of CEQ.

       103.    Defendant Rob Fairweather is the current Acting Director of OMB, and in his

official capacity is responsible for all actions of OMB.

       104.    Defendant Kei Koizumi is the current Acting Director of OSTP, and in his

official capacity is responsible for all actions of OSTP.

       105.    Defendant the United States Department of Energy (“DOE”) is a federal

agency whose mission is to advance the national, economic, and energy security of the United

States through clean, reliable, and affordable energy; to protect the environment; and to

encourage innovations in science and technology that improve the quality of life. DOE’s

mission statement is to “ensure America’s security and prosperity by addressing . . .

environmental . . . challenges through transformative science.” DOE through the Office of Fossil

Energy issues short-term and long-term authorizations for the import and export of natural gas

pursuant to authority granted by Congress under the Natural Gas Act of 1938, 15 U.S.C. § 717,

as amended by section 201 of the Energy Policy Act of 1992, Pub. L. No. 102-486, § 201, 106

Stat. 2776, 2866. DOE permits domestic energy production and interstate commerce of fossil



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fuels pursuant to authority granted by Congress under the Department of Energy Organization

Act of 1977, 42 U.S.C. § 7112. DOE through the Office of Energy Efficiency and Renewable

Energy, regulates the minimum number of light duty alternative fuel vehicles required in certain

federal fleets pursuant to authority granted by Congress under the Energy Policy Act of 1992.

DOE, through the Building Technology Office, also sets energy efficiency standards, which

dictate energy consumption rates for appliances and equipment pursuant to authority granted by

Congress under The Energy Policy and Conservation Act, 42 U.S.C. § 6201, as amended.

               a.      The Federal Energy Regulatory Commission (“FERC”), an agency of

                       DOE, regulates the transmission and sale of electricity and natural gas in

                       interstate commerce; regulates the transportation of oil by pipeline in

                       interstate commerce; reviews proposals for natural gas terminals,

                       pipelines, and storage facilities; ensures the safe operation and reliability

                       of proposed and operating LNG terminals; and monitors and investigates

                       energy markets.

       106.    DOE has knowingly failed to perform its duty to transition our nation away from

the use of fossil fuel energy. DOE’s actions and omissions have substantially contributed to

unsafe levels of atmospheric CO2 and a dangerous climate system.

       107.    DOE, through the Office of Fossil Energy, issued DOE/FE Order No. 3041,

granting long-term multi-contract authorization to export liquefied natural gas by vessel from the

Jordan Cove LNG Terminal in Coos Bay.

       108.    Defendant Jennifer Granholm is the current Secretary of Energy and, in her

official capacity, is responsible for all actions of DOE.




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       109.    Defendant the United States Department of the Interior (“DOI”) manages one-

fifth of our nation’s land, including forests and grazing lands, thirty-five thousand miles of

coastline, and 1.76 billion acres of the Outer Continental Shelf. DOI’s mission is to protect

America’s natural resources and heritage, honor cultures and tribal communities, and supply the

energy to power the future of our country. DOI claims to be taking the lead in protecting our

nation’s resources from climate impacts and in managing federal public lands to mitigate climate

change.

       110.    DOI, through the Bureau of Land Management (“BLM”), leases minerals and

manages oil and gas development activities on over 570 million acres of federal lands, as well as

on private lands where the federal government retained mineral rights, pursuant to the authority

granted by Congress in the Mineral Leasing Act of 1920, 30 U.S.C. § 182, as amended, and the

Federal Land Policy and Management Act of 1976, 43 U.S.C. § 1719(a). BLM and other federal

agencies manage most of the land suitable for oil and gas development in the U.S.

       111.    DOI, through the Bureau of Ocean Energy Management (“BOEM”), leases the

Outer Continental Shelf, the submerged lands, subsoil, and seabed, lying between the seaward

extent of the jurisdiction of the States and the seaward extent of Federal jurisdiction, for oil and

gas development pursuant to authority granted by Congress under the Outer Continental Shelf

Lands Act of 1953, 43 U.S.C. § 1333(a), as amended. As of January 2015, BOEM was

administering more than 6,000 active oil and gas leases covering nearly 33 million Outer

Continental Shelf acres. Pursuant to authority granted by Congress under the Energy Policy Act

of 2005, Pub. L. No. 109-58, 119 Stat. 594, 760, DOI repealed the 160-acre cap on coal leases,

allowed the advanced payment of royalties from coal mines, and provided incentives to

companies to drill for oil in the Gulf of Mexico.



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       112.    Through its policies and practices in permitting the extraction of coal, coal-bed

methane, oil, oil-shale and natural gas, and oil, coal and electric infrastructure and transmission

facilities, and logging, livestock grazing, and off-road vehicle use on public land, the DOI is

substantially contributing to dangerous levels of atmospheric CO2 and a dangerous climate

system in our Nation.

       113.    Defendant Scott de la Vega is the current Acting Secretary of Interior and, in his

official capacity, is responsible for all actions of DOI.

       114.    Defendant the United States Department of Transportation (“DOT”) is a

federal agency overseeing this Nation’s aviation, road, highway, railway, truck, and marine

transportation infrastructure. DOT’s regulations of emissions related to that infrastructure play a

vital role in the Federal Government’s response to climate change.

               a.       DOT, through the Federal Aviation Administration, the Federal Highway

                        Administration, and the Pipeline and Hazardous Materials Safety

                        Administration, oversees and regulates the spending programs that finance

                        construction and maintenance of our nation’s transportation infrastructure,

                        pursuant to authority granted by Congress under the Department of

                        Transportation Act of 1966, 49 U.S.C. § 305, as amended.

               b.       DOT, through the National Highway Traffic Safety Administration, sets

                        fuel economy standards for U.S. vehicle manufacturers, pursuant to

                        authority granted by Congress under the Energy Policy and Conservation

                        Act of 1975, Pub. L. No. 94–163, § 301, 89 Stat. 902, 903, 905, as

                        amended by the Energy Independence and Security Act of 2007, 49

                        U.S.C. § 32902.



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       115.    With the power to regulate the means of transportation throughout our country,

DOT has the responsibility to ensure that all modes of transportation use only clean energy and

eliminate dangerous carbon pollution. Further, DOT permits the transport of fossil fuels via

truck and rail. DOT’s stated mission is to “[enhance] the quality of life of the American people,

today and into the future.” DOT acknowledges the severity of the threats of climate change, yet

continues to facilitate the severity of climate change impacts by contributing approximately 27%

of U.S. CO2 emissions in 2013.

       116.    Defendant Pete Buttigieg is the current Secretary of Transportation and, in his

official capacity, is responsible for all DOT policies and practices.

       117.    Defendant the United States Department of Agriculture (“USDA”) is a federal

agency whose vision statement expresses the agency’s goal to preserve and conserve our nation’s

natural resources. USDA’s mission statement states that it will use the best available science as

it carries out its responsibilities in caring for natural resources. USDA has authority over our

nation’s food and agriculture, as well as many natural resources, including national forests,

which serve the vital role of absorbing CO2 from our atmosphere—commonly referred to as

“carbon sequestering.”

               a.      USDA, through the U.S. Forest Service, authorizes 25% of U.S. coal

                       production.

               b.      The U.S. Forest Service, along with BLM, coordinates and authorizes the

                       leasing of federal public lands for the extraction of oil and gas pursuant to

                       authority granted by Congress under the Mineral Leasing Act of 1920, as

                       amended by both the Federal Onshore Oil and Gas Leasing Reform Act,

                       and the Mineral Leasing Act for Acquired Lands. The U.S. Forest



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                       Service, in conjunction with BLM, issues leases and mining permits for

                       coal mining development and oversees coal mining on federal public lands

                       pursuant to authority granted by Congress, under the Mineral Leasing Act

                       of 1920, as amended, and the Surface Mining Control and Reclamation

                       Act of 1977, 30 U.S.C. § 1273.

               c.      USDA’s Forest Service Minerals & Geology Management division

                       manages and oversees aspects of the development and production of

                       energy and mineral resources, including authorizing ancillary projects

                       such as roads and pipelines that are part of the energy and minerals

                       development projects of USDA.

               d.      USDA has substantially contributed to and continues to substantially

                       contribute to a dangerous climate system by permitting large-scale logging

                       in national forests, by supporting polluting farming and agricultural

                       practices, and by authorizing fossil fuel extraction and use under its

                       jurisdiction. USDA has not protected the nation’s National Forest System

                       as a carbon sink.

       118.    Defendant Thomas J. Vilsack is the current Secretary of Agriculture and, in his

official capacity, is responsible for all actions of the USDA.

       119.    Defendant the United States Department of Commerce (“Commerce”) is a

federal agency that is supposed to promote sustainable development. Commerce has authority

over the monitoring equipment for greenhouse gas (“GHG”) emissions, giving it direct oversight

of our nation’s industries and emissions pursuant to authority granted by Congress under Title 15

of the United States Code.



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               a.      Commerce, through National Institute of Standards and Technology,

                       oversees research in energy efficiency opportunities for homes and

                       companies nationwide.

               b.      Commerce, through the International Trade Administration’s Office of

                       Energy and Environmental Industries, promotes fossil fuel export

                       opportunities, including identifying for the fossil fuel industry oil and gas

                       markets where export activities can make the biggest impact, pursuant to

                       authority granted by Congress, under the Reorganization Plan No. 3 of

                       1979.

               c.      Commerce, through the Bureau of Industry and Security (“BIS”),

                       authorizes and administers the rules governing crude oil exports pursuant

                       to 15 C.F.R. § 754.2. BIS issues permits to export crude oil to all

                       destinations, including Canada.

               d.      Commerce, through the National Oceanic and Atmospheric

                       Administration, is charged with overseeing the preservation and protection

                       of the oceans and the atmosphere pursuant to authority granted by

                       Congress under the Reorganization Plan No. 4 of 1970.

               e.      Commerce has abrogated its duty to preserve and protect the atmosphere

                       and other natural resources under its jurisdiction and has not prevented the

                       waste of the public trust in the atmosphere and oceans.

       120.    Defendant Gina Raimondo is the current Secretary of Commerce and, in her

official capacity, is responsible for all actions of Commerce.




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       121.    Defendant the United States Department of Defense (“DOD”) is a federal

agency charged with ensuring the security of this nation. DOD considers climate change a threat

multiplier for its potential to exacerbate many challenges confronting our nation, including

infectious disease, regional instability, mass migrations, and terrorism. Climate change has

impacted and will continue to impact all military installations, as well as the DOD’s supply

chains, equipment, vehicles, and weapon systems.

               a.     DOD is our nation’s largest employer and is responsible for significant

                      carbon pollution from both its vehicle fleet, and its 500 bases of military

                      infrastructure, including 300,000 buildings totaling 2.2 billion square feet.

               b.     For all exports of coal, oil, and gas by ship, the DOD’s Army Corps of

                      Engineers authorizes marine export facilities, pursuant to the Clean Water

                      Act and the Rivers & Harbors Act. The Army Corps of Engineers also

                      maintains international navigation channels, including the navigation

                      channel at Coos Bay, pursuant to authority granted by Congress under the

                      Rivers & Harbors Act. Such exports endanger the climate system on

                      which our nation and plaintiffs alike depend.

       122.    Defendant Lloyd Austin is the current Secretary of Defense and, in his official

capacity, is responsible for all actions of DOD.

       123.    Defendant the United States Department of State (“State Department”) is a

federal agency whose stated mission is to “shape and sustain a peaceful, prosperous, just, and

democratic world and foster conditions for stability and progress for the benefit of the American

people and people everywhere.” The State Department plays a lead role in Defendants’ response

to climate change. The State Department prepared the 2014 U.S. Climate Action Report, which



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states that the Federal Government is “committed to continuing enhanced action . . . to lead the

global effort to achieve a low-emission, climate resilient future.”

               a.      The State Department leads international efforts on climate change on

                       behalf of the Office of the President.

               b.      The State Department, through the Office of the Special Envoy for

                       Climate Change is the Administration’s chief climate negotiator. In 2009,

                       Special Envoy for Climate Change Todd Stern stated: “The costs of

                       inaction—or inadequate actions—are unacceptable. But along with this

                       challenge comes a great opportunity. By transforming to a low-carbon

                       economy, we can stimulate global economic growth and put ourselves on

                       a path of sustainable development for the 21st century.”

               c.      The Secretary of State receives all applications for Presidential Permits for

                       the construction, connection, operation, or maintenance, at the borders of

                       the United States, of facilities for the exportation or importation of

                       petroleum, petroleum products, coal, or other fuels, including hazardous

                       liquids to or from a foreign country, and is required to issue a Presidential

                       Permit if such exportation would serve the national interest, under

                       Executive Order 13337, and pursuant to 3 U.S.C. § 301. Specifically, the

                       State Department has jurisdiction over all cross-border oil pipelines, and

                       in the last decade has been considering and approving longer cross-border

                       projects, including those transporting oil sands crude, otherwise known as

                       tar sands. All petroleum products entering and leaving the U.S. by pipeline

                       do so under State Department approval. Currently there are at least 13



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                       active Presidential Permits for oil pipelines. The State Department has

                       consistently approved such permits, even though it has full authority and

                       discretion to deny them where fossil fuel projects endanger the nation by

                       causing or enhancing dangerous climate change.

       124.    Defendant Antony Blinken is the current Secretary of State and, in his official

capacity, is responsible for all actions of the State Department.

       125.    Defendant the United States Environmental Protection Agency (“EPA”)

permits and regulates the activities, industries, and sources of carbon pollution in the U.S. under

the Clean Air Act, the Clean Water Act, the Comprehensive Environmental Response,

Compensation, and Liability Act, the Safe Drinking Water Act, and the Resource Conservation

and Recovery Act. The stated mission of the EPA is to protect human health and the

environment and ensure that the Federal Government’s actions to reduce environmental risks are

based on the best available science. EPA sets CO2 standards for power plants, which account for

our nation’s largest source of CO2 emissions at 37% of U.S. annual emissions. EPA has

authorized, and continues to authorize installations and activities that emit prodigious amounts of

CO2, which authorizations dangerously disrupt and fail to preserve a habitable climate system –

in violation of Plaintiffs’ fundamental rights.

               a.      EPA, through the Office of Ground Water and Drinking Water and the

                       Office of Science and Technology, exempts oil and gas producers from

                       certain requirements of the Safe Drinking Water Act (thereby easing

                       regulatory burdens to oil and gas development), pursuant to authority

                       granted by Congress, under the Energy Policy Act of 2005.




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       126.    EPA abrogated its duty to implement its 1990 Plan, entitled “Policy Options

for Stabilizing Global Climate,” to reduce CO2 emissions (a pollutant under its jurisdiction) in

line with the best available science, and continues to allow CO2 emissions in excess of what is

necessary for climate stability.

       127.    That failure is not allayed by EPA’s August 3, 2015 final “Clean Power Plan”

because CO2 emissions reductions projected under the “Clean Power Plan” do not even approach

the rate required to preserve a habitable climate system. First, the “Clean Power Plan” affects

emissions only in the power sector. Second, the “Clean Power Plan” aims for power plant

emissions reductions of only approximately 32% from 2005 levels by full implementation in

2030. Those power plant emission reductions from 2005 levels would achieve only an 8-10%

reduction in total U.S. emissions by 2030. The annualized emissions reduction rate is thus, even

accepting EPA’s biased math, approximately 1.25% per year, a reduction rate that is a fifth of

that minimally required to preserve a habitable climate system. Moreover, nearly half of the

EPA-asserted emission reduction was already realized in the 2005-2014 period, namely before

the “Clean Power Plan” was finalized. Furthermore, upon information and belief, the “Clean

Power Plan” will allow fossil fuel-fired power units to continue to operate and will encourage

increased investment in, utilization, and reliance on natural gas (whose principle constituent,

methane, is a highly potential greenhouse gas). The “Clean Power Plan,” moreover, does

nothing to halt or otherwise diminish fossil fuel extraction, production, and exportation in the

United States, fails even to return U.S. emissions to 1990 levels, and continues to allow CO2

emissions far in excess of what is minimally required to secure a stable climate system. EPA’s

“Clean Power Plan,” accordingly, is not an adequate or proportionally appropriate response to




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the climate crisis. By allowing emissions to continue at dangerous levels, EPA continues to

jeopardize the climate system on which Plaintiffs depend, now and in the future.

       128.    Defendant Jane Nishida is the current Acting Administrator of EPA and, in her

official capacity, is responsible for all actions of EPA.

       129.    Pursuant to its policies and practices that make up the national energy system,

Defendants have permitted, authorized, and subsidized the extraction, production, transportation,

and utilization of fossil fuels through aggregate actions across the U.S. (and beyond).

Defendants retain authority to limit or to deny that extraction, production, transportation, and

utilization of fossil fuels, and otherwise to limit or prohibit their emissions. The vastness of our

nation’s fossil fuel enterprise renders it infeasible for Plaintiffs to challenge every instance of

Defendants’ violations and, even if feasible, challenging each of Defendants’ actions would

overwhelm the court. Nonetheless, Defendants’ liability arises from the policies and practices

that make up Defendants’ national energy system. The national energy system has substantially

caused the present climate crisis and Plaintiffs’ injuries.

       130.    Acting Director Matt Lee-Ashley, Acting Director Rob Fairweather, Acting

Director Kei Koizumi, Secretary Jennifer Granholm, Acting Secretary Scott de la Vega,

Secretary Pete Buttigieg, Secretary Thomas J. Vilsack, Secretary Gina Raimondo, Secretary

Lloyd Austin, Secretary Antony Blinken, and Acting Administrator Jane Nishida, through their

respective offices, departments, and agencies, CEQ, OMB, OSTP, DOE, DOI, DOT, USDA,

Commerce, DOD, State Department, and EPA, are primarily responsible for the United States’

energy system through authorizing, permitting, and incentivizing fossil fuel production,

consumption, transportation, and combustion, causing the atmospheric CO2 concentration to

increase to at least 400 ppm and, thus, substantial harm to Plaintiffs. Defendants have failed to



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preserve a habitable climate system for present and future generations, and instead have created

dangerous levels of atmospheric CO2 concentrations. The national energy system and the

affirmative aggregate acts, omissions, and policies and practices of Defendants that make up the

national energy system, jointly and severally, have violated and continue to violate Plaintiffs’

fundamental constitutional rights to freedom from deprivation of life, liberty, and property;

Plaintiffs’ constitutional rights to equal protection; Plaintiffs’ unenumerated inherent and

inalienable natural rights; and Plaintiffs’ rights as beneficiaries of the federal public trust.

                                     STATEMENT OF FACTS

I.      THE FEDERAL GOVERNMENT HAS KNOWN FOR DECADES THAT CARBON DIOXIDE
        POLLUTION WAS CAUSING CATASTROPHIC CLIMATE CHANGE AND THAT MASSIVE
        EMISSION REDUCTIONS AND A NATION-WIDE TRANSITION AWAY FROM FOSSIL FUELS
        WAS NEEDED TO PROTECT PLAINTIFFS’ CONSTITUTIONAL RIGHTS.

        131.    As early as 1899, scientists understood that CO2 concentrations in the atmosphere

cause heat retention on Earth and that a doubling or tripling of the CO2 content in 1899 would

significantly elevate Earth’s surface temperature. Scientists also understood that CO2 was the

determinative factor for global heating. By the turn of the 20th Century, it was widely accepted

in the scientific community that increasing the atmospheric concentration of CO2 could cause

global climate change.

        132.    By 1965, the Executive Branch reported that anthropogenic pollutants, including

CO2, impair our nation’s economy and its quality of life. In the 1965 Report of President

Lyndon Johnson’s Scientific Advisors, “Restoring the Quality of Our Environment,” the White

House confirmed that anthropogenic pollutants, including CO2, threaten “the health, longevity,

livelihood, recreation, cleanliness and happiness of citizens who have no direct stake in their

production, but cannot escape their influence.”




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       133.    For fifty years, the Executive Branch has known that “pollutants have altered on a

global scale the CO2 content of the air” through “the burning of coal, oil and natural gas.” The

Executive Branch predicted that CO2 “will modify the heat balance of the atmosphere to such an

extent that marked changes in climate, not controllable th[r]ough local or even national efforts,

could occur.” The Executive Branch warned that “carbon dioxide [gases] are accumulating in

such large quantities that they may eventually produce marked climatic change.”

       134.    Fifty years ago, the Executive Branch described the marked climatic changes

from CO2 pollution as including the melting of the Antarctic icecap, rising sea levels, warming

oceans, acidifying waters, and additional releasing of CO2 and methane due to these events. It

recommended reducing the heating of the Earth because of the extraordinary economic and

human importance of our climate system.

       135.    Fifty years ago, the White House recommended that a tax system be implemented

to tax polluters, including air pollution, “in proportion to their contribution to pollution” to

incentivize pollution reduction.

       136.    In 1969, Patrick Moynihan, then-Adviser to President Nixon, wrote a letter to

White House counsel John Ehrlichman stating that CO2 pollution resulting from burning fossil

fuels was a problem perhaps on the scale of “apocalyptic change,” threatening the loss of cities

like New York and Washington D.C. from sea level rise. The 1969 Moynihan Letter urged the

Federal Government to immediately address this threat.

       137.    In 1978, Congress passed the National Climate Program Act “to establish a

national climate program that will assist the Nation and the world to understand and respond to

natural and man-induced climate processes and their implications.” 15 U.S.C. § 2901(3).




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       138.    On June 23, 1988, Plaintiff-Guardian Dr. James Hansen, then Director of NASA’s

Institute for Space Studies and a leading climate scientist in the Federal Government, testified

before Congress that carbon pollution in the atmosphere was causing global warming and that

impacts were already being observed.

       139.    Around the time of Dr. Hansen’s testimony, Congress directed its own offices and

EPA to separately prepare reports on how to stabilize the global climate system and transition

our country away from the use of fossil fuels.

       140.    In response, in December 1990, EPA submitted a report to Congress on “Policy

Options for Stabilizing Global Climate.” The EPA’s 1990 Report concluded: “responses to

the greenhouse problem that are undertaken now will be felt for decades in the future, and lack of

action now will similarly bequeath climate change to future generations.”

       141.    The EPA’s 1990 Report called for a 50% reduction in total U.S. CO2 emissions

below 1990 levels by 2025. EPA explained that such reductions were the only pathway to

achieve Congress’ goal of stopping global warming and stabilizing the climate system. The

EPA’s 1990 Report also called for stabilizing atmospheric CO2 concentrations at 350 ppm, the

current level of that time, a response to the congressional objective that total global warming not

exceed 1.5° C above the preindustrial level. In its 1990 Report, EPA confirmed the Executive

Branch’s findings from 1965 that CO2 was a “dangerous” pollutant.

       142.    In 1991, promptly following EPA’s 1990 Report, the Congressional Office of

Technology Assessment (“OTA”) delivered to Congress its own report, “Changing By Degrees:

Steps to Reduce Greenhouse Gases.” Finding the United States was the single largest

contributor to carbon pollution, the OTA’s 1991 Report developed “an energy conservation,

energy-supply, and forest-management package that can achieve a 20- to 35-percent emissions



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reduction” through a mix of regulatory and market-based federal policies, in order to prevent

global warming and climate change. OTA reported that, if its “package” was implemented, the

Federal Government could lower CO2 emissions 35% from 1987 levels by 2015 and possibly

save the Federal Government $20 billion per year. OTA determined that the 35% necessary

reduction in CO2 emissions was only the beginning and further efforts in the 21st century would

be required to stabilize our nation’s climate system.

        143.    The OTA’s 1991 Report stated that major reductions of CO2 would require

significant new initiatives by the Federal Government and must be sustained over decades, even

before all the scientific certainties are resolved: “[I]t is clear that the decision to limit emissions

cannot await the time when the full impacts are evident. The lag time between emission of the

gases and their full impact is on the order of decades to centuries; so too is the time needed to

reverse any effects.” The OTA’s 1991 Report informed Congress that the level of emission

reductions needed would require the country to wean itself from fossil fuels. OTA also urged

that, while global warming was a problem on a global scale, U.S. leadership was critical to

solving the problem and would seriously impact what happened around the globe.

        144.    Concluding that actions would be required across the federal government, both

the EPA’s 1990 Report and the OTA’s 1991 Report concluded that an essential component of

reducing CO2 emissions was implementing a rising carbon tax.

        145.    On October 15, 1992, following receipt of the EPA and OTA Reports, the Senate

ratified the United Nations Framework Convention on Climate Change (“UNFCCC”). The

UNFCCC was executed to “protect the climate system for the benefit of present and future

generations of humankind.” The UNFCCC evidences an “overwhelming weight” of support for

protection of the atmosphere under the norms and principles of intergenerational equity.



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UNFCCC, Art. 3. The minimal objective of the UNFCCC is the “stabilization of greenhouse gas

concentrations in the atmosphere at a level that would prevent dangerous anthropogenic

interference with the climate system. Such a level should be achieved within a time frame

sufficient to allow ecosystems to adapt naturally to climate change, to ensure that food

production is not threatened and to enable economic development to proceed in a sustainable

manner.” UNFCCC, Art. 2.

       146.    The recommendations in the EPA’s 1990 Report (“Policy Options for Stabilizing

Global Climate”) and the OTA’s 1991 Report (“Changing By Degrees: Steps to Reduce

Greenhouse Gases”) were never implemented. U.S. fossil fuel production, consumption, and

combustion all continued to accelerate at dangerous speeds for decades.

       147.    On December 7, 2009, nearly 17 years after the United States ratified the

UNFCCC, the then-Administrator of EPA, Lisa Jackson, issued EPA’s formal endangerment

finding under the Clean Air Act. The finding stated that current and projected atmospheric

concentrations of greenhouse gases including, in particular, CO2, threatened the public health

and welfare of current and future generations. EPA issued its endangerment determination only

after being compelled to do so by the U.S. Supreme Court in Massachusetts v. EPA, 549 U.S.

497 (2007).

       148.    On January 2, 2011, EPA commenced partial regulation of greenhouse gases

under the Clean Air Act from mobile and stationary sources of air pollution.

       149.    More than two decades have passed since the EPA’s 1990 Report and the OTA’s

1991 Report were issued to Congress. Little has been accomplished in the way of phasing out

emissions even though, as DOE admits in its strategic plan, “our responsibility to future




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generations is to eliminate most of our carbon emissions and transition to a sustainable energy

future.”

         150.   During the last decade, Defendants have repeatedly stated that allowing “business

as usual” CO2 emissions will imperil future generations with dangerous and unacceptable

economic, social, and environmental risks. As Defendants have acknowledged, the use of fossil

fuels is a major source of these emissions, placing our nation on an increasingly costly, insecure,

and environmentally dangerous path.

 II.     IN SPITE OF KNOWING OF THE SEVERE DANGERS POSED BY CARBON POLLUTION,
         DEFENDANTS CREATED AND ENHANCED THE DANGERS THROUGH FOSSIL FUEL
         EXTRACTION, PRODUCTION, CONSUMPTION, TRANSPORTATION, AND EXPORTATION

         A.     Despite the Known Danger, Defendants Caused Climate Instability and
                Allowed U.S. Fossil Fuel Extraction, Production, Consumption,
                Transportation, and Exportation and Associated Emissions, to Dangerously
                Increase

         151.   Through its policies, practices, and aggregate acts, the United States has long had

and continues to have a national energy system that has made fossil energy the dominant form of

energy used in the United States. In 2014, over 80% of U.S. energy comes from fossil fuels.

Between 1751 and 2014, the United States has been responsible for emitting 25.5% of the

world’s cumulative CO2 emissions to the atmosphere from within its borders. Those emissions

do not account for the embedded emissions in imported goods and materials that are consumed

in the United States. Defendants enabled and permitted those cumulative emissions.

         152.   In the last fifty years, total U.S. production and consumption of fossil fuels

drastically increased.

         153.   Acting with deliberate indifference, Defendants have not implemented, or

complied with, the EPA’s 1990 Report and the OTA’s 1991 Report to reduce carbon pollution

from fossil fuels, stop global warming, and protect the climate system for future generations.


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Had Defendants followed the EPA’s 1990 Report and the OTA’s 1991 Report, CO2 emissions

today would be reduced by 35% from 1987 levels. Instead, since 1991, Defendants have

knowingly allowed at least an additional 130,466 million metric tons of CO2 emissions from

fossil fuel combustion.

        154.     Accordingly, instead of pursuing their own plans to slash emissions and reduce

the risk of dangerous climate change, Defendants knowingly acted to exacerbate that risk and

impose harm on the nation and on Plaintiffs.

        155.     Total Fossil fuel production in the U.S. climbed to 65.244 Quadrillion Btu in

2014, up substantially from such consumption in 1965.

                U.S. Primary Energy Production by Source (Quadrillion Btu)

 Year                Coal             Natural Gas        Petroleum          Fossil Fuels
 1965                13.055           15.775             16.521             45.351

 1991                21.636           18.229             15.701             55.566

 2014                20.287           26.516             18.441             65.244


        156.     Total Fossil fuel energy consumption in the U.S. climbed to 80.366 Quadrillion

Btu in 2014, up substantially from such consumption in 1965.


               U.S. Primary Energy Consumption by Source (Quadrillion Btu)

 Year                Coal             Natural Gas        Petroleum          Fossil Fuels
 1965                11.581           15.769             23.246             50.596

 1991                18.992           20.033             32.846             71.871

 2014                17.991           27.592             34.783             80.366


        157.     Fossil fuel emissions from energy consumption in the U.S. climbed to 5.4 billion

metric tons of CO2 in 2014, up substantially from such emissions in 1965.

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               U.S. CO2 Emissions From Energy Consumption by Source
                           (Million Metric Tons of CO2)

 Year              Coal              Natural Gas        Petroleum           Total Fossil
                                                                            Fuels
 1965              1,075             828                1,483               3,386

 1991              1,807             1,047              2,005               4,859

 2014              1,713             1,441              2,249               5,404


        158.   In 2011, fossil fuel combustion in the U.S. accounted for 94% of CO2 emissions.

        159.   The above emissions figures are from U.S. Government sources and, regrettably,

underreport the amount of emissions that Defendants’ actions have substantially caused. EPA

uses a sector-based emission inventory, upon which the other Defendants also rely. A sector-

based emission inventory accounts only for in-boundary emissions, and not those attributed to

embedded emissions – emissions that account for the consumption of goods imported to the U.S.

Defendants have not provided a national consumption-based inventory for CO2 emissions, which

would include all embedded CO2 emissions for goods produced outside of the U.S. and

consumed within the U.S.

        160.   In 2012, the U.S. was the largest producer of natural gas, producing a total that

year of 24,058 billion cubic feet (Bcf). Also in 2012, the U.S. was second in “Total Primary

Coal Production,” with 1,016,458 thousand short tons; second in “Total Primary Energy

Production,” producing 79.212 Quadrillion Btu; and second in “Total Primary Energy

Consumption,” consuming 95.058 Quadrillion Btu.

        161.   In 2014, according to the United States Energy Information Administration

(“EIA”), the U.S. was the largest producer of total petroleum and other liquids with 13,973

thousand barrels produced per day.

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          162.   The U.S. is by far the dominant producer of both shale gas and tight oil in the

world. Also, the U.S. is one of four countries in the world that is producing commercial volumes

of either natural gas from shale formations (shale gas) or crude oil from shale formations (tight

oil).

          163.   The aggregate actions by Defendants in allowing fossil fuel production,

consumption, and emissions to increase in the U.S. since 1965 ignored science driven

considerations of climate system protection. These aggregate actions were taken with deliberate

indifference to the need for a national carbon budget or a national plan that includes an analysis

of the cumulative impacts of Defendants’ actions upon the climate system and with respect to the

fundamental rights of the present and future generations.

          B.     Defendants Have Allowed Excessive Fossil Fuel Production on Federal
                 Public Lands.

          164.   In 2013, 25% of all fossil fuels extracted in the U.S. originated on federal public

lands.

          165.   In 2014, Defendant United States, through the President, DOI through BLM,

DOD through Army Corps of Engineers, and EPA, authorized and oversaw the sale of 421

million tons of coal from federally-leased lands.

          166.   Since January 1990, DOI through BLM has leased 107 coal tracts, and associated

coal production and revenues have grown. In 2015, the BLM reported that approximately 40% of

all coal produced in the United States comes from federal lands. The United States has more

coal deposits available than any other fossil fuel resource within its borders and, as of 2015, has

28% of the world’s coal reserves.




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        167.    In 1985, there were 18,849 recorded federal producing oil and gas leases issued

by DOI through BLM. By 2014 there were 23,657 recorded federal producing oil and gas leases

issued by DOI through BLM.

        168.    As of June 2014, DOI’s BLM has authorized approximately 47,000 oil and gas

leases on public lands, and approximately 95,000 oil and gas wells, with an additional 3,000

wells drilled annually by the oil and gas industry. The BLM oversees approximately 700 million

subsurface acres of mineral estate. There are currently 36 million acres of federal land under

lease for potential fossil fuel development in 33 states, pursuant to DOI’s BLM authorization.

        169.    From 2009-2011, the President and DOI through BLM processed more

applications for permits to drill oil and gas, despite receiving far fewer applications, than the

prior administration from 2006-2008.

        170.    Since 1985, DOI through BLM has issued between 1,486 to 6,617 permits

annually to drill on federal lands. BLM has approved approximately 99% of all received

applications for permits to drill, without taking into consideration that such permits would

endanger Plaintiffs or increase Plaintiffs’ susceptibility to harm.

        C.      Defendants Subsidize the Fossil Fuel Industry

        171.    In addition to leasing federal public lands for fossil fuel exploitation, the United

States subsidizes, funds, and subsidizes fossil fuel production and consumption.

        172.    The United States subsidizes the fossil fuel industry by undervaluing royalty rates

for federal public leasing, as well as through royalty relief resulting in the loss of billions of

dollars of foregone revenue. U.S. royalty rates are consistently less than state royalty rates. For

example, Texas’s royalty rate for leasing is double the federal percentage.




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       173.    Through eleven federal fossil fuel production tax provisions, the United States

incurs approximately $4.7 billion in annual revenue costs. Through a fossil fuel consumption

subsidy, the United States annually forgoes approximately $3.4 billion in revenue.

       174.    The United States provides approximately $5.1 billion per year in tax provision

subsidies to support fossil-fuel exploration.

       175.    Two tax code provisions for the benefit of the fossil fuel enterprise were

introduced in the early 1900s. These provisions are still in place today, resulting in substantial

revenue losses. The “intangible drilling costs” provision was introduced in 1916, 26 U.S.C. §

263(c); in 1926 the “percentage depletion allowance” provision was introduced, 26 U.S.C. § 613.

       176.    According to the International Monetary Fund (“IMF”), the United States is the

world’s top subsidizer of fossil fuels, in absolute terms, in the amount of $502 billion per year,

which includes the IMF’s accounting of negative externalities.

       177.    The United States has supported fossil fuel development through overseas public

financing, primarily through the Export-Import Bank of the United States, an agency of the

Office of the President. For example, through the Export-Import Bank of the United States, the

Office of the President provided $14.8 billion in commitments for 78 transactions or projects in

the petroleum sector, including 49 transactions in Latin American, 14 in Africa, six in

Russia/FSU, five in the Middle East, and four in Asia. In fiscal year 2010, the Export-Import

Bank of the United States provided approximately $3 billion in financing for the Papua New

Guinea LNG Project or Papua New Guinea Liquefied Natural Gas Project and $18 million for

the Sangatta Surface Coal Mine in Indonesia. The Export-Import Bank of the United States also

supported numerous coal and gas power plants.




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       178.    The United States supports fossil fuel development by allowing the fossil fuel

industry to avoid the true social cost of CO2 emissions from fossil fuels. Based on EPA’s social

cost of carbon estimates, CO2 emissions from fossil fuels have the potential to cause trillions of

dollars in damages.

       D.      Defendants Recklessly Allow Interstate and International Transport
               of Fossil Fuels

       179.    Despite knowledge of the harm to Plaintiffs caused by the CO2 emissions from

fossil fuels, Defendants recklessly allow all interstate transport of fossil fuels. Despite

knowledge of the harm to Plaintiffs caused by the CO2 emissions from fossil fuels, Defendants

recklessly authorize and/or permit the exportation and importation of fossil fuels and/or the

facilities allowing the exports and imports of fossil fuels.

       180.    The Office of the President exercises permitting authority over the construction

and operation of “pipelines, conveyor belts, and similar facilities for the exportation or

importation of petroleum, [and] petroleum products.” President Obama has failed to dismantle

the U.S. fossil fuel edifice, adding an additional 100,000 miles to the 2.5 million miles of oil and

gas pipelines within the nation.

       181.    A presidential exemption or federal license is required for all exports of crude oil

to all destinations. In 2014, DOE oversaw the importation of 2,677,911 thousand barrels of

crude oil, and Commerce through BIS authorized the exportation of 126,152 thousand barrels of

crude oil, both increases from 2013.

       182.    No natural gas can be exported or imported without DOE authorization through

FERC. FERC permits all LNG export terminals, including Jordan Cove LNG Terminal. Since

1995, the U.S. has imported 71,730 Bcf of natural gas and exported 14,623 Bcf. In 2014,

through DOE’s authorization, 51,824 thousand barrels of natural gas plant liquids and liquefied


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refinery gases were imported and 257,948 thousand barrels of natural gas plant liquids and

liquefied refinery gases were exported.

          183.   Although in 1975 Congress authorized the Office of the President to restrict coal

exports under the Energy Policy and Conservation Act of 1975, 42 U.S.C. § 6212(a), the

President has not exercised this authority to impose any significant export restrictions on coal. In

fact, since 1990, the United States has promoted expanding coal exports. Coastal facilities

through which coal may be exported are subject to federal approvals. In the Pacific Northwest

alone, three new marine coal terminal projects are under various stages of federal permitting and

review.

          184.   In 2011, the U.S. exported 107 million short tons of coal. In 2012, U.S. coal

exports totaled 125 million short tons, the highest level of coal exports in over twenty years.

Most recently, in 2014 the EIA reported that the U.S. imported 11 million short tons of coal and

exported 97 million short tons of coal.

          E.     Defendants Recklessly Allow CO2 Pollution From Combustion of Fossil Fuels

          185.   Either directly or through the control of the Federal Government, Defendants

authorize the combustion of all fossil fuels in the U.S., including coal, oil, and gas. Such

combustion occurs primarily in the energy and refineries sector, the transportation sector, and the

manufacturing sector.

          186.   In 2012, petroleum accounted for 36.5% of the total primary energy consumption

in the U.S., the single largest source of energy consumption. All U.S. petroleum refineries are

permitted and regulated by EPA.




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         187.   In 2013, fossil fuel combustion from various industrial processes accounted for

approximately 15% of total CO2 emissions in the U.S. The EPA regulates these industrial

processes.

         188.   The DOE establishes efficiency standards in buildings and appliances. These

standards affect levels of energy consumption and combustion.

         189.   Since 1975, through the Corporate Average Fuel Economy (“CAFE”) program,

the United States has required manufacturers of vehicles sold in the U.S. to comply with fuel

economy standards set by DOT. By controlling the fuel economy standards, Defendants have

exercised control over CO2 emissions in the transportation sector.

         190.   From 1996-2014, through tax breaks, the United States subsidized the purchase,

and thus increased demand for, vehicles weighing more than 6,000 pounds (“SUVs”). SUVs are

less fuel-efficient and emit greater quantities of CO2 per mile than lighter-weight vehicles, other

factors held equal.

         191.   In 2012, U.S. CO2 equivalent emissions from transportation were 1,837 million

metric tons. In 2012, CO2 equivalent emissions from transportation of all vehicles in the U.S.,

including aviation, passenger cars, SUVs, heavy-duty trucks, freight rail, ships, and boats, were

responsible for 28% of total U.S. greenhouse gas emissions.

III.     THE JORDAN COVE LNG EXPORTS

         192.   Enacted in 1992, Section 201 of the Energy Policy Act mandates the authorization

of natural gas imports from, or exports to, a nation with which the United States has a free trade

agreement, without modification or delay, to any person applying for such authorization.

Accordingly, under the Energy Policy Act, such natural gas imports and exports are

automatically deemed consistent with the public interest. 15 U.S.C. § 717b(c).



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       193.    Pursuant to Section 201 of the Energy Policy Act, on December 7, 2011, DOE,

through the Office of Fossil Energy, issued DOE/FE Order No. 3041, granting long-term multi-

contract authorization to Jordan Cove Energy Project, L.P. to export liquefied natural gas from

Jordan Cove LNG Terminal in Coos Bay, Oregon, to free trade agreement nations. The DOE/FE

Order authorizes the export of up to 13,140 Bcf of natural gas over 30 years. That quantity of

natural gas would result in approximately 716.2 million metric tons of CO2 emissions, more than

all of the CO2 emitted in 2012 by our nation’s largest emitter, Texas.

       194.    Jordan Cove will be operational in the first quarter of 2018, according to the Vice

President of the Jordan Cove Energy Project, LLC, seven years after receiving its export

authorization from DOE.

       195.    Pursuant to its authorization, the Jordan Cove LNG L.P. has given notice to DOE

that, by the end of 2015, even before it has all final approvals from other agencies, it will enter

into “binding long-term liquefaction tolling service agreements” for the full liquefaction capacity

of the export terminal.

       196.    The sources of natural gas for Jordan Cove LNG’s exports authorized by DOE

include suppliers operating in the Rocky Mountain region of the U.S., western Wyoming,

northwestern Colorado, northern Utah, northern Nevada, and northern California.

       197.    In a letter of support for Jordan Cove LNG Terminal exports, Governor John

Hickenlooper of Colorado wrote to DOE and FERC: “Jordan Cove is of specific interest to

Colorado . . . The project terminal is the only LNG facility on the west coast that would directly

link Colorado to new energy markets via the Ruby Pipeline which originates in northwest

Colorado and carries natural gas from that region to states further west of Colorado.”




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        198.   Jordan Cove LNG will liquefy this natural gas for export at its proposed LNG

export terminal in Coos Bay, Oregon. Jordan Cove plans to build a new power plant to provide

the additional electricity needed to liquefy the natural gas for export. The proposed 420-MW

South Dunes Power Plant would be the second-largest single source of greenhouse gas emissions

in Oregon and would be the largest single source of CO2 emissions in Oregon in 2020 if it were

built. The Jordan Cove South Dunes Power Plant would emit 51.6 million tons of CO2 over 30

years, or 1.72 million tons of CO2 per year.

        199.   According to the EIA, liquefying natural gas requires the energy equivalent of

10% of the gas being exported.

        200.   The CO2 emissions resulting from the Jordan Cove LNG Terminal exports and the

South Dunes Power Plant emissions will harm Youth Plaintiffs who live in and around Oregon,

as well as Future Generation Plaintiffs, by further endangering the climate system.

        201.   Youth Plaintiffs who live in Colorado are also adversely impacted by the opening

up of an international market for the export of natural gas being extracted through hydraulic

fracturing in the State of Colorado, and in the Rocky Mountain region of the U.S. generally, and

then shipped by pipeline to Oregon for liquefaction and export abroad, ultimately to be burned,

thereby causing additional CO2 emissions. The Youth Plaintiffs from Colorado and Oregon are

harmed by the fossil fuel exploitation in and running through their states, which will be

connected by the Pacific Connector Natural Gas Pipeline and 3,900 mile gas transmission system

crossing the states of Washington, Oregon, Idaho, Wyoming, Utah, and Colorado.

IV.     CURRENT SCIENCE ON GLOBAL CLIMATE CHANGE AND OCEAN ACIDIFICATION

        202.   There is a scientific consensus that climate change endangers humanity and

nature. Present climate change is a consequence of anthropogenic GHGs, primarily CO2, derived



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from the combustion of fossil fuels. The fossil fuel emissions have led to an energy imbalance

and consequent dangerous disruption of the climate system upon which our nation and Plaintiffs

depend.

       203.    Atmospheric CO2 levels greater than 350 ppm cause this energy imbalance. That

energy imbalance is now approximately 0.6 Watts/m2 averaged over the entire planet, equivalent

to exploding more than 400,000 Hiroshima atomic bombs per day, 365 days per year, throughout

our planet.

       204.    The 2014 National Climate Assessment acknowledged that “[t]he cumulative

weight of the scientific evidence . . . confirms that climate change is affecting the American

people now, and that choices we make will affect our future and that of future generations.”

       205.    Greenhouse gases in the atmosphere act like a blanket over the Earth, trapping

energy received from the sun. More GHG emissions in the atmosphere means that more energy

is retained on Earth, with less being radiated back into space.

       206.    A substantial portion of every ton of CO2 emitted by humans persists in the

atmosphere for as long as a millennium or more. Therefore, the impacts associated with past and

current CO2 emissions will be borne by our children and future generations. Our nation will

continue to warm in response to concentrations of CO2 from past emissions, as well as future

emissions.

       207.    The current level of atmospheric CO2 concentration caused by human-made

climate change has already taken our country into the danger zone.

       208.    In 2013, the atmospheric CO2 concentration exceeded 400 ppm for the first time

in recorded history. The pre-industrial concentration was 280 ppm. Emissions must be rapidly

and systematically reduced to well below the natural rate of draw-down into Earth’s forests,



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soils, and crust in order to restore energy balance and avoid crossing tipping points that set in

motion disastrous impacts to human civilization and nature.

       209.    March 2015 was the first month that the monthly global average concentration of

CO2 was 400 ppm for an entire month, reaching levels that have not been seen for about three

million years. CO2 concentrations have risen more than 120 ppm since pre-industrial times, with

half of that rise occurring since 1980.

       210.    Earth has now warmed about 0.9°C above pre-industrial temperatures. That

temperature is equivalent to the maximum temperatures of the Holocene era, the period of

climate stability over the last 10,000 years that enabled human civilization to develop. Warming

is expected to hit 1°C in 2015-16.

       211.    Civilization and the water sources, crops, foods, wildlife, marine life, and

coastlines on which people depend have developed within a very narrow set of climatic

conditions. It will be nearly impossible for Plaintiff to adapt to all of the current climate change

impacts in the quick time-frame in which they will occur. The survival and well-being of

Plaintiffs is significantly threatened by climate destabilization.

       212.    Declaring the United States’ energy system to be unconstitutional would resolve

the controversy between the parties. Defendants would abide by the decree and bring the energy

system into constitutional compliance, thereby redressing a substantial cause of Youth Plaintiffs’

constitutional injuries and eliminating a source of their significant risk of sustaining worsening

injuries. Any “[f]urther or proper relief” that may be granted based on the declaratory judgment,

22 U.S.C. § 2202, regarding Defendants’ national energy system policies and practices would

further aid in reducing the earth’s energy imbalance, the severity of the Youth Plaintiffs’ injuries,




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the severity of Defendants’ disruption of the climate system, and the severity and pace of ocean

acidification, within the lifetimes of Youth Plaintiffs.

 V.     EXISTING IMPACTS OF CLIMATE CHANGE ACROSS THE NATION

        213.   Climate change is already damaging human and natural systems, causing loss of

life and pressing species to extinction. Unless arrested by government action informed by

science, climate change will impose increasingly severe impacts on our nation and others,

potentially to the point of collapse.

        214.   Recent scientific reports, for example, warn of the disintegration of both the West

Antarctic ice sheet and the East Antarctic ice sheet, causing multi-meter sea-level rise. Such will

devastate coastal regions, including much of the eastern seaboard. Millions of Americans and

trillions of dollars in property damage will result. The risk of this devastation approaches

certainty, unless fossil fuel emissions are rapidly phased out. The recent studies more fully than

prior studies account for the potential for non-linear ice sheet melting, which could raise the sea

level by 10 feet (or more) by mid-century.

        215.   If carbon pollution is not quickly abated, there is near scientific certainty that

humanity will suffer sea level rise of several meters, submerging much of the eastern seaboard of

the U.S., including Florida, as well as other low lying areas of Europe, the Far-East, and the

Indian sub-continent.

        216.   Well-documented and observable impacts from the changes in Earth’s climate

system highlight that the current level of atmospheric CO2 concentration has already taken our

nation into a danger zone. Increased CO2 emissions are already resulting not only in the

warming of land surfaces, but also in the warming of oceans, increasing atmospheric moisture




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levels, rising global sea levels, and changing rainfall and atmospheric air circulation patterns that

affect water and heat distribution.

       217.    One key observable change is the rapid increase in recorded surface temperatures.

As a result of increased atmospheric CO2 from human activities, our nation has been warming as

scientists predicted as early as 1965. The increased concentrations of greenhouse gases in our

atmosphere have raised global surface temperature by approximately 0.9° Celsius. In the last

thirty years, Earth has been warming at a rate three times faster than that over the previous one

hundred years. 2014 was the hottest on record, according to the National Aeronautics and Space

Administration (“NASA”).

       218.    As expected, our country’s sea levels have also risen from glacial and ice cap

melting, as well as from the thermal expansion of the ocean itself. Based on measurements taken

from 1993 to 2010, sea levels have been rising at an average rate of 3.2 millimeters per year.

Though sea levels rose about 170.18 millimeters (0.2 meters) over the last century, within the

last decade, the rate of sea-level rise has nearly doubled. Rising seas have caused and will cause

flooding in coastal and low-lying areas. The combination of rising sea levels and more severe

storms creates conditions conducive to severe storm surges during high tides. In coastal

communities this can overwhelm levees and sea walls, as witnessed during Hurricane Katrina,

Hurricane Sandy, and other major storms.

       219.    Today, rising sea levels are submerging low-lying lands, eroding beaches,

converting wetlands to open water, exacerbating coastal flooding, and increasing the salinity of

estuaries and freshwater aquifers. Between 1996 and 2011, twenty square miles of land were

inundated by rising sea levels along the Atlantic coast. Coastal states, such as Maryland and

Louisiana, are experiencing wetland loss due to rising sea levels. Scientists have predicted that



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wetlands in the mid-Atlantic region of the U.S. cannot withstand a seven-millimeter per year rise

in sea levels.

        220.     Similarly, climate change is already causing, and will continue to result in, more

frequent, extreme, and costly weather events, such as floods and hurricanes. The annual number

of major tropical storms and hurricanes has increased over the past 100 years in North America,

coinciding with increasing temperatures in the Atlantic sea surface. Across the U.S., nine of the

top ten years for extreme one-day precipitation events have occurred since 1990.

        221.     Changes in our country’s water cycle as a result of climate change also increase

the potential for, and severity of, droughts. Even in arid regions, increased precipitation is likely

to cause flash flooding, and will be followed by drought. These changes are already occurring.

Droughts in parts of the Midwestern, Southeastern, and Southwestern U.S. have increased in

frequency and severity within the last fifty years, coinciding with rising temperatures. Most of

the recent heat waves can be attributed to human-caused climate disruption.

        222.     In higher altitude and latitude regions, including in mountainous areas, more

precipitation is falling as rain rather than snow. With early snow melt occurring because of

climate change, the reduction in snowpack can aggravate water supply problems. The snow

cover extent of North America in June 2015 was 0.75 million square miles, the second lowest

ever recorded behind June 2012, with 0.68 million square miles. The average area of North

America covered by snow decreased by about 3,500 square miles per year between 1972 and

2013.

        223.     Arctic sea ice is declining precipitously and is expected to disappear completely

in the coming decades. In 2013, Arctic sea ice extent for September was 700,000 square miles

below the 1981-2010 average for the same period. In 2014, the Arctic sea ice extent for



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September was 463,000 square miles below average. In 2015, the maximum extent of the Arctic

sea ice was the lowest in the satellite record. With less sea ice, less solar radiation is reflected

back to space, a positive feedback loop serving to amplify regional and global warming.

       224.    Similarly, there has been an increase in permafrost temperatures and melting in

Alaska. Substantial methane releases from thawing permafrost have already been observed in

Alaska. Because much of the Alaskan permafrost overlays old peat bogs that sequester methane,

permafrost melting ill release methane that will further increase global warming to even more

dangerous levels. CO2 and methane released from thawing permafrost could contribute as much

as 0.4°F to 0.6°F of warming by 2100.

       225.    Mountain glaciers are receding nationwide because of warming temperatures. In

2010, Glacier National Park in Montana had only twenty-five glaciers larger than twenty-five

acres, as opposed to 150 such glaciers in 1850. In the Brooks Range of northern Alaska, all of

the glaciers are in retreat and in southeastern Alaska, 98% are in retreat.

       226.    The melting of mountain glaciers is particularly serious in areas that rely on snow

melt for irrigation and drinking water supply. In effect, a large snow pack or glacier acts as a

supplemental reservoir or water tower, holding a great deal of water in the form of ice and snow

through the winter and spring and releasing it in the summer when rainfall is lower or absent.

The water systems of the western U.S., particularly in California and Oregon, heavily rely on this

natural water storage. Yet as temperatures warm, not only will these areas lose this supplemental

form of water storage, but severe flooding is also likely to increase as rainfall accelerates the

melting of glaciers and snow packs.

       227.    Changes in water supply and water quality will also impact agriculture in the U.S.

Increased heat and associated issues such as pests, crop diseases, and weather extremes, will all



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impact crop and livestock production and quality. For example, anthropogenic climate change in

the U.S. has produced warmer summers, enabling the mountain pine beetle to produce two

generations of beetles in a single summer season, where it had previously only been able to

produce one. In Alaska, the spruce beetle is maturing in one year when it had previously taken

two years. The expansion of the forest beetle population has killed millions of hectares of trees

across the U.S. and resulted in millions of dollars lost from decreased tourism revenues.

       228.    Agriculture is extremely susceptible to climate change, threatening food security.

Higher temperatures generally reduce yields of desirable crops while promoting pest and weed

proliferation. Climate change is predicted to decrease crop yields, increase crop prices, decrease

nationwide calorie availability, and increase malnutrition.

       229.    Increased wildfires, shifting precipitation patterns, higher temperatures, and

drought conditions also threaten forest industries and private property. In the U.S., 72,000

wildfires have been recorded, on average, each year since 1983. Nine of the ten years with the

largest acreage burned have occurred in the fourteen years since 2000.

       230.    Increased CO2 emissions are having a severe negative impact on the health of our

oceans. The oceans absorb approximately 25-30% of global CO2 emissions, resulting in a 30%

increase in surface ocean acidity.

       231.    Ocean acidification has been rising at a geologically unprecedented rate.

Currently, acidity is rising at least 100 times faster than at any other period during the last

100,000 years, threatening marine life, including human food sources. Organisms at risk

include: corals, oysters, clams, scallops, mussels, abalone, crabs, geoducks, barnacles, sea

urchins, sand dollars, sea stars, sea cucumbers, many common single-celled organisms and




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protists that act as prey, and various forms of seaweed. The loss of some of these species can

cause entire food webs to collapse.

       232.    By 2100, the surface waters of the ocean could be nearly 150% more acidic,

resulting in a pH that the oceans have not experienced for more than 20 million years. In recent

years, ocean acidification has already contributed to oyster reproductive failures impacting the

Pacific Northwest’s shellfish industry, including oyster harvests in Coos Bay, Oregon. In

addition, warmer water in regional estuaries, such as Puget Sound, may contribute to a higher

incidence of harmful blooms of algae linked to paralytic shellfish poisoning and may result in

adverse economic impacts from beach closures affecting recreational harvesting of shellfish,

such as razor clams.

       233.    The rise in ocean acidity places coral reefs at considerable risk. Given that coral

reefs are among the most biologically diverse and economically important ecosystems, the

impact of their loss cannot be overstated. Coral reefs provide shelter to a quarter of all marine

species.

       234.    For major U.S. coral reefs, projections show extensive bleaching and dramatic

loss of shallow coral cover occurring by 2050, and near complete loss by 2100. In Hawai‘i, coral

cover is projected to decline from 38% (current coral cover) to approximately 5% by 2050, with

further declines thereafter. In Florida and Puerto Rico, where present-day temperatures are

already close to bleaching thresholds, coral is projected to disappear even faster. Given the

severity of these impacts, it is inevitable that these effects would be felt across our country, and

by future generations.

       235.    Climate change and ocean acidification are threatening the survival and wellbeing

of plants, fish, wildlife, and biodiversity. As many as one in six species are threatened with



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extinction due to climate change. Many more species that do not face extinction will face

changes in abundance, distributions, and species interactions that cause adverse impacts for

ecosystems and humans.

       236.    Salmon have historically been associated with human society and been a major

contributor to the economy. Due to physical changes to freshwater ecosystems resulting from

climate change, salmon populations have declined significantly across the country. The

optimum water temperature for salmonids is 55° to 64° Fahrenheit; massive fish kills have

occurred at or above 71° Fahrenheit. As of 2015, four salmon species in eighteen locations are

on NOAA’s Endangered and Threatened Marine Species list; in five locales they are extinct.

Scientists from the Salmon 2100 Project, housed in an EPA research laboratory in Oregon, have

predicted that, despite current recovery efforts, salmon runs are not likely to sustain themselves

through 2100 and other recovery strategies must be adopted to combat climatic shifts.

       237.    Fossil fuel extraction and combustion, and the resulting climate change, is already

contributing to an increase in allergies, asthma, cancer, cardiovascular disease, stroke, heat-

related morbidity and mortality, food-borne diseases, injuries, toxic exposures, mental health and

stress disorders, and neurological diseases and disorders. Climate change threatens the basic

requirements for maintaining health like clean air, pure water, sufficient food, and adequate

shelter. It also increases occurrence of infectious diseases.

       238.    In the U.S., 8,000 Americans have died from heat-related illnesses over the last

three decades. There are now twice as many Lyme disease cases than were reported in 1991. In

the past three decades, the percentage of Americans with asthma has more than doubled, and

climate change is putting those Americans at greater risk of requiring hospitalization. Longer




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growing seasons allow for ragweed to produce pollen for a longer period, resulting in aggravated

and prolonged allergies for millions of Americans.

       239.    Climate change also harms our national security, adding tension even in stable

regions of the world. The DOD acknowledged the severity of climate change and its connections

to national security when, in its 2014 Quadrennial Defense Review, climate change was

classified as a “threat multiplier”: “Pentagon leaders have identified three main ways that climate

change will affect security; accelerating instability in parts of the world wracked by drought,

famine, and climate-related migrations; threatening U.S. military bases in arid Western states or

on vulnerable coastlines; and increasing the need for U.S. forces to respond to major

humanitarian disasters.”

       240.    By 2025, 40% of the world’s population will be living in countries experiencing

significant water shortages, while sea-level rise could cause displacement of tens, or even

hundreds, of millions of people. As a result, the U.S. will experience an additional need to

accept immigrant and refugee populations as droughts increase and food production declines in

other countries. Increased extreme weather events (such as hurricanes) will also present an

increased strain on foreign aid provided by the U.S. and materially increased deployment of our

country’s military forces.

       241.    Our nation is already observing significant impacts from the relatively small

amount of warming that has occurred. These impacts constitute harbingers of far more

dangerous changes to come. If unabated, continued GHG emissions, especially CO2, will initiate

dynamic climate change and effects that spin out of control for Plaintiffs and future generations

as the planet’s energy imbalance triggers amplifying feedbacks and the climate system and




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biological system pass critical tipping points. Such changes would be irreversible on any time

scale relevant to Plaintiffs and threaten their survival.

VI.     FUTURE NATIONAL CLIMATE IMPACTS EXPECTED BY 2050 AND 2100

        242.    By 2050, Youth Plaintiffs will range in age from 43 to 55.

        243.    By 2100, global mean sea level rise is projected to be at 56 inches, if sea level rise

occurs linearly. Based on that global projection, it is predicted that the U.S. will experience a

56-65 inch sea level rise on the East Coast, up to a 76-87 inch sea level rise in areas surrounding

the Gulf of Mexico, and a 47-65 inch sea level rise along the West Coast. Sea level rise could be

even more catastrophic depending upon the rate of disintegration of the Antarctic ice sheets. Sea

level rise will result in increased erosion and the loss of land. In Washington and Oregon, more

than 140,000 acres of coastal lands lie within 40 inches in elevation of high tide. Among the

most vulnerable parts of the coast is the heavily populated south Puget Sound region, which

includes Olympia, Tacoma, and Seattle, Washington.

        244.    New scientific evidence demonstrates that a non-linear process could trigger

much greater sea level rise in a time frame of 50 to 200 years.

        245.    Global temperature increases are projected to increase by 9° Fahrenheit by 2100.

In the U.S., the largest temperature increases are expected in the Mountain West and Northern

regions consisting of 14° and 12° Fahrenheit, respectively.

        246.    In an EPA-funded study, “Ensemble Projections of Wildfire Activity and

Carbonaceous Aerosol Concentrations Over the Western United States in the Mid-21st Century,”

scientists estimated that, by 2050, wildfire activity is expected to double in the Southwest,

Pacific Northwest, Rocky Mountains Forest, and the Eastern Rockies/Great Plains regions. In

the western U.S., increases in temperature are projected to cause an increase of 54% in annual



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mean area burned by 2050 relative to the present day. Changes in area burned are ecosystem

dependent, with the forests of the Pacific Northwest and Rocky Mountains experiencing the

greatest increases of 78% and 175%, respectively. Increased area burned results in near doubling

of wildfire carbonaceous aerosol emissions by midcentury. The increase in wildfires and the

associated emissions will have harmful impacts on health. Polar bears are just one of the species

listed as endangered due to the impacts of a changing climate on their habitat. If emissions

continue to rise at current rates throughout the 21st century, polar bears will likely be extirpated

from much of their present-day range, including Alaska’s North Slope Borough. Sea ice, which

polar bears depend upon to access their prey, is projected to disappear by 2100. Experts project

there will be massive species extinction this century.

       247.    Human-induced warming, if business continues as usual, is projected to raise

average temperatures by about 6° to 11° Fahrenheit in this century. Heat waves would then

increase in frequency, severity, and duration. For example, by the end of this century, if

Defendants do not dramatically reduce emissions, the number of heat-wave days in Los Angeles

is projected to double, and the number of heat-wave days in Chicago to quadruple, resulting in

many more deaths.

       248.    While potential climate change impacts on water resources vary between regions,

the western states will be particularly impacted by drought, reduced precipitation, increased

evaporation, and increased water loss from plants.

       249.    Warmer temperatures particularly impact the Pacific Northwest because reduced

snowpack and earlier snowmelt alter the timing and amount of water supplies. By 2050,

snowmelt is projected to shift three to four weeks earlier than the 20th century average. Since

earlier snowmelt will result in warmer and shallower rivers and streams in summer and fall,



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diseases and parasites that tend to flourish in warmer water threaten to eliminate up to 40% of

remaining Northwest salmon populations by 2050.

          250.   By 2050, biologists conservatively expect decreases in salmon populations will

lead to 11% to 14% less annual carcass biomass available to bald eagles, our country’s national

bird.

          251.   Defendants, through the Department of Homeland Security, have acknowledged

mass human migrations are a potential impact of climate change, and have developed a mass

migration plan. Estimates put the number of climate-induced migrants worldwide at 200 million

by 2050.

          252.   Climate change projections estimate an increase in monetary damages associated

with inland flooding across most of the contiguous U.S. Approximately 190,000 of our nation’s

bridges are vulnerable to increased inland flooding caused by climate change, with adaptation

costs estimated at $170 billion for the period from 2010 to 2050. In the Northwest, a region

including Washington and parts of Oregon and Idaho, 56% of inland bridges are identified as

vulnerable in the second half of the 21st Century.

          253.   In 2100 alone, adaptation costs associated with the 50-year, 24-hour storm

moniker in 50 U.S. cities are estimated to range from $1.1 to $12 billion. Further, climate

change is projected to result in $5.0 trillion in damage to coastal properties in the contiguous

U.S. through 2100.

          254.   Due to extreme temperature increases and unsuitable working conditions, our

nation’s labor force may experience a drastic decline in labor hours and lost wages. In 2100, a

projected 1.8 billion labor hours will be lost along with approximately $170 billion in lost wages.




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         255.   By 2050, climate change is expected to add thousands of additional premature

deaths per year nationally from combined ozone and particle health effects. Higher surface

temperatures, especially in urban areas, promote the formation of ground–level ozone, which has

adverse impacts on human health by irritating the respiratory system, reducing lung function,

aggravating asthma, and inflaming and damaging cells that line the airways. Climate change is

expected to increase the frequency of high ozone pollution events by 50% to 100% by 2050.

VII.     RESTORING THE ENERGY BALANCE AND PROTECTING AGAINST A DANGEROUS
         DESTABILIZED CLIMATE SYSTEM IS POSSIBLE BASED ON BEST AVAILABLE SCIENCE

         256.   An urgent and critical undertaking is required to protect the climate system and

cause a cessation of Defendants' infringement of Plaintiffs' constitutional rights. Defendants

must act rapidly and effectively to phase out CO2 emissions so as to restore Earth’s energy

balance. Absent such immediate action, the Federal Government must cease permitting and

authorizing fossil fuel projects so as not to exacerbate the climate crisis and further infringe on

Plaintiffs’ constitutional rights.

         257.   Global atmospheric CO2 concentrations must be reduced to below 350 ppm by the

end of the century in order to limit the period of CO2 overshoot and stabilize our climate system.

         258.   To reduce global atmospheric CO2 concentrations to 350 ppm by the end of this

century would require a near-term peak in CO2 emissions and a global reduction in CO2

emissions of at least 6% per year, alongside approximately 100 gigatons of carbon drawdown

this century from global reforestation and improved agriculture.

         259.   Reducing the global atmospheric CO2 concentration to 350 ppm by the end of the

century is also necessary in order to protect oceans and marine life. As a result of CO2

emissions, of which approximately 25% are absorbed by the oceans, humans, marine organisms,

and ecosystems are already harmed and will increasingly be harmed by ocean acidification. To


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prevent the further impairment or depletion of the oceans and oceanic resources, it is imperative

that Defendants take immediate measures to return atmospheric CO2 concentrations to below 350

ppm by the end of this century.

       260.    Targets that aim to limit atmospheric CO2 concentrations at or below 450 ppm are

insufficient to avoid severe, irreversible damage as a result of ocean acidification and ocean

warming. For example, the weight of recent evidence establishes that, at a prolonged 450 ppm

level, coral reefs will become extremely rare, if not extinct, and at least half of coral-associated

wildlife will become either rare or extinct. As a result, coral reef ecosystems will likely be

reduced to crumbling frameworks with few calcareous corals remaining.

       261.    Current actions by Defendants will not yield atmospheric CO2 levels of 350 ppm

by the end of the century, are not based on any scientific standard, and are not adequate to

prevent and remedy the degradation, diminution, or depletion of our country’s public trust

resources.

       262.    Defendants’ national energy system makes it extremely difficult for Plaintiffs to

protect their vital natural systems and a livable world. Defendants must act immediately to

restore Earth’s energy balance and put the nation on a trajectory that is consistent with reducing

the atmospheric CO2 concentrations to no more than 350 ppm by 2100.

VIII. THE FEDERAL GOVERNMENT’S ADMISSIONS OF ITS PUBLIC TRUSTEE OBLIGATIONS

       263.    Defendants are trustees of national public natural resources. The national public

natural resources include the air (atmosphere), seas, shores of the sea, water, and wildlife.

       264.    In 1968, Congress declared that the Federal Government has “continuing

responsibility” to “use all practicable means” so as to “fulfill the responsibilities of each

generation as trustee of the environment for succeeding generations.” 42 U.S.C. § 4331(b)(1).



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       265.    Congress also declared that the Federal Government is among the “trustees for

natural resources” and directed Defendants to act as trustees, on behalf of the public

beneficiaries, of all natural resources under their management and control. 42 U.S.C. § 9607

(f)(1); see also 33 U.S.C. § 2706 (Oil Pollution Act).

       266.    Pursuant to Congressional direction, the President designated the following

federal agencies to act on behalf of the public as trustees for natural resources: the USDA,

Commerce, DOD, DOE, and DOI. In this context, the term natural resources “means land, fish,

wildlife, biota, air, water, ground water, drinking water supplies, and other such resources

belonging to, managed by, held in trust by, appertaining to, or otherwise controlled (referred to

as ‘managed or controlled’) by the United States (including the resources of the exclusive

economic zone).” 40 C.F.R. § 300.600(a); see 42 U.S.C. § 9607 (f)(2)(A).

       267.    According to the National Research Council, “fisheries within federal waters are

held in public trust for the people of the United States.”

       268.    According to the U.S. Commission on Ocean Policy, “the U.S. government holds

ocean and coastal resources in the public trust – a special responsibility that necessitates

balancing different uses of those resources for the continued benefit of all Americans.”

       269.    According to NOAA, it “has an obligation to conserve, protect, and manage living

marine resources in a way that ensures their continuation as functioning components of marine

ecosystems, affords economic opportunities, and enhances the quality of life for the American

public.” Further, NOAA affirmed that air is a natural resource under the public trust doctrine,

and that the Federal Government shares jurisdiction with states over such public trust resources.

       270.    NOAA admits that one principle of the public trust doctrine is: “The public has

fundamental rights and interests in natural resources such as the sea, the shore, and the air.”



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       271.    The DOI admits that the public trust doctrine “now encompasses all natural

resources,” and that natural resources include “land, fish, wildlife, biota, air, water, ground

water, drinking water supplies and other such resources belonging to, managed by, held in trust

by, appertaining to, or otherwise controlled by the U.S.” The DOI admits that the “Department

of the Interior, Department of Commerce (delegated to NOAA), Department of Energy,

Department of Agriculture, Department of Defense, and any other Federal Land Managing

Agency” are “Federal Trustees.”

       272.    The State Department admitted “an obligation to current and future generations to

take action” on climate change.

       273.    The United States has taken the position before federal courts that the Federal

Government is a trustee over important national natural resources, including wildlife, and has

both rights and obligations under the public trust doctrine.

       274.    By way of example, in a 2010 complaint filed against British Petroleum, the

United States alleged: “Natural resources under the trusteeship of the United States and other

sovereigns have been injured, destroyed, or lost as a result of discharged oil and associated

removal efforts. The discharged oil is harmful to natural resources exposed to the oil, including

aquatic organisms, birds, wildlife, vegetation, and habitats.”

       275.    Since 1965, Defendants have known they each have mandatory duties to abate

CO2 pollution from fossil fuels in order to stop global climate change: “The pervasive nature of

pollution, its disregard of political boundaries including state lines, the national character of the

technical, economic and political problems involved, and the recognized Federal responsibilities

for administering vast public lands which can be changed by pollution, for carrying out large

enterprises which can produce pollutants, for preserving and improving the nation’s natural



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resources, all make it mandatory that the Federal Government assume leadership and exert its

influence in pollution abatement on a national scale.”

       276.    Defendants have exerted their influence, control, custodianship, and sovereignty

over the polluted atmosphere and the exploitation of fossil fuels, but they have not abated the

harm. Because Defendants have put Plaintiffs in danger and increased Plaintiffs’ susceptibility

to harm, Defendants are responsible for taking action to protect Plaintiffs. In fact, Defendants

have exacerbated the harm to our atmosphere in violation of Plaintiffs’ constitutional rights.

       276-A. This Court should issue a declaratory judgment to resolve this actual

constitutional case and controversy between these young Plaintiffs and the government

Defendants as to whether Defendants’ national energy system has violated and continues to

violate Plaintiffs’ constitutional rights as described herein. Until the Court resolves this

constitutional controversy, these young Plaintiffs will continue to be harmed and put at extreme

risk by Defendants’ energy system and Defendants will continue policies and practice, made up

of many aggregate actions, to perpetuate an unconstitutional energy system, avoiding the

constitutional check of Article III courts, and undermining the separation of powers that the

Framers intended. Without declaratory relief in the first instance, Defendants will be free to, and

will, continue its policies and practices that make the nation’s energy system in a manner that

“may hasten an environmental apocalypse” and carry out “the Nation’s willful destruction.”

Declaratory judgment will eliminate the current and substantial legal controversy and inform the

parties of the unlawfulness or lawfulness of the government’s conduct, especially as to whether

Defendants’ conduct causes a deprivation of rights secured by the Constitution. It has long been

held that there is an expectation in our democracy that government officials will comply with a

declaratory judgment. Utah v. Evans, 536 U.S. 452, 463-64 (2002). If the constitutional



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controversy is resolved in their favor by declaratory judgment, Plaintiffs reserve the right to seek

further relief as deemed appropriate and consistent with the separation of powers between the

three branches of government. Plaintiffs come before this Court to defend and secure their

fundamental rights under the Constitution, before it is too late.

                                     CLAIMS FOR RELIEF

                                    First Claim for Relief
                 Violation of the Due Process Clause of the Fifth Amendment

       277.    Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

forth above.

       278.    The Constitution recognizes and preserves the fundamental right of citizens to be

free from government actions that harm life, liberty, and property. These inherent and

inalienable rights reflect the basic societal contract of the Constitution to protect citizens and

posterity from government infringement upon basic freedoms and basic (or natural) rights. The

rights to life, liberty, and property have evolved and continue to evolve as technological

advances pose new threats to these fundamental rights and as new insights reveal discord

between the Constitution’s central protections and the conduct of government. As set forth in the

Preamble of the Constitution, these rights belong to present generations as well to our “Posterity”

(or future generations).

       279.    Our nation’s climate system, including the atmosphere and oceans, is critical to

Plaintiffs’ rights to life, liberty, and property. Our nation’s climate system has been, and

continues to be, harmed by Defendants. Defendants harmed our nation’s climate system with

full appreciation of the results of their acts. Plaintiffs’ substantive Fifth Amendment rights have

been infringed because Defendants’ national energy system is a substantial factor in causing

atmospheric CO2 to rise to levels that dangerously interfere with a stable climate system required


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alike by our nation and Plaintiffs. The present CO2 concentration and continuing CO2 emissions

– a function, in substantial part, of Defendants’ historic and continuing permitting, authorizing,

and subsidizing of fossil fuel extraction, production, transportation, and utilization – endangers

Plaintiffs’ lives, liberties, and property.

        280.    For the past fifty years, Defendants have known about the danger to Plaintiffs’

safety created by carbon pollution. Acting with full appreciation of the consequences of their

acts, Defendants knowingly caused, and continue to cause, dangerous interference with our

atmosphere and climate system. Defendants have knowingly endangered Plaintiffs’ health and

welfare by approving and promoting fossil fuel development, including exploration, extraction,

production, transportation, importation, exportation, and combustion, and by subsidizing and

promoting this fossil fuel exploitation. All of these deliberate actions by Defendants have

cumulatively resulted in dangerous levels of atmospheric CO2, which deprive Plaintiffs of their

fundamental rights to life, liberty, and property.

        281.    Plaintiffs are suffering harm by the dangerous aggregate actions and deliberate

omissions of Defendants. Defendants’ dangerous interference with a stable climate system is

having such irreversible and catastrophic consequences as to shock the conscience. The conduct,

if not fundamentally altered, will have even worse consequences for future generations.

        282.    The affirmative aggregate acts of Defendants have been and are infringing on

Plaintiffs’ right to life by causing dangerous CO2 concentrations in our nation’s atmosphere and

dangerous interference with our country’s stable climate system.

        283.    The affirmative aggregate acts of Defendants have been and are infringing on

Plaintiffs’ liberties by placing Plaintiffs in a position of danger with a destabilized climate

system and dangerous levels of CO2 in our country’s atmosphere. Defendants’ aggregate acts of



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increasing CO2 concentrations in the atmosphere have been and are harming Plaintiffs’ dignity,

including their capacity to provide for their basic human needs, safely raise families, practice

their religious and spiritual beliefs, maintain their bodily integrity, and lead lives with access to

clean air, water, shelter, and food.

       284.       After knowingly creating this dangerous situation for Plaintiffs, Defendants

continue to knowingly enhance that danger by allowing fossil fuel production, consumption, and

combustion at dangerous levels, thereby violating Plaintiffs’ substantive Fifth Amendment due

process rights.

       285.       After placing Plaintiffs in a position of climate danger, Defendants have

continued to act with deliberate indifference to the known danger they helped create and

enhance. A destabilized climate system poses unusually serious risks of harm to Plaintiffs’ lives

and their bodily integrity and dignity. As described at length, supra, these risks are so

substantial as to shock the conscience. Defendants have had longstanding, actual knowledge of

the serious risks of harm and have failed to take necessary steps to address and ameliorate the

known, serious risk to which they have exposed Plaintiffs. With deliberate indifference,

Defendants have not implemented their own plans for climate stabilization or any other

comprehensive policy measures to effectively reduce CO2 emissions to levels that would

adequately protect Plaintiffs from the dangerous situation of climate destabilization.

       286.       By exercising sovereignty over the air space, the federal public domain, and the

national energy system, by assuming authority and regulatory responsibility over fossil fuels, and

by allowing and permitting fossil fuel production, consumption, and its associated CO2 pollution,

Defendants have also assumed custodial responsibilities over the climate system within its

jurisdiction and influence. In assuming control of our nation’s atmosphere, air space, the federal



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domain, national energy system, fossil fuels, and climate system, Defendants have imposed

severe limitations on Plaintiffs’ freedom to act on their own behalf to secure a stable climate

system and, therefore, have a special relationship with Plaintiffs, and a concomitant duty of care

to ensure their reasonable safety. By and through the national energy system resulting in

dangerous interference with a stable climate system, Defendants have abrogated their duty of

care to protect Plaintiffs’ fundamental rights to life, liberty, and property. In their custodial role,

Defendants have failed to protect Plaintiffs’ needs with respect to the climate system in violation

of the Fifth Amendment.

        287.    Furthermore, Defendants’ national energy system, if not fundamentally altered

without delay, will effect a complete taking of some of Plaintiffs’ property interests by virtue of

the sea level rise that is an incident of Defendants’ unlawful actions.

        288.    The United States, through DOE, is depriving Plaintiffs of their fundamental

rights to be free from the dangerous government acts, which infringe on their fundamental rights

to life, liberty, and property, by requiring and giving approval for the exportation and

importation of natural gas resources in the U.S. through section 201 of the Energy Policy Act of

1992. The extraction, interstate transport, liquefaction, exportation, and ultimate combustion of

U.S. natural gas, facilitated by section 201 of the Energy Policy Act, increase carbon pollution

and exacerbate already-dangerous climate instability. Section 201 of the Energy Policy Act is

unconstitutional on its face and as applied to Plaintiffs through DOE’s issuance of the section

201 permit for Jordan Cove LNG Terminal in Coos Bay, Oregon. The Energy Policy Act and

DOE’s actions taken pursuant to the Energy Policy Act deprive Plaintiffs of their fundamental

rights to life, liberty, and property.




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       289.    The affirmative aggregate acts of Defendants in the areas of fossil fuel extraction,

production, transportation, importation and exportation, and consumption, as described in this

Complaint, are causing dangerous concentrations of CO2 in the atmosphere and a dangerous

climate system, and irreversible harm to the natural systems critical to Plaintiffs’ rights to life,

liberty, and property. The affirmative aggregate acts of Defendants cannot and do not operate to

secure a more compelling state interest than Plaintiffs’ fundamental rights to life, liberty, and

property.

       WHEREFORE, Plaintiffs pray for relief as more fully set forth below.

                                     Second Claim for Relief
                             Violation of Equal Protection Principles
                               Embedded in the Fifth Amendment

       290.    Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

forth above.

       291.    Defendants have violated the equal protection principles of the Fourteenth

Amendment, embedded in the Due Process Clause of the Fifth Amendment.

       292.    The affirmative aggregate acts of Defendants in the areas of fossil fuel production

and consumption irreversibly discriminate against Plaintiffs’ exercise of their fundamental rights

to life, liberty, and property, and abridge central precepts of equality. The affirmative aggregate

acts of Defendants in the areas of fossil fuel production and consumption have caused and are

causing irreversible climate change. As a result, the harm caused by Defendants has denied

Plaintiffs the same protection of fundamental rights afforded to prior and present generations of

adult citizens. The imposition of this disability on Plaintiffs serves only to disrespect and

subordinate them. The principles of the Equal Protection Clause, which are embedded in the

Due Process Clause, prohibit the Federal Government’s unjustified infringement of Plaintiffs’



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right to be free from Defendants’ aggregate acts that destabilize our nation’s climate system

whose protection is fundamental to Plaintiffs’ fundamental rights to life, liberty, and property.

Because fundamental rights are at stake and are being infringed by the affirmative aggregate acts

of Defendants, this Court must apply strict scrutiny for a denial of equal protection of the law.

       293.    The Fifth Amendment’s Due Process Clause and the Fifth Amendment’s equal

protection principles are profoundly connected but set forth distinct principles, which are

implicated here. The reason why a stable climate system is inherent in our fundamental rights to

life, liberty, and property becomes more clear and compelling because of the grave and

continuing harm to children that results from discriminatory laws and actions that prevent a

stable climate system. The application of these dual principles requires strict scrutiny of

Defendants’ discriminatory laws and actions.

       294.    Plaintiffs are separate suspect classes in need of extraordinary protection from the

political process pursuant to the principles of Equal Protection. As evidenced by their

affirmative aggregate acts, Defendants have a long history of deliberately discriminating against

children and future generations in exerting their sovereign authority over our nation’s air space

and federal fossil fuel resources for the economic benefit of present generations of adults.

Plaintiffs are an insular minority with no voting rights and little, if any, political power or

influence over Defendants and their actions concerning fossil fuels. Plaintiffs have immutable

age characteristics that they cannot change.

       295.    Future generations do not have present political power or influence, have

immutable characteristics, and are also an insular minority.

       296.    Plaintiffs have no avenues of redress other than this Court, as Plaintiffs cannot

challenge or alter Defendants’ national energy system. Plaintiffs will disproportionately



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experience the irreversible and catastrophic impacts of an atmosphere and oceans containing

dangerous levels of CO2 and a dangerous destabilized national climate system. The adults living

in our country today will not experience the full scope of catastrophic harms that will be

experienced by Plaintiffs.

       297.    For purposes of the present action, Plaintiffs should be treated as protected classes

because the overwhelming majority of harmful effects caused by the acts of Defendants will

occur in the future. As Plaintiffs include citizens presently below the voting age and future

generations, this Court should determine they must be treated as protected classes, and federal

laws and actions that disproportionately discriminate against and endanger them must be

invalidated.

       298.    The affirmative aggregate acts of Defendants reflect a de facto policy choice to

favor influential and entrenched short-term fossil fuel energy interests to the long-term detriment

of Plaintiff—precisely the sort of dysfunctional majoritarian outcome that our constitutional

democratic system is designed to check. Such a check is especially appropriate here because our

country will soon pass the point where Plaintiffs will no longer be able to secure equal protection

of the laws and protection against an uninhabitable climate system.

       299.    The Energy Policy Act’s mandatory authorization for export and import of natural

gas discriminates against Plaintiffs by exacerbating already-dangerous levels of atmospheric CO2

and a dangerous climate system, the consequences of which will be irreversible and catastrophic

in Plaintiffs’ lifetimes. The Energy Policy Act, section 201, creates a disproportionate impact on

suspect classes. Historical evidence demonstrates Defendants’ discriminatory and intentional acts

against children and future generations in order to foster the short-term economic and energy

interests of other classes, including corporations. The Energy Policy Act unconstitutionally



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deprives minor children and future generations of equal protection of the law because the full

impacts of excess atmospheric CO2 and the dangerous climate system, resulting from the U.S.

government-authorized natural gas exports and imports, will be disproportionately imposed upon

minor children, including Youth Plaintiffs, and for millennia by future generations.

        300.     Section 201 of the Energy Policy Act violates Plaintiffs’ rights of equal protection

under the law.

        301.     The affirmative aggregate acts of Defendants unconstitutionally favor the present,

temporary economic benefits of certain citizens, especially corporations, over Plaintiffs’ rights to

life, liberty, and property.

        WHEREFORE, Plaintiffs pray for relief as more fully set forth below.

                                  Third Claim for Relief
                       The Unenumerated Rights Preserved for the People
                                 by the Ninth Amendment

        302.     Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

forth above.

        303.     Protecting the vital natural systems of our nation for present and future

generations is fundamental to our scheme of ordered liberty and is deeply rooted in this nation’s

history and tradition. Without a stable climate system, both liberty and justice are in peril. Our

nation’s obligation to protect vital natural systems for Posterity has been recognized throughout

American history, particularly through our country’s conservation legislation. Our nation’s

founders intended that the federal government would have both the authority and the

responsibility to be a steward of our country’s essential natural resources. This stewardship is

clear from the delegation of powers to manage lands and the conveyed authority to address major

challenges facing our nation as a whole. Among the implicit liberties protected from



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government intrusion by the Ninth Amendment is the right to be sustained by our country’s vital

natural systems, including our climate system.

       304.    Fundamental to our scheme of ordered liberty, therefore, is the implied right to a

stable climate system and an atmosphere and oceans that are free from dangerous levels of

anthropogenic CO2. Plaintiffs hold these inherent, inalienable, natural, and fundamental rights.

       305.    The affirmative aggregate acts of Defendants have unconstitutionally caused, and

continue to materially contribute to, dangerous levels of atmospheric and oceanic CO2 and a

destabilized climate system.

       306.    The affirmative aggregate acts of Defendants have infringed, and continue to

infringe, on Plaintiffs’ fundamental constitutional rights.

       WHEREFORE, Plaintiffs pray for relief as more fully set forth below.

                                      Fourth Claim for Relief
                               Violation of the Public Trust Doctrine

       307.    Plaintiffs hereby re-allege and incorporate by reference each of the allegations set

forth above.

       308.    Plaintiffs are beneficiaries of rights under the public trust doctrine, rights that are

secured by the Ninth Amendment and embodied in the reserved powers doctrines of the Tenth

Amendment and the Vesting, Nobility, and Posterity Clauses of the Constitution. These rights

protect the rights of present and future generations to those essential natural resources that are of

public concern to the citizens of our nation. These vital natural resources include at least the air

(atmosphere), water, seas, the shores of the sea, and wildlife. The overarching public trust

resource is our country’s life-sustaining climate system, which encompasses our atmosphere,

waters, oceans, and biosphere. Defendants must take affirmative steps to protect those trust

resources.


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        309.    As sovereign trustees, Defendants have a duty to refrain from “substantial

impairment” of these essential natural resources. The affirmative aggregate acts of Defendants

in the areas of fossil fuel production and consumption have unconstitutionally caused, and

continue to cause, substantial impairment to the essential public trust resources. Defendants

have failed in their duty of care to safeguard the interests of Plaintiffs as the present and future

beneficiaries of the public trust. Such abdication of duty abrogates the ability of succeeding

members of the Executive Branch and Congress to provide for the survival and welfare of our

citizens and to promote the endurance of our nation.

        310.    As sovereign trustees, the affirmative aggregate acts of Defendants are

unconstitutional and in contravention of their duty to hold the atmosphere and other public trust

resources in trust. Instead, Defendants have alienated substantial portions of the atmosphere in

favor of the interests of private parties so that these private parties can treat our nation’s

atmosphere as a dump for their carbon emissions. Defendants have failed in their duty of care as

trustees to manage the atmosphere in the best interests of the present and future beneficiaries of

the trust property, including, but not limited to, Plaintiffs. Such abdication of duty abrogates the

sovereign powers of succeeding members of the Executive Branch and Congress to provide for

the survival and welfare of our Nation’s citizens and to promote the endurance of our Nation.




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                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for relief as set forth below:


 1.      Pursuant to 28 U.S.C. § 2201 and this Court’s Article III authority, enter a judgment

         declaring the United States’ national energy system that creates the harmful

         conditions described herein has violated and continues to violate the Fifth

         Amendment of the U.S. Constitution and Plaintiffs’ constitutional rights to

         substantive due process and equal protection of the law;

 2.      Pursuant to 28 U.S.C. § 2201 and this Court’s Article III authority, enter a judgment

         declaring the United States’ national energy system that creates the harmful

         conditions described herein has violated and continues to violate the public trust

         doctrine;

 3.      Pursuant to 28 U.S.C. § 2201 and this Court’s Article III authority, enter a judgment

         declaring that § 201 of the Energy Policy Act has violated and continues to violate the

         Fifth Amendment of the U.S. Constitution and Plaintiffs’ constitutional rights to

         substantive due process and equal protection of the law.

 4.      Pursuant to this Court’s declaratory judgment, 28 U.S.C. § 2202, and this Court’s

         Article III authority, if deemed necessary, just and proper, issue an appropriate

         injunction restraining Defendants from carrying out policies, practices, and

         affirmative actions that render the national energy system unconstitutional in a

         manner that harms Plaintiffs;

 5.      Award Plaintiffs their costs and reasonable attorneys’ fees;




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   6.      Pursuant to 28 U.S.C. § 2202 and this Court’s Article III authority, grant such other

           and further relief as the Court deems just and proper, to redress the constitutional

           violations so declared.


Respectfully submitted this 9th day of March, 2021,



                                               s/ Julia A. Olson

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                                  Exhibit A
         Declaration of Dr. James E. Hansen in Support of
    Plaintiffs’ Complaint for Declaratory and Injunctive Relief

                                 In the matter
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           United States, Barack Obama et al. (D. Or. Aug. 12, 2015)
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 I, DR. JAMES E. HANSEN, hereby declare as follows:

        1.      I make and offer this declaration in my capacity as guardian for Plaintiffs Sophie

 K. and Future Generations, and as an expert in the field of climate science.

        2.      I am Sophie’s grandfather.

        3.      I am also a US citizen, an Adjunct Professor at Columbia University’s Earth

 Institute, and Director of the Climate Science, Awareness and Solutions program at the Earth

 Institute, Columbia University. I am also the immediate past Director of the NASA Goddard

 Institute for Space Studies and a member of the United States National Academy of Sciences.

        I have testified before the United States Senate and House of Representatives on many

 occasions, and in court on several occasions, in support of efforts to reduce reliance on carbon-

 intense energy from fossil fuels and rapidly transition to carbon-free energy.

        4.      My training is in physics and astronomy, with early research on the clouds of

 Venus. Since the late 1970s, I have focused my research on Earth's climate, especially human-

 made climate change. Most recently, I have dedicated significant effort towards outlining the

 actions that must be undertaken by communities, states, the U.S. Government, and others, in order

 to preserve a viable climate system for young people, future generations, and other life on Earth.

 For the Court’s more complete reference, I have attached my full CV as Exhibit 1 to this

 declaration.

        5.      In my opinion, this lawsuit is made necessary by the at-best schizophrenic, if not

 suicidal, nature of U.S. climate and energy policy.

        6.      On the one hand, our federal government has recognized a fundamental duty to

 protect the public resources of our nation; to safeguard our lives and property; to secure the

 blessings of liberty; to ensure equal protection under the law for “ourselves and our posterity”;


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 and, pursuant to the United Nations Framework Convention on Climate Change (UNFCCC), to

 “protect the climate system for present and future generations.”

        7.      On the other hand, the federal government continues to permit and otherwise

 support industry’s efforts to exploit fully our reserves of gas, coal, and oil, even in the face of

 increasing overwhelming evidence that our continued fossil fuel dependency is driving the

 atmospheric concentration of carbon dioxide (CO2) far beyond that in human experience, and

 constitutes one of the greatest threats to our nation, human civilization and nature alike.

        8.      These antinomies cannot be explained away as the product of ignorance. Our

 government has known for decades that the continued burning of coal, oil and natural gas causes

 global warming and risks dangerous and uncontrollable destabilization of the planet’s climate

 system on which our nation and future generations depend.

        9.      Moreover, the government has, during this last half decade, promoted the

 exploitation and consumption of fossil fuels in myriad ways. They include: permitting of fossil

 fuel development projects within the U.S.; financing of overseas fossil fuel development projects

 through the Export Import Bank and World Bank; issuance of leases and permits for oil, gas and

 coal extraction and development on contiguous federal and OCS lands; and subsidies through tax

 credits, deductions, preferences, percentage depletion, expensing, favorable loans and guarantees,

 accelerated amortization, below fair-market-value lease and royalty requirements, and other

 favorable tax treatment for fossil fuel development. This listing is partial.

        10.     It is now clear, as the relevant scientific community has established for some time,

 that continued high CO2 emissions from fossil fuel burning will further disrupt Earth’s climate

 system, and that, in turn, will impose profound and mounting risks of ecological, economic and

 social collapse. In my view, our government’s actions and inactions that cause or contribute to


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 those emissions violate the fundamental rights of Sophie, other Youth, and future generations.

 Those violated rights include the right to life, the right to liberty, the right to property, the right to

 equal protection under the law, the right to government protection of public trust resources, and

 the right to retain a fighting chance to preserve a habitable climate system.

         11.     Here, then, I will address the fundamental context in which those fundamental

 rights violations arise. That context includes Earth’s present and growing energy imbalance and

 the still real, but highly time-limited, opportunity to rapidly phase-down CO2 emissions, restore

 energy balance, and stabilize the climate system.

         12.     The Court will find a more detailed treatment of these points, with supporting

 explanatory material and data, in two recent papers of which I am the lead author.

         13.     The first, Assessing ‘‘Dangerous Climate Change’’: Required Reduction of

 Carbon Emissions to Protect Young People, Future Generations and Nature, was published in late

 2013, in conjunction with 17 colleagues. In that study we established that continued fossil fuel

 burning up to even 2oC above the preindustrial level1 likely would cause large climate change

 with disastrous and irreversible consequences, so that actions to rapidly phase out CO2 emissions

 are urgently needed to reduce the atmospheric CO2 concentration to no more than 350ppm and

 restore Earth’s energy balance. I have attached Dangerous Climate Change hereto as Exhibit 2,2

 and I hereby incorporate by reference, into this declaration, its analyses and conclusions.




 1
     We are already 0.9oC above the preindustrial temperature. Indeed, in 2015 global
 temperature is reaching a level ~1°C above the preindustrial level, but the high 2015 level is
 partly a temporary effect of a strong El Nino, a natural oscillation of tropical Pacific Ocean
 temperature.
 2
     Published by PLOS One (Dec. 3, 2013) and available at:
 http://journals.plos.org/plosone/article?id=10.1371/journal.pone.0081648

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         14.    The second, Ice Melt, Sea Level Rise and Superstorms: Evidence from

 Paleoclimate Data, Climate Modeling, and Modern Observations that 2°C Global Warming is

 Highly Dangerous, was published this month in conjunction with 16 colleagues. In it we

 conclude that, if CO2 emissions are allowed such that energy is continuously pumped at a high

 rate into the ocean, then multi-meter sea level rise will become practically unavoidable, with

 consequences that may threaten the very fabric of civilization. I have attached Ice Melt, Sea Level

 Rise and Superstorms hereto as Exhibit 3,3 and hereby incorporate by reference into this

 declaration its analyses and conclusions.

 I.      PRESENT AND LOOMING CLIMATE CRISES, AND A PATH TO STABILITY

         15.    As indicated above, our late-2013 study provides a detailed treatment of our

 present predicament and the route that must be taken to sufficiently reduce atmospheric CO2 to

 preserve a habitable climate system. See Exhibit 2. Our most recent work, establishing that

 nonlinear melting of Earth’s major ice sheets is likely within a century, among other things, if

 fossil fuel emissions continue unabated, adds an additional element of immediacy to what, for too

 long, has been treated in practical terms as, at best, a distant but growing complication. See

 Exhibit 3.

         16.    I outline and summarize these matters here, before proceeding to a further

 explanation of them.

         17.    First: Human burning of fossil fuels has disrupted Earth’s energy balance. In

 response, the planet is heating up – with no end in sight, unless we alter our present path.

 Atmospheric CO2 concentration, for example, is now at its highest level in 3 million years, and




 3
      See also: http://www.atmos-chem-phys-discuss.net/15/20059/2015/acpd-15-20059-2015.pdf

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 global surface temperatures now have reached the prior maximum of the Holocene era, the period

 of relatively moderate climate that, over the last 10,000 years, enabled civilization to develop.

         18.     Second: We are observing impacts of the relatively small amount of warming that

 has already occurred, and these constitute harbingers of far more dangerous change to come. We

 can discuss the observable consequences, and their implications, but the key point is that, if

 unabated, continued carbon emissions will initiate dynamic climate change and effects that spin

 out of human control, as the planet’s energy imbalance triggers amplifying feedbacks and the

 climate and biological systems pass critical tipping points. Sea-level rise provides a key metric

 here.

         19.     Third: There is still time and opportunity to preserve a habitable climate system --

 if we pursue a rational course. I will outline the glide path that we think remains feasible, though

 further delay in taking effective action will consign that effort to failure. Objectively, then, the

 situation is urgent and what governments and other decision-makers do, or do not do, today to

 reduce carbon pollution matters immensely.

 II.     OUR PLANET IS NOW OUT OF ENERGY BALANCE

         20.     In Chart 1, we show global fossil fuel CO2 emissions on an annual basis from the

 burning of coal, oil, and natural gas, and from cement production and flaring, along with the total

 emissions from these major sources. Although it is more than twenty years since 170 nations

 agreed to limit fossil fuel emissions in order to avoid dangerous human-made climate change, the

 stark reality – as illustrated here – is that global emissions have accelerated. Specifically, the

 growth rate of fossil fuel emissions increased from 1.5%/year during 1973–2000 to 2.6%/year in

 2000–2014 (Chart 1(a)), due in the main to increased utilization of coal, oil, gas and cement

 (Chart 1(b)).


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 Chart 1: CO2 Annual Emissions From Fossil Fuel Use And Cement Manufacture
 Source: Dangerous Climate Change (Exhibit 2 to this Declaration, at Fig. 1), updated through
 2014 from http://www.columbia.edu/~mhs119/CO2Emissions/.




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           21.   Our increased emissions are reflected, at least in part, in the rising concentration of

 atmospheric CO2, as is illustrated in Chart 24 that is based on readings taken at the Mauna Loa,

 Hawaii, observatory. The CO2, atmospheric level is now approximately 400 ppm, over 40 percent

 more than the preindustrial level.




 Chart 2: From Noaa’s Earth System Research Laboratory
 at http://www.esrl.noaa.gov/gmd/ccgg/trends/#mlo_full.


           22.   Moreover, the increase in the atmospheric CO2 concentration is itself speeding up,

 as is illustrated in Chart 3.5 The annual mean rate of CO2 growth more than doubled from

 0.85ppm in the 1960-70 period to 2.0ppm in 2000-2010.




 4
     From http://www.esrl.noaa.gov/gmd/ccgg/trends/#mlo_growth
 5
     Id.

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 Chart 3: From Noaa’s Earth System Research Laboratory
 at http://www.esrl.noaa.gov/gmd/ccgg/trends/#mlo_growth.


        23.     This increased concentration of CO2 and other GHGs in the atmosphere operates to

 reduce Earth’s heat radiation to space, thus causing an energy imbalance – less energy going out

 than coming in. This imbalance causes Earth to heat-up until it again radiates as much energy to

 space as it absorbs from the sun.

        24.     In point of fact, warming of Earth caused by the increasingly thick CO2 “blanket”

 persisted even during the recent five-year solar minimum from 2005-2010. Had changes in

 insolation been the dominant forcing, the planet would have had a negative energy balance in that

 period, when solar irradiance was at its lowest level in the period of accurate data, i.e., since the

 1970s. Instead, even though much of the greenhouse gas forcing had been expended in causing

 observed 0.9°C global warming to date, the residual positive forcing from CO2 emissions



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 overwhelmed the negative solar. This illustrates, unequivocally, that it is human activity, and not

 the sun, that is the dominant driver of recent climate change.

        25.     In terms of responsibility for our present predicament, I will note that it is true, as

 we can illustrate with the aid of Chart 4 (a) (left side), that in recent years, CO2 emissions from

 China have exceeded those from the U.S.




 Chart 4: Fossil Fuel CO2 Emissions
 Source: Dangerous Climate Change (Exhibit 2 to this Declaration at Fig. 11)
 updated through 2013 at http://www.columbia.edu/~mhs119/CO2Emissions/Emis_moreFigs/.


        26.     However, in light of the long residence time of CO2 following its injection into the

 atmosphere, it is a nation’s sum total of its emissions that is the more proper measure of its

 responsibility for already-realized and latent climate change. See Chart 4 (b) (right side). That

 chart illustrates that the United States is more responsible than any other for the present

 dangerously-highly atmospheric CO2 concentration.

        27.     Here, I believe that a further word about the atmospheric residence time of CO2 is

 in order, and we can do that with the aid of Chart 5 (left side).


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 Chart 5: Decay Of Atmospheric CO2 Perturbations
 Source: Dangerous Climate Change (Exhibit 2 to this Declaration at Fig. 4). (A) Instantaneous
 injection or extraction of CO2 with initial conditions at equilibrium. (B) Fossil fuel emissions
 terminate at the end of 2015, 2030, or 2050 and land use emissions terminate after 2015 in all
 three cases, i.e., thereafter there is no net deforestation.


        28.     A pulse of CO2 injected into the air decays by half in about 25 years, as CO2 is

 taken up by the ocean, biosphere and soil, but nearly one-fifth remains in the atmosphere after

 500 years. Indeed, that estimate is likely optimistic, in light of the well-known nonlinearity in

 ocean chemistry and saturation of carbon sinks, implying that the airborne fraction probably will

 remain larger for a century and more. It requires hundreds of millennia for the chemical

 weathering of rocks to eventually deposit all of this initial CO2 pulse on the ocean floor as

 carbonate sediments.

        29.     The critical point here is that carbon from fossil fuel burning remains in the

 climate system, with much of it in the atmosphere, and thus continues to affect the climate system

 for many millennia.

        30.     It is in part for this reason – the atmospheric persistence of CO2 – that our national

 contribution to the problem is so large. Moreover, we can observe that, as compared with that of

 other major CO2-emitting nations, our national contribution to the global climate crisis is not only

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 largest in absolute amount (Chart 4b), it dwarfs the contributions of the most populous nations on

 a per capita basis. Chart 6.




 Chart 6: Cumulative Per Capita Carbon Dioxide Emissions
 Source: www.columbia.edu/~mhs119/YoungPeople/.


        31.     Turning, now to Chart 7, we see the upward march of recent average global

 surface temperature.




 Chart 7: Global Surface Temperature Anomaly (60-Month And
 132-Month Running Means) With A Base Period Of 1951-1980
 Source: Dangerous Climate Change (Exhibit 2 to this Declaration at Fig. 3), updated at
 http://www.columbia.edu/~mhs119/Temperature/.




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        32.     Earth has now warmed about 0.9°C above the pre-industrial level. That is now

 close to, and probably slightly above, the prior maximum of the Holocene era – the period of

 relatively stable climate over the last 10,000 years that has enabled human civilization to develop.

        33.     The warming increases Earth’s radiation to space, thus reducing Earth’s energy

 imbalance. However, because of the ocean’s great thermal inertia, it requires centuries for the

 climate system to reach a new equilibrium consistent with a changed atmospheric composition.

 The planet’s energy imbalance confirms that substantial additional warming is “in the pipeline”.

 That energy imbalance is now measured by an international fleet of more than 3000 submersible

 floats that plumb the depths of the world’s ocean measuring the increasing heat content.

        34.     Earth’s energy imbalance now averages about 0.6 Watts/m2 averaged over the

 entire planet, but I am uncertain whether this conveys to the Court the scale of what is going on. I

 can note that the total energy surplus is 300 trillion joules per second, but that large number may

 still be insufficiently evocative. Accordingly, it may be more useful to observe, and with equal

 validity, that Earth’s energy imbalance is equivalent to exploding more than 400,000 Hiroshima

 atomic bombs per day, 365 days per year. That is how much extra energy Earth is now gaining

 each day because of our use of the atmosphere as a waste dump for our carbon pollution.

        35.     We can turn now to Chart 8.

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 Chart 8: Surface Temperature Estimate for the Past 65.5 Myr, Including An Expanded
 Time Scale for (B) The Pliocene and Pleistocene and (C) The Past 800 000 Years
 Source: J. Hansen, et al, Climate Sensitivity, Sea level and Atmospheric Carbon Dioxide,
 Phil Trans R Soc A (2013), Fig. 4.


        36.     Here, we summarize the average global surface temperature record of the last 65

 million years. This record is based on high-resolution ice core data covering the most recent

 several hundred thousand years, and ocean cores on time scales of millions of years. It provides

 us with insight as to global temperature sensitivity to external forcings such as added CO2, and

 sea level sensitivity to global temperature. It also provides quantitative information about so-

 called “slow” feedback processes – such as melting ice sheets and lessened surface reflectivity

 attributable to darker surfaces resulting from melting ice sheets and reduced area of ice.




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        37.     Several relevant conclusions can be drawn. First, the mechanisms that account for

 the relatively rapid oscillations between cold and warm climates were the same as those operating

 today. Those past climate oscillations were initiated not by fossil fuel burning, but by slow

 insolation changes attributable to perturbations of Earth’s orbit and spin axis tilt. However, the

 mechanisms that caused these historical climate changes to be so large were two powerful

 amplifying feedbacks: the planet’s surface albedo (its reflectivity, literally its whiteness) and

 atmospheric CO2.

        38.     Second, the longer paleoclimate record shows that warming coincident with

 atmospheric CO2 concentrations as low as 450 ppm may have been enough to melt most of

 Antarctica. Global fossil fuel emissions – towards which, as I noted above, our nation has

 contributed more than any other – have already driven up the atmospheric CO2 concentration to

 approximately 400 ppm – up from 280 ppm of the preindustrial era.

        39.     I conclude that the present level of CO2 and its warming, both realized and latent,

 is already in the dangerous zone. Indeed, we are now in a period of overshoot, with early

 consequences that are already highly threatening and that will rise to unbearable unless action is

 taken without delay to restore energy balance at a lower atmospheric CO2 amount. We can turn

 now to a brief review of the increasingly unacceptable, but still avoidable, consequences.

 III. UNABATED EMISSIONS MAY DEVASTATE OUR COASTS, CIVILIZATION
 AND NATURE AS WE KNOW IT

        40.     I will start with the ocean, in light of our most recent research.

        41.     While I have postulated previously that major ice sheet disintegration and resulting

 sea level rise is likely to be nonlinear in the event of continued high fossil fuel impacts, my

 concern had been based largely on heuristic grounds. Now, utilizing multiple lines of evidence –

 including satellite gravity measurement, surface mass balances, and satellite radar altimetry – it

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 has become clear, regrettably, that ice mass losses from Greenland, West Antarctica and parts of

 East Antarctica are growing nonlinearly, with doubling times so far this century of approximately

 10 years.

        42.     My colleagues and I expect the growth rate for ice mass loss in Greenland to slow,

 based on the most recent few years of data, but because of amplifying feedbacks described in our

 paper we also think it likely that Antarctic ice mass loss will continue to climb exponentially –

 again, if fossil fuel emissions are not rapidly abated. This prospect alone cries out for urgent

 national and international action to constrain carbon pollution, considering that complete

 disintegration of the Totten glacier in East Antarctica could raise sea levels by approximately 6-

 7m; that ice fronted by the Cook glacier in East Antarctica could add 3-4m of sea rise; and that

 West Antarctic ice fronted by Amundsen Sea glaciers have the potential to raise sea level an

 additional 3-4m. See Exhibit 3 at 41.

        43.     In the light of this and related information, we have concluded that humanity faces

 “nearly certainty of eventual sea level rise of at least . . . 5-9m if fossil fuel emissions continue on

 a business-as-usual course.” See Exhibit 3 at PDF page 31. Much of the U.S. eastern seaboard,6

 as well as low-lying areas of Europe, the Indian sub-continent, and the Far East, would then be

 submerged. See Chart 9.




 6
     Western U.S. cities too are vulnerable, to the degree that parts of them are relatively low-
 lying. It is estimated, for example, that sea level rise of “only” 10 feet (approximately 3 meters)
 will inundate over 4,000 acres (and over 3,000 homes) in Seattle, nearly 3,000 acres (and over
 13,000 homes) in San Francisco, and over 4,000 acres (and nearly 10,000 homes) in San Diego.
 See Climate Central’s “Surging Seas” project at http://sealevel.climatecentral.org/ .

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 Chart 9: Areas (Light And Dark Blue) That Nominally Would Be Under Water For 6 And
 25 M Sea Level Rise
 Source: Climate Science, Awareness, and Solutions, Earth Institute, Columbia University (2015).


        44.     That order of sea level rise would result in the loss of hundreds of historical coastal

 cities worldwide, with incalculable economic consequences. It would also create hundreds of

 millions of global warming refugees from highly populated low-lying areas, and thus likely cause

 or exacerbate major international conflicts.7

        45.     To avoid such a calamity, sea level rise must be recognized as a key limit on any

 conceivably allowable human-made climate forcing and atmospheric CO2 concentration, with




 7
     In addition, strong temperature gradients caused by ice melt freshening is likely to increase
 baroclinicity and provide energy for more severe weather events, including in the North Atlantic.
 This set of circumstances will drive the powerful superstorms of our future. Some of these
 impacts are beginning to occur sooner in the real world than in our climate model. See Exhibit 3
 at pdf 31.

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 fossil fuel emissions and land use changes constrained accordingly.8 As discussed, ice sheet

 melting has now commenced even though global warming to date measures “only” 0.9°C above

 the pre-industrial period. This is consistent with the relevant paleoclimate evidence showing a

 multi-meter rise in sea level in the late Eemian period, approximately 125K years ago, when

 temperature was at most ~2oC warmer than pre-industrial climate (at most ~1oC warmer than

 today). This, in itself, and quite apart from the additional harm to terrestrial systems that must

 also be considered, implies that national and international goals and targets that aim to limit

 global warming to no more than 2oC run an unacceptably high risk of global catastrophe.

           46.   An important effect for the coming period of large scale ice sheet melting, in our

 view, is that the discharge of ice and cold fresh water will expand sea ice cover and result in

 ocean surface, regional and global cooling effects. See Exhibit 3 at pdf 3-11. For varying

 periods, these effects would mask some of the global warming that would otherwise result from

 projected high CO2 levels. The temporary surface cooling, however, would be coincident with a

 further increase in the planet’s energy imbalance, with added energy pumped into the ocean, and

 there be available, at Antarctica and Greenland, to further melt the subsurface shelves that, at

 present, restrain several of the planet’s major ice sheets at their grounding lines. See Exhibit 3 at

 pdf 18.

           47.   Upon cessation of ice sheet disintegration and freshwater discharge, global

 temperature will recover – with the time period for such recovery depending on the amount of ice

 melt (and sea level rise), and with geographical, geophysical and oceanic circulation factors

 detailed in our recent study. See Exhibit 3 at pdf 11.


 8
      This is so, as we wrote in “Ice Melt, Sea Level Rise and Superstorms,” Exhibit 3 at pdf 32,
 in light of the “extreme sensitivity of sea level to ocean warming and the devastating economic
 and humanitarian impacts of a multi-meter sea level rise.”

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        48.     With respect to other important natural and human systems, to which I will now

 turn, the impacts of global warming – including the renewed warming – will depend in part on the

 magnitude of Earth’s energy imbalance, and that, in turn, will be controlled by the level of excess

 atmospheric CO2. As I have noted already, global warming to date measures “only” 0.9°C above

 the pre-industrial period, and yet, that level of warming has already begun to have a widespread

 effect on natural and human systems.

        49.     For example, mountain glaciers, the source of fresh water to major world rivers

 during dry seasons, are receding rapidly all around the world. To cite a close-to-home example,

 glaciers in iconic Glacier National Park appear to be in full retreat: In 1850, according to the Park

 Service, Glacier had 150 glaciers measuring larger than twenty-five acres. Today, it has just

 twenty-five.

        50.     As well, tropospheric water vapor and heavy precipitation events have increased,

 as we would expect. A warmer atmosphere holds more moisture, thus enabling precipitation to be

 heavier and cause more extreme flooding. Higher temperatures, on the other hand, increase

 evaporation and can intensify droughts when they occur, as can the expansion of the subtropics

 that occurs as a consequence of global warming.

        51.     Coral reef ecosystems, harboring more than 1,000,000 species as the “rainforests”

 of the ocean, are impacted by a combination of ocean warming, acidification from rising

 atmospheric CO2, and other human-caused stresses, resulting in a 0.5-2% per year decline in

 geographic extent.

        52.     World health experts have concluded with “very high confidence” that climate

 change already contributes to the global burden of disease and premature death with expansion of




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 infectious disease vectors. Increasing climate variability is being examined as a possible

 contributor to the expansion of Ebola.

        53.     Subtropical climate belts have expanded, contributing to more intense droughts,

 summer heat waves, and devastating wildfires. Further, summer mega-heat-waves, such as those

 in Europe in 2003, the Moscow area in 2010, Texas and Oklahoma in 2011, Greenland in 2012,

 Australia in 2013, Australia and California in 2014, and India, France and Spain this year

 (2015), have become more widespread.9 The probability of such extreme heat events has

 increased by several times because of global warming, and the probability will increase even

 further if fossil fuel emissions continue to be permitted, so that global warming becomes locked

 in or rendered increasingly severe.

        54.     I have already mentioned the unparalleled calamity that the loss of scores of

 coastal cities to rapid sea level rise presents to human civilization. But I should mention that

 many other impacts also will abound.

        55.     For example, acidification stemming from ocean uptake of a portion of increased

 atmospheric CO2 will increasingly disrupt coral reef ecosystem health, with potentially

 devastating impacts to certain nations and communities. Inland, fresh water security will be

 compromised, due to the effects of receding mountain glaciers and snowpack on seasonal

 freshwater availability of major rivers.

        56.     As to human health: increasing concentrations of CO2 and associated increased

 global temperatures will deepen impacts, with children being especially vulnerable. Climate

 9
     Climate researchers in Oregon consider that state’s recent heat and dry spell to be consistent
 with these trends, with the month of June, 2015 being said to be the warmest on record in much
 of the state. See Oregon Climate Service at http://ocs.oregonstate.edu/ . In general, however,
 local observations of climate (heat) extremes are illustrative of what will occur with the
 increasing atmospheric CO2 concentration, but I will caution that other, more stochastic,
 variables usually will be in play as well.

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 threats to health move through various pathways, including by placing additional stress on the

 availability of food, clean air, and clean water. Accordingly, unabated climate change will

 increase malnutrition and consequent disorders, including those related to child growth and

 development. It will increase death and illness associated with COPD, asthma, and other

 respiratory distress triggered by worsened allergies. Unabated emissions will also produce other

 injuries from heat waves; floods, storms, fires and droughts, and it will increase cardio-respiratory

 morbidity and mortality associated with increased ground-level ozone.

        57.     With regard to other species, we see that climate zones are already shifting at rates

 that exceed natural rates of change; this trend will continue as long as the planet is out of energy

 balance. As the shift of climate zones becomes comparable to the range of some species, the less

 mobile species will be driven to extinction. According to the UN Panel on Climate Change, with

 global warming of 1.6°C or more relative to pre-industrial levels, 9-31 percent of species are

 anticipated to be driven to extinction, while with global warming of 2.9°C, an estimated 21-52

 percent of species will be driven to extinction. These temperature/extinction thresholds will not

 be avoided absent concerted, rational action on carbon emissions.

        58.     At present, we remain on track to burn a significant fraction of readily available

 fossil fuels, including coal, oil, natural gas, and tar sands, and so to raise average surface

 temperature, over time, to far above pre-industrial levels.

        59.     High global surface temperatures have been recorded previously, in the age of

 mammals, with some successful adaptation through evolution of higher surface-area-to-mass ratio

 body types – for example transient dwarfing of mammals and even soil fauna. However, human-

 made warming is occurring rapidly and will be fully realized in only centuries, as opposed to

 millennia, thus providing little opportunity for evolutionary dwarfism to alleviate impacts of


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 global warming. Along with several colleagues, I have been forced to conclude that the large

 climate change that would result from burning all or most fossil fuels threatens the survival of

 humanity.

        60.     All of which brings me to my third point.

 IV.  RESTORATION OF OUR CLIMATE SYSTEM, AND SO PROTECTION
 OF OUR FUTURE, IS STILL POSSIBLE, BUT WE MUST ACT WITH REASON,
 COURAGE, AND NO FURTHER DELAY

        61.     As I indicated above, the energy imbalance of Earth is about 0.6 W/m2. In the

 light of that imbalance, colleagues and I have calculated the level to which atmospheric CO2 must

 be drawn down in order to increase Earth’s heat radiation to space by the same amount and thus

 restore energy balance – the fundamental requirement to stabilize climate and avoid further

 dangerous warming.

        62.     The measured energy imbalance indicates that CO2 must be reduced to a level

 below 350 ppm, assuming that the net of other human-made climate forcings remains at today’s

 level. Specification now of a CO2 target more precise than <350 ppm is difficult due to uncertain

 future changes of radiative forcing from other gases, aerosols and surface albedo, but greater

 precision should be feasible during the time that it takes to turn around CO2 growth and approach

 the initial 350 ppm target.

        63.     Let us return, for a moment, to Chart 5, so as to consider again the question of

 delay. On the left side of the chart, the long-residence time for atmospheric CO2 is illustrated. It

 is reflected in the length of time it would take to return CO2 to lower concentrations even if, as

 indicated on the right side of the chart, fossil fuel emissions were to cease entirely.




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        64.     Of course, an abrupt cessation of all CO2 emissions, whether this year or in 2030,

 is unrealistic. Industry, other business, and consumers all need time to retool and reinvest in

 emission-free options to fossil fuels.

        65.     Accordingly, we have evaluated emissions reduction scenarios to devise the path

 that is both technically and economically feasible, while being sufficiently rigorous to constrain

 the period of “carbon overshoot” and avoid calamitous consequences (greatly accelerated

 warming, ecosystem collapse, and widespread species extermination). See Chart 10.




 Chart 10: Atmospheric CO2 If Fossil Fuel Emissions Are Reduced.
 (A) 6% Or 2% Annual Cut Begins In 2013 And 100 GRC Reforestation Drawdown Occurs In
 2031-2080, (B) Effect Of Delaying Onset Of Emission Reductions.
 Source: Dangerous Climate Change (Exhibit 2 to this Declaration at Fig. 5).


        66.     Our analysis prescribes a glide path towards achieving energy balance by the end

 of the century. It is characterized by large, long-term global emissions reductions (of

 approximately 6 percent annually, if commenced this year), coupled with programs to limit and

 reverse land use emissions via reforestation and improved agricultural and forestry practices

 (drawing down approximately 100 GtC by the year 2100).



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        67.     These actions could achieve the goal of restoring the atmosphere to approximately

 350 ppm within this century if the plan were commenced without delay, and then adhered to. As

 I have indicated, such action is minimally needed to restore earth’s energy balance, preserve the

 planet’s climate system, and avert irretrievable damage to human and natural systems – including

 agriculture, ocean fisheries, and fresh water supply – on which civilization depends. However,

 consistent with the abrupt phase out scenarios discussed in the prior paragraph, if rapid annual

 emissions reductions are delayed until 2030, then the global temperature will remain more than

 1°C higher than preindustrial levels for about 400 years. Were the emissions cessation only to

 commence after 40 years, then the atmosphere would not return to 350 ppm CO2 for nearly 1000

 years. Overshooting the safe level of atmospheric CO2 and the safe range of global ambient

 temperature for anything approaching these periods will consign succeeding generations to a

 vastly different, less hospitable planet.

        68.     Considered another way, the required rate of emissions reduction would have been

 about 3.5% per year if reductions had started in 2005 and continued annually thereafter, while the

 required rate of reduction, if commenced in 2020, will be approximately 15% per year.

 Accordingly, the dominant factor is the date at which fossil fuel emission phase out begins, again

 presuming the rate of annual emissions reductions thereafter are sustained.

 V.   THE FUNDAMENTAL RIGHTS OF MY GRANDDAUGHTER SOPHIE, OTHER
 CHILDREN, AND FUTURE GENERATIONS TO A HABITABLE PLANET

        69.     With all of the above having now been said, and serving as background, I can

 return, finally, and briefly, to consider the nature of the violations of the rights of my

 granddaughter and future generations that are properly attributable our government’s continued

 permitting, leasing, and other support for fossil fuel exploitation and expansion projects--



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 particularly in the absence of any countervailing, coherent, effective government program to

 rapidly reduce atmospheric CO2 to a safe level.

         70.     In this, I include our government’s approval of the Jordan Cove project at Coos

 Bay, Oregon. To be specific, in the context of US emissions to date and the present global climate

 crisis those emissions have done much to engender, the additional emissions stemming from

 Jordan Cove will work only to further increase the atmospheric concentrations of CO2, and thus to

 further increase Earth’s energy imbalance – thereby driving our planet towards and potentially

 beyond irretrievable climate system tipping points.

         71.     This is so because, by exacerbating or locking-in Earth’s energy imbalance, such

 government action jeopardizes the signal features of the relatively benign and favorable climate

 system that, over the last 10,000 years, enabled civilization to develop and nature to thrive, as I

 have discussed. These features included relatively stable coastlines, moderate weather, fertile

 soils, and dependable hydrological systems – the natural capital on which the lives of Plaintiffs

 depend no less than did the lives of their parents and their forebears.

         72.     As well, present and future government action that exacerbates or locks-in Earth’s

 energy imbalance risk economic collapse, social disintegration, and the loss of essential natural

 and human services, as I have discussed. The resulting diminution of Plaintiffs’ life prospects –

 their compromised ability to earn a living, to meet their basic human needs, to safely raise

 families, to practice their religious and spiritual beliefs, and otherwise to lead dignified lives – is a

 predictable if not intended result of the government action.

         73.     In addition, where such government action exacerbates or locks-in Earth’s energy

 imbalance that, in turn, predictably will lead to the climate change-driven inundation, burning, or

 other destruction of the value of property in which Plaintiffs hold interests. These will include the


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 homes, farms and other valuable property that their parents or grandparents own and that

 Plaintiffs will inherit.

         74.     Further, these government actions, in consequence of their long-term impacts on

 Earth’s climate system and the thermal inertia of the ocean, will disproportionately impose harsh

 burdens on Plaintiffs. If fossil fuel emissions are not systematically and rapidly abated, as I have

 discussed above – including in the materials that I have incorporated by reference – then Youth

 and Future Generations Plaintiffs will confront what reasonably only can be described as, at best,

 an inhospitable future. That future may be marked by rising seas, coastal city functionality loss,

 mass migrations, resource wars, food shortages, heat waves, mega-storms, soil depletion and

 desiccation, freshwater shortage, public health system collapse, and the extinction of increasing

 numbers of species. That is to mention only the start of it. At this late stage it is important not to

 sugarcoat the fundamental assault on their right to equal protection of the law: While prior

 generations and, to a certain extent, some in our present generation have benefitted and, even,

 been enriched by the exploitation of fossil fuels, our children and their progeny will not similarly

 benefit. Indeed, the impact on Plaintiffs’ will be nearly completely to the contrary, as I have

 discussed.

         75.     Closely-related to the above, our government’s continued permitting and

 promotion of the fossil fuel enterprise now impairs and increasingly will compromise the

 fundamental natural resources on which Plaintiffs will depend. Again, these are the fundamental

 resources on which the prior and present generations have relied, and on which Plaintiffs now and

 in the future must rely. They include the air, freshwater, the oceans and stable shores, the soil and

 its agronomic capacity, the forests and its wildlife, biodiversity on earth, and the planet’s climate

 system in a form conducive to civilization, humanity and nature as we know it.


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        76.     Furthermore, it is clear to me that Plaintiffs’ right to a government that retains any

 significant capacity to address the climate crisis adequately is violated by prior and present

 government actions that exacerbate or lock-in our planet’s energy imbalance. In time and, as I

 have argued, likely within the century, such action will irretrievably damage our planet’s

 favorable climate system. Once begun, for example, collapsing and disintegrating ice sheets will

 not readily be reformulated – certainly not within a timeframe relevant to present and foreseeable

 generations. The loss of species too is irretrievable. Many are adapted to specific climate zones,

 so those species adapted to polar and alpine regions will have no place to run. Present and

 pending actions by our government now must be viewed in the context of a climate crisis that our

 government to date has done so much to bring about. Action is required to preserve and restore

 the climate system such as we have known it in order for the planet as we have known it to be

 able to continue adequately to support the lives and prospects of young people and future

 generations. But that cannot be done effectively by future governments if ours continues to

 exacerbate the planet’s energy imbalance and press our planet towards irretrievable tipping points

 from which there can be no practical opportunity to return.

        77.     To further explain this last point, I will note that earlier in this declaration I

 discussed our nation’s outsized role in creating, through its CO2 emissions, our present emergency

 with respect to the planet’s climate system. See supra, text surrounding Chart 4 and Chart 6.

 Other nations are keenly aware of this basic fact including, most importantly, China. It is,

 accordingly, worthwhile here – in the context of considering responsibility to resolve the present

 crisis and preserve a habitable climate system – to consider further these top two emitters’ role.




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 Chart 11: Top Two Annual Emitters And Their Cumulative Emissions
 (a) Fossil fuel CO2 Emissions, 1990 Through 2014, (B) Cumulative Shares: U.S. And China
 Source: Climate Science, Awareness and Solutions, based on data from ORNL through
 2011, updated with BP data through 2014.


        78.     China’s annual CO2 emissions caught those of the United States in 2005 and then

 rapidly surpassed U.S. emissions. See Chart 11 (a) (left side). However, any nation’s contribution

 to climate change is proportional to its cumulative emissions over time.10 China’s responsibility

 for global climate change remains a fraction of that of the U.S., despite China’s much larger

 population. See Chart 11 (b) (right side). Specifically, China’s share of global fossil fuel CO2

 emissions through 2014 is 11.6 percent while the United States share is 25.5 percent.

        79.     Accordingly, in the light of our preponderant role, the United States has special

 responsibility for helping to solve the global emissions problem. The remaining carbon “budget”

 – the amount of emissions that can be tolerated while still allowing the possibility of stabilizing

 climate – is very small. As we have noted, climate stability requires that global emissions decline

 by at least 6% per year. In effect, the United States burned not only its fair share of the total

 (cumulative) carbon budget, it also burned much of China and India’s fair shares.



 10
     Hansen, J., et al., Dangerous human-made interference with climate: A GISS modelE study.
 Atmos. Chem. Phys., 7, 2287-2312, doi:10.5194/acp-7-2287-2007.

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        80.     It is instructive to examine the emissions of China and India, which are shown in

 Chart 12. China is the #1 global emitter of CO2 and India is #3, with the United States being #2.

 Together the three nations emit about half of global emissions, i.e., the same as the other 190

 nations of the world combined. Two conclusions leap out from Chart 12. First, emissions in

 those nations are accelerating rapidly. Second, most of their emissions are from coal burning.

 (Note that the scale of the vertical axis is different for China and India. India is in an earlier stage

 of economic development and its emissions are as yet much smaller than China’s.)




 Chart 12: CO2 Emissions From China (Left Side) And India (Right Side)
 Graphic from Climate Science, Awareness and Solutions, utilizing data from the Carbon Dioxide
 Information Analysis Center and the BP Statistical Review of World Energy (2014).


        81.     The rapid growth of coal emissions is both a threat to global climate and a source

 of hope. If coal can be replaced with carbon-free energy, a huge reduction of global emissions

 becomes possible. In view of the responsibility of the United States for the excess CO2 in the air

 today, as well as the fact that U.S. citizens will suffer the consequences of global emissions, it is

 incumbent upon the U.S. to vigorously assist China with the technology required to replace coal

 burning. Yet the U.S. government, and its chief executive, the President have not undertaken

 such actions, leaving today’s young people and future generations extremely vulnerable. Indeed,

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 U.S. actions to date have been mostly rhetorical.11 Instead, our government including, especially,

 the U.S. President, should marshal every available tool, talent, and resource to address and resolve

 the present crisis with honesty and without further delay.

        82.       Young people have multiple rights that are guaranteed by our Constitution,

 including equal protection of the law, equal rights to enjoy life, liberty, property, and the pursuit

 of happiness – rights that should not be denied without due process. It is the duty of all branches

 of government to protect those rights. Specifically, it is a duty of the chief executive, the

 President, to lead and propose and pursue policies that achieve the required ends, as opposed to

 ineffectual actions that are demonstrably far short of what is needed.

        83.       The essential step, in my view and that of other experts, including economists,12 is

 an accord establishing a growing price on CO2 emissions, which would lead over time to their

 phase-out. Agreement upon such a domestic fee by major emitters, most notably the United

 States and China, with a border duty on products from nations that do not have an equivalent

 domestic carbon fee, would be expected to lead to widespread global movement toward carbon-

 free energies.




 11
      EPA’s much-vaunted “Clean Power Plan,” for example, actually allows U.S. coal-fired
 power plants to continue to operate for decades, and that Agency itself anticipates that, under the
 rule, power plant emission reductions will proceed at a slower pace than occurred in the ten-year
 period prior to the rule’s enactment.
 12
      These include three co-authors of our 2013 PLOS One study. See Exhibit 2. The
 government also has understood the central importance of a rising carbon price, and for at least
 25 years. See, e.g., Congressional Office of Technology Assessment, Changing by Degrees:
 Steps To Reduce Greenhouse Gases (1991) at 15 (“a particularly effective way of targeting the
 heaviest economic sanctions against the worst emitters of CO2.”). As colleagues and I noted in
 2013, Exhibit 2 at 19, “[a] rising carbon fee is the sine qua non for fossil fuel phase out.”

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        84.     I could go on, but will not so as to show mercy on the Court. Accordingly, I end

 here with a summary statement, in the light of the foregoing material that I have outlined and

 referenced, and with the offer to further explain my views and reasoning at the Court’s request.

        85.     Simply put: Our government’s persistent permitting and underwriting of fossil fuel

 projects serves now to further disrupt the favorable climate system that to date enabled human

 civilization to develop. In order to preserve a viable climate system, our use of fossil fuels must

 be phased out as rapidly as is feasible. Only government can ensure this will be done. Instead,

 our government seeks approval for permitting of fossil fuel projects that would slam shut the

 narrowing window of opportunity to stabilize climate and ensure a hospitable climate and planet

 for young people and future generations. These projects only allow our government to shirk its

 duty. Our government’s permitting of additional, new, or renewed fossil fuel projects is entirely

 antithetical to its fundamental responsibility to our children and their posterity. Their

 fundamental rights now hang in the balance.




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         1,




                                                  DR. JAMES E. HANSEN




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                                                  James E. Hansen
                  Columbia University Earth Institute, Climate Science, Awareness and Solutions
  Interchurch Building, 475 Riverside Drive, Room 239T, New York, NY 10115             jimehansen@gmail.com

1-paragraph bio/introduction:
Dr. James Hansen, formerly Director of the NASA Goddard Institute for Space Studies, is an Adjunct Professor at Columbia
University’s Earth Institute, where he directs a program in Climate Science, Awareness and Solutions. Dr. Hansen is best
known for his testimony on climate change in the 1980s that helped raise awareness of global warming. He is a member of the
U.S. National Academy of Sciences and has received numerous awards including the Sophie and Blue Planet Prizes. Dr.
Hansen is recognized for speaking truth to power and for outlining actions needed to protect the future of young people and all
species on the planet.

1-long-paragraph bio:
Dr. James Hansen, formerly Director of the NASA Goddard Institute for Space Studies, is an Adjunct Professor at Columbia
University’s Earth Institute, where he directs a program in Climate Science, Awareness and Solutions. He was trained in
physics and astronomy in the space science program of Dr. James Van Allen at the University of Iowa. His early research on
the clouds of Venus helped identify their composition as sulfuric acid. Since the late 1970s, he has focused his research on
Earth's climate, especially human-made climate change. Dr. Hansen is best known for his testimony on climate change to
congressional committees in the 1980s that helped raise broad awareness of the global warming issue. He was elected to the
National Academy of Sciences in 1995 and was designated by Time Magazine in 2006 as one of the 100 most influential
people on Earth. He has received numerous awards including the Carl-Gustaf Rossby and Roger Revelle Research Medals, the
Sophie Prize and the Blue Planet Prize. Dr. Hansen is recognized for speaking truth to power, for identifying ineffectual
policies as greenwash, and for outlining actions that the public must take to protect the future of young people and other life on
our planet.

3-paragraph bio:
Dr. James Hansen, formerly Director of the NASA Goddard Institute for Space Studies, is an Adjunct Professor at Columbia
University’s Earth Institute, where he directs a program in Climate Science, Awareness and Solutions. He was trained in
physics and astronomy in the space science program of Dr. James Van Allen at the University of Iowa, receiving a bachelor’s
degree with highest distinction in physics and mathematics, master’s degree in astronomy, and Ph. D. in physics in 1967. Dr.
Hansen was a visiting student, at the Institute of Astrophysics, University of Kyoto and Dept. of Astronomy, Tokyo
University, Japan from 1965-1966. He received his Ph.D. in physics from the University of Iowa in 1967. Except for 1969,
when he was an NSF post-doctoral scientist at Leiden Observatory under Prof. H.C. van de Hulst, he has spent his post-
doctoral career at NASA GISS.

In his early research Dr. Hansen used telescopic observations of Venus to extract detailed information on the physical
properties of the cloud and haze particles that veil Venus. Since the mid-1970s, Dr. Hansen has focused on studies and
computer simulations of the Earth's climate, for the purpose of understanding the human impact on global climate. He is best
known for his testimony on climate change to Congress in the 1980s that helped raise broad awareness of the global warming
issue. In recent years Dr. Hansen has drawn attention to the danger of passing climate tipping points, producing irreversible
climate impacts that would yield a different planet from the one on which civilization developed. Dr. Hansen disputes the
contention, of fossil fuel interests and governments that support them, that it is an almost god-given fact that all fossil fuels
must be burned with their combustion products discharged into the atmosphere. Instead Dr. Hansen has outlined steps that are
needed to stabilize climate, with a cleaner atmosphere and ocean, and he emphasizes the need for the public to influence
government and industry policies.

Dr. Hansen was elected to the National Academy of Sciences in 1995 and, in 2001, received the Heinz Award for environment
and the American Geophysical Union's Roger Revelle Medal. Dr. Hansen received the World Wildlife Federation’s
Conservation Medal from the Duke of Edinburgh in 2006 and was designated by Time Magazine as one of the world’s 100
most influential people in 2006. In 2007 Dr. Hansen won the Dan David Prize in the field of Quest for Energy, the Leo Szilard
Award of the American Physical Society for Use of Physics for the Benefit of Society, and the American Association for the
Advancement of Science Award for Scientific Freedom and Responsibility. In 2008, he won the Common Wealth Award for
Distinguished Service in Science and was also awarded both the Ohio State University’s Bownocker Medal and the Desert
Research Institute’s Nevada Medal. In 2009, Dr. Hansen received the American Meteorological Society’s Carl-Gustaf Rossby
Research Medal. In 2010 he received the Sophie Prize and the Blue Planet Prize.



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Additional Information:
   Http://www.columbia.edu/~jeh1/
   http://www.columbia.edu/~mhs119/
   Photos: http://ww.mediafire.com/?8ecel33ccmg81

Education:
   BA with highest distinction (Physics and Mathematics), University of Iowa, 1963
   MS (Astronomy), University of Iowa, 1965
   Visiting student, Inst. of Astrophysics, University of Kyoto & Dept. of Astronomy, Tokyo University, Japan, 1965-1966
   Ph.D. (Physics), University of Iowa, 1967

Research Interests:
    Analysis of the causes and consequences of global climate change using the Earth’s paleoclimate history, ongoing global
    observations, and interpretive tools including climate models. Connecting the dots all the way from climate observations
    to the policies that are needed to stabilize climate and preserve our planet for young people and other species.

Professional Employment:
    1967-1969     NAS-NRC Resident Research Associate: Goddard Institute for Space Studies (GISS), NY
    1969          NSF Postdoctoral Fellow: Leiden Observatory, Netherlands
    1969-1972     Research Associate: Columbia University, NY
    1972-1981     Staff Member/Space Scientist: Goddard Institute for Space Studies (GISS), Manager of GISS Planetary
                  and Climate Programs
    1978-1985     Adjunct Associate Professor: Department of Geological Sciences, Columbia University
    1981-2013     Director: NASA Goddard Institute for Space Studies
    1985-present Adjunct Professor: Earth and Environmental Sciences, Columbia University
    2013-present Director: Program on Climate Science, Awareness and Solutions, Columbia University

Project Experience:
    1971-1974     Co-Principal Investigator AEROPOL Project (airborne terrestrial infrared polarimeter)
    1972-1985     Co-Investigator, Voyager Photopolarimeter Experiment
    1974-1994     Principal Investigator (1974-8) and subsequently Co-Investigator, Pioneer Venus Orbiter Cloud-
                  Photopolarimeter Experiment
    1977-2000     Principal Investigator, Galileo (Jupiter Orbiter) Photopolarimeter Radiometer Experiment

Teaching Experience:
   Atmospheric Radiation (graduate level): New York Univ., Dept. of Meteorology & Oceanography
   Intro. to Planetary Atmospheres & Climate Change: Columbia Univ., Dept. of Geological Sciences

Awards:
   1977             Goddard Special Achievement Award (Pioneer Venus)
   1978             NASA Group Achievement Award (Voyager, Photopolarimeter)
   1984             NASA Exceptional Service Medal (Radiative Transfer)
   1989             National Wildlife Federation Conservation Achievement Award
   1990             NASA Presidential Rank Award of Meritorious Executive
   1991             University of Iowa Alumni Achievement Award
   1992             American Geophysical Union Fellow
   1993             NASA Group Achievement Award (Galileo, Polarimeter/Radiometer)
   1996             Elected to National Academy of Sciences
   1996             GSFC William Nordberg Achievement Medal
   1996             Editors’ Citation for Excellence in Refereeing for Geophysical Research Letters
   1997             NASA Presidential Rank Award of Meritorious Executive
   2000             University of Iowa Alumni Fellow
   2000             GISS Best Scientific Publication (peer vote): “Global warming – alternative scenario”
   2001             John Heinz Environment Award
   2001             Roger Revelle Medal, American Geophysical Union
   2004             GISS Best Scientific Publication (peer vote): ‘Soot Climate Forcing’



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    2005            GISS Best Scientific Publication (peer vote): ‘Earth’s Energy Imbalance’
    2006            Duke of Edinburgh Conservation Medal, World Wildlife Fund (WWF)
    2006            GISS Best Scientific Publication (peer vote): ‘Global Temperature Change’
    2006            Time Magazine designation as one of World's 100 Most Influential People.
    2007            Laureate, Dan David Prize for Outstanding Achievements & Impacts in Quest for Energy
    2007            Leo Szilard Award, American Physical Society for Outstanding Promotion & Use of Physics for the
                    Benefit of Society
    2007            Haagen-Smit Clean Air Award
    2008            American Association for the Advancement of Science Award for Scientific Freedom and Responsibility
    2008            Nevada Medal, Desert Research Institute
    2008            Common Wealth Award for Distinguished Service in Science
    2008            Bownocker Medal, Ohio State University
    2008            Rachel Carson Award for Integrity in Science, Center for Science in the Public Interest
    2009            Carl-Gustaf Rossby Research Medal, American Meteorological Society
    2009            Peter Berle Environmental Integrity Award
    2010            Sophie Prize for Environmental and Sustainable Development
    2010            Blue Planet Prize, Asahi Glass Foundation
    2011            American Association of Physics Teachers Klopsteg Memorial Award for communicating physics to the general
                    public
    2011            Edinburgh Medal from City of Edinburgh, Edinburgh Science Festival
    2012            Steve Schneider Climate Science Communications Award
    2012            Foreign Policy designation as one of its Top 100 Global Thinkers
    2013            Ridenhour Courage Prize
    2013            NASA Distinguished Service Medal
    2014            Center for International Environmental Law’s Frederick R. Anderson Award for Outstanding Contributions to
                    Addressing Climate Change
    2014            Walker Prize, Museum of Science, Boston


Publications:
   Hansen, J., Sato, M., Hearty, P., Ruedy, R., Kelley, M., Masson-Delmotte, V., Russell, G., Tselioudis, G., Cao, J., Rignot, E.,
         Velicogna, I., Kandiano, E., von Schuckmann, K., Kharecha, P., Legrande, A. N., Bauer, M., and Lo, K.-W.: Ice melt,
         sea level rise and superstorms: evidence from paleoclimate data, climate modeling, and modern observations that 2 °C
         global warming is highly dangerous, Atmos. Chem. Phys. Discuss., 15, 20059-20179, doi:10.5194/acpd-15-20059-2015,
         2015.
   Hansen, J., 2014: Environment and Development Challenges: The Imperative of a Carbon Fee and Dividend. The Oxford
         Handbook of the Macroeconomics of Global Warming, chapter 26 (in press).
   Nazarenko, L., G.A. Schmidt, R.L. Miller, N. Tausnev, M. Kelley, R. Ruedy, G.L. Russell, I. Aleinov, M. Bauer, S. Bauer, R.
         Bleck, V. Canuto, Y. Cheng, T.L. Clune, A.D. Del Genio, G. Faluvegi, J.E. Hansen, R.J. Healy, N.Y. Kiang, D. Koch,
         A.A. Lacis, A.N. LeGrande, J. Lerner, K.K. Lo, S. Menon, V. Oinas, J.P. Perlwitz, M.J. Puma, D. Rind, A. Romanou,
         M. Sato, D.T. Shindell, S. Sun, K. Tsigaridis, N. Unger, A. Voulgarakis, M.-S. Yao, and J. Zhang, 2014: Future climate
         change under RCP emission scenarios with GISS ModelE2. J. Adv. Model. Earth Syst., submitted.
   Hansen, J. 2014: The Energy to Fight Injustice. Chemistry World.
   Miller, R.L., G.A. Schmidt, L.S. Nazarenko, N. Tausnev, S.E. Bauer, A.D. Del Genio, M. Kelley, K.K. Lo, R. Ruedy, D.T.
         Shindell, I. Aleinov, M. Bauer, R. Bleck, V. Canuto, Y.-H. Chen, Y. Cheng, T.L. Clune, G. Faluvegi, J.E. Hansen, R.J.
         Healy, N.Y. Kiang, D. Koch, A.A. Lacis, A.N. LeGrande, J. Lerner, S. Menon, V. Oinas, C. Pérez García-Pando, J.P.
         Perlwitz, M.J. Puma, D. Rind, A. Romanou, G.L. Russell, M. Sato, S. Sun, K. Tsigaridis, N. Unger, A. Voulgarakis, M.
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         6, no. 2, 441-477, doi:10.1002/2013MS000266.
   Schmidt, G.A., M. Kelley, L. Nazarenko, R. Ruedy, G.L. Russell, I. Aleinov, M. Bauer, S.E. Bauer, M.K. Bhat, R. Bleck, V.
         Canuto, Y.-H. Chen, Y. Cheng, T.L. Clune, A. Del Genio, R. de Fainchtein, G. Faluvegi, J.E. Hansen, R.J. Healy, N.Y.
         Kiang, D. Koch, A.A. Lacis, A.N. LeGrande, J. Lerner, K.K. Lo, E.E. Matthews, S. Menon, R.L. Miller, V. Oinas, A.O.
         Oloso, J.P. Perlwitz, M.J. Puma, W.M. Putman, D. Rind, A. Romanou, M. Sato, D.T. Shindell, S. Sun, R.A. Syed, N.
         Tausnev, K. Tsigaridis, N. Unger, A. Voulgarakis, M.-S. Yao, and J. Zhang, 2014: Configuration and assessment of the
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Hansen, J., P. Kharecha, M. Sato, V. Masson-Delmotte, F. Ackerman, D. Beerling, P.J. Hearty, O. Hoegh-Guldberg, S.-L.
     Hsu, C. Parmesan, J. Rockstrom, E.J. Rohling, J. Sachs, P. Smith, K. Steffen, L. Van Susteren, K. von Schuckmann, and
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Hansen, J., Mki. Sato, P. Kharecha, D. Beerling, R. Berner, V. Masson-Delmotte, M. Pagani, M. Raymo, D.L. Royer, and J.C.
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Review

Assessing ‘‘Dangerous Climate Change’’: Required
Reduction of Carbon Emissions to Protect Young People,
Future Generations and Nature
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                                                                                       inertia causes climate to appear to respond slowly to this human-
   Abstract: We assess climate impacts of global warming                               made forcing, but further long-lasting responses can be locked in.
   using ongoing observations and paleoclimate data. We                                   More than 170 nations have agreed on the need to limit fossil
   use Earth’s measured energy imbalance, paleoclimate                                 fuel emissions to avoid dangerous human-made climate change, as
   data, and simple representations of the global carbon                               formalized in the 1992 Framework Convention on Climate
   cycle and temperature to define emission reductions
                                                                                       Change [6]. However, the stark reality is that global emissions
   needed to stabilize climate and avoid potentially disas-
                                                                                       have accelerated (Fig. 1) and new efforts are underway to
   trous impacts on today’s young people, future genera-
   tions, and nature. A cumulative industrial-era limit of                             massively expand fossil fuel extraction [7–9] by drilling to
   ,500 GtC fossil fuel emissions and 100 GtC storage in the                           increasing ocean depths and into the Arctic, squeezing oil from
   biosphere and soil would keep climate close to the                                  tar sands and tar shale, hydro-fracking to expand extraction of
   Holocene range to which humanity and other species are                              natural gas, developing exploitation of methane hydrates, and
   adapted. Cumulative emissions of ,1000 GtC, sometimes                               mining of coal via mountaintop removal and mechanized long-
   associated with 2uC global warming, would spur ‘‘slow’’                             wall mining. The growth rate of fossil fuel emissions increased
   feedbacks and eventual warming of 3–4uC with disastrous                             from 1.5%/year during 1980–2000 to 3%/year in 2000–2012,
   consequences. Rapid emissions reduction is required to                              mainly because of increased coal use [4–5].
   restore Earth’s energy balance and avoid ocean heat                                    The Framework Convention [6] does not define a dangerous
   uptake that would practically guarantee irreversible                                level for global warming or an emissions limit for fossil fuels. The
   effects. Continuation of high fossil fuel emissions, given
   current knowledge of the consequences, would be an act
   of extraordinary witting intergenerational injustice. Re-                           Citation: Hansen J, Kharecha P, Sato M, Masson-Delmotte V, Ackerman F,
   sponsible policymaking requires a rising price on carbon                            et al. (2013) Assessing ‘‘Dangerous Climate Change’’: Required Reduction of
                                                                                       Carbon Emissions to Protect Young People, Future Generations and Nature. PLoS
   emissions that would preclude emissions from most                                   ONE 8(12): e81648. doi:10.1371/journal.pone.0081648
   remaining coal and unconventional fossil fuels and phase
                                                                                       Editor: Juan A. Añel, University of Oxford, United Kingdom
   down emissions from conventional fossil fuels.
                                                                                       Published December 3, 2013
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Introduction                                                                           any lawful purpose. The work is made available under the Creative Commons CC0
                                                                                       public domain dedication.
   Humans are now the main cause of changes of Earth’s                                 Funding: Funding came from: NASA Climate Research Funding, Gifts to
atmospheric composition and thus the drive for future climate                          Columbia University from H.F. (‘‘Gerry’’) Lenfest, private philanthropist (no web
change [1]. The principal climate forcing, defined as an imposed                       site, but see http://en.wikipedia.org/wiki/H._F._Lenfest), Jim Miller, Lee Wasser-
                                                                                       man (Rockefeller Family Fund) (http://www.rffund.org/), Flora Family Foundation
change of planetary energy balance [1–2], is increasing carbon                         (http://www.florafamily.org/), Jeremy Grantham, ClimateWorks and the Energy
dioxide (CO2) from fossil fuel emissions, much of which will                           Foundation provided support for Hansen’s Climate Science, Awareness and
remain in the atmosphere for millennia [1,3]. The climate                              Solutions program at Columbia University to complete this research and
                                                                                       publication. The funders had no role in study design, data collection and analysis,
response to this forcing and society’s response to climate change                      decision to publish, or preparation of the manuscript.
are complicated by the system’s inertia, mainly due to the ocean
                                                                                       Competing Interests: The authors have declared that no competing interests exist.
and the ice sheets on Greenland and Antarctica together with the
long residence time of fossil fuel carbon in the climate system. The                   * E-mail: jimehansen@gmail.com



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Figure 1. CO2 annual emissions from fossil fuel use and cement manufacture, based on data of British Petroleum [4] concatenated
with data of Boden et al. [5]. (A) is log scale and (B) is linear.
doi:10.1371/journal.pone.0081648.g001

European Union in 1996 proposed to limit global warming to 2uC             that climate stabilization requires long-term planetary energy
relative to pre-industrial times [10], based partly on evidence that       balance. We use measured global temperature and Earth’s
many ecosystems are at risk with larger climate change. The 2uC            measured energy imbalance to determine the atmospheric CO2
target was reaffirmed in the 2009 ‘‘Copenhagen Accord’’                    level required to stabilize climate at today’s global temperature,
emerging from the 15th Conference of the Parties of the                    which is near the upper end of the global temperature range in the
Framework Convention [11], with specific language ‘‘We agree               current interglacial period (the Holocene). We then examine
that deep cuts in global emissions are required according to               climate impacts during the past few decades of global warming
science, as documented in the IPCC Fourth Assessment Report                and in paleoclimate records including the Eemian period,
with a view to reduce global emissions so as to hold the increase in       concluding that there are already clear indications of undesirable
global temperature below 2 degrees Celsius…’’.                             impacts at the current level of warming and that 2uC warming
   A global warming target is converted to a fossil fuel emissions         would have major deleterious consequences. We use simple
target with the help of global climate-carbon-cycle models, which          representations of the carbon cycle and global temperature,
reveal that eventual warming depends on cumulative carbon                  consistent with observations, to simulate transient global temper-
emissions, not on the temporal history of emissions [12]. The              ature and assess carbon emission scenarios that could keep global
emission limit depends on climate sensitivity, but central estimates       climate near the Holocene range. Finally, we discuss likely over-
[12–13], including those in the upcoming Fifth Assessment of the           shooting of target emissions, the potential for carbon extraction
Intergovernmental Panel on Climate Change [14], are that a 2uC             from the atmosphere, and implications for energy and economic
global warming limit implies a cumulative carbon emissions limit           policies, as well as intergenerational justice.
of the order of 1000 GtC. In comparing carbon emissions, note
that some authors emphasize the sum of fossil fuel and                     Global Temperature and Earth’s Energy Balance
deforestation carbon. We bookkeep fossil fuel and deforestation
carbon separately, because the larger fossil fuel term is known               Global temperature and Earth’s energy imbalance provide our
more accurately and this carbon stays in the climate system for            most useful measuring sticks for quantifying global climate change
hundreds of thousands of years. Thus fossil fuel carbon is the             and the changes of global climate forcings that would be required
crucial human input that must be limited. Deforestation carbon is          to stabilize global climate. Thus we must first quantify knowledge
more uncertain and potentially can be offset on the century time           of these quantities.
scale by storage in the biosphere, including the soil, via
reforestation and improved agricultural and forestry practices.            Temperature
   There are sufficient fossil fuel resources to readily supply 1000          Temperature change in the past century (Fig. 3; update of figures
GtC, as fossil fuel emissions to date (370 GtC) are only a small           in [16]) includes unforced variability and forced climate change.
fraction of potential emissions from known reserves and potentially        The long-term global warming trend is predominantly a forced
recoverable resources (Fig. 2). Although there are uncertainties in        climate change caused by increased human-made atmospheric
reserves and resources, ongoing fossil fuel subsidies and continuing       gases, mainly CO2 [1]. Increase of ‘‘greenhouse’’ gases such as CO2
technological advances ensure that more and more of these fuels            has little effect on incoming sunlight but makes the atmosphere
will be economically recoverable. As we will show, Earth’s                 more opaque at infrared wavelengths, causing infrared (heat)
paleoclimate record makes it clear that the CO2 produced by                radiation to space to emerge from higher, colder levels, which thus
burning all or most of these fossil fuels would lead to a very             reduces infrared radiation to space. The resulting planetary energy
different planet than the one that humanity knows.                         imbalance, absorbed solar energy exceeding heat emitted to space,
   Our evaluation of a fossil fuel emissions limit is not based on         causes Earth to warm. Observations, discussed below, confirm that
climate models but rather on observational evidence of global              Earth is now substantially out of energy balance, so the long-term
climate change as a function of global temperature and on the fact         warming will continue.


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Figure 2. Fossil fuel CO2 emissions and carbon content (1 ppm atmospheric CO2 , 2.12 GtC). Estimates of reserves (profitable to extract
at current prices) and resources (potentially recoverable with advanced technology and/or at higher prices) are the mean of estimates of Energy
Information Administration (EIA) [7], German Advisory Council (GAC) [8], and Global Energy Assessment (GEA) [9]. GEA [9] suggests the possibility of
.15,000 GtC unconventional gas. Error estimates (vertical lines) are from GEA and probably underestimate the total uncertainty. We convert energy
content to carbon content using emission factors of Table 4.2 of [15] for coal, gas and conventional oil, and, also following [15], emission factor of
unconventional oil is approximated as being the same as for coal. Total emissions through 2012, including gas flaring and cement manufacture, are
384 GtC; fossil fuel emissions alone are ,370 GtC.
doi:10.1371/journal.pone.0081648.g002

   Global temperature appears to have leveled off since 1998 (Fig.               Assessments of dangerous climate change have focused on
3a). That plateau is partly an illusion due to the 1998 global                estimating a permissible level of global warming. The Intergov-
temperature spike caused by the El Niño of the century that year.            ernmental Panel on Climate Change [1,19] summarized broad-
The 11-year (132-month) running mean temperature (Fig. 3b)                    based assessments with a ‘‘burning embers’’ diagram, which
shows only a moderate decline of the warming rate. The 11-year                indicated that major problems begin with global warming of 2–
averaging period minimizes the effect of variability due to the 10–           3uC. A probabilistic analysis [20], still partly subjective, found a
12 year periodicity of solar irradiance as well as irregular El Niño/        median ‘‘dangerous’’ threshold of 2.8uC, with 95% confidence
La Niña warming/cooling in the tropical Pacific Ocean. The                   that the dangerous threshold was 1.5uC or higher. These
current solar cycle has weaker irradiance than the several prior              assessments were relative to global temperature in year 1990, so
solar cycles, but the decreased irradiance can only partially                 add 0.6uC to these values to obtain the warming relative to 1880–
account for the decreased warming rate [17]. Variability of the El            1920, which is the base period we use in this paper for
Niño/La Niña cycle, described as a Pacific Decadal Oscillation,             preindustrial time. The conclusion that humanity could tolerate
largely accounts for the temporary decrease of warming [18], as               global warming up to a few degrees Celsius meshed with common
we discuss further below in conjunction with global temperature               sense. After all, people readily tolerate much larger regional and
simulations.                                                                  seasonal climate variations.




Figure 3. Global surface temperature relative to 1880–1920 mean. B shows the 5 and 11 year means. Figures are updates of [16] using data
through August 2013.
doi:10.1371/journal.pone.0081648.g003


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   The fallacy of this logic emerged recently as numerous impacts              Climate oscillations evident in Fig. 4 of Hansen et al. [52] were
of ongoing global warming emerged and as paleoclimate                       instigated by perturbations of Earth’s orbit and spin axis tilt
implications for climate sensitivity became apparent. Arctic sea            relative to the orbital plane, which alter the geographical and
ice end-of-summer minimum area, although variable from year to              seasonal distribution of sunlight on Earth [58]. These forcings
year, has plummeted by more than a third in the past few decades,           change slowly, with periods between 20,000 and 400,000 years,
at a faster rate than in most models [21], with the sea ice thickness       and thus climate is able to stay in quasi-equilibrium with these
declining a factor of four faster than simulated in IPCC climate            forcings. Slow insolation changes initiated the climate oscillations,
models [22]. The Greenland and Antarctic ice sheets began to                but the mechanisms that caused the climate changes to be so large
shed ice at a rate, now several hundred cubic kilometers per year,          were two powerful amplifying feedbacks: the planet’s surface
which is continuing to accelerate [23–25]. Mountain glaciers are            albedo (its reflectivity, literally its whiteness) and atmospheric CO2
receding rapidly all around the world [26–29] with effects on               amount. As the planet warms, ice and snow melt, causing the
seasonal freshwater availability of major rivers [30–32]. The hot           surface to be darker, absorb more sunlight and warm further. As
dry subtropical climate belts have expanded as the troposphere has          the ocean and soil become warmer they release CO2 and other
warmed and the stratosphere cooled [33–36], contributing to                 greenhouse gases, causing further warming. Together with fast
increases in the area and intensity of drought [37] and wildfires           feedbacks processes, via changes of water vapor, clouds, and the
[38]. The abundance of reef-building corals is decreasing at a rate         vertical temperature profile, these slow amplifying feedbacks were
of 0.5–2%/year, at least in part due to ocean warming and                   responsible for almost the entire glacial-to-interglacial temperature
possibly ocean acidification caused by rising dissolved CO2 [39–            change [59–62].
41]. More than half of all wild species have shown significant                 The albedo and CO2 feedbacks amplified weak orbital forcings,
changes in where they live and in the timing of major life events           the feedbacks necessarily changing slowly over millennia, at the
[42–44]. Mega-heatwaves, such as those in Europe in 2003, the               pace of orbital changes. Today, however, CO2 is under the control
Moscow area in 2010, Texas and Oklahoma in 2011, Greenland                  of humans as fossil fuel emissions overwhelm natural changes.
in 2012, and Australia in 2013 have become more widespread                  Atmospheric CO2 has increased rapidly to a level not seen for at
with the increase demonstrably linked to global warming [45–47].            least 3 million years [56,63]. Global warming induced by
   These growing climate impacts, many more rapid than                      increasing CO2 will cause ice to melt and hence sea level to rise
anticipated and occurring while global warming is less than 1uC,            as the global volume of ice moves toward the quasi-equilibrium
imply that society should reassess what constitutes a ‘‘dangerous           amount that exists for a given global temperature [53]. As ice
level’’ of global warming. Earth’s paleoclimate history provides a          melts and ice area decreases, the albedo feedback will amplify
valuable tool for that purpose.                                             global warming.
                                                                               Earth, because of the climate system’s inertia, has not yet fully
Paleoclimate Temperature                                                    responded to human-made changes of atmospheric composition.
   Major progress in quantitative understanding of climate change           The ocean’s thermal inertia, which delays some global warming
has occurred recently by use of the combination of data from high           for decades and even centuries, is accounted for in global climate
resolution ice cores covering time scales of order several hundred          models and its effect is confirmed via measurements of Earth’s
thousand years [48–49] and ocean cores for time scales of order             energy balance (see next section). In addition there are slow
one hundred million years [50]. Quantitative insights on global             climate feedbacks, such as changes of ice sheet size, that occur
temperature sensitivity to external forcings [51–52] and sea level          mainly over centuries and millennia. Slow feedbacks have little
sensitivity to global temperature [52–53] are crucial to our                effect on the immediate planetary energy balance, instead coming
analyses. Paleoclimate data also provide quantitative information           into play in response to temperature change. The slow feedbacks
about how nominally slow feedback processes amplify climate                 are difficult to model, but paleoclimate data and observations of
sensitivity [51–52,54–56], which also is important to our analyses.         ongoing changes help provide quantification.
   Earth’s surface temperature prior to instrumental measurements
is estimated via proxy data. We will refer to the surface                   Earth’s Energy Imbalance
temperature record in Fig. 4 of a recent paper [52]. Global mean               At a time of climate stability, Earth radiates as much energy to
temperature during the Eemian interglacial period (120,000 years            space as it absorbs from sunlight. Today Earth is out of balance
ago) is constrained to be 2uC warmer than our pre-industrial                because increasing atmospheric gases such as CO2 reduce Earth’s
(1880–1920) level based on several studies of Eemian climate [52].          heat radiation to space, thus causing an energy imbalance, as there
The concatenation of modern and instrumental records [52] is                is less energy going out than coming in. This imbalance causes
based on an estimate that global temperature in the first decade of         Earth to warm and move back toward energy balance. The
the 21st century (+0.8uC relative to 1880–1920) exceeded the                warming and restoration of energy balance take time, however,
Holocene mean by 0.2560.25uC. That estimate was based in part               because of Earth’s thermal inertia, which is due mainly to the
on the fact that sea level is now rising 3.2 mm/yr (3.2 m/                  global ocean.
millennium) [57], an order of magnitude faster than the rate                   Earth warmed about 0.8uC in the past century. That warming
during the prior several thousand years, with rapid change of ice           increased Earth’s radiation to space, thus reducing Earth’s energy
sheet mass balance over the past few decades [23] and Greenland             imbalance. The remaining energy imbalance helps us assess how
and Antarctica now losing mass at accelerating rates [23–24]. This          much additional warming is still ‘‘in the pipeline’’. Of course
concatenation, which has global temperature 13.9uC in the base              increasing CO2 is only one of the factors affecting Earth’s energy
period 1951–1980, has the first decade of the 21st century slightly         balance, even though it is the largest climate forcing. Other
(,0.1uC) warmer than the early Holocene maximum. A recent                   forcings include changes of aerosols, solar irradiance, and Earth’s
reconstruction from proxy temperature data [55] concluded that              surface albedo.
global temperature declined about 0.7uC between the Holocene                   Determination of the state of Earth’s climate therefore requires
maximum and a pre-industrial minimum before recent warming                  measuring the energy imbalance. This is a challenge, because the
brought temperature back near the Holocene maximum, which is                imbalance is expected to be only about 1 W/m2 or less, so
consistent with our analysis.                                               accuracy approaching 0.1 W/m2 is needed. The most promising


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Figure 4. Decay of atmospheric CO2 perturbations. (A) Instantaneous injection or extraction of CO2 with initial conditions at equilibrium. (B)
Fossil fuel emissions terminate at the end of 2015, 2030, or 2050 and land use emissions terminate after 2015 in all three cases, i.e., thereafter there is
no net deforestation.
doi:10.1371/journal.pone.0081648.g004

approach is to measure the rate of changing heat content of the                 monitoring of changing aerosols is needed [73]. Public reaction to
ocean, atmosphere, land, and ice [64]. Measurement of ocean heat                increasingly bad air quality in developing regions [74] may lead to
content is the most critical observation, as nearly 90 percent of the           future aerosol reductions, at least on a regional basis. Increase of
energy surplus is stored in the ocean [64–65].                                  Earth’s energy imbalance from reduction of particulate air
                                                                                pollution, which is needed for the sake of human health, can be
Observed Energy Imbalance                                                       minimized via an emphasis on reducing absorbing black soot [75],
    Nations of the world have launched a cooperative program to                 but the potential to constrain the net increase of climate forcing by
measure changing ocean heat content, distributing more than                     focusing on black soot is limited [76].
3000 Argo floats around the world ocean, with each float
repeatedly diving to a depth of 2 km and back [66]. Ocean                       Energy Imbalance Implications for CO2 Target
coverage by floats reached 90% by 2005 [66], with the gaps                         Earth’s energy imbalance is the most vital number character-
mainly in sea ice regions, yielding the potential for an accurate               izing the state of Earth’s climate. It informs us about the global
energy balance assessment, provided that several systematic                     temperature change ‘‘in the pipeline’’ without further change of
measurement biases exposed in the past decade are minimized                     climate forcings and it defines how much greenhouse gases must
[67–69].                                                                        be reduced to restore Earth’s energy balance, which, at least to a
    Argo data reveal that in 2005–2010 the ocean’s upper 2000 m                 good approximation, must be the requirement for stabilizing
gained heat at a rate equal to 0.41 W/m2 averaged over Earth’s                  global climate. The measured energy imbalance accounts for all
surface [70]. Smaller contributions to planetary energy imbalance               natural and human-made climate forcings, including changes of
are from heat gain by the deeper ocean (+0.10 W/m2), energy                     atmospheric aerosols and Earth’s surface albedo.
used in net melting of ice (+0.05 W/m2), and energy taken up by                    If Earth’s mean energy imbalance today is +0.5 W/m2, CO2
warming continents (+0.02 W/m2). Data sources for these                         must be reduced from the current level of 395 ppm (global-mean
estimates and uncertainties are provided elsewhere [64]. The                    annual-mean in mid-2013) to about 360 ppm to increase Earth’s
resulting net planetary energy imbalance for the six years 2005–                heat radiation to space by 0.5 W/m2 and restore energy balance.
2010 is +0.5860.15 W/m2.                                                        If Earth’s energy imbalance is 0.75 W/m2, CO2 must be reduced
    The positive energy imbalance in 2005–2010 confirms that the                to about 345 ppm to restore energy balance [64,75].
effect of solar variability on climate is much less than the effect of             The measured energy imbalance indicates that an initial CO2
human-made greenhouse gases. If the sun were the dominant                       target ‘‘,350 ppm’’ would be appropriate, if the aim is to stabilize
forcing, the planet would have a negative energy balance in 2005–               climate without further global warming. That target is consistent
2010, when solar irradiance was at its lowest level in the period of            with an earlier analysis [54]. Additional support for that target is
accurate data, i.e., since the 1970s [64,71]. Even though much of               provided by our analyses of ongoing climate change and
the greenhouse gas forcing has been expended in causing observed                paleoclimate, in later parts of our paper. Specification now of a
0.8uC global warming, the residual positive forcing overwhelms                  CO2 target more precise than ,350 ppm is difficult and
the negative solar forcing. The full amplitude of solar cycle forcing           unnecessary, because of uncertain future changes of forcings
is about 0.25 W/m2 [64,71], but the reduction of solar forcing due              including other gases, aerosols and surface albedo. More precise
to the present weak solar cycle is about half that magnitude as we              assessments will become available during the time that it takes to
illustrate below, so the energy imbalance measured during solar                 turn around CO2 growth and approach the initial 350 ppm target.
minimum (0.58 W/m2) suggests an average imbalance over the                         Below we find the decreasing emissions scenario that would
solar cycle of about 0.7 W/m2.                                                  achieve the 350 ppm target within the present century. Specifically,
    Earth’s measured energy imbalance has been used to infer the                we want to know the annual percentage rate at which emissions
climate forcing by aerosols, with two independent analyses yielding             must be reduced to reach this target, and the dependence of this rate
a forcing in the past decade of about 21.5 W/m2 [64,72],                        upon the date at which reductions are initiated. This approach is
including the direct aerosol forcing and indirect effects via induced           complementary to the approach of estimating cumulative emissions
cloud changes. Given this large (negative) aerosol forcing, precise             allowed to achieve a given limit on global warming [12].


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   If the only human-made climate forcing were changes of                    satellite gravity data and radar altimetry reveal that the Totten
atmospheric CO2, the appropriate CO2 target might be close to                Glacier of East Antarctica, which fronts a large ice mass grounded
the pre-industrial CO2 amount [53]. However, there are other                 below sea level, is now losing mass [90].
human forcings, including aerosols, the effect of aerosols on                   Greenland ice core data suggest that the Greenland ice sheet
clouds, non-CO2 greenhouse gases, and changes of surface albedo              response to Eemian warmth was limited [91], but the fifth IPCC
that will not disappear even if fossil fuel burning is phased out.           assessment [14] concludes that Greenland very likely contributed
Aerosol forcings are substantially a result of fossil fuel burning           between 1.4 and 4.3 m to the higher sea level of the Eemian. The
[1,76], but the net aerosol forcing is a sensitive function of various       West Antarctic ice sheet is probably more susceptible to rapid
aerosol sources [76]. The indirect aerosol effect on clouds is non-          change, because much of it rests on bedrock well below sea level
linear [1,76] such that it has been suggested that even the modest           [92–93]. Thus the entire 3–4 meters of global sea level contained
aerosol amounts added by pre-industrial humans to an otherwise               in that ice sheet may be vulnerable to rapid disintegration,
pristine atmosphere may have caused a significant climate forcing            although arguments for stability of even this marine ice sheet have
[59]. Thus continued precise monitoring of Earth’s radiation                 been made [94]. However, Earth’s history reveals sea level
imbalance is probably the best way to assess and adjust the                  changes of as much as a few meters per century, even though the
appropriate CO2 target.                                                      natural climate forcings changed much more slowly than the
   Ironically, future reductions of particulate air pollution may            present human-made forcing.
exacerbate global warming by reducing the cooling effect of                     Expected human-caused sea level rise is controversial in part
reflective aerosols. However, a concerted effort to reduce non-CO2           because predictions focus on sea level at a specific time, 2100. Sea
forcings by methane, tropospheric ozone, other trace gases, and              level on a given date is inherently difficult to predict, as it depends
black soot might counteract the warming from a decline in                    on how rapidly non-linear ice sheet disintegration begins. Focus on
reflective aerosols [54,75]. Our calculations below of future global         a single date also encourages people to take the estimated result as
temperature assume such compensation, as a first approximation.              an indication of what humanity faces, thus failing to emphasize
To the extent that goal is not achieved, adjustments must be made            that the likely rate of sea level rise immediately after 2100 will be
in the CO2 target or future warming may exceed calculated values.            much larger than within the 21st century, especially if CO2
                                                                             emissions continue to increase.
Climate Impacts                                                                 Recent estimates of sea level rise by 2100 have been of the order
                                                                             of 1 m [95–96], which is higher than earlier assessments [26], but
   Determination of the dangerous level of global warming                    these estimates still in part assume linear relations between
inherently is partly subjective, but we must be as quantitative as           warming and sea level rise. It has been argued [97–98] that
possible. Early estimates for dangerous global warming based on              continued business-as-usual CO2 emissions are likely to spur a
the ‘‘burning embers’’ approach [1,19–20] have been recognized               nonlinear response with multi-meter sea level rise this century.
as probably being too conservative [77]. A target of limiting                Greenland and Antarctica have been losing mass at rapidly
warming to 2uC has been widely adopted, as discussed above. We               increasing rates during the period of accurate satellite data [23];
suspect, however, that this may be a case of inching toward a                the data are suggestive of exponential increase, but the records are
better answer. If our suspicion is correct, then that gradual                too short to be conclusive. The area on Greenland with summer
approach is itself very dangerous, because of the climate system’s           melt has increased markedly, with 97% of Greenland experiencing
inertia. It will become exceedingly difficult to keep warming below          melt in 2012 [99].
a target smaller than 2uC, if high emissions continue much longer.              The important point is that the uncertainty is not about whether
   We consider several important climate impacts and use                     continued rapid CO2 emissions would cause large sea level rise,
evidence from current observations to assess the effect of 0.8uC             submerging global coastlines – it is about how soon the large
warming and paleoclimate data for the effect of larger warming,              changes would begin. The carbon from fossil fuel burning will
especially the Eemian period, which had global mean temperature              remain in and affect the climate system for many millennia,
about +2uC relative to pre-industrial time. Impacts of special               ensuring that over time sea level rise of many meters will occur –
interest are sea level rise and species extermination, because they          tens of meters if most of the fossil fuels are burned [53]. That order
are practically irreversible, and others important to humankind.             of sea level rise would result in the loss of hundreds of historical
                                                                             coastal cities worldwide with incalculable economic consequences,
Sea Level                                                                    create hundreds of millions of global warming refugees from
   The prior interglacial period, the Eemian, was at most ,2uC               highly-populated low-lying areas, and thus likely cause major
warmer than 1880–1920 (Fig. 3). Sea level reached heights several            international conflicts.
meters above today’s level [78–80], probably with instances of sea
level change of the order of 1 m/century [81–83]. Geologic                   Shifting Climate Zones
shoreline evidence has been interpreted as indicating a rapid sea               Theory and climate models indicate that the tropical overturn-
level rise of a few meters late in the Eemian to a peak about 9              ing (Hadley) atmospheric circulation expands poleward with
meters above present, suggesting the possibility that a critical             global warming [33]. There is evidence in satellite and radiosonde
stability threshold was crossed that caused polar ice sheet collapse         data and in observational data for poleward expansion of the
[84–85], although there remains debate within the research                   tropical circulation by as much as a few degrees of latitude since
community about this specific history and interpretation. The                the 1970s [34–35], but natural variability may have contributed to
large Eemian sea level excursions imply that substantial ice sheet           that expansion [36]. Change in the overturning circulation likely
melting occurred when the world was little warmer than today.                contributes to expansion of subtropical conditions and increased
   During the early Pliocene, which was only ,3uC warmer than                aridity in the southern United States [30,100], the Mediterranean
the Holocene, sea level attained heights as much as 15–25 meters             region, South America, southern Africa, Madagascar, and
higher than today [53,86–89]. Such sea level rise suggests that              southern Australia. Increased aridity and temperature contribute
parts of East Antarctica must be vulnerable to eventual melting              to increased forest fires that burn hotter and are more destructive
with global temperature increase of a few degrees Celsius. Indeed,           [38].


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   Despite large year-to-year variability of temperature, decadal              vulnerable. Evolutionary history on Bermuda offers numerous
averages reveal isotherms (lines of a given average temperature)               examples of the direct and indirect impact of changing sea level on
moving poleward at a typical rate of the order of 100 km/decade                evolutionary processes [111–112], with a number of taxa being
in the past three decades [101], although the range shifts for                 extirpated due to habitat changes, greater competition, and island
specific species follow more complex patterns [102]. This rapid                inundation [113]. Similarly, on Aldahabra Island in the Indian
shifting of climate zones far exceeds natural rates of change.                 Ocean, land tortoises were exterminated during sea level high
Movement has been in the same direction (poleward, and upward                  stands [114]. Vulnerabilities would be magnified by the speed of
in elevation) since about 1975. Wild species have responded to                 human-made climate change and the potentially large sea level
climate change, with three-quarters of marine species shifting their           rise [115].
ranges poleward as much as 1000 km [44,103] and more than half                    IPCC [26] reviewed studies relevant to estimating eventual
of terrestrial species shifting ranges poleward as much as 600 km              extinctions. They estimate that if global warming exceeds 1.6uC
and upward as much as 400 m [104].                                             above preindustrial, 9–31 percent of species will be committed to
   Humans may adapt to shifting climate zones better than many                 extinction. With global warming of 2.9uC, an estimated 21–52
species. However, political borders can interfere with human                   percent of species will be committed to extinction. A compre-
migration, and indigenous ways of life already have been adversely             hensive study of biodiversity indicators over the past decade [116]
affected [26]. Impacts are apparent in the Arctic, with melting                reveals that, despite some local success in increasing extent of
tundra, reduced sea ice, and increased shoreline erosion. Effects of           protected areas, overall indicators of pressures on biodiversity
shifting climate zones also may be important for indigenous                    including that due to climate change are continuing to increase
Americans who possess specific designated land areas, as well as               and indicators of the state of biodiversity are continuing to
other cultures with long-standing traditions in South America,                 decline.
Africa, Asia and Australia.                                                       Mass extinctions occurred several times in Earth’s history [117–
                                                                               118], often in conjunction with rapid climate change. New species
Human Extermination of Species                                                 evolved over millions of years, but those time scales are almost
   Biodiversity is affected by many agents including overharvest-              beyond human comprehension. If we drive many species to
ing, introduction of exotic species, land use changes, nitrogen                extinction we will leave a more desolate, monotonous planet for
fertilization, and direct effects of increased atmospheric CO2 on              our children, grandchildren, and more generations than we can
plant ecophysiology [43]. However, an overriding role of climate               imagine. We will also undermine ecosystem functions (e.g.,
change is exposed by diverse effects of rapid warming on animals,              pollination which is critical for food production) and ecosystem
plants, and insects in the past three decades.                                 resilience (when losing keystone species in food chains), as well as
   A sudden widespread decline of frogs, with extinction of entire             reduce functional diversity (critical for the ability of ecosystems to
mountain-restricted species attributed to global warming [105–                 respond to shocks and stress) and genetic diversity that plays an
106], provided a dramatic awakening. There are multiple causes                 important role for development of new medicines, materials, and
of the detailed processes involved in global amphibian declines and            sources of energy.
extinctions [107–108], but global warming is a key contributor
and portends a planetary-scale mass extinction in the making
unless action is taken to stabilize climate while also fighting
                                                                               Coral Reef Ecosystems
                                                                                  Coral reefs are the most biologically diverse marine ecosystem,
biodiversity’s other threats [109].
                                                                               often described as the rainforests of the ocean. Over a million
   Mountain-restricted and polar-restricted species are particularly
                                                                               species, most not yet described [119], are estimated to populate
vulnerable. As isotherms move up the mountainside and poleward,
so does the climate zone in which a given species can survive. If              coral reef ecosystems generating crucial ecosystem services for at
global warming continues unabated, many of these species will be               least 500 million people in tropical coastal areas. These ecosystems
effectively pushed off the planet. There are already reductions in             are highly vulnerable to the combined effects of ocean acidification
the population and health of Arctic species in the southern parts of           and warming.
the Arctic, Antarctic species in the northern parts of the Antarctic,             Acidification arises as the ocean absorbs CO2, producing
and alpine species worldwide [43].                                             carbonic acid [120], thus making the ocean more corrosive to the
   A critical factor for survival of some Arctic species is retention of       calcium carbonate shells (exoskeletons) of many marine organ-
all-year sea ice. Continued growth of fossil fuel emissions will cause         isms. Geochemical records show that ocean pH is already outside
loss of all Arctic summer sea ice within several decades. In                   its range of the past several million years [121–122]. Warming
contrast, the scenario in Fig. 5A, with global warming peaking just            causes coral bleaching, as overheated coral expel symbiotic algae
over 1uC and then declining slowly, should allow summer sea ice                and become vulnerable to disease and mortality [123]. Coral
to survive and then gradually increase to levels representative of             bleaching and slowing of coral calcification already are causing
recent decades.                                                                mass mortalities, increased coral disease, and reduced reef
   The threat to species survival is not limited to mountain and               carbonate accretion, thus disrupting coral reef ecosystem health
polar species. Plant and animal distributions reflect the regional             [40,124].
climates to which they are adapted. Although species attempt to                   Local human-made stresses add to the global warming and
migrate in response to climate change, their paths may be blocked              acidification effects, all of these driving a contraction of 1–2% per
by human-constructed obstacles or natural barriers such as coast               year in the abundance of reef-building corals [39]. Loss of the
lines and mountain ranges. As the shift of climate zones [110]                 three-dimensional coral reef frameworks has consequences for all
becomes comparable to the range of some species, less mobile                   the species that depend on them. Loss of these frameworks also has
species can be driven to extinction. Because of extensive species              consequences for the important roles that coral reefs play in
interdependencies, this can lead to mass extinctions.                          supporting fisheries and protecting coastlines from wave stress.
   Rising sea level poses a threat to a large number of uniquely               Consequences of lost coral reefs can be economically devastating
evolved endemic fauna living on islands in marine-dominated                    for many nations, especially in combination with other impacts
ecosystems, with those living on low lying islands being especially            such as sea level rise and intensification of storms.


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Figure 5. Atmospheric CO2 if fossil fuel emissions reduced. (A) 6% or 2% annual cut begins in 2013 and 100 GtC reforestation drawdown
occurs in 2031–2080, (B) effect of delaying onset of emission reduction.
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Climate Extremes                                                             Human Health
   Changes in the frequency and magnitude of climate extremes,                  Impacts of climate change cause widespread harm to human
of both moisture and temperature, are affected by climate trends             health, with children often suffering the most. Food shortages,
as well as changing variability. Extremes of the hydrologic cycle            polluted air, contaminated or scarce supplies of water, an
are expected to intensify in a warmer world. A warmer                        expanding area of vectors causing infectious diseases, and more
atmosphere holds more moisture, so precipitation can be heavier              intensely allergenic plants are among the harmful impacts [26].
and cause more extreme flooding. Higher temperatures, on the                 More extreme weather events cause physical and psychological
other hand, increase evaporation and can intensify droughts when             harm. World health experts have concluded with ‘‘very high
they occur, as can expansion of the subtropics, as discussed above.          confidence’’ that climate change already contributes to the global
Global models for the 21st century find an increased variability of          burden of disease and premature death [26].
precipitation minus evaporation [P-E] in most of the world,                     IPCC [26] projects the following trends, if global warming
especially near the equator and at high latitudes [125]. Some                continue to increase, where only trends assigned very high
models also show an intensification of droughts in the Sahel,                confidence or high confidence are included: (i) increased
driven by increasing greenhouse gases [126].                                 malnutrition and consequent disorders, including those related
   Observations of ocean salinity patterns for the past 50 years             to child growth and development, (ii) increased death, disease and
reveal an intensification of [P-E] patterns as predicted by models,          injuries from heat waves, floods, storms, fires and droughts, (iii)
but at an even faster rate. Precipitation observations over land             increased cardio-respiratory morbidity and mortality associated
show the expected general increase of precipitation poleward of              with ground-level ozone. While IPCC also projects fewer deaths
the subtropics and decrease at lower latitudes [1,26]. An increase           from cold, this positive effect is far outweighed by the negative
of intense precipitation events has been found on much of the                ones.
world’s land area [127–129]. Evidence for widespread drought                    Growing awareness of the consequences of human-caused
intensification is less clear and inherently difficult to confirm with       climate change triggers anxiety and feelings of helplessness [136–
available data because of the increase of time-integrated precip-            137]. Children, already susceptible to age-related insecurities, face
itation at most locations other than the subtropics. Data analyses           additional destabilizing insecurities from questions about how they
have found an increase of drought intensity at many locations                will cope with future climate change [138–139]. Exposure to
[130–131] The magnitude of change depends on the drought                     media ensures that children cannot escape hearing that their
index employed [132], but soil moisture provides a good means to             future and that of other species is at stake, and that the window of
separate the effect of shifting seasonal precipitation and confirms          opportunity to avoid dramatic climate impacts is closing. The
an overall drought intensification [37].                                     psychological health of our children is a priority, but denial of the
   Global warming of ,0.6uC since the 1970s (Fig. 3) has already             truth exposes our children to even greater risk.
caused a notable increase in the occurrence of extreme summer heat              Health impacts of climate change are in addition to direct
[46]. The likelihood of occurrence or the fractional area covered by         effects of air and water pollution. A clear illustration of direct
3-standard-deviation hot anomalies, relative to a base period (1951–         effects of fossil fuels on human health was provided by an
1980) that was still within the range of Holocene climate, has               inadvertent experiment in China during the 1950–1980 period of
increased by more than a factor of ten. Large areas around Moscow,           central planning, when free coal for winter heating was provided
the Mediterranean region, the United States and Australia have               to North China but not to the rest of the country. Analysis of the
experienced such extreme anomalies in the past three years. Heat             impact was made [140] using the most comprehensive data file
waves lasting for weeks have a devastating impact on human health:           ever compiled on mortality and air pollution in any developing
the European heat wave of summer 2003 caused over 70,000 excess              country. A principal conclusion was that the 500 million residents
deaths [133]. This heat record for Europe was surpassed already in           of North China experienced during the 1990s a loss of more than
2010 [134]. The number of extreme heat waves has increased                   2.5 billion life years owing to the added air pollution, and an
several-fold due to global warming [45–46,135] and will increase             average reduction in life expectancy of 5.5 years. The degree of air
further if temperatures continue to rise.                                    pollution in China exceeded that in most of the world, yet


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assessments of total health effects must also include other fossil fuel       pollution of ecosystems during the past several decades traceable
caused air and water pollutants, as discussed in the following                to tar sands development [157] and snow and water samples
section on ecology and the environment.                                       indicate that recent levels of numerous pollutants exceeded local
   The Text S1 has further discussion of health impacts of climate            and national criteria for protection of aquatic organisms [158].
change.                                                                          Gas mining by unconventional means has rapidly expanded in
                                                                              recent years, without commensurate understanding of the
Ecology and the Environment                                                   ecological, environmental and human health consequences
   The ecological impact of fossil fuel mining increases as the               [159]. The predominant approach is hydraulic fracturing (‘‘frack-
largest, easiest to access, resources are depleted [141]. A constant          ing’’) of deep shale formations via injection of millions of gallons of
fossil fuel production rate requires increasing energy input, but             water, sand and toxic chemicals under pressure, thus liberating
also use of more land, water, and diluents, with the production of            methane [155,160]. A large fraction of the injected water returns
more waste [142]. The increasing ecological and environmental                 to the surface as wastewater containing high concentrations of
impact of a given amount of useful fossil fuel energy is a relevant           heavy metals, oils, greases and soluble organic compounds [161].
consideration in assessing alternative energy strategies.                     Management of this wastewater is a major technical challenge,
   Coal mining has progressively changed from predominantly                   especially because the polluted waters can continue to backflow
underground mining to surface mining [143], including moun-                   from the wells for many years [161]. Numerous instances of
taintop removal with valley fill, which is now widespread in the              groundwater and river contamination have been cited [162]. High
Appalachian ecoregion in the United States. Forest cover and                  levels of methane leakage from fracking have been found [163], as
topsoil are removed, explosives are used to break up rocks to                 well as nitrogen oxides and volatile organic compounds [159].
access coal, and the excess rock is pushed into adjacent valleys,             Methane leaks increase the climate impact of shale gas, but
where it buries existing streams. Burial of headwater streams                 whether the leaks are sufficient to significantly alter the climate
causes loss of ecosystems that are important for nutrient cycling             forcing by total natural gas development is uncertain [164].
and production of organic matter for downstream food webs                     Overall, environmental and ecologic threats posed by unconven-
[144]. The surface alterations lead to greater storm runoff [145]             tional gas extraction are uncertain because of limited research,
with likely impact on downstream flooding. Water emerging from                however evidence for groundwater pollution on both local and
valley fills contain toxic solutes that have been linked to declines in       river basin scales is a major concern [165].
watershed biodiversity [146]. Even with mine-site reclamation                    Today, with cumulative carbon emissions ,370 GtC from all
intended to restore pre-mined surface conditions, mine-derived                fossil fuels, we are at a point of severely escalating ecological and
chemical constituents are found in domestic well water [147].                 environmental impacts from fossil fuel use and fossil fuel mining,
Reclaimed areas, compared with unmined areas, are found to                    as is apparent from the mountaintop removal for coal, tar sands
have increased soil density with decreased organic and nutrient               extraction of oil, and fracking for gas. The ecological and
content, and with reduced water infiltration rates [148].                     environmental implications of scenarios with carbon emissions of
Reclaimed areas have been found to produce little if any regrowth             1000 GtC or greater, as discussed below, would be profound and
of woody vegetation even after 15 years [149], and, although this             should influence considerations of appropriate energy strategies.
deficiency might be addressed via more effective reclamation
methods, there remains a likely significant loss of carbon storage            Summary: Climate Impacts
[149].                                                                           Climate impacts accompanying global warming of 2uC or more
   Oil mining has an increasing ecological footprint per unit                 would be highly deleterious. Already there are numerous
delivered energy because of the decreasing size of new fields and             indications of substantial effects in response to warming of the
their increased geographical dispersion; transit distances are                past few decades. That warming has brought global temperature
greater and wells are deeper, thus requiring more energy input                close to if not slightly above the prior range of the Holocene. We
[145]. Useful quantitative measures of the increasing ecological              conclude that an appropriate target would be to keep global
impacts are provided by the history of oil development in Alberta,            temperature at a level within or close to the Holocene range.
Canada for production of both conventional oil and tar sands                  Global warming of 2uC would be well outside the Holocene range
development. The area of land required per barrel of produced oil             and far into the dangerous range.
increased by a factor of 12 between 1955 and 2006 [150] leading
to ecosystem fragmentation by roads and pipelines needed to                   Transient Climate Change
support the wells [151]. Additional escalation of the mining impact
occurs as conventional oil mining is supplanted by tar sands                     We must quantitatively relate fossil fuel emissions to global
development, with mining and land disturbance from the latter                 temperature in order to assess how rapidly fossil fuel emissions
producing land use-related greenhouse gas emissions as much as                must be phased down to stay under a given temperature limit.
23 times greater than conventional oil production per unit area               Thus we must deal with both a transient carbon cycle and
[152], but with substantial variability and uncertainty [152–153].            transient global climate change.
Much of the tar sands bitumen is extracted through surface mining                Global climate fluctuates stochastically and also responds to
that removes the ‘‘overburden’’ (i.e., boreal forest ecosystems) and          natural and human-made climate forcings [1,166]. Forcings,
tar sand from large areas to a depth up to 100 m, with ecological             measured in W/m2 averaged over the globe, are imposed
impacts downstream and in the mined area [154]. Although                      perturbations of Earth’s energy balance caused by changing
mined areas are supposed to be reclaimed, as in the case of                   forcing agents such as solar irradiance and human-made
mountaintop removal, there is no expectation that the ecological              greenhouse gases (GHGs). CO2 accounts for more than 80% of
value of reclaimed areas will be equivalent to predevelopment                 the added GHG forcing in the past 15 years [64,167] and, if fossil
condition [141,155]. Landscape changes due to tar sands mining                fuel emissions continue at a high level, CO2 will be the dominant
and reclamation cause a large loss of peatland and stored carbon,             driver of future global temperature change.
while also significantly reducing carbon sequestration potential                 We first define our method of calculating atmospheric CO2 as a
[156]. Lake sediment cores document increased chemical                        function of fossil fuel emissions. We then define our assumptions


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about the potential for drawing down atmospheric CO2 via                               Reforestation and Soil Carbon
reforestation and increase of soil carbon, and we define fossil fuel                      Of course fossil fuel emissions will not suddenly terminate.
emission reduction scenarios that we employ in our study. Finally                      Nevertheless, it is not impossible to return CO2 to 350 ppm this
we describe all forcings employed in our calculations of global                        century. Reforestation and increase of soil carbon can help draw
temperature and the method used to simulate global temperature.                        down atmospheric CO2. Fossil fuels account for ,80% of the CO2
                                                                                       increase from preindustrial time, with land use/deforestation
Carbon Cycle and Atmospheric CO2                                                       accounting for 20% [1,170,172–173]. Net deforestation to date is
   The carbon cycle defines the fate of CO2 injected into the air by                   estimated to be 100 GtC (gigatons of carbon) with 650%
fossil fuel burning [1,168] as the additional CO2 distributes itself                   uncertainty [172].
over time among surface carbon reservoirs: the atmosphere,                                Complete restoration of deforested areas is unrealistic, yet 100
ocean, soil, and biosphere. We use the dynamic-sink pulse-                             GtC carbon drawdown is conceivable because: (1) the human-
response function version of the well-tested Bern carbon cycle                         enhanced atmospheric CO2 level increases carbon uptake by some
model [169], as described elsewhere [54,170].                                          vegetation and soils, (2) improved agricultural practices can
   Specifically, we solve equations 3–6, 16–17, A.2.2, and A.3 of                      convert agriculture from a CO2 ource into a CO2 sink [174], (3)
Joos et al. [169] using the same parameters and assumptions                            biomass-burning power plants with CO2 capture and storage can
therein, except that initial (1850) atmospheric CO2 is assumed to                      contribute to CO2 drawdown.
be 285.2 ppm [167]. Historical fossil fuel CO2 emissions are from                         Forest and soil storage of 100 GtC is challenging, but has other
Boden et al. [5]. This Bern model incorporates non-linear ocean                        benefits. Reforestation has been successful in diverse places [175].
chemistry feedbacks and CO2 fertilization of the terrestrial                           Minimum tillage with biological nutrient recycling, as opposed to
biosphere, but it omits climate-carbon feedbacks, e.g., assuming                       plowing and chemical fertilizers, could sequester 0.4–1.2 GtC/year
static global climate and ocean circulation. Therefore our results                     [176] while conserving water in soils, building agricultural resilience
should be regarded as conservative, especially for scenarios with                      to climate change, and increasing productivity especially in
large emissions.                                                                       smallholder rain-fed agriculture, thereby reducing expansion of
   A pulse of CO2 injected into the air decays by half in about 25                     agriculture into forested ecosystems [177–178]. Net tropical defor-
years as CO2 is taken up by the ocean, biosphere and soil, but                         estation may have decreased in the past decade [179], but because of
nearly one-fifth is still in the atmosphere after 500 years (Fig. 4A).                 extensive deforestation in earlier decades [170,172–173,180–181]
Eventually, over hundreds of millennia, weathering of rocks will                       there is a large amount of land suitable for reforestation [182].
deposit all of this initial CO2 pulse on the ocean floor as carbonate                     Use of bioenergy to draw down CO2 should employ feedstocks
sediments [168].                                                                       from residues, wastes, and dedicated energy crops that do not
   Under equilibrium conditions a negative CO2 pulse, i.e.,                            compete with food crops, thus avoiding loss of natural ecosystems and
artificial extraction and storage of some CO2 amount, decays at                        cropland [183–185]. Reforestation competes with agricultural land
about the same rate as a positive pulse (Fig. 4A). Thus if it is                       use; land needs could decline by reducing use of animal products, as
decided in the future that CO2 must be extracted from the air and                      livestock now consume more than half of all crops [186].
removed from the carbon cycle (e.g., by storing it underground or                         Our reforestation scenarios assume that today’s net deforesta-
in carbonate bricks), the impact on atmospheric CO2 amount will                        tion rate (,1 GtC/year; see [54]) will stay constant until 2020,
diminish in time. This occurs because carbon is exchanged among                        then linearly decrease to zero by 2030, followed by sinusoidal 100
the surface carbon reservoirs as they move toward an equilibrium                       GtC biospheric carbon storage over 2031–2080. Alternative
distribution, and thus, e.g., CO2 out-gassing by the ocean can                         timings do not alter conclusions about the potential to achieve a
offset some of the artificial drawdown. The CO2 extraction                             given CO2 level such as 350 ppm.
required to reach a given target atmospheric CO2 level therefore
depends on the prior emission history and target timeframe, but                        Emission Reduction Scenarios
the amount that must be extracted substantially exceeds the net                           A 6%/year decrease of fossil fuel emissions beginning in 2013,
reduction of the atmospheric CO2 level that will be achieved. We                       with 100 GtC reforestation, achieves a CO2 decline to 350 ppm
clarify this matter below by means of specific scenarios for capture                   near the end of this century (Fig. 5A). Cumulative fossil fuel
of CO2.                                                                                emissions in this scenario are ,129 GtC from 2013 to 2050, with
   It is instructive to see how fast atmospheric CO2 declines if fossil                an additional 14 GtC by 2100. If our assumed land use changes
fuel emissions are instantly terminated (Fig. 4B). Halting emissions                   occur a decade earlier, CO2 returns to 350 ppm several years
in 2015 causes CO2 to decline to 350 ppm at century’s end (Fig.                        earlier; however that has negligible effect on the maximum global
4B). A 20 year delay in halting emissions has CO2 returning to                         temperature calculated below.
350 ppm at about 2300. With a 40 year delay, CO2 does not                                 Delaying fossil fuel emission cuts until 2020 (with 2%/year
return to 350 ppm until after 3000. These results show how                             emissions growth in 2012–2020) causes CO2 to remain above
difficult it is to get back to 350 ppm if emissions continue to grow                   350 ppm (with associated impacts on climate) until 2300 (Fig. 5B).
for even a few decades.                                                                If reductions are delayed until 2030 or 2050, CO2 remains above
   These results emphasize the urgency of initiating emissions reduction [171].        350 ppm or 400 ppm, respectively, until well after 2500.
As discussed above, keeping global climate close to the Holocene                          We conclude that it is urgent that large, long-term emission
range requires a long-term atmospheric CO2 level of about                              reductions begin soon. Even if a 6%/year reduction rate and 500
350 ppm or less, with other climate forcings similar to today’s                        GtC are not achieved, it makes a huge difference when reductions
levels. If emissions reduction had begun in 2005, reduction at                         begin. There is no practical justification for why emissions
3.5%/year would have achieved 350 ppm at 2100. Now the                                 necessarily must even approach 1000 GtC.
requirement is at least 6%/year. Delay of emissions reductions
until 2020 requires a reduction rate of 15%/year to achieve                            Climate Forcings
350 ppm in 2100. If we assume only 50 GtC reforestation, and                              Atmospheric CO2 and other GHGs have been well-measured
begin emissions reduction in 2013, the required reduction rate                         for the past half century, allowing accurate calculation of their
becomes about 9%/year.                                                                 climate forcing. The growth rate of the GHG forcing has declined


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moderately since its peak values in the 1980s, as the growth rate of           the net of other forcings, which enhances the importance of solar
CH4 and chlorofluorocarbons has slowed [187]. Annual changes                   change, because the net forcing is smaller than the GHG forcing,
of CO2 are highly correlated with the El Niño cycle (Fig. 6). Two             and (2) consider forcing changes on longer time scales, which
strong La Niñas in the past five years have depressed CO2 growth              greatly diminishes the importance of solar change, because solar
as well as the global warming rate (Fig. 3). The CO2 growth rate               variability is mainly oscillatory.
and warming rate can be expected to increase as we move into the                  Human-made tropospheric aerosols, which arise largely from
next El Niño, with the CO2 growth already reaching 3 ppm/year                 fossil fuel use, cause a substantial negative forcing. As noted above,
in mid-2013 [188]. The CO2 climate forcing does not increase as                two independent analyses [64,72] yield a total (direct plus indirect)
rapidly as the CO2 amount because of partial saturation of CO2                 aerosol forcing in the past decade of about 21.5 W/m2, half the
absorption bands [75]. The GHG forcing is now increasing at a                  magnitude of the GHG forcing and opposite in sign. That
rate of almost 0.4 W/m2 per decade [187].                                      empirical aerosol forcing assessment for the past decade is
   Solar irradiance variations are sometimes assumed to be the                 consistent with the climate forcings scenario (Fig. 8) that we use
most likely natural driver of climate change. Solar irradiance has             for the past century in the present and prior studies [64,190].
been measured from satellites since the late 1970s (Fig. 7). These             Supplementary Table S1 specifies the historical forcings and Table
data are from a composite of several satellite-measured time series.           S2 gives several scenarios for future forcings.
Data through 28 February 2003 are from [189] and Physikalisch
Meteorologisches Observatorium Davos, World Radiation Center.                  Future Climate Forcings
Subsequent update is from University of Colorado Solar Radiation                   Future global temperature change should depend mainly on
& Climate Experiment (SORCE). Data sets are concatenated by                    atmospheric CO2, at least if fossil fuel emissions remain high. Thus
matching the means over the first 12 months of SORCE data.                     to provide the clearest picture of the CO2 effect, we approximate
Monthly sunspot numbers (Fig. 7) support the conclusion that the               the net future change of human-made non-CO2 forcings as zero
solar irradiance in the current solar cycle is significantly lower than        and we exclude future changes of natural climate forcings, such as
in the three preceding solar cycles. Amplification of the direct solar         solar irradiance and volcanic aerosols. Here we discuss possible
forcing is conceivable, e.g., through effects on ozone or                      effects of these approximations.
atmospheric condensation nuclei, but empirical data place a                        Uncertainties in non-CO2 forcings concern principally solar,
factor of two upper limit on the amplification, with the most likely           aerosol and other GHG forcings. Judging from the sunspot
forcing in the range 100–120% of the directly measured solar                   numbers (Fig. 7B and [191]) for the past four centuries, the current
irradiance change [64].                                                        solar cycle is almost as weak as the Dalton Minimum of the late
   Recent reduced solar irradiance (Fig. 7) may have decreased the             18th century. Conceivably irradiance could decline further to the
forcing over the past decade by about half of the full amplitude of            level of the Maunder Minimum of the late 17th century [192–
measured irradiance variability, thus yielding a negative forcing of,          193]. For our simulation we choose an intermediate path between
say, 2 0.12 W/m2. This compares with a decadal increase of the                 recovery to the level before the current solar cycle and decline to a
GHG forcing that is positive and about three times larger in                   still lower level. Specifically, we keep solar irradiance fixed at the
magnitude. Thus the solar forcing is not negligible and might                  reduced level of 2010, which is probably not too far off in either
partially account for the slowdown in global warming in the past               direction. Irradiance in 2010 is about 0.1 W/m2 less than the
decade [17]. However, we must (1) compare the solar forcing with               mean of the prior three solar cycles, a decrease of forcing that




Figure 6. Annual increase of CO2 based on data from the NOAA Earth System Research Laboratory [188]. Prior to 1981 the CO2 change
is based on only Mauna Loa, Hawaii. Temperature changes in lower diagram are 12-month running means for the globe and Niño3.4 area [16].
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Figure 7. Solar irradiance and sunspot number in the era of satellite data (see text). Left scale is the energy passing through an area
perpendicular to Sun-Earth line. Averaged over Earth’s surface the absorbed solar energy is ,240 W/m2, so the full amplitude of measured solar
variability is ,0.25 W/m2.
doi:10.1371/journal.pone.0081648.g007

would be restored by the CO2 increase within 3–4 years at its                  Non-CO2 GHG forcing has continued to increase at a slow rate
current growth rate. Extensive simulations [17,194] confirm that            since 1995 (Fig. 6 in [64]). A desire to constrain climate change
the effect of solar variability is small compared with GHGs if CO2          may help reduce emissions of these gases in the future. However, it
emissions continue at a high level. However, solar forcing can              will be difficult to prevent or fully offset positive forcing from
affect the magnitude and detection of near-term warming. Also, if           increasing N2O, as its largest source is associated with food
rapidly declining GHG emissions are achieved, changes of solar              production and the world’s population is continuing to rise.
forcing will become relatively more important.                                 On the other hand, we are also probably underestimating a
   Aerosols present a larger uncertainty. Expectations of decreases         negative aerosol forcing, e.g., because we have not included future
in large source regions such as China [195] may be counteracted             volcanic aerosols. Given the absence of large volcanic eruptions in
by aerosol increases other places as global population continues to         the past two decades (the last one being Mount Pinatubo in 1991),
increase. Our assumption of unchanging human-made aerosols                  multiple volcanic eruptions would cause a cooling tendency [196]
could be substantially off in either direction. For the sake of             and reduce heat storage in the ocean [197].
interpreting on-going and future climate change it is highly                   Overall, we expect the errors due to our simple approximation
desirable to obtain precise monitoring of the global aerosol forcing        of non-CO2 forcings to be partially off-setting. Specifically, we
[73].                                                                       have likely underestimated a positive forcing by non-CO2 GHGs,
                                                                            while also likely underestimating a negative aerosol forcing.




Figure 8. Climate forcings employed in our six main scenarios. Forcings through 2010 are as in [64].
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   Note that uncertainty in forcings is partly obviated via the focus        continues, yielding an unprecedented climate forcing scenario. For
on Earth’s energy imbalance in our analysis. The planet’s energy             example, if ice sheet mass loss becomes rapid, it is conceivable that
imbalance is an integrative quantity that is especially useful for a         the cold fresh water added to the ocean could cause regional
case in which some of the forcings are uncertain or unmeasured.              surface cooling [199], perhaps even at a point when sea level rise
Earth’s measured energy imbalance includes the effects of all                has only reached a level of the order of a meter [200]. However,
forcings, whether they are measured or not.                                  any uncertainty in the surface thermal response this century due to
                                                                             such phenomena has little effect on our estimate of the dangerous
Simulations of Future Global Temperature                                     level of emissions. The long lifetime of the fossil fuel carbon in the
   We calculate global temperature change for a given CO2                    climate system and the persistence of ocean warming for millennia
scenario using a climate response function (Table S3) that                   [201] provide sufficient time for the climate system to achieve full
accurately replicates results from a global climate model with               response to the fast feedback processes included in the 3uC climate
sensitivity 3uC for doubled CO2 [64]. A best estimate of climate             sensitivity.
sensitivity close to 3uC for doubled CO2 has been inferred from                 Indeed, the long lifetime of fossil fuel carbon in the climate
paleoclimate data [51–52]. This empirical climate sensitivity is             system and persistence of the ocean warming ensure that ‘‘slow’’
generally consistent with that of global climate models [1], but the         feedbacks, such as ice sheet disintegration, changes of the global
empirical approach makes the inferred high sensitivity more                  vegetation distribution, melting of permafrost, and possible release
certain and the quantitative evaluation more precise. Because this           of methane from methane hydrates on continental shelves, would
climate sensitivity is derived from empirical data on how Earth              also have time to come into play. Given the unprecedented
responded to past changes of boundary conditions, including                  rapidity of the human-made climate forcing, it is difficult to
atmospheric composition, our conclusions about limits on fossil              establish how soon slow feedbacks will become important, but
fuel emissions can be regarded as largely independent of climate             clearly slow feedbacks should be considered in assessing the
models.                                                                      ‘‘dangerous’’ level of global warming, as discussed in the next
   The detailed temporal and geographical response of the climate            section.
system to the rapid human-made change of climate forcings is not
well-constrained by empirical data, because there is no faithful             Danger of Initiating Uncontrollable Climate
paleoclimate analog. Thus climate models necessarily play an                 Change
important role in assessing practical implications of climate
change. Nevertheless, it is possible to draw important conclusions              Our calculated global warming as a function of CO2 amount is
with transparent computations. A simple response function                    based on equilibrium climate sensitivity 3uC for doubled CO2.
(Green’s function) calculation [64] yields an estimate of global             That is the central climate sensitivity estimate from climate models
mean temperature change in response to a specified time series for           [1], and it is consistent with climate sensitivity inferred from
global climate forcing. This approach accounts for the delayed               Earth’s climate history [51–52]. However, this climate sensitivity
response of the climate system caused by the large thermal inertia           includes only the effects of fast feedbacks of the climate system,
of the ocean, yielding a global mean temporal response in close              such as water vapor, clouds, aerosols, and sea ice. Slow feedbacks,
accord with that obtained from global climate models.                        such as change of ice sheet area and climate-driven changes of
   Tables S1 and S2 in Supporting Information give the forcings              greenhouse gases, are not included.
we employ and Table S3 gives the climate response function for
our Green’s function calculation, defined by equation 2 of [64].             Slow Climate Feedbacks and Irreversible Climate Change
The Green’s function is driven by the net forcing, which, with the              Excluding slow feedbacks was appropriate for simulations of the
response function, is sufficient information for our results to be           past century, because we know the ice sheets were stable then and
reproduced. However, we also include the individual forcings in              our climate simulations used observed greenhouse gas amounts
Table S1, in case researchers wish to replace specific forcings or           that included any contribution from slow feedbacks. However, we
use them for other purposes.                                                 must include slow feedbacks in projections of warming for the 21st
   Simulated global temperature (Fig. 9) is for CO2 scenarios of             century and beyond. Slow feedbacks are important because they
Fig. 5. Peak global warming is ,1.1uC, declining to less than 1uC            affect climate sensitivity and because their instigation is related to
by mid-century, if CO2 emissions are reduced 6%/year beginning               the danger of passing ‘‘points of no return’’, beyond which
in 2013. In contrast, warming reaches 1.5uC and stays above 1uC              irreversible consequences become inevitable, out of humanity’s
until after 2400 if emissions continue to increase until 2030, even          control.
though fossil fuel emissions are phased out rapidly (5%/year) after             Antarctic and Greenland ice sheets present the danger of
2030 and 100 GtC reforestation occurs during 2030–2080. If                   change with consequences that are irreversible on time scales
emissions continue to increase until 2050, simulated warming                 important to society [1]. These ice sheets required millennia to
exceeds 2uC well into the 22nd century.                                      grow to their present sizes. If ice sheet disintegration reaches a
   Increased global temperature persists for many centuries after            point such that the dynamics and momentum of the process take
the climate forcing declines, because of the thermal inertia of the          over, at that point reducing greenhouse gases may be unable to
ocean [198]. Some temperature reduction is possible if the climate           prevent major ice sheet mass loss, sea level rise of many meters,
forcing is reduced rapidly, before heat has penetrated into the              and worldwide loss of coastal cities – a consequence that is
deeper ocean. Cooling by a few tenths of a degree in Fig. 9 is a             irreversible for practical purposes. Interactions between the ocean
result mainly of the 100 GtC biospheric uptake of CO2 during                 and ice sheets are particularly important in determining ice sheet
2030–2080. Note the longevity of the warming, especially if                  changes, as a warming ocean can melt the ice shelves, the tongues
emissions reduction is as slow as 2%/year, which might be                    of ice that extend from the ice sheets into the ocean and buttress
considered to be a rapid rate of reduction.                                  the large land-based ice sheets [92,202–203]. Paleoclimate data for
   The temporal response of the real world to the human-made                 sea level change indicate that sea level changed at rates of the
climate forcing could be more complex than suggested by a simple             order of a meter per century [81–83], even at times when the
response function calculation, especially if rapid emissions growth          forcings driving climate change were far weaker than the human-


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Figure 9. Simulated global temperature relative to 1880–1920 mean for CO2 scenarios of Figure 5.
doi:10.1371/journal.pone.0081648.g009

made forcing. Thus, because ocean warming is persistent for                    these hyperthermals are poorly understood, as discussed below,
centuries, there is a danger that large irreversible change could be           but they are characterized by the injection into the surface climate
initiated by excessive ocean warming.                                          system of a large amount of carbon in the form of CH4 and/or
   Paleoclimate data are not as helpful for defining the likely rate of        CO2 on the time scale of a millennium [205–207]. The average
sea level rise in coming decades, because there is no known case of            rate of injection of carbon into the climate system during these
growth of a positive (warming) climate forcing as rapid as the                 hyperthermals was slower than the present human-made injection
anthropogenic change. The potential for unstable ice sheet                     of fossil fuel carbon, yet it was faster than the time scale for
disintegration is controversial, with opinion varying from likely              removal of carbon from the surface reservoirs via the weathering
stability of even the (marine) West Antarctic ice sheet [94] to likely         process [3,208], which is tens to hundreds of thousands of years.
rapid non-linear response extending up to multi-meter sea level                   Methane hydrates – methane molecules trapped in frozen water
rise [97–98]. Data for the modern rate of annual ice sheet mass                molecule cages in tundra and on continental shelves – and organic
changes indicate an accelerating rate of mass loss consistent with a           matter such as peat locked in frozen soils (permafrost) are likely
mass loss doubling time of a decade or less (Fig. 10). However, we             mechanisms in the past hyperthermals, and they provide another
do not know the functional form of ice sheet response to a large               climate feedback with the potential to amplify global warming if
persistent climate forcing. Longer records are needed for empirical            large scale thawing occurs [209–210]. Paleoclimate data reveal
assessment of this ostensibly nonlinear behavior.                              instances of rapid global warming, as much as 5–6uC, as a sudden
   Greenhouse gas amounts in the atmosphere, most importantly                  additional warming spike during a longer period of gradual
CO2 and CH4, change in response to climate change, i.e., as a                  warming [see Text S1]. The candidates for the carbon injected
feedback, in addition to the immediate gas changes from human-                 into the climate system during those warmings are methane
caused emissions. As the ocean warms, for example, it releases                 hydrates on continental shelves destabilized by sea floor warming
CO2 to the atmosphere, with one principal mechanism being the                  [211] and carbon released from frozen soils [212]. As for the
simple fact that the solubility of CO2 decreases as the water                  present, there are reports of methane release from thawing
temperature rises [204]. We also include in the category of slow               permafrost on land [213] and from sea-bed methane hydrate
feedbacks the global warming spikes, or ‘‘hyperthermals’’, that                deposits [214], but amounts so far are small and the data are
have occurred a number of times in Earth’s history during the                  snapshots that do not prove that there is as yet a temporal increase
course of slower global warming trends. The mechanisms behind                  of emissions.




Figure 10. Annual Greenland and West Antarctic ice mass changes as estimated via alternative methods. Data were read from Figure 4
of Shepherd et al. [23] and averaged over the available records.
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   There is a possibility of rapid methane hydrate or permafrost                Second, scenarios with 2uC or more warming necessarily imply
emissions in response to warming, but that risk is largely                   expansion of fossil fuels into sources that are harder to get at,
unquantified [215]. The time needed to destabilize large methane             requiring greater energy using extraction techniques that are
hydrate deposits in deep sediments is likely millennia [215].                increasingly invasive, destructive and polluting. Fossil fuel
Smaller but still large methane hydrate amounts below shallow                emissions through 2012 total ,370 GtC (Fig. 2). If subsequent
waters as in the Arctic Ocean are more vulnerable; the methane               emissions decrease 6%/year, additional emissions are ,130 GtC,
may oxidize to CO2 in the water, but it will still add to the long-          for a total ,500 GtC fossil fuel emissions. This 130 GtC can be
term burden of CO2 in the carbon cycle. Terrestrial permafrost               obtained mainly from the easily extracted conventional oil and gas
emissions of CH4 and CO2 likely can occur on a time scale of a               reserves (Fig. 2), with coal use rapidly phased out and unconven-
few decades to several centuries if global warming continues [215].          tional fossil fuels left in the ground. In contrast, 2uC scenarios have
These time scales are within the lifetime of anthropogenic CO2,              total emissions of the order of 1000 GtC. The required additional
and thus these feedbacks must be considered in estimating the                fossil fuels will involve exploitation of tar sands, tar shale,
dangerous level of global warming. Because human-made                        hydrofracking for oil and gas, coal mining, drilling in the Arctic,
warming is more rapid than natural long-term warmings in the                 Amazon, deep ocean, and other remote regions, and possibly
past, there is concern that methane hydrate or peat feedbacks                exploitation of methane hydrates. Thus 2uC scenarios result in
could be more rapid than the feedbacks that exist in the                     more CO2 per unit useable energy, release of substantial CH4 via
paleoclimate record.                                                         the mining process and gas transportation, and release of CO2 and
   Climate model studies and empirical analyses of paleoclimate              other gases via destruction of forest ‘‘overburden’’ to extract
data can provide estimates of the amplification of climate                   subterranean fossil fuels.
sensitivity caused by slow feedbacks, excluding the singular                    Third, with our ,1uC scenario it is more likely that the
mechanisms that caused the hyperthermal events. Model studies                biosphere and soil will be able to sequester a substantial portion of
for climate change between the Holocene and the Pliocene, when               the anthropogenic fossil fuel CO2 carbon than in the case of 2uC
Earth was about 3uC warmer, find that slow feedbacks due to                  or more global warming. Empirical data for the CO2 ‘‘airborne
changes of ice sheets and vegetation cover amplified the fast                fraction’’, the ratio of observed atmospheric CO2 increase divided
feedback climate response by 30–50% [216]. These same slow                   by fossil fuel CO2 emissions, show that almost half of the emissions
feedbacks are estimated to amplify climate sensitivity by almost a           is being taken up by surface (terrestrial and ocean) carbon
factor of two for the climate change between the Holocene and the            reservoirs [187], despite a substantial but poorly measured
nearly ice-free climate state that existed 35 million years ago [54].
                                                                             contribution of anthropogenic land use (deforestation and
                                                                             agriculture) to airborne CO2 [179,216]. Indeed, uptake of CO2
Implication for Carbon Emissions Target                                      by surface reservoirs has at least kept pace with the rapid growth of
    Evidence presented under Climate Impacts above makes clear               emissions [187]. Increased uptake in the past decade may be a
that 2uC global warming would have consequences that can be                  consequence of a reduced rate of deforestation [217] and
described as disastrous. Multiple studies [12,198,201] show that             fertilization of the biosphere by atmospheric CO2 and nitrogen
the warming would be very long lasting. The paleoclimate record              deposition [187]. With the stable climate of the ,1uC scenario it is
and changes underway in the Arctic and on the Greenland and                  plausible that major efforts in reforestation and improved
Antarctic ice sheets with only today’s warming imply that sea level          agricultural practices [15,173,175–177], with appropriate support
rise of several meters could be expected. Increased climate                  provided to developing countries, could take up an amount of
extremes, already apparent at 0.8uC warming [46], would be                   carbon comparable to the 100 GtC in our ,1uC scenario. On the
more severe. Coral reefs and associated species, already stressed            other hand, with warming of 2uC or more, carbon cycle feedbacks
with current conditions [40], would be decimated by increased                are expected to lead to substantial additional atmospheric CO2
acidification, temperature and sea level rise. More generally,
                                                                             [218–219], perhaps even making the Amazon rainforest a source
humanity and nature, the modern world as we know it, is adapted
                                                                             of CO2 [219–220].
to the Holocene climate that has existed more than 10,000 years.
                                                                                Fourth, a scenario that slows and then reverses global warming
Warming of 1uC relative to 1880–1920 keeps global temperature
                                                                             makes it possible to reduce other greenhouse gases by reducing
close to the Holocene range, but warming of 2uC, to at least the
                                                                             their sources [75,221]. The most important of these gases is CH4,
Eemian level, could cause major dislocations for civilization.
                                                                             whose reduction in turn reduces tropospheric O3 and stratospheric
    However, distinctions between pathways aimed at ,1uC and
                                                                             H2O. In contrast, chemistry modeling and paleoclimate records
2uC warming are much greater and more fundamental than the
                                                                             [222] show that trace gases increase with global warming, making
numbers 1uC and 2uC themselves might suggest. These funda-
                                                                             it unlikely that overall atmospheric CH4 will decrease even if a
mental distinctions make scenarios with 2uC or more global
warming far more dangerous; so dangerous, we suggest, that                   decrease is achieved in anthropogenic CH4 sources. Reduction of
aiming for the 2uC pathway would be foolhardy.                               the amount of atmospheric CH4 and related gases is needed to
    First, most climate simulations, including ours above and those          counterbalance expected forcing from increasing N2O and
of IPCC [1], do not include slow feedbacks such as reduction of ice          decreasing sulfate aerosols.
sheet size with global warming or release of greenhouse gases from              Now let us compare the 1uC (500 GtC fossil fuel emissions) and
thawing tundra. These exclusions are reasonable for a ,1uC                   the 2uC (1000 GtC fossil fuel emissions) scenarios. Global
scenario, because global temperature barely rises out of the                 temperature in 2100 would be close to 1uC in the 500 GtC
Holocene range and then begins to subside. In contrast, global               scenario, and it is less than 1uC if 100 GtC uptake of carbon by the
warming of 2uC or more is likely to bring slow feedbacks into play.          biosphere and soil is achieved via improved agricultural and
Indeed, it is slow feedbacks that cause long-term climate sensitivity        forestry practices (Fig. 9). In contrast, the 1000 GtC scenario,
to be high in the empirical paleoclimate record [51–52]. The                 although nominally designed to yield a fast-feedback climate
lifetime of fossil fuel CO2 in the climate system is so long that it         response of , 2uC, would yield a larger eventual warming because
must be assumed that these slow feedbacks will occur if                      of slow feedbacks, probably at least 3uC.
temperature rises well above the Holocene range.


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Danger of Uncontrollable Consequences                                        price of fossil fuels, which would both reduce ongoing emissions
   Inertia of the climate system reduces the near-term impact of             and provide resources for future cleanup.
human-made climate forcings, but that inertia is not necessarily
our friend. One implication of the inertia is that climate impacts           Responsibility for Carbon Extraction
‘‘in the pipeline’’ may be much greater than the impacts that we                We focus on fossil fuel carbon, because of its long lifetime in the
presently observe. Slow climate feedbacks add further danger of              carbon cycle. Reversing the effects of deforestation is also
climate change running out of humanity’s control. The response               important and there will need to be incentives to achieve increased
time of these slow feedbacks is uncertain, but there is evidence that        carbon storage in the biosphere and soil, but the crucial
some of these feedbacks already are underway, at least to a minor            requirement now is to limit the amount of fossil fuel carbon in
degree. Paleoclimate data show that on century and millennial                the air.
time scales the slow feedbacks are predominately amplifying                     The high cost of carbon extraction naturally raises the question
feedbacks.                                                                   of responsibility for excess fossil fuel CO2 in the air. China has the
   The inertia of energy system infrastructure, i.e., the time               largest CO2 emissions today (Fig. 11A), but the global warming
required to replace fossil fuel energy systems, will make it                 effect is closely proportional to cumulative emissions [190]. The
exceedingly difficult to avoid a level of atmospheric CO2 that               United States is responsible for about one-quarter of cumulative
would eventually have highly undesirable consequences. The                   emissions, with China next at about 10% (Fig. 11B). Cumulative
danger of uncontrollable and irreversible consequences necessarily           responsibilities change rather slowly (compare Fig. 10 of 190).
raises the question of whether it is feasible to extract CO2 from the        Estimated per capita emissions (Fig. 12) are based on population
atmosphere on a large enough scale to affect climate change.                 estimates for 2009–2011.
                                                                                Various formulae might be devised to assign costs of CO2 air
Carbon Extraction                                                            capture, should removal prove essential for maintaining acceptable
                                                                             climate. For the sake of estimating the potential cost, let us assume
  We have shown that extraordinarily rapid emission reductions               that it proves necessary to extract 100 ppm of CO2 (yielding a
are needed to stay close to the 1uC scenario. In absence of                  reduction of airborne CO2 of about 50 ppm) and let us assign each
extraordinary actions, it is likely that growing climate disruptions         country the responsibility to clean up its fraction of cumulative
will lead to a surge of interest in ‘‘geo-engineering’’ designed to          emissions. Assuming a cost of $500/tC (,$135/tCO2) yields a cost
minimize human-made climate change [223]. Such efforts must                  of $28 trillion for the United States, about $90,000 per individual.
remove atmospheric CO2, if they are to address direct CO2 effects            Costs would be slightly higher for a UK citizen, but less for other
such as ocean acidification as well as climate change. Schemes               nations (Fig. 12B).
such as adding sulfuric acid aerosols to the stratosphere to reflect
                                                                                Cost of CO2 capture might decline, but the cost estimate used is
sunlight [224], an attempt to mask one pollutant with another, is a
                                                                             more than a factor of four smaller than estimated by the American
temporary band-aid for a problem that will last for millennia;
                                                                             Physical Society [228] and 50 ppm is only a moderate reduction.
besides it fails to address ocean acidification and may have other
                                                                             The cost should also include safe permanent disposal of the
unintended consequences [225].
                                                                             captured CO2, which is a substantial mass. For the sake of scaling
                                                                             the task, note that one GtC, made into carbonate bricks, would
Potential for Carbon Extraction                                              produce the volume of ,3000 Empire State buildings or ,1200
   At present there are no proven technologies capable of large-             Great Pyramids of Giza. Thus the 26 ppm assigned to the United
scale air capture of CO2. It has been suggested that, with strong            States, if made into carbonate bricks, would be equivalent to the
research and development support and industrial scale pilot                  stone in 165,000 Empire State buildings or 66,000 Great Pyramids
projects sustained over decades, costs as low as ,$500/tC may be             of Giza. This is not intended as a practical suggestion: carbonate
achievable [226]. Thermodynamic constraints [227] suggest that               bricks are not a good building material, and the transport and
this cost estimate may be low. An assessment by the American                 construction costs would be additional.
Physical Society [228] argues that the lowest currently achievable              The point of this graphic detail is to make clear the magnitude
cost, using existing approaches, is much greater ($600/tCO2 or               of the cleanup task and potential costs, if fossil fuel emissions
$2200/tC).                                                                   continue unabated. More useful and economic ways of removing
   The cost of capturing 50 ppm of CO2, at $500/tC (,$135/                   CO2 may be devised with the incentive of a sufficient carbon price.
tCO2), is ,$50 trillion (1 ppm CO2 is ,2.12 GtC), but more than              For example, a stream of pure CO2 becomes available for capture
$200 trillion for the price estimate of the American Physical                and storage if biomass is used as the fuel for power plants or as
Society study. Moreover, the resulting atmospheric CO2 reduction             feedstock for production of liquid hydrocarbon fuels. Such clean
will ultimately be less than 50 ppm for the reasons discussed                energy schemes and improved agricultural and forestry practices
above. For example, let us consider the scenario of Fig. 5B in               are likely to be more economic than direct air capture of CO2, but
which emissions continue to increase until 2030 before decreasing            they must be carefully designed to minimize undesirable impacts
at 5%/year – this scenario yields atmospheric CO2 of 410 ppm in              and the amount of CO2 that can be extracted on the time scale of
2100. Using our carbon cycle model we calculate that if we extract           decades will be limited, thus emphasizing the need to limit the
100 ppm of CO2 from the air over the period 2030–2100                        magnitude of the cleanup task.
(10/7 ppm per year), say storing that CO2 in carbonate bricks, the
atmospheric CO2 amount in 2100 will be reduced 52 ppm to                     Policy Implications
358 ppm, i.e., the reduction of airborne CO2 is about half of the
amount extracted from the air and stored. The estimated cost of                 Human-made climate change concerns physical sciences, but
this 52 ppm CO2 reduction is $100–400 trillion.                              leads to implications for policy and politics. Conclusions from the
   The cost of CO2 capture and storage conceivably may decline               physical sciences, such as the rapidity with which emissions must
in the future. Yet the practicality of carrying out such a program           be reduced to avoid obviously unacceptable consequences and the
with alacrity in response to a climate emergency is dubious. Thus            long lag between emissions and consequences, lead to implications
it may be appropriate to add a CO2 removal cost to the current               in social sciences, including economics, law and ethics. Intergov-


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Figure 11. Fossil fuel CO2 emissions. (A) 2012 emissions by source region, and (B) cumulative 1751–2012 emissions. Results are an update of Fig.
10 of [190] using data from [5].
doi:10.1371/journal.pone.0081648.g011

ernmental climate assessments [1,14] purposely are not policy                   atmospheric gas driving climate change, CO2, have been
prescriptive. Yet there is also merit in analysis and discussion of the         ineffectual so far (Fig. 1).
full topic through the objective lens of science, i.e., ‘‘connecting the           Consequently, at present, as the most easily extracted oil and
dots’’ all the way to policy implications.                                      gas reserves are being depleted, we stand at a fork in the road to
                                                                                our energy and carbon future. Will we now feed our energy needs
Energy and Carbon Pathways: A Fork in the Road                                  by pursuing difficult to extract fossil fuels, or will we pursue energy
   The industrial revolution began with wood being replaced by                  policies that phase out carbon emissions, moving on to the post
coal as the primary energy source. Coal provided more                           fossil fuel era as rapidly as practical?
concentrated energy, and thus was more mobile and effective.                       This is not the first fork encountered. Most nations agreed to the
We show data for the United States (Fig. 13) because of the                     Framework Convention on Climate Change in 1992 [6]. Imagine
availability of a long data record that includes wood [229]. More               if a bloc of countries favoring action had agreed on a common
limited global records yield a similar picture [Fig. 14], the largest           gradually rising carbon fee collected within each of country at
difference being global coal now at ,30% compared with ,20%                     domestic mines and ports of entry. Such nations might place
in the United States. Economic progress and wealth generation                   equivalent border duties on products from nations not having a
were further spurred in the twentieth century by expansion into                 carbon fee and they could rebate fees to their domestic industry for
liquid and gaseous fossil fuels, oil and gas being transported and              export products to nations without an equivalent carbon fee. The
burned more readily than coal. Only in the latter part of the                   legality of such a border tax adjustment under international trade
twentieth century did it become clear that long-lived combustion                law is untested, but is considered to be plausibly consistent with
products from fossil fuels posed a global climate threat, as formally           trade principles [230]. As the carbon fee gradually rose and as
acknowledged in the 1992 Framework Convention on Climate                        additional nations, for their own benefit, joined this bloc of
Change [6]. However, efforts to slow emissions of the principal                 nations, development of carbon-free energies and energy efficiency
                                                                                would have been spurred. If the carbon fee had begun in 1995, we




Figure 12. Per capita fossil fuel CO2 emissions. Countries, regions and data sources are the same as in Fig. 11. Horizontal lines are the global
mean and multiples of the global mean.
doi:10.1371/journal.pone.0081648.g012


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Figure 13. United States energy consumption [229].
doi:10.1371/journal.pone.0081648.g013

calculate that global emissions would have needed to decline                biofuels in power plants, with the CO2 captured and sequestered,
2.1%/year to limit cumulative fossil fuel emissions to 500 GtC. A           would also help draw down atmospheric CO2. This pathway
start date of 2005 would have required a reduction of 3.5%/year             would need to be taken soon, as the magnitude of such carbon
for the same result.                                                        extractions is likely limited and thus not a solution to unfettered
   The task faced today is more difficult. Emissions reduction of           fossil fuel use.
6%/year and 100 GtC storage in the biosphere and soils are                     The alternative pathway, which the world seems to be on now,
needed to get CO2 back to 350 ppm, the approximate require-                 is continued extraction of all fossil fuels, including development of
ment for restoring the planet’s energy balance and stabilizing              unconventional fossil fuels such as tar sands, tar shale, hydro-
climate this century. Such a pathway is exceedingly difficult to            fracking to extract oil and gas, and exploitation of methane
achieve, given the current widespread absence of policies to drive          hydrates. If that path (with 2%/year growth) continues for 20
rapid movement to carbon-free energies and the lifetime of energy           years and is then followed by 3%/year emission reduction from
infrastructure in place.                                                    2033 to 2150, we find that fossil fuel emissions in 2150 would total
   Yet we suggest that a pathway is still conceivable that could            1022 GtC. Extraction of the excess CO2 from the air in this case
restore planetary energy balance on the century time scale. That            would be very expensive and perhaps implausible, and warming of
path requires policies that spur technology development and                 the ocean and resulting climate impacts would be practically
provide economic incentives for consumers and businesses such               irreversible.
that social tipping points are reached where consumers move
rapidly to energy conservation and low carbon energies. Moderate
                                                                            Economic Implications: Need for a Carbon Fee
overshoot of required atmospheric CO2 levels can possibly be
                                                                               The implication is that the world must move rapidly to carbon-
counteracted via incentives for actions that more-or-less naturally
                                                                            free energies and energy efficiency, leaving most remaining fossil
sequester carbon. Developed countries, responsible for most of the
excess CO2 in the air, might finance extensive efforts in developing        fuels in the ground, if climate is to be kept close to the Holocene
countries to sequester carbon in the soil and in forest regrowth on         range and climate disasters averted. Is rapid change possible?
marginal lands as described above. Burning sustainably designed




Figure 14. World energy consumption for indicated fuels, which excludes wood [4].
doi:10.1371/journal.pone.0081648.g014


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   The potential for rapid change can be shown by examples. A                  than 10 times as great as the carbon content of tar sands oil carried
basic requirement for phasing down fossil fuel emissions is                    by the proposed Keystone XL pipeline (830,000 barrels/day)
abundant carbon-free electricity, which is the most rapidly                    [242]. Reduced oil demand would be nearly six times the pipeline
growing form of energy and also has the potential to provide                   capacity [241], thus the carbon fee is far more effective than the
energy for transportation and heating of buildings. In one decade              proposed pipeline.
(1977–1987), France increased its nuclear power production 15-                    A rising carbon fee is the sine qua non for fossil fuel phase out, but
fold, with the nuclear portion of its electricity increasing from 8%           not enough by itself. Investment is needed in RD&D (research,
to 70% [231]. In one decade (2001–2011) Germany increased the                  development and demonstration) to help renewable energies and
non-hydroelectric renewable energy portion of its electricity from             nuclear power overcome obstacles limiting their contributions.
4% to 19%, with fossil fuels decreasing from 63% to 61%                        Intermittency of solar and wind power can be alleviated with
(hydroelectric decreased from 4% to 3% and nuclear power                       advances in energy storage, low-loss smart electric grids, and
decreased from 29% to 18%) [231].                                              electrical vehicles interacting with the grid. Most of today’s nuclear
   Given the huge task of replacing fossil fuels, contributions are            power plants have half-century-old technology with light-water
surely required from energy efficiency, renewable energies, and                reactors [243] utilizing less than 1% of the energy in the nuclear
nuclear power, with the mix depending on local preferences.                    fuel and leaving unused fuel as long-lived nuclear ‘‘waste’’
Renewable energy and nuclear power have been limited in part by                requiring sequestration for millennia. Modern light-water reactors
technical challenges. Nuclear power faces persistent concerns                  can employ convective cooling to eliminate the need for external
about safety, nuclear waste, and potential weapons proliferation,              cooling in the event of an anomaly such as an earthquake.
despite past contributions to mortality prevention and climate                 However, the long-term future of nuclear power will employ ‘‘fast’’
change mitigation [232]. Most renewable energies tap diffuse                   reactors, which utilize ,99% of the nuclear fuel and can ‘‘burn’’
intermittent sources often at a distance from the user population,             nuclear waste and excess weapons material [243]. It should be
thus requiring large-scale energy storage and transport. Develop-              possible to reduce the cost of nuclear power via modular standard
ing technologies can ameliorate these issues, as discussed below.              reactor design, but governments need to provide a regulatory
However, apparent cost is the constraint that prevents nuclear and             environment that supports timely construction of approved
renewable energies from fully supplanting fossil fuel electricity              designs. RD&D on carbon capture and storage (CCS) technology
generation.                                                                    is needed, especially given our conclusion that the current
   Transition to a post-fossil fuel world of clean energies will not           atmospheric CO2 level is already in the dangerous zone, but
occur as long as fossil fuels appear to the investor and consumer to           continuing issues with CCS technology [7,244] make it inappro-
be the cheapest energy. Fossil fuels are cheap only because they do            priate to construct fossil fuel power plants with a promise of future
not pay their costs to society and receive large direct and indirect           retrofit for carbon capture. Governments should support energy
subsidies [233]. Air and water pollution from fossil fuel extraction           planning for housing and transportation, energy and carbon
and use have high costs in human health, food production, and                  efficiency requirements for buildings, vehicles and other manu-
natural ecosystems, killing more than 1,000,000 people per year                factured products, and climate mitigation and adaptation in
and affecting the health of billions of people [232,234], with costs           undeveloped countries.
borne by the public. Costs of climate change and ocean                            Economic efficiency would be improved by a rising carbon fee.
acidification, already substantial and expected to grow consider-              Energy efficiency and alternative low-carbon and no-carbon
ably [26,235], also are borne by the public, especially by young               energies should be allowed to compete on an equal footing,
people and future generations.                                                 without subsidies, and the public and business community should
   Thus the essential underlying policy, albeit not sufficient, is for         be made aware that the fee will continually rise. The fee for
emissions of CO2 to come with a price that allows these costs to be            unconventional fossil fuels, such as oil from tar sands and gas from
internalized within the economics of energy use. Because so much               hydrofracking, should include carbon released in mining and
energy is used through expensive capital stock, the price should               refining processes, e.g., methane leakage in hydrofracking [245–
rise in a predictable way to enable people and businesses to                   249]. If the carbon fee rises continually and predictably, the
efficiently adjust lifestyles and investments to minimize costs.               resulting energy transformations should generate many jobs, a
Reasons for preference of a carbon fee or tax over cap-and-trade               welcome benefit for nations still suffering from long-standing
include the former’s simplicity and relative ease of becoming                  economic recession. Economic modeling shows that about 60% of
global [236]. A near-global carbon tax might be achieved, e.g., via            the public, especially low-income people, would receive more
a bi-lateral agreement between China and the United States, the                money via a per capita 100% dispersal of the collected fee than
greatest emitters, with a border duty imposed on products from                 they would pay because of increased prices [241].
nations without a carbon tax, which would provide a strong
incentive for other nations to impose an equivalent carbon tax.                Fairness: Intergenerational Justice and Human Rights
The suggestion of a carbon fee collected from fossil fuel companies               Relevant fundamentals of climate science are clear. The
with all revenues distributed to the public on a per capita basis              physical climate system has great inertia, which is due especially
[237] has received at least limited support [238].                             to the thermal inertia of the ocean, the time required for ice sheets
   Economic analyses indicate that a carbon price fully incorpo-               to respond to global warming, and the longevity of fossil fuel CO2
rating environmental and climate damage would be high [239].                   in the surface carbon reservoirs (atmosphere, ocean, and
The cost of climate change is uncertain to a factor of 10 or more              biosphere). This inertia implies that there is additional climate
and could be as high as ,$1000/tCO2 [235,240]. While the                       change ‘‘in the pipeline’’ even without further change of
imposition of such a high price on carbon emissions is outside the             atmospheric composition. Climate system inertia also means that,
realm of short-term political feasibility, a price of that magnitude is        if large-scale climate change is allowed to occur, it will be
not required to engender a large change in emissions trajectory.               exceedingly long-lived, lasting for many centuries.
   An economic analysis indicates that a tax beginning at $15/                    One implication is the likelihood of intergenerational effects,
tCO2 and rising $10/tCO2 each year would reduce emissions in                   with young people and future generations inheriting a situation in
the U.S. by 30% within 10 years [241]. Such a reduction is more                which grave consequences are assured, practically out of their


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control, but not of their doing. The possibility of such intergen-             on the planet. If we do not change our course, we can only pretend
erational injustice is not remote – it is at our doorstep now. We              that we did not know.
have a planetary climate crisis that requires urgent change to our
energy and carbon pathway to avoid dangerous consequences for                  Discussion
young people and other life on Earth.
   Yet governments and industry are rushing into expanded use of                  We conclude that an appropriate target is to keep global
fossil fuels, including unconventional fossil fuels such as tar sands,         temperature within or close to the temperature range in the
tar shale, shale gas extracted by hydrofracking, and methane                   Holocene, the interglacial period in which civilization developed.
hydrates. How can this course be unfolding despite knowledge of                With warming of 0.8uC in the past century, Earth is just emerging
climate consequences and evidence that a rising carbon price                   from that range, implying that we need to restore the planet’s
would be economically efficient and reduce demand for fossil                   energy balance and curb further warming. A limit of approx-
fuels? A case has been made that the absence of effective                      imately 500 GtC on cumulative fossil fuel emissions, accompanied
governmental leadership is related to the effect of special interests          by a net storage of 100 GtC in the biosphere and soil, could keep
on policy, as well as to public relations efforts by organizations that        global temperature close to the Holocene range, assuming that the
profit from the public’s addiction to fossil fuels [237,250].                  net future forcing change from other factors is small. The longevity
                                                                               of global warming (Fig. 9) and the implausibility of removing the
   The judicial branch of governments may be less subject to
                                                                               warming if it is once allowed to penetrate the deep ocean
pressures from special financial interests than the executive and
                                                                               emphasize the urgency of slowing emissions so as to stay close to
legislative branches, and the courts are expected to protect the
                                                                               the 500 GtC target.
rights of all people, including the less powerful. The concept that
                                                                                  Fossil fuel emissions of 1000 GtC, sometimes associated with a
the atmosphere is a public trust [251], that today’s adults must
                                                                               2uC global warming target, would be expected to cause large
deliver to their children and future generations an atmosphere as
                                                                               climate change with disastrous consequences. The eventual
beneficial as the one they received, is the basis for a lawsuit [252]
                                                                               warming from 1000 GtC fossil fuel emissions likely would reach
in which it is argued that the U.S. government is obligated to
                                                                               well over 2uC, for several reasons. With such emissions and
protect the atmosphere from harmful greenhouse gases.
                                                                               temperature tendency, other trace greenhouse gases including
   Independent of this specific lawsuit, we suggest that intergen-
                                                                               methane and nitrous oxide would be expected to increase, adding
erational justice in this matter derives from fundamental rights of
                                                                               to the effect of CO2. The global warming and shifting climate
equality and justice. The Universal Declaration of Human Rights
                                                                               zones would make it less likely that a substantial increase in forest
[253] declares ‘‘All are equal before the law and are entitled
                                                                               and soil carbon could be achieved. Paleoclimate data indicate that
without any discrimination to equal protection of the law.’’
                                                                               slow feedbacks would substantially amplify the 2uC global
Further, to consider a specific example, the United States
                                                                               warming. It is clear that pushing global climate far outside the
Constitution provides all citizens ‘‘equal protection of the laws’’
                                                                               Holocene range is inherently dangerous and foolhardy.
and states that no person can be deprived of ‘‘life, liberty or
                                                                                  The fifth IPCC assessment Summary for Policymakers [14]
property without due process of law’’. These fundamental rights
                                                                               concludes that to achieve a 50% chance of keeping global
are a basis for young people to expect fairness and justice in a
                                                                               warming below 2uC equivalent CO2 emissions should not exceed
matter as essential as the condition of the planet they will inhabit.          1210 GtC, and after accounting for non-CO2 climate forcings this
We do not prescribe the legal arguments by which these rights can              limit on CO2 emissions becomes 840 GtC. The existing drafts of
be achieved, but we maintain that failure of governments to                    the fifth IPCC assessment are not yet approved for comparison
effectively address climate change infringes on fundamental rights             and citation, but the IPCC assessment is consistent with studies of
of young people.                                                               Meinshausen et al. [254] and Allen et al. [13], hereafter M2009
   Ultimately, however, human-made climate change is more a                    and A2009, with which we can make comparisons. We will also
matter of morality than a legal issue. Broad public support is                 compare our conclusions with those of McKibben [255]. M2009
probably needed to achieve the changes needed to phase out fossil              and A2009 appear together in the same journal with the two lead
fuel emissions. As with the issue of slavery and civil rights, public          authors on each paper being co-authors on the other paper.
recognition of the moral dimensions of human-made climate                      McKibben [255], published in a popular magazine, uses
change may be needed to stir the public’s conscience to the point              quantitative results of M2009 to conclude that most remaining
of action.                                                                     fossil fuel reserves must be left in the ground, if global warming this
   A scenario is conceivable in which growing evidence of climate              century is to be kept below 2uC. McKibben [255] has been very
change and recognition of implications for young people lead to                successful in drawing public attention to the urgency of rapidly
massive public support for action. Influential industry leaders,               phasing down fossil fuel emissions.
aware of the moral issue, may join the campaign to phase out                      M2009 use a simplified carbon cycle and climate model to make
emissions, with more business leaders becoming supportive as they              a large ensemble of simulations in which principal uncertainties in
recognize the merits of a rising price on carbon. Given the relative           the carbon cycle, radiative forcings, and climate response are
ease with which a flat carbon price can be made international                  allowed to vary, thus yielding a probability distribution for global
[236], a rapid global emissions phasedown is feasible. As fossil fuels         warming as a function of time throughout the 21st century. M2009
are made to pay their costs to society, energy efficiency and clean            use this distribution to infer a limit on total (fossil fuel+net land use)
energies may reach tipping points and begin to be rapidly adopted.             carbon emissions in the period 2000–2049 if global warming in the
   Our analysis shows that a set of actions exists with a good                 21st century is to be kept below 2uC at some specified probability.
chance of averting ‘‘dangerous’’ climate change, if the actions                For example, they conclude that the limit on total 2000–2049
begin now. However, we also show that time is running out.                     carbon emissions is 1440 GtCO2 (393 GtC) to achieve a 50%
Unless a human ‘‘tipping point’’ is reached soon, with implemen-               chance that 21st century global warming will not exceed 2uC.
tation of effective policy actions, large irreversible climate changes            A2009 also use a large ensemble of model runs, varying
will become unavoidable. Our parent’s generation did not know                  uncertain parameters, and conclude that total (fossil fuel+net land
that their energy use would harm future generations and other life             use) carbon emissions of 1000 GtC would most likely yield a peak


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CO2-induced warming of 2uC, with 90% confidence that the peak                   As for the non-CO2 forcings, it is noteworthy that greenhouse
warming would be in the range 1.3–3.9uC. They note that their                gases controlled by the Montreal Protocol are now decreasing, and
results are consistent with those of M2009, as the A2009 scenarios           recent agreement has been achieved to use the Montreal Protocol
that yield 2uC warming have 400–500 GtC emissions during                     to phase out production of some additional greenhouse gases even
2000–2049; M2009 find 393 GtC emissions for 2uC warming, but                 though those gases do not affect the ozone layer. The most
M2009 included a net warming effect of non-CO2 forcings, while               important non-CO2 forcing is methane, whose increases in turn
A2009 neglected non-CO2 forcings.                                            cause tropospheric ozone and stratospheric water vapor to
   McKibben [255] uses results of M2009 to infer allowable fossil            increase. Fossil fuel use is probably the largest source of methane
fuel emissions up to 2050 if there is to be an 80% chance that               [1], so if fossil fuel use begins to be phased down, there is good
maximum warming in the 21st century will not exceed 2uC above                basis to anticipate that all three of these greenhouse gases could
the pre-industrial level. M2009 conclude that staying under this             decrease, because of the approximate 10-year lifetime of methane.
2uC limit with 80% probability requires that 2000–2049 emissions                As for fossil fuel CO2 emissions, considering the large, long-lived
must be limited to 656 GtCO2 (179 GtC) for 2007–2049.                        fossil fuel infrastructure in place, the science is telling us that policy
McKibben [255] used this M2009 result to determine a remaining               should be set to reduce emissions as rapidly as possible. The most
carbon budget (at a time not specified exactly) of 565 GtCO2 (154            fundamental implication is the need for an across-the-board rising
GtC) if warming is to stay under 2uC. Let us update this analysis to         fee on fossil fuel emissions in order to allow true free market
the present: fossil fuel emissions in 2007–2012 were 51 GtC [5], so,         competition from non-fossil energy sources. We note that
assuming no net emissions from land use in these few years, the              biospheric storage should not be allowed to offset further fossil
M2009 study implies that the remaining budget at the beginning               fuel emissions. Most fossil fuel carbon will remain in the climate
of 2013 was 128 GtC.                                                         system more than 100,000 years, so it is essential to limit the
   Thus, coincidentally, the McKibben [255] approach via M2009               emission of fossil fuel carbon. It will be necessary to have incentives
yields almost exactly the same remaining carbon budget (128 GtC)             to restore biospheric carbon, but these must be accompanied by
as our analysis (130 GtC). However, our budget is that required to           decreased fossil fuel emissions.
limit warming to about 1uC (there is a temporary maximum                        A crucial point to note is that the three tasks [limiting fossil fuel
during this century at about 1.1–1.2uC, Fig. 9), while McKibben              CO2 emissions, limiting (and reversing) land use emissions,
[255] is allowing global warming to reach 2uC, which we have                 limiting (and reversing) growth of non-CO2 forcings] are
concluded would be a disaster scenario! This apparently vast                 interactive and reinforcing. In mathematical terms, the problem
difference arises from three major factors.                                  is non-linear. As one of these climate forcings increases, it increases
   First, we assumed that reforestation and improved agricultural            the others. The good news is that, as one of them decreases, it
and forestry practices can suck up the net land use carbon of the            tends to decrease the others. In order to bestow upon future
past. We estimate net land use emissions as 100 GtC, while M2009             generations a planet like the one we received, we need to win on
have land use emissions almost twice that large (,180 GtC). We               all three counts, and by far the most important is rapid phasedown
argue elsewhere (see section 14 in Supporting Information of [54])           of fossil fuel emissions.
that the commonly employed net land use estimates [256] are                     It is distressing that, despite the clarity and imminence of the
about a factor of two larger than the net land use carbon that is            danger of continued high fossil fuel emissions, governments
most consistent with observed CO2 history. However, we need not              continue to allow and even encourage pursuit of ever more fossil
resolve that long-standing controversy here. The point is that, to           fuels. Recognition of this reality and perceptions of what is
make the M2009 study equivalent to ours, negative land use                   ‘‘politically feasible’’ may partially account for acceptance of
emissions must be included in the 21st century equal to earlier              targets for global warming and carbon emissions that are well into
positive land use emissions.                                                 the range of ‘‘dangerous human-made interference’’ with climate.
   Second, we have assumed that future net change of non-CO2                 Although there is merit in simply chronicling what is happening,
forcings will be zero, while M2009 have included significant non-            there is still opportunity for humanity to exercise free will. Thus
CO2 forcings. In recent years non-CO2 GHGs have provided                     our objective is to define what the science indicates is needed, not
about 20% of the increase of total GHG climate forcing.                      to assess political feasibility. Further, it is not obvious to us that
   Third, our calculations are for a single fast-feedback equilibrium        there are physical or economic limitations that prohibit fossil fuel
climate sensitivity, 3uC for doubled CO2, which we infer from                emission targets far lower than 1000 GtC, even targets closer to
paleoclimate data. M2009 use a range of climate sensitivities to             500 GtC. Indeed, we suggest that rapid transition off fossil fuels
compute a probability distribution function for expected warming,            would have numerous near-term and long-term social benefits,
and then McKibben [255] selects the carbon emission limit that               including improved human health and outstanding potential for
keeps 80% of the probability distribution below 2uC.                         job creation.
   The third factor is a matter of methodology, but one to be borne             A world summit on climate change will be held at United
in mind. Regarding the first two factors, it may be argued that our          Nations Headquarters in September 2014 as a preliminary to
scenario is optimistic. That is true, but both goals, extracting 100         negotiation of a new climate treaty in Paris in late 2015. If this
GtC from the atmosphere via improved forestry and agricultural               treaty is analogous to the 1997 Kyoto Protocol [257], based on
practices (with possibly some assistance from CCS technology) and            national targets for emission reductions and cap-and-trade-with-
limiting additional net change of non-CO2 forcings to zero, are              offsets emissions trading mechanisms, climate deterioration and
feasible and probably much easier than the principal task of                 gross intergenerational injustice will be practically guaranteed.
limiting additional fossil fuel emissions to 130 GtC.                        The palpable danger that such an approach is conceivable is
   We noted above that reforestation and improving agricultural              suggested by examination of proposed climate policies of even the
and forestry practices that store more carbon in the soil make sense         most forward-looking of nations. Norway, which along with the
for other reasons. Also that task is made easier by the excess CO2           other Scandinavian countries has been among the most ambitious
in the air today, which causes vegetation to take up CO2 more                and successful of all nations in reducing its emissions, nevertheless
efficiently. Indeed, this may be the reason that net land use                approves expanded oil drilling in the Arctic and development of
emissions seem to be less than is often assumed.                             tar sands as a majority owner of Statoil [258–259]. Emissions


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foreseen by the Energy Perspectives of Statoil [259], if they occur,                     Acknowledgments
would approach or exceed 1000 GtC and cause dramatic climate
change that would run out of control of future generations. If, in                       We greatly appreciate the assistance of editor Juan A. Añel in achieving
                                                                                         requisite form and clarity for publication. The paper is dedicated to Paul
contrast, leading nations agree in 2015 to have internal rising fees
                                                                                         Epstein, a fervent defender of the health of humans and the environment,
on carbon with border duties on products from nations without a                          who graciously provided important inputs to this paper while battling late
carbon fee, a foundation would be established for phaseover to                           stages of non-Hodgkin’s lymphoma. We thank David Archer, Inez Fung,
carbon free energies and stable climate.                                                 Charles Komanoff and two anonymous referees for perceptive helpful
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Table S1                                                                                 draft of the paper.
(ODS)
Table S2                                                                                 Author Contributions
(ODS)                                                                                    Conceived and designed the experiments: JH PK MS. Performed the
                                                                                         experiments: MS PK. Wrote the paper: JH. Wrote the first draft: JH. All
Table S3
                                                                                         authors made numerous critiques and suggested specific wording and
(ODS)                                                                                    references: JH PK MS VM-D FA DJB PJH OHG SLH CP JR EJR JS PS
Text S1                                                                                  KS LVS KvS JCZ. Especially: PK MS VM-D.
(DOC)

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                                                                                                                     Exhibit 2 to Declaration of Dr. James E. Hansen
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                                                                                                        Discussion Paper
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           and Physics (ACP). Please refer to the corresponding final paper in ACP if available.




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       Ice melt, sea level rise and superstorms:




                                                                                                        Discussion Paper
       evidence from paleoclimate data, climate
       modeling, and modern observations that
       2 ◦C global warming is highly dangerous




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                                                                                                        Discussion Paper
       J. Hansen1 , M. Sato1 , P. Hearty2 , R. Ruedy3,4 , M. Kelley3,4 , V. Masson-Delmotte5 ,
                   4               4         6            7,8               8,7          9
       G. Russell , G. Tselioudis , J. Cao , E. Rignot , I. Velicogna , E. Kandiano ,
                            10                1,4                 4             11
       K. von Schuckmann , P. Kharecha , A. N. Legrande , M. Bauer , and
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       6

                                                                                                        Discussion Paper
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          Mediterranean Institute of Oceanography, University of Toulon, La Garde, France
                                                                                                        |




       11
          Department of Applied Physics and Applied Mathematics, Columbia University, New York,
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       Published by Copernicus Publications on behalf of the European Geosciences Union.
                                                                                                        |
                                                                                                        Discussion Paper
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                                                                                                        Discussion Paper




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         Abstract




                                                                                                       Discussion Paper
         There is evidence of ice melt, sea level rise to +5–9 m, and extreme storms in the prior
         interglacial period that was less than 1 ◦ C warmer than today. Human-made climate
         forcing is stronger and more rapid than paleo forcings, but much can be learned by
     5   combining insights from paleoclimate, climate modeling, and on-going observations.
         We argue that ice sheets in contact with the ocean are vulnerable to non-linear disin-




                                                                                                       |
         tegration in response to ocean warming, and we posit that ice sheet mass loss can be
         approximated by a doubling time up to sea level rise of at least several meters. Dou-




                                                                                                       Discussion Paper
         bling times of 10, 20 or 40 years yield sea level rise of several meters in 50, 100 or
    10   200 years. Paleoclimate data reveal that subsurface ocean warming causes ice shelf
         melt and ice sheet discharge. Our climate model exposes amplifying feedbacks in the
         Southern Ocean that slow Antarctic bottom water formation and increase ocean tem-
         perature near ice shelf grounding lines, while cooling the surface ocean and increasing
         sea ice cover and water column stability. Ocean surface cooling, in the North Atlantic




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    15   as well as the Southern Ocean, increases tropospheric horizontal temperature gradi-




                                                                                                       Discussion Paper
         ents, eddy kinetic energy and baroclinicity, which drive more powerful storms. We focus
         attention on the Southern Ocean’s role in affecting atmospheric CO2 amount, which in
         turn is a tight control knob on global climate. The millennial (500–2000 year) time scale
         of deep ocean ventilation affects the time scale for natural CO2 change, thus the time
    20   scale for paleo global climate, ice sheet and sea level changes. This millennial carbon
         cycle time scale should not be misinterpreted as the ice sheet time scale for response
         to a rapid human-made climate forcing. Recent ice sheet melt rates have a doubling




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         time near the lower end of the 10–40 year range. We conclude that 2 C global warming




                                                                                                       Discussion Paper
         above the preindustrial level, which would spur more ice shelf melt, is highly danger-
    25   ous. Earth’s energy imbalance, which must be eliminated to stabilize climate, provides
         a crucial metric.



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                                                                                                       |
         1   Introduction
                                                                                                       Discussion Paper
         Humanity is rapidly extracting and burning fossil fuels without full understanding of the
         consequences. Current assessments place emphasis on practical effects such as in-
         creasing extremes of heat waves, droughts, heavy rainfall, floods, and encroaching
     5   seas (IPCC, 2014; USNCA, 2014). These assessments and our recent study (Hansen
         et al., 2013a) conclude that there is an urgency to slow carbon dioxide (CO2 ) emis-
                                                                                                       |




         sions, because the longevity of the carbon in the climate system (Archer, 2005) and
         persistence of the induced warming (Solomon et al., 2010) may lock in unavoidable
                                                                                                       Discussion Paper




         highly undesirable consequences.
    10      Despite these warnings, global CO2 emissions continue to increase as fossil fuels
         remain the primary energy source. The argument is made that it is economically and
         morally responsible to continue fossil fuel use for the sake of raising living standards,
         with expectation that humanity can adapt to climate change and find ways to minimize
         effects via advanced technologies.
                                                                                                       |




    15      We suggest that this viewpoint fails to appreciate the nature of the threat posed by
                                                                                                       Discussion Paper




         ice sheet instability and sea level rise. If the ocean continues to accumulate heat and in-
         crease melting of marine-terminating ice shelves of Antarctica and Greenland, a point
         will be reached at which it is impossible to avoid large scale ice sheet disintegration
         with sea level rise of at least several meters. The economic and social cost of losing
    20   functionality of all coastal cities is practically incalculable. We suggest that a strate-
         gic approach relying on adaptation to such consequences is unacceptable to most of
         humanity, so it is important to understand this threat as soon as possible.
                                                                                                       |




            We examine events late in the last interglacial period warmer than today, called Ma-
                                                                                                       Discussion Paper




         rine Isotope Stage (MIS) 5e in studies of ocean sediment cores, Eemian in European
    25   climate studies, and sometimes Sangamonian in American literature (see Sect. 5 for
         timescale diagram of Marine Isotope Stages). Accurately known changes of Earth’s as-
         tronomical configuration altered the seasonal and geographical distribution of incoming
         radiation during the Eemian. Resulting global warming was due to feedbacks that am-

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         plified the orbital forcing. While the Eemian is not an analog of future warming, it is




                                                                                                     Discussion Paper
         useful for investigating climate feedbacks, the response of polar ice sheets to polar
         warming, and the interplay between ocean circulation and ice sheet melt.
            Our study relies on a large body of research by the scientific community. After intro-
     5   ducing evidence concerning late Eemian climate change, we analyze relevant climate
         processes in three stages. First we carry our IPCC-like climate simulations, but with
         growing freshwater sources in the North Atlantic and Southern Oceans. Second we




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         use paleoclimate data to extract information on key processes identified by the mod-




                                                                                                     Discussion Paper
         eling. Third we use modern data to show that these processes are already spurring
    10   climate change today.


         2     Evidence concerning Eemian climate

         We first discuss geologic evidence of late-Eemian sea level rise and storms. We then
         discuss ocean core data that help define a rapid cooling event in the North Atlantic that




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         marks the initial descent from interglacial conditions toward global ice age conditions.




                                                                                                     Discussion Paper
    15   This rapid end-Eemian cooling occurs at ∼ 118 ky b2k in ocean cores with uncertainty
         ∼ 2 ky, and is identified by Chapman and Shackleton (1999) as cold event C26.
            C26 is the cold phase of Dansgaard–Oeschger climate oscillation D–O 26 in the
         NGRIP (North Greenland Ice Core Project) ice core (NGRIP, 2004). C26 begins with
         a sharp cooling at 119.14 ky b2k on the GICC05modelext time scale (Rasmussen et
    20   al., 2014). The GICC05 time scale is based on annual layer counting in Greenland ice




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         cores for the last 60 ky and on an ice flow-model extension for earlier times. An alter-




                                                                                                     Discussion Paper
         native time scale is provided by Antarctic ice core chronology AICC2012 (Bazin et al.,
         2013; Veres et al., 2013) on which Greenland ice core records have been synchronized
         via global markers such as oscillations of atmospheric CH4 amount. C26 on Greenland
    25   is at 116.72 ky b2k on the AICC2012 time scale. Figure S1 in the Supplement shows
         the difference between GICC05 and AICC2012 times scales versus time.

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            This age uncertainty for C26 is consistent with the ice core 2σ error estimate of
         3.2 ky at Eemian time (Bazin et al., 2013). Despite this absolute age uncertainty, we       Discussion Paper
         can use Greenland data synchronized to the AICC2012 time scale to determine the
         relative timing of Greenland and Antarctic climate changes (Sect. 5) to an accuracy of
     5   a few decades (Bazin et al., 2013).

         2.1    Eemian sea level
                                                                                                     |




         Eemian sea level is of special interest because Eemian climate was at most ∼ 2 ◦ C
                                                                                                     Discussion Paper




         warmer than pre-industrial climate, thus at most ∼ 1 ◦ C warmer than today. Indeed,
         based on multiple data and model sources Masson-Delmotte et al. (2013) suggest
    10   that peak Eemian temperature was only a few tenths of a degree warmer than to-
         day. The Eemian period thus provides an indication of sea level change that can be
         expected if global temperature reaches and maintains a level moderately higher than
         today. Eemian sea level reached heights several meters above today’s level (Chen et
                                                                                                     |




         al., 1991; Neumann and Hearty, 1996; Hearty et al., 2007; Kopp et al., 2009; Dutton
                                                                                                     Discussion Paper




    15   and Lambeck, 2012; O’Leary et al., 2013). Although climate forcings were weak and
         changed slowly during the Eemian, there were probably instances in the Eemian with
         sea level change of the order of 1 m century−1 (Rohling et al., 2008; W. Thompson et
         al., 2011; Blanchon et al., 2009).
            Hearty et al. (2007) used shoreline stratigraphy, field information, and geochronolog-
    20   ical data from 15 sites around the world to construct a composite curve of Eemian sea
         level change. Their reconstruction has sea level rising in the early Eemian to +2–3 m
                                                                                                     |




         (“+” indicates above today’s sea level). Mid-Eemian sea level may have fallen a few
                                                                                                     Discussion Paper




         meters to a level near today’s sea level. Sea level rose rapidly in the late Eemian when
         it cut multiple bioerosional notches in older limestone in the Bahamas and elsewhere
    25   at +6–9 m. These brief upward shifts of sea level were interpreted as evidence of rapid
         ice melt events.
            This sea level behavior may be surprising at first glance, and it is easy to question
         specific details because of the difficulties in sea level reconstructions, including the
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         effect of regional glacio-isostatic adjustment (GIA) of Earth’s crust as ice sheets grow




                                                                                                        Discussion Paper
         and decay. Indeed, rapid late-Eemian sea level rise is unexpected, because seasonal
         insolation anomalies favored growth of Northern Hemisphere ice at that time. However,
         the basic conclusion that arises from global studies is a sea level elevation difference
     5   of 3–5 m between late and early Eemian. We will show in the remainder of this paper
         that there is now substantial supporting evidence for these sea level change features
         and a rational interpretation.




                                                                                                        |
            Assessed chronology of sea level change depends on ages estimated for fossil




                                                                                                        Discussion Paper
         corals. The analytic uncertainty of uranium radioactive decay (U-series) ages is about
    10   1 ky (Edwards et al., 2003; Scholz and Mangini, 2007), but often undetectable dia-
         genetic effects can increase the error (Bard et al., 1992; Thompson and Goldstein,
         2005). The growth position of corals is a good, though not comprehensive, indicator of
         sea level, because sea level had to be higher than the reef at the time of coral growth.
         However, some corals grow at a range of depths, which adds uncertainty. Furthermore,
    15   if sea level rises too fast, corals tend to “give up” or founder, only recording minimum




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         sea level (Neumann and MacIntyre, 1985), and if sea level falls corals are exposed, die,




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         and thus stop recording sea level. Mobile carbonate sediments that mantle limestone
         platforms such as Bermuda and the Bahamas record rapid sea level change effectively,
         because the sediments respond and cement quickly, thus preserving sea level change
    20   evidence.
            Hearty and Kindler (1993), White et al. (1998) and Wilson et al. (1998) describe
         evidence in fossil Bahamian reefs of a mid-Eemian regressive-transgressive cycle (sea
         level fall and rise). They estimated a sea level fall from +4 m to approximately today’s




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         level, and then a rise to at least +6 m. U-series dating defined the period of fall and rise




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    25   as a maximum of 1500 years covering ∼ 125 to 124 ky b2k, and the high stand lasting
         until ∼ 119 ky b2k. Such rapid sea level change requires ice sheet growth and melt,
         regional lithospheric adjustment, or both.
            Blanchon et al. (2009) used a sequence of coral reef crests from northeast Yucatan
         peninsula, Mexico, to investigate sea level change with a higher temporal precision

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         than possible with U-series dating alone. They used coral reef “back-stepping”, i.e., the
         fact that the location of coral reef building moves shoreward as sea level rises, to infer     Discussion Paper
         sea level change. They found that in the latter half of the Eemian there was a point
         at which sea level jumped by 2–3 m within an “ecological” period, i.e., within several
     5   decades. From U-series dating they estimated that this period of rapid sea level rise
         occurred at about 121 ky b2k. W. Thompson et al. (2011) reexamined Eemian coral
         reef data from the Bahamas with a method that corrected uranium-thorium ages for
                                                                                                        |




         diagenic disturbances. They confirmed a mid-Eemian sea level minimum, putting sea
                                                                                                        Discussion Paper




         level at +4 m at 123 ky b2k, at +6 m at 119 ky b2k, and at 0 m at some time in between,
    10   again noting that coral reefs only record minimum sea level.
            Despite general consistency among these studies, considerable uncertainty re-
         mains about details of Eemian sea level change. Sources of uncertainty include post-
         depositional effects of GIA and local tectonics. Global models of GIA of Earth’s crust
         to loading and unloading of ice sheets are used increasingly to improve assessments
    15   of past sea level change. Although GIA models contain uncertain parameters, they
                                                                                                        |




         provide a useful indication of possible displacement of geological sea level indicators.
                                                                                                        Discussion Paper




         O’Leary et al. (2013) provide a new perspective on Eemian sea level change using
         over 100 well-dated U-series coral reefs at 28 sites along the 1400 km west coast of
         Australia and incorporating GIA corrections on regional sea level. In agreement with
    20   Hearty et al. (2007), their analyses suggest that sea level was relatively stable at 3–
         4 m in most of the Eemian, followed by a rapid (< 1000 yr) late-Eemian sea level rise to
         about +9 m. U-series dating of the corals has the sea level rise begin at 119 ky b2k and
         peak sea level at 118.1 ± 1.4 ky b2k. This dating of peak sea level is consistent with the
                                                                                                        |




         estimate of Hearty and Neumann (2001) of ∼ 118 ky b2k as the time of rapid climate
                                                                                                        Discussion Paper




    25   changes and extreme storminess.
            End-Eemian sea level rise would seem to be a paradox, because orbital forcing then
         favored growth of Northern Hemisphere ice sheets. We will find evidence, however, that
         the sea level rise and increased storminess are consistent, and likely related to events
         in the Southern Ocean.

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         2.2   Evidence of end-Eemian storms in Bahamas and Bermuda




                                                                                                       Discussion Paper
         Late-Eemian sea level rise was followed by rapid sea level fall at the end of MIS 5e
         (Neumann and Hearty, 1996; Stirling et al., 1998; McCulloch and Esat, 2000; Lambeck
         and Chappell, 2001; Lea et al., 2002). Geologic data suggest that this sea level os-
     5   cillation was accompanied by increased temperature gradients and storminess in the
         North Atlantic region. Here we summarize evidence for end-Eemian storminess, based




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         mainly on geological studies of Neumann and Hearty (1996), Hearty (1997), Hearty et
         al. (1998), Hearty and Neumann (2001) and Hearty et al. (2007) in Bermuda and the




                                                                                                       Discussion Paper
         Bahamas. In following sections we examine data from ocean sediment cores relevant
    10   to climate events in this period and then make global climate simulations, which help
         us suggest causal connections among end-Eemian events.
            The Bahama Banks are low-lying carbonate platforms that are exposed during
         glacials and largely flooded during interglacial high stands. From a tectonic perspec-
         tive, the platforms are relatively stable, but may have experienced minor GIA effects.




                                                                                                       |
    15   When flooded during MIS 5e sea level rise, enormous volumes of aragonitic oolitic




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         grains were generated across the shallow high energy banks, shoals, ridges, and
         dunes, where storm deposits indurated rapidly upon subaerial exposure, preserving
         rock evidence of brief, high-energy events. The preserved stratigraphic, sedimentary
         and geomorphic features attest to the energy of the late-Eemian Atlantic Ocean and
    20   point to a turbulent end-Eemian transition.
            In the Bahama Islands, extensive oolitic sand ridges with a distinctive landward-
         pointing V-shape are common, each standing in relief across several kilometers of low




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         area (Hearty et al., 1998). Termed “chevron ridges” from their characteristic V-shape,




                                                                                                       Discussion Paper
         these beach ridges are found on broad, low lying platforms or ramps throughout the
    25   Atlantic-facing, deep-water margins of the Bahamas. Hearty et al. (1998) examined 35
         areas with chevron ridges across the Bahamas, which all point in a southwest direction
                ◦
         (S65 W) with no apparent relation to the variable configuration of the coastline.


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            The lightly indurated ooid sand ridges are several kilometers long and appear to have
         originated from the action of long-period waves from a northeasterly Atlantic source.         Discussion Paper
         The chevron ridges contain bands of beach fenestrae, formed by air bubbles trapped
         in fine ooid sand inundated by water and quickly indurated. The internal sedimentary
     5   structures including the beach fenestrae and scour structures (Tormey, 2015) show that
         the chevrons were rapidly emplaced by water rather than wind (Hearty et al., 1998).
         These landforms were deposited near the end of a sea level high stand, when sea
                                                                                                       |




         level was just beginning to fall, otherwise they would have been reworked subsequently
                                                                                                       Discussion Paper




         by stable or rising seas. Some chevrons contain multiple smaller ridges “nested” in a
    10   seaward direction (Hearty et al., 1998), providing further evidence that sea level was
         falling fast enough to strand and preserve older chevrons as distinct landforms.
            Fine-grained carbonate ooids cement rapidly, sometimes within decades to a cen-
         tury, if left immobile (Taft et al., 1968; Curran et al., 2008). Additional evidence of the
         rapid emplacement of the sand ridges is inferred from burial of large trees and fronds
    15   in living positions (Neumann and Hearty, 1996; Hearty and Olson, 2011). Fenestrae
                                                                                                       |




         are abundant primarily in the youngest 5e beds throughout the eastern margin of the
                                                                                                       Discussion Paper




         Bahamas.
            Older ridges adjacent to the chevron ridges have wave runup deposits that reach
         heights nearly 40 m above present sea level, far above the reach of a quiescent 5e sea
    20   surface. Such elevated beach fenestrae are considered to result from runup of very
         large waves (Wanless and Dravis, 1989). These stratigraphically youngest deposits on
         the shore-parallel ridges are 1-5 m thick fenestrae-filled seaward-sloping tabular beds
         of stage 5e age that mantle older MIS 5e dune deposits (Neumann and Moore, 1975;
                                                                                                       |




         Chen at al., 1991; Neumann and Hearty, 1996; Tormey, 2015). Runup beds reach more
                                                                                                       Discussion Paper




    25   than a kilometer from the present coast, mantling the eastern flanks of stage 5e ridges
         (Hearty et al., 1998). Bain and Kindler (1994) suggested the fenestrae could be rain-
         generated, but the fenestrae at high elevations are widespread and exclusive to the late
         5e deposits. They are not commonly found in older dune ridges (Hearty et al., 1998).


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            Enormous boulders tossed onto an older Pleistocene landscape (Hearty, 1997;




                                                                                                        Discussion Paper
         Hearty et al., 1998; Hearty and Neumann, 2001) provide a metric of powerful waves
         at the end of stage 5e. Giant displaced boulders (Fig. 1) were deposited in north
         Eleuthera, Bahamas near chevron ridges and runup deposits (Hearty, 1997). The boul-
     5   ders are composed of recrystallized oolitic-peloidal limestone of MIS 9 or 11 age (300–
         400 ky; Kindler and Hearty, 1996; Hearty, 1998). The boulders rest on oolitic sediments
         and fossils typical of MIS 5e, and thus were deposited after most of the interglacial had




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         passed. The maximum age of boulder emplacement is ∼ 115–120 ky based on their




                                                                                                        Discussion Paper
         stratigraphy and association with regressive stage 5e marine, eolian and fossil land
    10   snail (Cerion) deposits (Hearty, 1997; Hearty et al., 1998). Hearty (1997) reasoned
         that the boulders were emplaced during the latest substage 5e highstand, while sea
         level remained high, because even larger waves would have been required at times of
         lower sea level during MIS sub-stages 5c and 5a in order to lift the boulders over the
         cliffs.
    15      The boulders must have been transported to their present position by waves, as two




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         of the largest ones (Fig. 1) are located on the crest of the island’s ridge, eliminating the




                                                                                                        Discussion Paper
         possibility that they were moved downward by gravity (Hearty, 1998) or are the karstic
         remnants of some ancient landscape. A tsunami conceivably deposited the boulders,
         but the area is not near a tectonic plate boundary. The coincidence of a tsunami at the
    20   end-Eemian moment is improbable given the absence of evidence of tsunamis at other
         times in the Bahamas and the lack of evidence of tsunamis on the Atlantic Coastal
         Plain of the United States. The proximity of run-up deposits and nested chevron ridges
         across a broad front of Bahamian islands is clear evidence of a sustained series of




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         high-energy wave events.




                                                                                                        Discussion Paper
    25      The remarkable size of the boulders in north Eleuthera becomes more comprehensi-
                                                                          3
         ble upon realization that numerous boulders larger than 10 m have been thrown up on
         Eleuthera Island by storms during the Holocene (Hearty, 1997). The mass and volume
                                                        3
         of the Holocene boulders (the largest ∼ 90 m , Table 4 of Hearty, 1997) are about 10×
         smaller than the MIS 5e boulders (Table 2 of Hearty, 1997). Hearty (1998) notes that the

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         large 5e and Holocene boulders are all located at the apex of a narrowing horseshoe-
         shaped submerged embayment (Fig. 2 of Hearty, 1997). Long period ocean waves are               Discussion Paper
         funneled into this embayment, generating huge surge and splash even today as they
         impact the cliffs near the Glass Window Bridge.
     5      Movement of these sediments, including chevrons, run-up deposits and boulders,
         required a potent sustained energy source. Anticipating our interpretation in terms of
         powerful storms driven by an unusually warm tropical ocean and strong zonal tempera-
                                                                                                        |




         ture gradients in the North Atlantic, we must ask whether there should not be evidence
                                                                                                        Discussion Paper




         of comparable end-Eemian storms in Bermuda. Indeed, there are seaward sloping pla-
    10   nar beds rising to about +20 m along several kilometers of the north coast of Bermuda
         (Land et al., 1967; Vacher and Rowe, 1997; Hearty et al., 1998). These beds, from the
         latest stage 5e, are filled with beach fenestrae in platy grains and thick air-filled lami-
         nations, in marked contrast to older stage 5 sedimentary structures that underlie them
         (Hearty et al., 1998). Meter-scale, subtidal cross beds comprise the seaward facies
    15   of the elevated beach beds, reflecting an interval of exceptional wave energy on the
                                                                                                        |




         normally tranquil, shallow and broad north shore platform of Bermuda.
                                                                                                        Discussion Paper




            Given the geologic evidence of high seas and storminess from Bermuda and the Ba-
         hamas, Hearty and Neumann (2001) suggested “Steeper pressure, temperature, and
         moisture gradients adjacent to warm tropical waters could presumably spawn larger
    20   and more frequent cyclonic storms in the North Atlantic than those seen today.” We
         now seek further evidence related to the question of whether powerful end-Eemian
         storms in the North Atlantic may have dispersed long-period, well-organized waves to
         the southwest.
                                                                                                        |
                                                                                                        Discussion Paper




         2.3   End-Eemian evidence from North Atlantic sediment cores

    25   Sediment cores from multiple locations provide information not only on ocean temper-
         ature and circulation changes (Fig. 2), but also changes on ice sheet destabilization
         inferred from ice rafted debris. Comparison of data from different sites is affected by
         inaccuracy in absolute dating and use of different age models. Dating of sediments is
                                                 20070
                                                                                                        |
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         usually based on tuning to the time scale of Earth orbital variations (Martinson et al.,




                                                                                                       Discussion Paper
         1987) or “wiggle-matching” to another record (Sirocko et al., 2005), which limits ac-
         curacy to several ky. Temporal resolution is limited by bioturbation of sediments; thus
         resolution varies with core location and climate (Keigwin and Jones, 1994). For exam-
     5   ple, high deposition rates during ice ages at the Bermuda Rise yield a resolution of
         a few decades, but low sedimentation rates during the Eemian yield a resolution of
         a few centuries (Lehman et al., 2002). Lateral transport of sedimentary material prior




                                                                                                       |
         to deposition complicates data interpretation and can introduce uncertainty, as argued




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         specifically regarding data from the Bermuda Rise (Ohkouchi et al., 2002; Engelbrecht
    10   and Sachs, 2005).
                                                                              ◦      ◦
            Adkins et al. (1997) analyzed sediment core (MD95-2036, 34 N, 58 W) from the
         Bermuda Rise using an age model based on Martinson et al. (1987) orbital tuning
         with the MIS stage 5/6 transition set at 131 ky b2k and the stage 5d/5e transition at
         114 ky b2k. They found that oxygen isotope δ 18 O of planktonic (near-surface dwelling)
    15   foraminifera and benthic (deep ocean) foraminifera both attain full interglacial values at




                                                                                                       |
         ∼ 128 ky b2k and remain nearly constant for ∼ 10 ky (their Fig. 2). Adkins et al. (1997)




                                                                                                       Discussion Paper
         infer that: “Late within isotope stage 5e (∼ 118 ky b2k), there is a rapid shift in oceanic
         conditions in the western North Atlantic. . . ” They find in the sediments at that point
         an abrupt increase of clays indicative of enhanced land-based glacier melt and an in-
    20   crease of high nutrient “southern source waters”. The latter change implies a shutdown
         or diminution of NADW formation that allows Antarctic Bottom Water (AABW) to push
         into the deep North Atlantic Ocean (Duplessy et al., 1988; Govin et al., 2009). Adkins
         et al. (1997) continue: “The rapid deep and surface hydrographic changes found in this




                                                                                                       |
         core mark the end of the peak interglacial and the beginning of climate deterioration




                                                                                                       Discussion Paper
    25   towards the semi-glacial stage 5d. Before and immediately after this event, signaling
         the impeding end of stage 5e, deep-water chemistry is similar to modern NADW.” This
         last sentence refers to a temporary rebound to near interglacial conditions. In Sect. 5
         we use accurately synchronized Greenland and Antarctic ice cores, which also reveal


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         this temporary end-Eemian climate rebound, to interpret the glacial inception and its
         relation to ice melt and late-Eemian sea level rise.                                          Discussion Paper
            Ice rafted debris (IRD) found in ocean cores provides a useful climate diagnostic
         tool (Heinrich, 1988; Hemming, 2004). Massive ice rafting (“Heinrich”) events are of-
     5   ten associated with decreased NADW production and shutdown or slowdown of the
         Atlantic Meridional Overturning Circulation (AMOC) (Broecker, 2002; Barrieiro et al.,
         2008; Srokosz et al., 2012). However, ice rafting occurs on a continuum of scales,
                                                                                                       |




         and significant IRD is found in the cold phase of all the 24 Dansgaard–Oeschger (D–
                                                                                                       Discussion Paper




         O) climate oscillations first identified in Greenland ice cores (Dansgaard et al., 1993).
    10   D–O events exhibit rapid warming on Greenland of at least several degrees within a
         few decades or less, followed by cooling over a longer period. Chapman and Shackle-
         ton (1999) found IRD events in the NEAP18K core for all D–O events (C19–C24) within
         the core interval that they studied, and they also labeled two additional events (C25
         and C26). C26 did not produce identifiable IRD at the NEAP18K site, but it was added
    15   to the series because of its strong surface cooling.
                                                                                                       |




            Lehman et al. (2002) quantify the C26 cooling event using the same Bermuda Rise
                                                                                                       Discussion Paper




         core (MD95-2036) and age model as Adkins et al. (1997). Based on the alkenone
         paleo-temperature technique (Sachs and Lehman, 1999), Lehman et al. (2002) find
         a sharp sea surface temperature (SST) decrease of ∼ 3 ◦ C (their Fig. 1) at ∼ 118 ky
                                                                          18
    20   BP, coinciding with the end-Eemian shoulder of the benthic δ O plateau that defines
         stage 5e in the deep ocean. The SST partially recovered after several centuries, but
         C26 marked the start of a long slide into the depths of stage 5d cold, as ice sheets
         grew and sea level fell ∼ 50 m in 10 ky (Lambeck and Chappell, 2001; Rohling et al.,
                                                                                                       |




         2009). Lehman et al. (2002) wiggle-match the MD95-2036 and NEAP18K cores, find-
                                                                                                       Discussion Paper




    25   ing a simple adjustment to the age model of Chapman and Shackleton (1999) that
                                                    18                                        18
         maximizes correlation of the benthic δ O records with the Adkins et al. (1997) δ O
                                                                                              18
         record. Specifically, they adjust the NEAP time scale by +4 ky before the MIS 5b δ O
         minimum and by +2 ky after it, which places C26 cooling at 118 ky b2k in both records.


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         They give preference to the Adkins et al. (1997) age scale because it employs a 230 Th-




                                                                                                      Discussion Paper
         based time scale between 100 and 130 ky b2k.
            We do not assert that the end-Eemian C-26 cooling was necessarily at 118 ky b2k,
         but we suggest that the strong rapid cooling observed in several sediment cores in this
     5   region of the subtropical and midlatitude North Atlantic Drift at about this time were all
         probably the same event. Such a large cooling lasting for centuries would not likely be
         confined to a small region. The dating models in several other studies place the date




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                                                              18
         of the end-Eemian shoulder of the deep ocean δ O and an accompanying surface




                                                                                                      Discussion Paper
         cooling event in the range 116–118 ky b2k.
                                                                                               ◦
    10      Kandiano et al. (2004) and Bauch and Kandiano (2007) analyze core M23414 (53 N,
            ◦
         17 W), west of Ireland, finding a major SST end-Eemian cooling that they identify as
         C26 and place at 117 ky b2k. The 1 ky change in the timing of this event compared with
         Lehman et al. (2002), is due to a minor change in the age model, specifically, Bauch
         and Kandiano say: “The original age model of MD95-2036 (Lehman et al., 2002) has
         been adjusted to our core M23414 by alignment of the 4 per mil level in the benthic




                                                                                                      |
    15

         δ 18 O records (at 130 ka in M23414) and the prominent C24 event in both cores.” Bauch




                                                                                                      Discussion Paper
         and Erlenkeuser (2008) and H. Bauch et al. (2012) examine ocean cores along the
         North Atlantic Current including its continuation into the Nordic seas. They find that in
         the Greenland-Iceland-Norwegian (GIN) Sea, unlike middle latitudes, the Eemian was
    20   warmest near the end of the interglacial period. The age model employed by Bauch and
         Erlenkeuser (2008) has the Eemian about 2 ky younger than the Adkins et al. (1997)
         age model, Bauch and Erlenkeuser (2008) having the benthic δ 18 O plateau at ∼ 116–
         124 ky BP (their Fig. 6). Rapid cooling they illustrate there at ∼ 116.6 ky BP for core




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                                             ◦    ◦
         M23071 on the Voring Plateau (67 N, 3 E) likely corresponds to the C26 end-Eemian




                                                                                                      Discussion Paper
    25   cooling event.
            Identification of end-Eemian cooling in ocean cores is hampered by the fact that
         Eemian North Atlantic climate was more variable than in the Holocene (Fronval and
         Jansen, 1996). There were at least three cooling events within the Eemian, each with
         minor increases in IRD, which are labeled C27, C27a and C27b by Oppo et al. (2006);
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         see their Fig. 2 for core site ODP-980 in the eastern North Atlantic (55 N, 15 W) near
         Ireland. High (sub-centennial) resolution cores in the Eirik drift region (MD03-2664,
         57◦ N,49◦ W) near the southern tip of Greenland reveal an event with rapid cooling
         accompanied by reduction in NADW production (Irvali et al., 2012; Galaasen et al.,
                                                                                            18
     5   2014), which they place at ∼ 117 ky b2k. However, their age scale has the benthic δ O
         shoulder at ∼ 115 ky b2k (Fig. S1 in the Supplement, Galaasen et al., 2014), so that
         event may have been C27b with C26 being stronger cooling that occurred thereafter.
                                                                                                      |
                                                                                                      Discussion Paper




         2.4   Eemian timing consistency with insolation anomalies

         Glacial-interglacial climate cycles are affected by insolation change, as shown persua-
    10   sively by Hays et al. (1976) and discussed in Sect. 5.1. Each “termination” (Broecker,
         1984) of glacial conditions in the past several hundred thousand years coincided with
         a large positive warm-season insolation anomaly at the latitude of North American and
         Eurasian ice sheets (Raymo, 1997; Paillard, 2001). The explanation is that positive
                                                                                                      |




         summer insolation anomalies (negative in winter) favor increased summer melting and
                                                                                                      Discussion Paper




    15   reduced winter snowfall, thus shrinking ice sheets.
            Termination timing is predicted better by high Northern Hemisphere late spring
         (April–May–June) insolation than by summer anomalies. For example, Raymo (1997)
         places Terminations I and II (preceding the Holocene and Eemian) midpoints at 13.5
         and 128–131 ky b2k. Late spring insolation maxima are at 13.2 and 129.5 ky b2k
    20   (Fig. 4a). The AICC2012 ice core chronology (Bazin et al., 2013) places Termination
         II at 128.5 ky b2k, with 2σ uncertainty 3.2 ky. Late spring irradiance maximizes warm-
                                                                                                      |




         season ice melt by producing the earliest feasible warm-season ice sheet darkening
                                                                                                      Discussion Paper




         via snow melt and snow recrystallization (Hansen et al., 2007b).
            Late Eemian sea level rise is seemingly a paradox, because glacial-interglacial sea
    25   level change is mainly a result of the growth and decay of Northern Hemisphere ice
         sheets. Northern warm-season insolation anomalies were negative and declining in
         the latter part of the Eemian (Fig. 3a), so Northern Hemisphere ice sheets should have
         been growing. We suggest that the explanation for a mid-Eemian sea level minimum is
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         a substantial late-Eemian collapse of the Antarctic ice sheet facilitated by the positive




                                                                                                       Discussion Paper
         warm-season insolation anomaly on Antarctica and the Southern Ocean during the late
         Eemian (Fig. 3b).
           Persuasive presentation of this interpretation requires analysis of relevant climate
     5   mechanisms with a global model as well as a detailed discussion of paleoclimate data.
         We will show that these analyses in turn help to explain ongoing climate change today,
         with implications for continuing climate change this century.




                                                                                                       |
                                                                                                       Discussion Paper
         3     Simulations of 1850–2300 climate change

         We make simulations for 1850–2300 with radiative forcings that were used for IPCC
    10   (2007, 2013) studies. This allows comparison with simulations made for prior studies.

         3.1    Climate model




                                                                                                       |
         Simulations are made with an improved version of a coarse-resolution model that al-




                                                                                                       Discussion Paper
         lows long runs at low cost, GISS (Goddard Institute for Space Studies) model E-R.
         The atmosphere model is the documented modelE (Schmidt et al., 2006). The ocean
    15   is based on the Russell et al. (1995) model that conserves water and salt mass, has a
         free surface with divergent flow, uses a linear upstream scheme for advection, allows
         flow through 12 sub-resolution straits, has background diffusivity 0.3 cm2 s−1 , 4◦ × 5◦
         resolution and 13 layers that increase in thickness with depth.
            However, the ocean model includes simple but significant changes, compared with




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         the version documented in simulations by Miller et al. (2014). First, an error in the




                                                                                                       Discussion Paper
    20

         calculation of neutral surfaces in the Gent–McWilliams (GM, Gent and McWilliams,
         1990) mesoscale eddy parameterization was corrected; the resulting increased slope
         of neutral surfaces provides proper leverage to the restratification process and correctly
         orients eddy stirring along those surfaces.


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            Second, the calculation of eddy diffusivity Kmeso for GM following Visbeck et
         al. (1997) was simplified to use a length scale independent of the density structure          Discussion Paper
         (J. Marshall, personal communication, 2014):

         Kmeso = C/[Teady × f (latitude)]                                                        (1)
                                2
     5   where C = (27.9 km) , Eady growth rate 1/Teady = {|S × N|}, S is the neutral surface
         slope, N the Brunt–Vaisala frequency, { } signifies averaging over the upper D meters
                                                                                                       |




         of ocean depth, D = min(max(depth, 400 m), 1000 m), and f (latitude) = max(0.1, sin(|
                                                                                                       Discussion Paper




         latitude |)) to qualitatively mimic the larger values of the Rossby radius of deformation
         at low latitudes. These choices for Kmeso , whose simplicity is congruent with the use of
    10   a depth-independent eddy diffusivity and the use of 1/Teady as a metric of eddy energy,
         result in the zonal average diffusivity shown in Fig. 4.
            Third, the so-called nonlocal terms in the KPP mixing parameterization (Large et al.,
         1994) were activated. All of these modifications tend to increase the ocean stratifica-
                                                                                                       |




         tion, and in particular the Southern Ocean state is improved by the GM modifications.
                                                                                                       Discussion Paper




    15   However, as is apparent in Fig. 4, drift in the Southern Ocean state leads to a modest
         reduction of the eddy diffusivities over the first 500 years of spin-up. Overall realism of
         the ocean circulation is improved, but significant model deficiencies remain, as we will
         describe.
            The simulated Atlantic Meridional Overturning Circulation (AMOC) has maximum
    20   flux that varies within the range ∼ 14–18 Sv in the model control run (Figs. 5 and 6).
         AMOC strength in recent observations is 17.5 ± 1.6 Sv (Baringer et al., 2013; Srokosz
                                                                                                       |




         et al., 2012), based on eight years (2004–2011) data for an in situ mooring array
                                                                                                       Discussion Paper




         (Rayner et al., 2011; Johns et al., 2011).
            Ocean model control run initial conditions are climatology for temperature and salinity
    25   (Levitus and Boyer, 1994; Levitus et al., 1994); atmospheric composition is that of 1880
         (Hansen et al., 2011). Overall model drift from control run initial conditions is moderate
         (see Fig. S2 for planetary energy imbalance and global temperature), but there is drift
         in the North Atlantic circulation. The AMOC circulation cell initially is confined to the
                                                     20076
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         upper 3 km at all latitudes (1st century in Figs. 5 and 6), but by the 5th century the cell




                                                                                                        Discussion Paper
         reaches deeper at high latitudes.
             Atmospheric and surface climate in the present model is similar to the documented
         modelE-R, but because of changes to the ocean model we provide several diagnostics
     5   in the Supplement. A notable flaw in the simulated surface climate is the unrealistic
         double precipitation maximum in the tropical Pacific (Fig. S3). This double ITCZ (in-
         tertropical convergence zone) occurs in many models and is related to the difficulty of




                                                                                                        |
         producing realistic stratus clouds in the Eastern Tropical Pacific. Another flaw is unre-




                                                                                                        Discussion Paper
         alistic hemispheric sea ice, with too much sea ice in the Northern Hemisphere and too
    10   little in the Southern Hemisphere (Figs. S4 and S5). Excessive Northern Hemisphere
         sea ice might be caused by deficient poleward heat transport in the Atlantic Ocean
         (Fig. S6). However, the AMOC has realistic strength and Atlantic meridional heat trans-
         port is only slightly below observations at high latitudes (Fig. S6). Thus we suspect
         that the problem may lie in sea ice parameterizations or deficient dynamical transport
    15   of ice out of the Arctic. The deficient Southern Hemisphere sea ice, at least in part,




                                                                                                        |
         is likely related to excessive poleward (southward) transport of heat by the simulated




                                                                                                        Discussion Paper
         global ocean (Fig. S6), which is related to deficient northward transport of heat in the
         modeled Atlantic Ocean (Fig. S6).
             A key characteristic of the model and the real world is the response time: how fast
    20   does the surface temperature adjust to a climate forcing, i.e., an imposed perturba-
         tion of the planet’s energy balance? ModelE-R response is about 40 % in five years
         (Fig. 7) and 60 % in 100 years, with the remainder requiring many centuries. Hansen
         et al. (2011) concluded that most ocean models, including modelE-R, mix a surface




                                                                                                        |
         temperature perturbation downward too efficiently and thus have a slower surface re-




                                                                                                        Discussion Paper
    25   sponse than the real world. The basis for this conclusion was empirical analysis using
         climate response functions, with 50, 75 and 90 % response at year 100 for climate sim-
         ulations (Hansen et al., 2011). Earth’s measured energy imbalance in recent years and
         global temperature change in the past century revealed that the response function with


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         75 % response in 100 years provided a much better fit with observations than the other
         choices.                                                                                       Discussion Paper
            Durack et al. (2012) compared observations of how rapidly surface salinity changes
         are mixed into the deeper ocean with the large number of global models in the CMIP3
     5   (Climate Model Intercomparison Project), reaching a similar conclusion, that the mod-
         els mix too rapidly.
            Our present ocean model has a faster response on 10–75 year time scales than the
                                                                                                        |




         old model (Fig. 7), but the change is small. Although the climate response time in our
                                                                                                        Discussion Paper




         model is comparable to that in many other ocean models (Hansen et al., 2011), we
    10   believe that it is likely slower than the response in the real world on time scales of a few
         decades and longer. A too slow surface response could result from excessive small
         scale mixing. We will suggest, after the studies below, that excessive mixing has other
         consequences, e.g., causing the effect of freshwater stratification on slowing AABW
         formation and growth of Antarctic sea ice cover to occur 1–2 decades later than in the
    15   real world. Similarly, excessive mixing may make the AMOC in the model less sensitive
                                                                                                        |




         to freshwater forcing than the real world AMOC.
                                                                                                        Discussion Paper




         3.2   Experiment definition: exponentially increasing fresh water

         Freshwater injection is specified as 360 Gt yr−1 (1 mm sea level) in 2003–2015, then
         growing with 5, 10 or 20 year doubling time (Fig. 8). Injection ends when input to global
    20   sea level reaches 1 or 5 m. The sharp cut-off aids separation of immediate forcing
         effects and feedbacks.
                                                                                                        |




            We do not argue for this specific input function, but we suggest that rapid meltwater
                                                                                                        Discussion Paper




         increase is likely if GHGs continue to grow rapidly. Greenland and Antarctica have
         outlet glaciers occupying canyons with bedrock below sea level well back into the ice
    25   sheet (Fretwell et al., 2013; Morlighem et al., 2014; Pollard et al., 2015). Feedbacks,
         including ice sheet darkening due to surface melt (Hansen et al., 2007b; Robinson
         et al., 2012; Tedesco et al., 2013; Box et al., 2012) and lowering and thus warming
         of the near-coastal ice sheet surface, make increasing ice melt likely. Paleoclimate
                                                  20078
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         data reveal instances of sea level rise of several meters in a century (Fairbanks, 1989;




                                                                                                        Discussion Paper
         Deschamps et al., 2012). Those cases involved ice sheets at lower latitudes, but 21st
         century climate forcing is larger and increasing much more rapidly.
           Radiative forcings are those of Hansen et al. (2007c), based on data through 2003
     5   and IPCC scenario A1B for later GHGs. A1B is an intermediate IPCC scenario over
         the century, but on the high side early this century (Fig. 2, Hansen et al., 2007c). We
                                                                          ◦          ◦     ◦
         add freshwater to the North Atlantic (ocean area within 52–72 N and 15 E–65 N) or




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                                                ◦
         Southern Ocean (ocean south of 60 S), or equally divided between the two oceans.




                                                                                                        Discussion Paper
         Ice sheet discharge (icebergs plus meltwater) is mixed as fresh water with mean tem-
                       ◦
    10   perature −15 C into top three ocean layers (Fig. S7).

         3.3   Simulated surface temperature and energy balance

         We present surface temperature and planetary energy balance first, thus providing a
         global overview. Then we examine changes in ocean circulation and compare results




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         with prior studies.




                                                                                                        Discussion Paper
    15      Temperature change in 2065, 2080 and 2096 for 10 year doubling time (Fig. 9) should
         be thought of as results when sea level rise reaches 0.6, 1.7 and 5 m, because the
         dates depend on initial freshwater flux. Actual current freshwater flux may be about a
         factor of four higher than assumed in these initial runs, as we will discuss, and thus
         effects may occur ∼ 20 years earlier. A sea level rise of 5 m in a century is about the
    20   most extreme in the paleo record (Fairbanks, 1989; Deschamps et al., 2012), but the
         assumed 21st century climate forcing is also more rapidly growing than any known




                                                                                                        |
         natural forcing.




                                                                                                        Discussion Paper
            Meltwater injected on the North Atlantic has larger initial impact, but Southern Hemi-
         sphere ice melt has a greater global effect for larger melt as the effectiveness of more
    25   meltwater in the North Atlantic begins to decline. The global effect is large long before
         sea level rise of 5 m is reached. Meltwater reduces global warming about half by the
         time sea level rise reaches 1.7 m. Cooling due to ice melt more than eliminates A1B
         warming in large areas of the globe.
                                                  20079




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            The large cooling effect of ice melt does not decrease much as the ice melting rate
         varies between doubling times of 5, 10 or 20 years (Fig. 10a). In other words, the cu-         Discussion Paper
         mulative ice sheet melt, rather than the rate of ice melt, largely determines the climate
         impact for the range of melt rates covered by 5, 10 and 20 year doubling times. Thus if
     5   ice sheet loss occurs even to an extent of 1.7 m sea level rise (Fig. 10b), a large impact
         on climate and climate change is predicted.
            Greater global cooling occurs for freshwater injected on the Southern Ocean, but the
                                                                                                        |




         cooling lasts much longer for North Atlantic injection (Fig. 10a). That persistent cooling,
                                                                                                        Discussion Paper




         mainly at Northern Hemisphere middle and high latitudes (Fig. S8), is a consequence
    10   of the sensitivity, hysteresis effects, and long recovery time of the AMOC (Stocker and
         Wright, 1991; Rahmstorf, 1995 and earlier studies referenced therein). AMOC changes
         are described below.
            When freshwater injection on the Southern Ocean is halted, global temperature
         jumps back within two decades to the value it would have had without any freshwa-
    15   ter addition (Fig. 10a). Quick recovery is consistent with the Southern Ocean-centric
                                                                                                        |




         picture of the global overturning circulation (Fig. 4, Talley, 2013), as the Southern Merid-
                                                                                                        Discussion Paper




         ional Overturning Circulation (SMOC), driven by AABW formation, responds to change
         of the vertical stability of the ocean column near Antarctica (see Sect. 4) and the ocean
         mixed layer and sea ice have limited thermal inertia.
    20      Global cooling due to ice melt causes a large increase in Earth’s energy imbalance
                                              −2
         (Fig. 10b), adding about +2 W m , which is larger than the imbalance caused by in-
         creasing GHGs. Thus, although the cold fresh water from ice sheet disintegration pro-
         vides a negative feedback on regional and global surface temperature, it increases the
                                                                                                        |




         planet’s energy imbalance, thus providing more energy for ice melt (Hansen, 2005).
                                                                                                        Discussion Paper




    25   This added energy is pumped into the ocean.
            Increased downward energy flux at the top of the atmosphere is not located in the
         regions cooled by ice melt. On the contrary, those regions suffer a large reduction of
         net incoming energy (Fig. 11a). The regional energy reduction is a consequence of
         increased cloud cover (Fig. 11b) in response to the colder ocean surface. However,

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         the colder ocean surface reduces upward radiative, sensible and latent heat fluxes,




                                                                                                      Discussion Paper
                                            −2
         thus causing a large (∼ 50 W m ) increase of energy into the North Atlantic and a
         substantial but smaller flux into the Southern Ocean (Fig. 11c).
            Below we conclude that the principal mechanism by which this ocean heat increases
     5   ice melt is via its effect on ice shelves. Discussion requires examination of how the
         freshwater injections alter the ocean circulation and internal ocean temperature.




                                                                                                      |
         3.4   Simulated AMOC




                                                                                                      Discussion Paper
         Broecker’s articulation of likely effects of freshwater outbursts in the North Atlantic on
         ocean circulation and global climate (Broecker, 1990; Broecker et al., 1990) spurred
    10   quantitative studies with idealized ocean models (Stocker and Wright, 1991) and
         global atmosphere-ocean models (Manabe and Stouffer, 1995; Rahmstorf 1995, 1996).
         Scores of modeling studies have since been carried out, many reviewed by Barreiro et
         al. (2008), and observing systems are being developed to monitor modern changes in




                                                                                                      |
         the AMOC (Carton and Hakkinen, 2011).




                                                                                                      Discussion Paper
    15      Our climate simulations in this section are 5 member ensembles of runs initiated at
         25 year intervals at years 901–1001 of the control run. We chose this part of the control
         run because the planet is then in energy balance (Fig. S2), although by that time model
         drift had altered the slow deep ocean circulation. Some model drift away from initial
         climatological conditions is inevitable, as all models are imperfect, and we carry out the
    20   experiments with cognizance of model limitations. However, there is strong incentive
         to seek basic improvements in representation of physical processes to reduce drift in




                                                                                                      |
         future versions of the model.




                                                                                                      Discussion Paper
            GHGs alone (scenario A1B) slow AMOC by the early 21st century (Fig. 12), but
         variability among individual runs (Fig. S9) would make definitive detection difficult at
    25   present. Freshwater injected onto the North Atlantic or in both hemispheres shuts down
         the AMOC (Fig. 12, right side). GHG amounts are fixed after 2100 and ice melt is zero,
         but after two centuries of stable climate forcing the AMOC has not recovered to its

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         earlier state. This slow recovery was found in the earliest simulations by Manabe and
         Stouffer (1994) and Rahmstorf (1995, 1996).                                                  Discussion Paper
            Freshwater injection already has a large impact when ice melt is a fraction of 1 m
         of sea level. By the time sea level rise reaches 59 cm (2065 in the present scenarios),
     5   when fresh water flux is 0.48 Sv, the impact on AMOC is already large, consistent with
         the substantial surface cooling in the North Atlantic (Fig. 9).
                                                                                                      |




         3.5   Comparison with prior simulations
                                                                                                      Discussion Paper




         AMOC sensitivity to GHG forcing has been examined extensively based on IPCC stud-
         ies. Schmittner et al. (2005) found that AMOC weakened 25 ± 25 % by the end of the
    10   21st century in 28 simulations of 9 different models forced by the A1B emission sce-
         nario. Gregory et al. (2005) found 10–50 % AMOC weakening in 11 models for CO2
         quadrupling (1 % yr−1 increase for 140 years), with largest decreases in models with
         strong AMOCs. Weaver et al. (2007) found a 15–31 % AMOC weakening for CO2 qua-
                                                                                                      |




         drupling in a single model for 17 climate states differing in initial GHG amount. AMOC
                                                                                                      Discussion Paper




    15   in our model weakens 30 % between 1990–2000 and 2090–2100, the period used by
         Schmittner et al. (2005), for A1B forcing (Fig. S9). Thus our model is more sensitive
         than the average, but within the range of other models, a conclusion that continues to
         be valid in comparison with 10 CMIP5 models (Cheng et al., 2013).
            AMOC sensitivity to freshwater forcing has not been compared as systematically
    20   among models. Several studies find little impact of Greenland melt on AMOC (Huy-
         brechts et al., 2002; Jungclaus et al., 2006; Vizcaino et al., 2008) while others find
                                                                                                      |




         substantial North Atlantic cooling (Fichefet et al., 2003; Swingedouw et al., 2007; Hu
                                                                                                      Discussion Paper




         et al., 2009, 2011). Studies with little impact calculated or assumed small ice sheet
         melt rates, e.g., Greenland contributed only 4 cm of sea level rise in the 21st century
    25   in the ice sheet model of Huybrechts et al. (2002). Fichefet et al. (2003), using nearly
         the same atmosphere-ocean model as Huybrechts et al. (2002) but a more responsive
         ice sheet model, found AMOC weakening from 20 to 13 Sv late in the 21st century, but
         separate contributions of ice melt and GHGs to AMOC slowdown were not defined.
                                                   20082
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            Hu et al. (2009, 2011) use the A1B scenario and freshwater from Greenland starting




                                                                                                         Discussion Paper
                                                        −1
         at 1 mm sea level per year increasing 7 % yr , similar to our 10 year doubling case. Hu
         et al. keep the melt rate constant after it reaches 0.3 Sv (in 2050), yielding 1.65 m sea
         level rise in 2100 and 4.2 m in 2200. Global warming found by Hu et al. (2009, 2010) for
     5   scenario A1B resembles our result but is 20–30 % smaller (compare Fig. 2b of Hu et
         al., 2009 to our Fig. 9), and cooling they obtain from the freshwater flux is moderately
         less than that in our model. AMOC is slowed about one-third by the latter 21st century




                                                                                                         |
         in the Hu et al. (2011) 7 % yr−1 experiment, comparable to our result.




                                                                                                         Discussion Paper
            General consistency holds for other quantities, such as changes of precipitation.
    10   Our model yields southward shifting of the Inter-Tropical Convergence Zone (ITCZ)
         and intensification of the subtropical dry region with increasing GHGs (Fig. S10), as
         has been reported in modeling studies of Swingedouw et al. (2007, 2009) and others
         (IPCC, 2013). These effects are intensified by ice melt and cooling in the North Atlantic
         region (Fig. S10).
    15      A recent 5-model study (Swingedouw et al., 2014) finds a small effect on AMOC




                                                                                                         |
         for 0.1 Sv Greenland freshwater flux added in 2050 to simulations with a strong GHG




                                                                                                         Discussion Paper
         forcing. Our larger response is likely due, at least in part, to our freshwater flux reaching
         several tenths of a Sv.
            Freshwater sensitivity in our model is similar to an earlier version of the model used
    20   to simulate the 8.2 ky b2k freshwater event associated with demise of the Hudson
         Bay ice dome (LeGrande et al., 2006). The ∼ 50 % AMOC slowdown in that model,
         in response to forcings of 2.5–5 Sv years indicated by geologic and paleohydraulic
         studies (e.g., Clarke et al, 2004), is consistent with indications from isotope-enabled




                                                                                                         |
         analyses of the 8.2 ky event (LeGrande and Schmidt, 2008) and sediment records




                                                                                                         Discussion Paper
    25   from the northwest Atlantic (Kleiven et al., 2008). The 1–2 century AMOC recovery
         time in numerical experiments (LeGrande and Schmidt, 2008) seems consistent with
         the 160 year duration of the 8.2 ky cooling event (Rasmussen et al., 2013).



                                                    20083




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         3.6   Storm-related model diagnostics
                                                                                                         Discussion Paper
         Ice melt in the North Atlantic creates a substantial increment toward higher sea level
         pressure in the North Atlantic region in all seasons (Fig. 13). In the summer the added
         surface pressure strengthens and moves northward the Bermuda high pressure system
     5   (Fig. S3). Circulation around the high pressure creates strong prevailing northeasterly
         winds in the North Atlantic at the latitudes of Bermuda and the Bahamas. A1B climate
                                                                                                         |




         forcing alone (top row of Fig. S11) has only a small impact on the winds, but cold
         meltwater in the North Atlantic causes a strengthening and poleward shift of the high
                                                                                                         Discussion Paper




         pressure.
    10      The high pressure in the model is located further east than appropriate for producing
                                                                               ◦    ◦
         the fastest possible winds at the Bahamas. Our coarse resolution (4 × 5 ) model, which
         slightly misplaces the pressure maximum for today’s climate, may be partly responsible
         for the displacement. However, the location of high pressure also depends meltwater
         placement, which we spread uniformly over all longitudes in the North Atlantic between
                                                                                                         |




    15   65◦ W and 15◦ E and on specific location of ocean currents and surface temperature
                                                                                                         Discussion Paper




         during the Eemian.
            Our results at least imply that strong cooling in the North Atlantic from AMOC shut-
         down does create higher wind speed. It would be useful to carry out more detailed
         studies with higher resolution climate models including the most realistic possible dis-
    20   tribution of meltwater.
            The increment in seasonal mean wind speed of the northeasterlies relative to prein-
         dustrial conditions is as much as 10–20 %. Such a percentage increase of wind speed
                                                                                                         |




         in a storm translates into an increase of storm power dissipation by a factor ∼ 1.4–2,
                                                                                                         Discussion Paper




         because wind power dissipation is proportional to the cube of wind speed (Emanuel,
    25   1987, 2005). However, our simulated changes refer to seasonal mean winds averaged
         over large grid-boxes, not individual storms.
            A blocking high pressure system in the North Atlantic creating consistent strong
         northeasterly flow would provide wave action that may have contributed to the chevron

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         ridge formation in the Bahamas and Bermuda. This blocking high pressure system




                                                                                                        Discussion Paper
         could contribute to powerful storm impacts in another way. In combination with the
         warm tropical conditions that existed in the late Eemian (Cortijo et al., 1999), and are
         expected in the future if GHGs continue to increase, this blocking high pressure could
     5   create a preferred alley for tropical storm tracks.
            We assumed, in discussing the relevance of these experiments to Eemian climate,
         that effects of freshwater injection dominate over changing GHG amount, as seems




                                                                                                        |
         likely because of the large freshwater effect on SSTs and sea level pressure. However,




                                                                                                        Discussion Paper
         Eemian CO2 was actually almost constant at ∼ 275 ppm (Luthi et al., 2008). Thus, to
    10   isolate effects better, we now carry out simulations with fixed GHG amount, which helps
         clarify important feedback processes.

         3.7   Pure freshwater experiments

         Our pure freshwater experiments are 5 member ensembles starting at years 1001,




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         1101, 1201, 1301, and 1401 of the control run. Each experiment ran 300 years. Fresh-
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                                                                                                        Discussion Paper
    15   water flux in the initial decade averaged 180 km yr (0.5 mm sea level) in the hemi-
         sphere with ice melt and increased with a 10 year doubling time. Freshwater input is
         terminated when it reaches 0.5 m sea level rise per hemisphere for three 5-member en-
         sembles: two ensembles with injection in the individual hemispheres and one ensemble
         with input in both hemispheres (1 m total sea level rise). Three additional ensembles
    20   were obtained by continuing freshwater injection until hemispheric sea level contribu-
         tions reached 2.5 m. Here we provide a few model diagnostics central to discussions




                                                                                                        |
         that follow. Additional results are provided in Figs. S12–S14.




                                                                                                        Discussion Paper
            The AMOC shuts down for Northern Hemisphere freshwater input yielding 2.5 m sea
         level rise (Fig. 14). By year 300, more than 200 years after cessation of all freshwater
    25   input, AMOC is still far from full recovery for this large freshwater input. On the other
         hand, freshwater input of 0.5 m does not cause full shutdown, and AMOC recovery
         occurs in less than a century.

                                                   20085




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            Global temperature change (Fig. 15) reflects the fundamentally different impact of
         freshwater forcings of 0.5 and 2.5 m. The response also differs greatly depending on           Discussion Paper
         the hemisphere of the freshwater input. The case with freshwater forcing in both hemi-
         spheres is shown only in the Supplement because, to a good approximation, the re-
     5   sponse is simply the sum of the responses to the individual hemispheric forcings (see
         Figs. S12–S14). The sum of responses to hemispheric forcings moderately exceeds
         the response to global forcing.
                                                                                                        |




            Global cooling continues for centuries for the case with freshwater forcing sufficient to
                                                                                                        Discussion Paper




         shut down the AMOC (Fig. 15). If the forcing is only 0.5 m of sea level, the temperature
    10   recovers in a few decades. However, the freshwater forcing required to reach the tipping
         point of AMOC shutdown may be less in the real world than in our model, as discussed
         below. Global cooling due to freshwater input on the Southern Ocean recovers in a few
         years after freshwater input ceases (Fig. 15), for both the smaller (0.5 m of sea level)
         and larger (2.5 m) freshwater forcings.
    15      Injection of a large amount of surface freshwater in either hemisphere has a notable
                                                                                                        |




         impact on heat uptake by the ocean and the internal ocean heat distribution (Fig. 16).
                                                                                                        Discussion Paper




                                                                           ◦
         Despite continuous injection of a large amount of very cold (−15 C) water in these pure
         freshwater experiments, substantial portions of the ocean interior become warmer.
         Tropical and Southern Hemisphere warming is the well-known effect of reduced heat
    20   transport to northern latitudes in response to the AMOC shutdown (Rahmstorf, 1996;
         Barreiro et al., 2008).
            However, deep warming in the Southern Ocean may have greater consequences.
         Warming is maximum at grounding line depths (∼ 1–2 km) of Antarctic ice shelves
                                                                                                        |




         (Rignot and Jacobs, 2002). Ice shelves near their grounding lines (Fig. 13 of Jenk-
                                                                                                        Discussion Paper




    25   ins and Doake, 1991) are sensitive to temperature of the proximate ocean, with ice
                                                             ◦
         shelf melting increasing 1 m per year for each 0.1 C temperature increase (Rignot and
         Jacobs, 2002). The foot of an ice shelf provides most of the restraining force that ice
         shelves exert on landward ice (Fig. 14 of Jenkins and Doake, 1991), making ice near
         the grounding line the buttress of the buttress. Pritchard et al. (2012) deduce from

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         satellite altimetry that ice shelf melt has primary control of Antarctic ice sheet mass




                                                                                                       Discussion Paper
         loss.
            Thus we examine our simulations in more detail (Fig. 17). The pure freshwater ex-
         periments add 5 mm sea level in the first decade (requiring an initial 0.346 mm yr−1
     5   for 10 year doubling), 10 mm in the second decade, and so on (Fig. 17a). Cumulative
         freshwater injection reaches 0.5 m in year 68 and 2.5 m in year 90.
            AABW formation is reduced ∼ 20 % by year 68 and ∼ 50 % by year 90 (Fig. 17b).




                                                                                                       |
         When freshwater injection ceases, AABW formation rapidly regains full strength, in




                                                                                                       Discussion Paper
         contrast to the long delay in reestablishing NADW formation after AMOC shutdown.
    10   The response time of the Southern Ocean mixed layer dictates the recovery time for
         AABW formation. Thus rapid recovery also applies to ocean temperature at depths of
         ice shelf grounding lines (Fig. 17c).
            The rapid response of the SMOC (within a decade) to a change of the density of the
         Southern Ocean mixed layer implies that the rate of freshwater addition to the mixed
    15   layer is the driving factor. We will argue below that our model, because of excessive




                                                                                                       |
         small scale mixing, probably understates the mixed layer and SMOC sensitivities to




                                                                                                       Discussion Paper
         freshwater flux change, and in a later section we present evidence that the real world
         is responding more quickly than the model.
            Sea ice cover, accurately monitored from satellites since the late 1970s, is a key diag-
    20   nostic of the ocean surface layer. Increasing sea ice cover, we show below, is a powerful
         feedback that amplifies ice shelf melt. Freshwater flux has little effect on our simulated
         Northern Hemisphere sea ice until the 7th decade of freshwater growth (Fig. 17d), but
         Southern Hemisphere sea ice is more sensitive, with substantial response in the 5th




                                                                                                       |
         decade and large response in the 6th decade.




                                                                                                       Discussion Paper
    25      Is 5th decade freshwater flux (2880 Gt yr−1 ) of relevance to today’s world? Yes, we
         will conclude, the Southern Ocean is already experiencing at least “5th decade” fresh-
         water forcing. We explain the basis of that conclusion below, and then make a climate
         simulation for the 21st century with more realistic forcings than in our prior simulations.


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         4     Simulations to 2100 with modified (more realistic) forcings
                                                                                                       Discussion Paper
         Recent data imply that current ice melt is larger than assumed in our 1850–2300 cli-
         mate simulations. Thus we make an additional simulation and use the opportunity to
         make minor improvements in the radiative forcing.

     5   4.1    Advanced (earlier) freshwater injection
                                                                                                       |




         Atmosphere-ocean climate models, including ours, commonly include a fixed freshwa-
                                                                                                       Discussion Paper




         ter flux from the Greenland and Antarctic ice sheets to the ocean. This flux is chosen to
         balance snow accumulation in the model’s control run, with the rationale that approxi-
         mate balance is expected between net accumulation and mass loss including icebergs
    10   and ice shelf melting. Global warming creates a mass imbalance that we want to inves-
         tigate. Ice sheet models can calculate the imbalance, but it is unclear how reliably ice
         sheet models simulate ice sheet disintegration. We forgo ice sheet modeling, instead
         adding a growing freshwater amount to polar oceans with alternative growth rates and
                                                                                                       |




         initial freshwater amount estimated from available data.
                                                                                                       Discussion Paper




    15      Change of freshwater flux on the ocean in a warming world with shrinking ice sheets
         consists of two terms, Term 1 being net ice melt and Term 2 being change of P-E
         (precipitation minus evaporation) over the relevant ocean. Term 1 includes land based
         ice mass loss, which can be detected by satellite gravity measurements, loss of ice
         shelves, and net sea ice mass change. Term 2 is calculated in a climate model forced
    20   by changing atmospheric composition, but it is not included in our pure freshwater
                                                                                                       |




         experiments that have no global warming.
                                                                                                       Discussion Paper




            IPCC (2013, Chapter 4) estimated land ice loss in Antarctica that increased from
         30 Gt yr−1 in 1992–2001 to 147 Gt yr−1 in 2002–2011 and in Greenland from 34 to
         215 Gt yr−1 , with uncertainties discussed by IPCC (2013). Gravity satellite data suggest
    25   Greenland ice sheet mass loss ∼ 300–400 Gt yr−1 in the past few years (Barletta et
         al., 2013). A newer analysis of gravity data for 2003–2013 (Velicogna et al., 2014),

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                                                                                                      Discussion Paper
         discussed in more detail in Sect. 6, finds a Greenland mass loss 280 ± 58 Gt yr−1 and
         Antarctic mass loss 67 ± 44 Gt yr−1 .
            One estimate of net ice loss from Antarctica, including ice shelves, is obtained by
         surveying and adding the mass flux from all ice shelves and comparing this freshwater
     5   mass loss with the freshwater mass gain from the continental surface mass budget.
         Rignot et al. (2013) and Depoorter et al. (2013) independently assessed the fresh-
         water mass fluxes from Antarctic ice shelves. Their respective estimates for the basal




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                                                    −1
         melt are 1500 ± 237 and 1454 ± 174 Gt yr . Their respective estimates for calving are




                                                                                                      Discussion Paper
                                            −1
         1265 ± 139 and 1321 ± 144 Gt yr .
                                                                               −1
    10      This estimated freshwater loss via the ice shelves (∼ 2800 Gt yr ) is larger than
         freshwater gain by the Antarctic surface. Vaughan et al. (1999) estimated the net sur-
         face mass balance of the continent as +1811 and +2288 Gt yr−1 including precipita-
         tion on ice shelves. IPCC (2013) estimates the net Antarctic surface mass balance as
                             −1
         +1983 ± 122 Gt yr excluding ice shelves. Thus comparison of continental freshwater
         input with ice shelf output suggests a net export of freshwater to the Southern Ocean




                                                                                                      |
    15

         of several hundred Gt yr−1 in recent years. However, substantial uncertainty exists in




                                                                                                      Discussion Paper
         the difference between these two large numbers.
            A remarkable independent evaluation has recently been achieved by Rye et
         al. (2014) using satellite measured changes of sea level around Antarctica in the period
                                                                       −1
    20   1992–2011. Sea level along the Antarctic coast rose 2 mm yr faster than the regional
                                                                 ◦
         mean sea level rise in the Southern Ocean south of 50 S, an effect that they conclude
         is almost entirely a steric adjustment caused by accelerating freshwater discharge from
                                                                                        −1
         Antarctica. They conclude that an excess freshwater input of 430 ± 230 Gt yr , above




                                                                                                      |
         the rate needed to maintain a steady ocean salinity, is required. Rye et al. (2014) note




                                                                                                      Discussion Paper
    25   that these values constitute a lower bound for the actual excess discharge above a
         “steady salinity” rate, because numerous in situ data, discussed below, indicate that
         freshening began earlier than 1992.
            Term 2, change of P-E over the Southern Ocean relative to its pre-industrial amount,
         is large in all climate simulations (IPCC, 2013). In our ensemble of runs (using ob-
                                                  20089




                                                                                                      |
         served GHGs for 1850–2003 and scenario A1B thereafter) the increase of P-E in the
         decade 2011–2020, relative to the control run, was in the range 3500 to 4000 Gt yr ,
                                                                                                 −1   Discussion Paper
                                                                                     −1
         as mean precipitation over the Southern Ocean increased ∼ 35 mm yr and evapora-
         tion decreased ∼ 3 mm yr−1 .
     5      Increasing ice melt and increasing P-E are climate feedbacks, their growth in recent
         decades driven by global warming. Our pure freshwater simulations indicate that their
                                   −1
         sum, at least 4000 Gt yr , is sufficient to affect ocean circulation, sea ice cover, and
                                                                                                      |




         surface temperature, which can spur other climate feedbacks. We investigate these
                                                                                                      Discussion Paper




         feedbacks via climate simulations using improved estimates of freshwater flux from ice
    10   melt. P-E is computed by the model.
                                                          −1                                −1
            We take freshwater injection to be 720 Gt yr from Antarctica and 360 Gt yr in the
         North Atlantic in 2011, with injection rates at earlier and later times defined by assump-
         tion of a 10 year doubling time. Resulting mean freshwater injection around Antarctica
         in 1992–2011 is ∼ 400 Gt yr−1 , similar to the estimate of Rye et al. (2014). A recent
                                   3
    15   estimate of 310 ± 74 km volume loss of floating Antarctic ice shelves in 2003–2012
                                                                                                      |




         (Paolo et al., 2015) is not inconsistent, as the radar altimeter data employed for ice
                                                                                                      Discussion Paper




         shelves does not include contributions from the ice sheet or fast ice tongues at the
         ice shelf grounding line. Greenland ice sheet mass loss provides most of the assumed
         360 Gt yr−1 freshwater, and this would be supplemented by shrinking ice shelves (Rig-
    20   not and Steffen, 2008) and small ice caps in the North Atlantic and west of Greenland
         (Ohmura, 2009) that are losing mass (Abdalati et al., 2004; Bahr et al., 2009).
            We add the freshwater around Antarctica at coastal grid boxes (Fig. S15) guided by
         the data of Rignot et al. (2013) and Depoorter et al. (2013), the flux in the western
                                                                                                      |




         hemisphere from the Weddell Sea to the Ross Sea being about three times larger than
                                                                                                      Discussion Paper




    25   for the rest of the coastline. Specified freshwater flux around Greenland is similar on
         the east and west coasts, and small along the north coast (Fig. S15).




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         4.2   Modified radiative forcings




                                                                                                       Discussion Paper
         Actual GHG forcing has grown slower than scenario A1B, because growth of CH4 and
         minor gases declined after IPCC scenarios were defined (Fig. 5, Hansen et al., 2013c,
         update at http://www.columbia.edu/~mhs119/GHGs/). As a simple improvement we de-
     5   creased the A1B CH4 scenario during 2003–2013 such that subsequent CH4 is re-
         duced 100 ppb, thus decreasing the radiative forcing ∼ 0.05 W m−2 .




                                                                                                       |
            Stratospheric aerosol forcing to 2014 uses the data set of Sato et al. (1993) as




                                                                                                       Discussion Paper
         updated at http://www.columbia.edu/~mhs119/StratAer/. Future years have constant
                                                                               −2
         aerosol optical depth 0.0052 yielding effective forcing −0.12 W m , implemented by
    10   using fixed 1997 aerosol data. Tropospheric aerosol growth is assumed to slow
         smoothly, leveling out at −2 W m−2 in 2100. Future solar forcing is assumed to have
                                                    −2                            −2
         an 11 year cycle with amplitude 0.25 W m . Net forcing exceeds 5 W m by the end
         of the 21st century, about three times the current forcing (Fig. 18).




                                                                                                       |
         4.3   Climate simulations with modified forcings




                                                                                                       Discussion Paper
    15   Global temperature has a peak at +1.2 ◦ C in the 2040s for the modified forcings
         (Fig. 19). Ice melt cooling is advanced as global ice melt reaches 1 m of sea level
         in 2060, 1/3 from Greenland and 2/3 from Antarctica. Actual sea level rise could be
         less than 1 m, depending on the portion of melt from ice shelves (which has little effect
         on sea level), but contributions from ocean thermal expansion and mountain glacier
    20   melt would probably make global mean sea level rise at least of the order of 1 m.




                                                                                                       |
            Global temperature rise resumes in the 2060s after total cessation of the freshwater




                                                                                                       Discussion Paper
         injection. However, termination of freshwater injection is imposed only for the sake of
         analyzing climate mechanisms, not with expectation that a sudden halt of ice sheet
         disintegration is realistic.
    25      Global temperature becomes an unreliable diagnostic of planetary condition as the
         ice melt rate increases. Global energy imbalance (Fig. 19b) is a more meaningful mea-
         sure of planetary status as well as an estimate of the climate forcing change required
                                                   20091




                                                                                                       |
                                                                                                       Discussion Paper
         to stabilize climate. Our calculated present energy imbalance of ∼ 0.8 W m−2 (Fig. 19b)
         is larger than the observed 0.58 ± 0.15 W m−2 during 2005–2010 (Hansen et al., 2011).
         The discrepancy is likely accounted for by excessive ocean heat uptake at low latitudes
         in our model, a problem related to the model’s slow surface response time (Fig. 7) that
     5   may be caused by excessive small scale ocean mixing.
            Large scale regional cooling occurs in the North Atlantic and Southern Oceans by
         mid-century (Fig. 20) for 10 year doubling of freshwater injection. A 20 year doubling
                                                                                                       |




         places similar cooling near the end of this century, 40 years earlier than in our prior
                                                                                                       Discussion Paper




         simulations (Fig. 10), as the factor of four increase of current freshwater from Antarctica
    10   is a 40 year advance.
            The critical issue is whether human-spurred ice sheet mass loss can be approxi-
         mated as an exponential process during the next few decades. Such nonlinear behav-
         ior depends upon amplifying feedbacks, which, indeed, our climate simulations reveal
         in the Southern Ocean.
                                                                                                       |




    15   4.4   Southern Ocean feedbacks
                                                                                                       Discussion Paper




         Amplifying feedbacks in the Southern Ocean and atmosphere contribute to dramatic
         climate change in our simulations (Fig. 20). We first summarize the feedbacks to iden-
         tify processes that must be simulated well to draw valid conclusions. While recognizing
         the complexity of the global ocean circulation (Lozier, 2012; Lumpkin and Speer, 2007;
    20   Marshall and Speer, 2012; Munk and Wunsch, 1998; Orsi et al., 1999; Sheen et al.,
         2014; Talley, 2013; Wunsch and Ferrari, 2004), we use a simple two-dimensional rep-
                                                                                                       |




         resentation to discuss the feedbacks.
                                                                                                       Discussion Paper




            Climate change includes slowdown of AABW formation, indeed shutdown by midcen-
         tury if freshwater injection increases with a doubling time as short as 10 years (Fig. 21).
    25   Implications of AABW shutdown are so great that we must ask whether the mech-
         anisms are simulated with sufficient realism in our climate model, which has coarse
         resolution and relevant deficiencies that we have noted. After discussing the feedbacks

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         here, we examine how well the processes are included in our model (Sect. 4.5). Pa-




                                                                                                         Discussion Paper
         leoclimate data (Sect. 5) provides much insight about these processes and modern
         observations (Sect. 7) show that these feedbacks are already underway.
            Large-scale climate processes affecting ice sheets are sketched in Fig. 22. The role
     5   of the ocean circulation in the global energy and carbon cycles is captured to a use-
         ful extent by the two-dimensional (zonal mean) overturning circulation featuring deep
         water (NADW) and bottom water (AABW) formation in the polar regions. Marshall and




                                                                                                         |
         Speer (2012) discuss the circulation based in part on tracer data and analyses by




                                                                                                         Discussion Paper
         Lumpkin and Speer (2007). Talley (2013) extends the discussion with diagrams clarify-
    10   ing the role of the Pacific and Indian Oceans.
            Wunsch (2002) emphasizes that the ocean circulation is driven primarily by atmo-
         spheric winds and secondarily by tidal stirring. The energy drawing deep water toward
         the surface in the Southern Ocean (Fig. 22) is provided by strong circumpolar west-
         erly winds. This complex global thermohaline circulation can be altered by natural and
    15   human-made forcings, including freshwater injection from ice sheets, which stimulate




                                                                                                         |
         powerful feedback processes.




                                                                                                         Discussion Paper
            A key feedback concerns the effect of cold freshwater injection on ocean tempera-
         ture at ice shelf grounding lines. In our “pure freshwater” simulations the freshwater
         added to the Southern Ocean acts as a lid that reduces ventilation of ocean heat to the
    20   atmosphere and space. Warming is largest at depths near ice shelf grounding lines,
         the portion of the ice shelf that provides most of the restraining force that limits the rate
         of ice sheet discharge to the ocean (Fig. 14 of Jenkins and Doake, 1991). Melting at ice
         shelf grounding lines in West Antarctica and Wilkes Basin in East Antarctica has po-




                                                                                                         |
         tential to result in rapid, nonlinear sea level rise because these basins have retrograde




                                                                                                         Discussion Paper
    25   beds (beds sloping inland), a configuration with potential for unstable grounding line
         retreat and substantial ice sheet disintegration (Mercer, 1978), as discussed further
         below. Multiple submarine valleys make much of the Greenland ice sheet vulnerable to
         thermal forcing by a warming ocean (Morlighem et al., 2014), but with a few exceptions


                                                    20093




                                                                                                         |
         (Khan et al., 2014) the valleys are prograde and thus rapid nonlinear growth of ice melt
         is not likely.                                                                                  Discussion Paper
            Another feedback occurs via the effect of surface and atmospheric cooling on pre-
         cipitation and evaporation over the Southern Ocean. In climate simulations that do not
     5   include increasing freshwater injection in the Southern Ocean (IPCC, 2013), it is found
         that snowfall on Antarctica increases substantially in the 21st century, thus providing
         a negative term to sea level change. Frieler et al. (2015) assert that 35 global climate
                                                                                                         |




         models are consistent in showing that a warming climate will yield increasing Antarc-
                                                                                                         Discussion Paper




         tic snow accumulation, but this paleo “affirmation” refers to slowly changing climate
    10   in quasi-equilibrium with ocean boundary conditions. In our experiments with growing
         freshwater injection the increasing sea ice cover and cooling of the Southern Ocean
         surface and atmosphere cause the increased precipitation to occur over the Southern
         Ocean, rather than over Antarctica. This feedback not only reduces any increase of
         snowfall over Antarctica, it also provides a large freshening term to the surface of the
    15   Southern Ocean, thus magnifying the direct freshening effect from increasing ice sheet
                                                                                                         |




         melt.
                                                                                                         Discussion Paper




         4.5   Model’s ability to simulate these feedbacks

         Realistic representation of these feedbacks places requirements on both the atmo-
         sphere and ocean components of our climate model. We discuss first the atmosphere,
    20   then the ocean.
            There are two main requirements on the atmospheric model. First, it must simulate
                                                                                                         |




         well P-E and changes of P-E, because of its importance for ocean circulation and
                                                                                                         Discussion Paper




         the amplifying feedback in the Southern Ocean. Precise verification of P-E is difficult to
         attain, but the ultimate model requirement is that it produce realistic sea surface salinity
    25   (SSS) patterns and ongoing changes.
            Simulated P-E (Fig. S16b) agrees well with meteorological reanalysis (Fig. 3.4b,
         IPCC, 2013). Simulated global sea surface salinity (SSS) patterns (Fig. S16a) agree
         well with global ocean surface salinity patterns (Antonov et al., 2010 and Fig. 3.4a,
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                                                                                                         |
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         IPCC, 2013). SSS trends in our simulation (Fig. S16c), with the Pacific on average




                                                                                                       Discussion Paper
         becoming fresher while most of the Atlantic and the subtropics in the Southern Hemi-
         sphere become saltier, are consistent with observed salinity trends (Durack and Wijf-
         fels, 2010). Recent freshening of the Southern Ocean in our simulation is somewhat
     5   less than in observed data (IPCC, Figs. 3.4c and 3.4d), implying that the amplifying
         feedback may be underestimated in our simulation. A likely reason for that is discussed
         below in conjunction with observed sea ice change.




                                                                                                       |
            The second requirement is that the atmospheric model simulate well winds and their




                                                                                                       Discussion Paper
         changes, because these drive the ocean. Thus the model must simulate well atmo-
    10   spheric pressure patterns and changes in response to climate forcings. A test is pro-
         vided by observed changes of the Southern Annular Mode (SAM), with a decrease of
         surface pressure near Antarctica and a small increase at mid-latitudes (Marshall, 2003)
         that D. Thompson et al. (2011) relate to stratospheric ozone loss and increasing GHGs.
         Our climate forcing (Fig. 18) includes ozone change (Fig. 2, Hansen et al., 2007a) with
    15   stratospheric ozone depletion in 1979–1997 and constant ozone thereafter. Our model




                                                                                                       |
         produces a trend toward the high index polarity of SAM (Fig. S17) similar to observa-




                                                                                                       Discussion Paper
         tions, although perhaps a slightly smaller change than observed (compare Fig. S17
         with Fig. 3 of Marshall, 2003). SAM continues to increase in our model after ozone
         stabilizes (Fig. S17), suggesting that GHGs may provide a larger portion of the SAM
    20   response in our model than in the model study of D. Thompson et al. (2011). It would
         not be surprising if the stratospheric dynamical response to ozone change were weak
         in our model, given the coarse resolution and simplified representation of atmospheric
         drag and dynamical effects in the stratosphere (Hansen et al., 2007a), but that is not a




                                                                                                       |
         major concern for our present purposes.




                                                                                                       Discussion Paper
    25      The ocean model must be able to simulate realistically the ocean’s overturning cir-
         culation and its response to forcings including freshwater additions. Heuze et al. (2013,
         2015) point out that simulated deep convection in the Southern Ocean is unrealistic in
         most models, with AABW formation occurring in the open ocean where it rarely occurs
         in nature. Our present ocean model contains significant improvements (see Sect. 3.1)

                                                   20095




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         compared to the GISS E2-R model that Heuze et al. include in their comparisons. Thus
         we show (Fig. 23) the maximum mixed layer depth in winter (February in the North-             Discussion Paper
         ern Hemisphere and August in the Southern Hemisphere) using the same criterion as
         Heuze et al. to define the mixed layer depth, i.e., the layers with a density difference
                                                              −3
     5   from the ocean surface layer less than 0.03 kg m .
            Southern Ocean mixing in the model reaches a depth of ∼ 500 m in a wide belt near
            ◦
         60 S stretching west from the southern tip of South America, with similar depths south
                                                                                                       |




         of Australia. These open ocean mixed layer depths compare favorably with observa-
                                                                                                       Discussion Paper




         tions shown in Fig. 2a of Heuze et al. (2015), based on data of de Boyer Montegut et
    10   al. (2004). There is no open ocean deep convection in our model.
            Deep convection occurs only along the coast of Antarctica (Fig. 23). Coastal grid
         boxes on the continental shelf are a realistic location for AABW formation. Orsi et
         al. (1999) suggest that most AABW is formed on shelves around the Weddell-Enderby
         Basin (60 %) and shelves of the Adelie-Wilkes Coast and Ross Sea (40 %). Our model
    15   produces mixing down to the shelf in those locations (Fig. 23b), but also on the Amery
                                                                                                       |




         Ice Shelf near the location where Ohshima et al. (2013) identified AABW production,
                                                                                                       Discussion Paper




         which they term Cape Darnley Bottom Water.
            However, with our coarse 4◦ × 5◦ stair step to the ocean bottom the AABW cannot
         readily slide down the slope to the ocean floor. As a result, the denser water from the
    20   shelf mixes into the open ocean grid boxes, making our modeled Southern Ocean less
         stratified than the real world (cf. temporal drift of Southern Ocean salinity in Fig. S18),
         because the denser water must move several degrees of latitude horizontally before it
         can move deeper. Nevertheless, our Southern Ocean is sufficiently stratified to avoid
                                                                                                       |




         the unrealistic open ocean convection that infects many models (Heuze et al., 2013).
                                                                                                       Discussion Paper




    25      Orsi et al. (1999) estimate the AABW formation rate in several ways, obtaining values
         in the range 8–12 Sv, larger than our modeled 5–6 Sv (Fig. 21). However, as in most
         models (Heuze et al., 2015) our SMOC diagnostic (Fig. 21) is the mean (Eulerian)
         circulation, i.e., excluding eddy-induced transport. Rerun of a 20 year segment of our
         control run to save eddy-induced changes reveals an increase of SMOC at 72◦ S by 1–

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         2 Sv, with negligible change at middle and low latitudes, making our simulated transport




                                                                                                                Discussion Paper
         close to the range estimated by Orsi et al. (1999).
            We conclude that the climate model can potentially simulate Southern Ocean feed-
         backs that magnify the effect of freshwater injection onto the Southern Ocean: the P-E
     5   feedback that wrenches global-warming-enhanced water vapor from the air before it
         reaches the Antarctic continent and the AABW slowdown that traps deep ocean heat,
         leaving that heat at levels where it accelerates ice shelf melting. Indeed, we will argue




                                                                                                                |
         that both of these feedbacks are probably underestimated in our current model.




                                                                                                                Discussion Paper
            The model seems less capable in Northern Hemisphere polar regions. Deep con-
    10   vection today is believed to occur mainly in the Greenland-Iceland-Norwegian (GIN)
         Sea and at the southern end of Baffin Bay (Fig. 2b, Heuze et al., 2015). In our model,
         perhaps because of excessive sea ice in those regions, open ocean deep convection
         occurs to the southeast of the southern tip of Greenland and at less deep grid boxes
         between that location and the United Kingdom (Fig. 23). Mixing reaching the ocean
    15   floor on the Siberian Coast in our model (Fig. 23) may be realistic, as coastal polynya




                                                                                                                |
         are observed on the Siberian continental shelf (D. Bauch et al., 2012). However, the




                                                                                                                Discussion Paper
         winter mixed layer on the Alaska south coast is unrealistically deep (Fig. 23). These
         model limitations must be kept in mind in interpreting simulated Northern Hemisphere
         climate change.


    20   5     Implications of paleoclimate data




                                                                                                                |
         Paleoclimate data are essential for understanding the major climate feedbacks. Pro-




                                                                                                                Discussion Paper
         cesses of special importance are: (1) the role of the Southern Ocean in ventilating the
         deep ocean, affecting CO2 control of global temperature, and (2) the role of subsurface
         ocean warming in ice shelf melt, affecting ice sheet disintegration and sea level rise.




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         5.1    Paleoclimate context
                                                                                                                Discussion Paper
         Major glacial-interglacial climate oscillations are spurred by periodic variation of sea-
         sonal and geographical insolation (Hays et al., 1976). Insolation anomalies are caused
         by slow changes of the eccentricity of Earth’s orbit, tilt of Earth’s spin axis, and preces-
     5   sion of the equinoxes, thus the day of year at which Earth is closest to the Sun, with
         dominant periodicities near 100 000, 40 000 and 20 000 years (Berger, 1978). These
                                                                                                                |




         periods emerge in long climate records, yet a large fraction of climate variability at
         any site is stochastic (Wunsch, 2004; Lisiecki and Raymo, 2005). Such behavior is
                                                                                                                Discussion Paper




         expected for a weakly-forced system characterized by amplifying feedbacks, complex
    10   dynamics, and multiple sources of inertia with a range of time scales.
            Large glacial-interglacial climate change and stochastic variability are a result of
         two strong amplifying feedbacks, surface albedo and atmospheric CO2 . Orbit-induced
         insolation anomalies, per se, cause a climate forcing, i.e., an Earth energy imbalance,
         only of order 0.1 W m−2 , but the persistent regional insolation anomalies spur changes
                                                                                                                |




    15   of ice sheet size and GHGs. The albedo and GHG changes arise as slow climate
                                                                                                                Discussion Paper




         feedbacks, but they are the forcings that maintain a quasi-equilibrium climate state
         nearly in global radiative balance. Glacial-interglacial albedo and greenhouse forcings
                            −2              1
         are each ∼ 3 W m (Fig. 24e, f) . These forcings fully account for glacial-interglacial
         global temperature change with a climate sensitivity 0.5–1 ◦ C per W m−2 (Hansen et al.,
    20   2008; Masson-Delmotte et al., 2010; Palaeosens, 2012).
            The insolation anomaly peaking at 129.5 ky b2k (Fig. 24a) succeeded in removing
         ice sheets from North America and Eurasia and in driving atmospheric CO2 up to
                                                                                                                |




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                                                                                                                Discussion Paper




               Other parts of Fig. 24 are discussed later, but they are most informative if aligned together.
         In interpreting Fig. 24, note that long-lived greenhouse gas amounts in ice cores have global
         relevance, but ice core temperatures are local to Greenland and Antarctica. Also, because our
         analysis does not depend on absolute temperature, we do not need to convert the temperature
         proxy, δ 18 O, into an estimated absolute temperature. We include CH4 and N2 O in the total GHG
         climate forcing, but we do not discuss the reasons for CH4 and N2 O variability (see Schilt et al.,
         2010), because CO2 provides ∼ 80 % of the GHG forcing.
                                                       20098
                                                                                                                |
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         ∼ 285 ppm, as discussed below. However, smaller climate oscillations within the last




                                                                                                        Discussion Paper
         glacial cycle are also instructive about ice feedbacks. Some of these oscillations are
         related to weak insolation anomalies and all are affected by predominately amplifying
         climate feedbacks.
     5      Insolation anomalies peaking at 107 and 86 ky b2k (Fig. 24a) led to ∼ 40 m sea level
                                                −1
         rises at rates exceeding 1 m century (Stirling et al., 1998; Cutler et al., 2003) in early
         MIS 5c and 5a (Fig. 24f), but CO2 did not rise above 250 ppm and interglacial status




                                                                                                        |
         was not achieved. CO2 then continued on a 100 ky decline until ∼ 18 ky b2k. Sea level




                                                                                                        Discussion Paper
         continued its long decline, in concert with CO2 , reaching a minimum at least 120 m
    10   below today’s sea level (Peltier and Fairbanks, 2006; Lambeck et al., 2014).
            Progress achieved by the paleoclimate and oceanographic research communities
         allows interpretation of the role of the Southern Ocean in the tight relationship between
         CO2 and temperature, as well as discussion of the role of subsurface ocean warming
         in sea level rise. Both topics are needed to interpret end-Eemian climate change and
    15   ongoing climate change.




                                                                                                        |
                                                                                                        Discussion Paper
         5.2   Southern Ocean and atmospheric CO2

         Reduced atmospheric CO2 in glacial times, at least in substantial part, results from in-
         creased stratification of the Southern Ocean that reduces ventilation of the deep ocean
         (Toggweiler, 1999; Anderson et al., 2009; Skinner et al., 2010; Tschumi et al., 2011;
    20   Burke and Robinson, 2012; Schmitt et al., 2012; Marcott et al., 2014). Today the aver-
         age “age” of deep water, i.e., the time since it left the ocean surface, is ∼ 1000 years




                                                                                                        |
         (DeVries and Primeau, 2011), but it was more than twice that old during the last glacial




                                                                                                        Discussion Paper
         maximum (Skinner et al., 2010). The Southern Ocean dominates exchange between
         the deep ocean and atmosphere because ∼ 80 % of deep water resurfaces in the
    25   Southern Ocean (Lumpkin and Speer, 2007), as westerly circumpolar winds and sur-
         face flow draw up deep water (Talley, 2013).
           Mechanisms causing more rapid deep ocean ventilation during interglacials include
         warmer Antarctic climate that increases heat flux into the ocean and buoyancy mixing
                                                  20099




                                                                                                        |
         that supports upwelling (Watson and Garabato, 2006), poleward shift of the westerlies
         (Toggweiler et al., 2006), and reduced sea ice (Keeling and Stephens, 2001). Fischer et        Discussion Paper
         al. (2010) question whether the latitudinal shift of westerlies is an important contributor;
         however, the basic point is the empirical fact that a warmer interglacial Southern Ocean
     5   produces faster ventilation of the deep ocean via a combination of mechanisms.
            Poor ocean ventilation in glacial periods allows carbon to be sequestered via the
         “biological pump”, the rain of organic matter from the surface ocean that affects burial
                                                                                                        |




         of calcium carbonate in sediments (Sigman and Boyle, 2000). Dust-borne iron fertiliza-
                                                                                                        Discussion Paper




         tion of the biological pump (Martin and Fitzwater, 1988) contributes to millennial and
    10   full glacial CO2 drawdown (Martinez-Garcia et al., 2014). In concert, global cooling
         drives the simple “solubility pump”, as the temperature dependence of CO2 solubil-
         ity increases dissolved inorganic carbon (Raven and Falkowski, 1999). The increased
         acidity of deep water makes it more corrosive to carbonate sediments, thus increasing
         ocean alkalinity and further lowering atmospheric CO2 (Boyle, 1988).
    15      Much remains to be learned about glacial-interglacial carbon cycle mechanisms.
                                                                                                        |




         Carbon isotopes indicate that increased deep ocean ventilation during deglaciation
                                                                                                        Discussion Paper




         from the last ice age caused a 30–35 ppm CO2 increase within 2000 years (Schmitt et
         al., 2012; Tschumi et al., 2011). However, AMOC changes are associated with at least
         two rapid CO2 increases of about 10 ppm, as revealed by a high resolution West Antarc-
    20   tic ice core (Marcott et al., 2014). Another indication of possible Atlantic involvement
         in the carbon cycle is the change of the North Atlantic’s Western Boundary Undercur-
         rent during the transition to full glacial conditions at ∼ 70 ky b2k when CO2 dropped
         below 200 ppm (Fig. 24); the flow became stronger in the upper 2 km while the deeper
                                                                                                        |




         circulation weakened (Thornalley et al., 2013). No doubt the terrestrial biosphere also
                                                                                                        Discussion Paper




    25   contributes to atmospheric CO2 change (Archer et al., 2000; Sigman and Boyle, 2000;
         Kohler et al., 2005; Menviel et al., 2012; Fischer et al., 2015). Nevertheless, it is rea-
         sonably clear that sequestration of CO2 in the glacial ocean is the largest cause of
         glacial-interglacial CO2 change, and ocean ventilation occurs mainly via the Southern
         Ocean.

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            Southern Ocean ventilation, as the dominant cause of atmospheric CO2 change,




                                                                                                            Discussion Paper
         helps explain temperature-CO2 leads and lags. Temperature and CO2 rises are almost
         congruent at ice age terminations (Masson-Delmotte, 2010; Pedro et al., 2012; Par-
         renin et al., 2013). Southern Ocean temperature is expected to lead, spurring deep
     5   ocean ventilation and atmospheric CO2 increase, with global temperature following.
         Termination I is dated best and Shakun et al. (2012) have reconstructed global temper-
         ature then, finding evidence for this expected order of events.




                                                                                                            |
            Correlation of δ 18 O and CO2 over the past 140 ky (Fig. 24c) is 84.4 % with CO2 lag-




                                                                                                            Discussion Paper
         ging by 760 years. For the period 100–20 ky b2k, which excludes the two terminations,
    10   the correlation is 77.5 % with CO2 lagging by 1040 years. Briefer lag for the longer pe-
         riod and longer lag during glacial inception are consistent with the rapid deep ocean
         ventilation that occurs at terminations.

         5.3   CO2 as climate control knob




                                                                                                            |
         CO2 is the principal determinant of Earth’s climate state, the “control knob” that sets




                                                                                                            Discussion Paper
    15   global mean temperature (Lacis et al., 2010, 2013). The degree of control is shown
         by comparison of CO2 amount with Antarctic temperature for the past 800 000 years
         (Fig. 25a). Control should be even tighter for global temperature than for Antarctic
         temperature, because of regional anomalies such as Antarctic temperature overshoot
         at terminations (Masson-Delmotte, 2006, 2010), but global data are not available.2
             2
               The tight fit of CO2 and Antarctic temperature (Fig. 25a) implies an equilibrium Antarctic
                        ◦                      −2                                             −2
         sensitivity 20 C for 2× CO2 (4 W m ) forcing (200 → 300 ppm forcing is ∼ 2.3 W m , Table 1




                                                                                                            |
                                            ◦
         of Hansen et al., 2000), thus 10 C global climate sensitivity (Antarctic temperature change is




                                                                                                            Discussion Paper
         ∼ twice global change) with CO2 taken as the ultimate control knob, i.e., if snow/ice area and
         other GHGs are taken to be slaves to CO2 -driven climate change. This implies a conventional
         climate sensitivity of 4 ◦ C for 2× CO2 , as GHG and albedo forcings are similar for glacial-to-
         interglacial climate change and non-CO2 GHGs account for ∼ 20 % of the GHG forcing. The
                                                  ◦
         inferred sensitivity is reduced to 2.5–3 C for 2× CO2 if, as some studies suggest, global mean


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            The CO2 dial must be turned to ∼ 260 ppm to achieve a Holocene-level interglacial.
         CO2 ∼ 250 ppm was sufficient for quasi-interglacials in the period 800–450 ky b2k, with            Discussion Paper
         sea level 10–25 m lower than in the Holocene (Fig. S18 of Hansen et al., 2008). In-
         terglacials with CO2 ∼ 280 ppm, i.e., the Eemian and Holsteinian (∼ 400 ky b2k), were
     5   warmer than the Holocene and had sea level at least several meters higher than today.
            CO2 and albedo change are closely congruent over the last 800 000 years (Fig. S18
         of Hansen et al., 2008). GHG and albedo forcings, which are both amplifying feedbacks
                                                                                                            |




         that boost each other, are each of amplitude ∼ 3 W m−2 . So why do we say that CO2 is
                                                                                                            Discussion Paper




         the control knob?
    10      First, CO2 , in addition to being a slow climate feedback, changes independently of
         climate. Natural CO2 change includes increase to ∼ 1000 ppm about 50 million years
         ago (Zachos et al., 2001) as a result of plate tectonics, specifically volcanic emissions
         associated with movement of the Indian plate across the Tethys Ocean and collision
         with Asia (Kent and Muttoni, 2008). Humankind, mainly by burning fossil fuels, also
    15   moves the CO2 control knob.
                                                                                                            |




            Second, CO2 is more recalcitrant than snow and ice, i.e., its response time is longer.
                                                                                                            Discussion Paper




         CO2 inserted into the climate system, by humans or plate tectonics, remains in the cli-
         mate system of order 100 000 years before full removal by weathering (Archer, 2005).
         Even CO2 exchange between the atmosphere (where it affects climate) and ocean has
    20   a lag of the order a millennium (Fig. 24). In contrast, correlations of paleo tempera-
         tures and sea level show that lag of sea level change behind temperature is of order a
         century, not a millennium (Grant et al., 2012).
            We suggest that limitations on the speed of ice volume (thus sea level) changes in
                                                                                                            |




         the paleo record are more a consequence of the pace of orbital changes and CO2
                                                                                                            Discussion Paper




    25   changes, as opposed to being a result of lethargic ice physics. “Fast” changes of CO2
         have been identified, e.g., an increase of ∼ 10 ppm in about a century at ∼ 39.6 ky b2k
         (Ahn et al., 2012) and three increases of 10–15 ppm each within 1–2 centuries during
         glacial-interglacial temperature change is only about one-third of the Antarctic temperature
         change (Palaeosens, 2012; Hansen et al., 2013b).

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         the deglaciation following the last ice age (Marcott et al., 2014), but the magnitude




                                                                                                         Discussion Paper
         of these CO2 increases is not sufficient to provide a good empirical test of ice sheet
         sensitivity to the CO2 forcing.
            Supremacy of SMOC, the Southern Ocean meridional overturning circulation, in af-
     5   fecting the CO2 control knob and thus glacial-interglacial change is contrary to the idea
         that AMOC is a prime driver that flips global climate between quasi-stable glacial and
         interglacial states, yet AMOC retains a significant role. AMOC can affect CO2 via the




                                                                                                         |
         volume and residence time of NADW, but its largest effect is probably via its impact




                                                                                                         Discussion Paper
         on the Southern Ocean. When AMOC is not shut down it cools the Southern Hemi-
    10   sphere, transferring heat from the Southern to the Northern Hemisphere at a rate ∼ 1
                                      −2
         petawatt, which is ∼ 4 W m averaged over a hemisphere (Crowley, 1992). However,
         the Southern Ocean slowly warms when AMOC shuts (or slows) down; the response
         time is of the order of 1000 years because of the Southern Ocean’s large thermal in-
         ertia (Stocker and Johnson, 2003). These mechanisms largely account for the nature
    15   of the “bipolar seesaw” (Broecker, 1998; Stocker, 1998; Stenni et al., 2011; Landais et




                                                                                                         |
         al., 2015), including the lag between AMOC slowdown and Antarctic warming.




                                                                                                         Discussion Paper
         5.4   Dansgaard–Oeschger events and subsurface ocean warming

         The magnitude and rapidity of Greenland climate change during Dansgaard–Oeschger
         events would deter prediction of human-made climate effects, if D–O events remained
    20   a mystery. Instead, however, enough is now understood about D–O events that they
         provide insight related to the vulnerability of ice shelves and ice sheets, including the




                                                                                                         |
         role of subsurface ocean warming.




                                                                                                         Discussion Paper
            Broecker (2000) inferred from the rapidity of D–O warmings that a reduction of sea
         ice cover was probably involved. Li et al. (2005, 2010) modeling showed that removal of
    25   Nordic Seas ice cover is needed to yield the magnitude of observed Greenland warm-
         ing. The spatial gradient of D–O warming, with smaller warming in northwest Green-
         land, agrees with that picture (Guillevic et al., 2013; Buizert et al., 2014). Such sea
         ice change is consistent with changes in deuterium excess in Greenland ice cores at
                                                    20103




                                                                                                         |
         D–O transitions, which indicate shifts of Greenland moisture source regions (Masson-
         Delmotte et al., 2005; Jouzel et al., 2007).                                                    Discussion Paper
            Fluckiger et al. (2006), Alvarez-Solas et al. (2010, 2011, 2013) and Marcott et
         al. (2011) noted modern and paleo data that point to ocean-ice shelf interaction as
     5   key to the ice discharge of accompanying Heinrich events, and they used a range of
         models to support this interpretation and overturn earlier suggestions of a central role
         for ice sheets via binge-purge oscillations (MacAyeal, 1993) or outburst flooding from
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         subglacial reservoirs (Alley et al., 2006). Shaffer et al. (2004) and Petersen et al. (2013)
                                                                                                         Discussion Paper




         conclude that subsurface ocean warming in the North Atlantic takes place during the
    10   stadial (cold) phase of all D–O events, and eventually this subsurface warming leads
         to ice shelf collapse or retreat, ice rafting, sea level rise, and sea ice changes. Ras-
         mussen et al. (2003) examined ocean cores from the southeast Labrador Sea and
         found that for all 11 Heinrich events “. . . the icy surface water was overlying a relatively
         warm, poorly ventilated and nutrient rich intermediate water mass to a water depth of
    15   at least 1251 m.” Collapse of a Greenland ice shelf fronting the Jakoshavn ice stream
                                                                                                         |




         during the Younger Dryas cold event has been documented (Rinterknecht et al., 2014),
                                                                                                         Discussion Paper




         apparently due to subsurface warming beneath the ice shelf leading to rapid discharge
         of icebergs.
            Some D–O details are uncertain, e.g., the relation between changing sea ice cover
    20   and changing location of deep water formation (Rahmstorf, 1994) and whether an ice
         shelf between Greenland and Iceland contributed to the sea ice variability (Petersen
         et al., 2013). However, ocean-ice interactions emerge as key mechanisms, spurred by
         subsurface ocean warming, as ocean stratification slows but does not stop northward
                                                                                                         |




         heat transport by AMOC.
                                                                                                         Discussion Paper




    25      We consider a specific D–O event for the sake of discussing mechanisms. D–O 22
         cold phase, labeled C22 in ocean cores and coinciding with Heinrich H8 (Fig. 24),
         occurred as Northern Hemisphere insolation was rising (Fig. 24a). The North Atlantic
         surface was cooled by rapid ice discharge; sea level rose more than 40 m, a rate ex-
         ceeding 1.6 m per century (Cutler et al., 2003). Ice discharge kept the North Atlantic

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         highly stratified, slowing AMOC. Antarctic warming from a slowed AMOC increases




                                                                                                        Discussion Paper
         almost linearly with the length of the D–O cold phase (Fig. 3, EPICA Community Mem-
         bers, 2006; Fig. 6, Capron et al., 2010) because of the Southern Ocean’s large heat
         capacity (Stocker and Johnson, 2003). Antarctic warming, aided by the 2500 year D–O
     5   22 event, spurred SMOC enough to raise atmospheric CO2 40 ppm (Fig. 24c).
            As the Antarctic warmed, ocean heat transport to the North Atlantic would have in-
         creased, with most heat carried at depths below the surface layer. When the North At-




                                                                                                        |
         lantic became warm enough at depth, stratification of cold fresh surface water eventu-




                                                                                                        Discussion Paper
         ally could not be maintained. The warming breakthrough may have included change of
    10   NADW formation location (Rahmstorf, 1994) or just large movement of the polar front.
         Surface warming east of Greenland removed most sea ice and Greenland warmed
               ◦
         ∼ 10 C (Capron et al., 2010). As the warm phase of D–O 21 began, AMOC was pump-
         ing heat from the Antarctic into the Nordic seas and Earth must have been slightly out
         of energy balance, cooling to space, so both Antarctica and Greenland slowly cooled.
    15   Once the North Atlantic had cooled enough, sea formed east of Greenland again, ice




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         sheets and ice shelves grew, sea level fell, and the polar front moved southward.




                                                                                                        Discussion Paper
            Sea level rise associated with D–O events covers a wide range. Sea level increases
         as large as ∼ 40 m were associated with large insolation forcings at 107 and 86 ky
         b2k (Fig. 24). However, rapid sea level change occurred even when forcing was weak.
    20   Roche et al. (2004) conclude from analyses of δ 18 O that H4, at a time of little insolation
         forcing (∼ 40 ky b2k, Fig. 24), produced 1.9 ± 1.1 m sea level rise over 250 ± 150 years.
         Sea level rise as great as 10–15 m occurred in conjunction with some other D–O events
         during 65–30 ky b2k (Lambeck and Chappell, 2001; Yokoyama et al., 2001; Chappell,




                                                                                                        |
         2002).




                                                                                                        Discussion Paper
    25      Questions about possible D–O periodicity and external forcing were raised by a
         seeming 1470 year periodicity (Schulz, 2002). However, improved dating indicates that
         such periodicity is an artifact of ice core chronologies and not statistically significant
         (Ditlevsen et al., 2007) and inspection of Fig. 24b reveals a broad range of time scales.
         Instead, the data imply a climate system that responds sensitively to even weak forc-

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         ings and stochastic variability, both of which can spur amplifying feedbacks with a range
         of characteristic response times.                                                              Discussion Paper
            Two conclusions are especially germane. First, subsurface ocean warming is an ef-
         fective mechanism for destabilizing ice shelves and thus the ice sheets buttressed by
     5   the ice shelves. Second, large rapid sea level rise can occur as a result of melting ice
         shelves.
            However, ice shelves probably were more extensive during glacial times. So are
                                                                                                        |




         today’s ice sheets much more stable? The need to understand ice sheet vulnerability
                                                                                                        Discussion Paper




         focuses attention on end-Eemian events, when ice sheets were comparable in size to
    10   today’s ice sheets.

         5.5   End-Eemian climate and sea level change

         Termination II, ushering in the Eemian, was spurred by a late spring 60◦ N insolation
                                        −2
         anomaly peaking at +45 W m at 129.5 ky b2k (Fig. 24a), the largest anomaly in at
                                                                                                        |




         least the past 425 ky (Fig. 3, Hansen et al., 2007b). CO2 and albedo forcings were
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                                                                                                        Discussion Paper




    15   mutually reinforcing. CO2 began to rise before Antarctic δ O, as deglaciation and
         warming began in the Northern Hemisphere. Most of the total CO2 rise was presumably
         from deep ocean ventilation in the Southern Ocean, aided by meltwater that slowed the
         AMOC and thus helped to warm the Southern Ocean.
            The northern insolation anomaly fell rapidly, becoming negative at 123.8 ky b2k
    20   (Fig. 24a). Northern Hemisphere ice sheets must have increased intermittently while
         Southern Hemisphere ice was still declining, consistent with minor, growing ice rafting
                                                                                                        |




         events C27, C27a, C27b and C26 and a sea level minimum during 125–121 ky b2k
                                                                                                        Discussion Paper




         (Sec 2.1). High Eemian climate variability in the Antarctic (Pol et al., 2014) was likely a
         result of the see-saw relation with North Atlantic events.
    25      CO2 (Fig. 24c) remained at ∼ 270 ppm for almost 15 ky as the positive insolation
         anomaly on the Southern Ocean (Fig. 24a) kept the deep ocean ventilated. Sea level
         in the Red Sea analysis (Grant et al., 2012) shown in Fig. 24f seems to be in decline
         through the Eemian, but that must be a combination of dating and sea level error, as
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         numerous sea level analyses cited in Sect. 2.1 and others (e.g., Chen at al., 1991;




                                                                                                      Discussion Paper
         Stirling et al., 1998; Cutler et al., 2003), indicate high sea level throughout the Eemian
         and allow a possible late-Eemian maximum. Chen et al. (1991), using a U-series dating
         with 2σ uncertainty ± 1.5 ky, found that the Eemian sea level high stand began between
     5   132 and 129 ky b2k, lasted for 12 ky, and was followed by rapid sea level fall.
            We assume that C26, the sharp cooling at 116.72 ky b2k in the NGRIP ice on the
         AICC2012 time scale, marks the end of fully interglacial Eemian conditions, described




                                                                                                      |
         as 5e sensu stricto by Bauch and Erlenkeuser (2008). δ 18 O in Antarctica was ap-




                                                                                                      Discussion Paper
         proaching a relative minimum (−46.7 per mil at EDML, see Fig. S19 for detail) and
                                                                             18
    10   CO2 was slowly declining at 263 ppm. In the next 300 years δ O increased to −45.2
         and CO2 increased by 13 ppm with lag ∼ 1500 years, which we interpret as see-saw
         warming of the Southern Ocean in response to the C26-induced AMOC slowdown and
         resulting increased SMOC ventilation of CO2 .
            Freshwater causing the C26 AMOC shutdown could not have been Greenland sur-
    15   face melt. Greenland was already 2000 years into a long cooling trend and the northern




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         insolation anomaly was in the deepest minimum of the last 150 ky (Fig. 24a). Instead




                                                                                                      Discussion Paper
         C26 was one event in a series, preceded by C27b and followed by C25, each a re-
         sult of subsurface North Atlantic warming that melted ice shelves, causing ice sheets
         to discharge ice. Chapman and Shackleton (1999) did not find IRD from C26 in the
    20   mid-Atlantic, but Carlson et al. (2008) found a sharp increase in sediments near the
         southern tip of Greenland that they identified with C26.
            We suggest that the Southern Hemisphere was the source for brief late-Eemian
         sea level rise. The positive warm-season insolation anomaly on the Southern Ocean




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         and AMOC slowdown due to C26 added to Southern Ocean heat, causing ice shelf




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    25   melt, ice sheet discharge, and sea level rise. Rapid Antarctica ice loss would cool the
         Southern Ocean and increase sea ice cover, which may have left telltale evidence in
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         ice cores. Indeed, Masson-Delmotte et al. (2011) suggest that abrupt changes of δ O
         in the EDML and TALDICE ice cores (those most proximal to the coast) indicate a
         change in moisture origin, likely due to increased sea ice. Further analysis of Antarctic

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         data for the late Eemian might help pinpoint the melting and help assess vulnerability
         of Antarctic ice sheets to ocean warming, but this likely will require higher resolution     Discussion Paper
         models with more realistic sea ice distribution and seasonal change than our present
         model produces.
     5      Terrestrial records in Northern Europe reveal rapid end-Eemian cooling. Sirocko et
                                       ◦                       ◦
         al. (2005) find cooling of 3 C in summer and 5–10 C in winter in southern Germany,
         annual layering in a dry Eifel maar lake revealing a 468 year period of aridity, dust
                                                                                                      |




         storms, bushfires, and a decline of thermophilous trees. Similar cooling is found at
                                                                                                      Discussion Paper




         other German sites and La Grande Pile in France (Kuhl and Litt, 2003). Authors in
    10   both cases interpret the changes as due to a southward shift of the polar front in the
         North Atlantic corresponding to C26. Cooling of this magnitude in northern Europe
         and increased aridity are found by Brayshaw et al. (2009) and Jackson et al. (2015) in
         simulations with high resolution climate models forced by AMOC shutdown.
            While reiterating dating uncertainties, we note that the cool period with reduced
    15   NADW formation identified in recent high resolution ocean core studies for Eirik Drift
                                                                                                      |




         site MD03-2664 (Fig. 3) near Greenland (Irvali et al., 2012; Galaasen et al., 2014) at
                                                                                                      Discussion Paper




         ∼ 117 ky b2k has length similar to the 468 year cold stormy period found in a German
         lake core (Sirocko et al., 2005). The Eirik core data show a brief return to near-Eemian
         conditions and then a slow decline, similar to the oscillation in the NGRIP ice core at
    20   116.72 ky b2k on the AICC2012 time scale.
            The principal site of NADW formation may have moved from the GIN Seas to just
         south of Greenland at end of the Eemian. Southward shift of NADW formation and the
         polar front is consistent with the sudden, large end-Eemian cooling in the North Atlantic
                                                                                                      |




         and northern Europe, while cooling in Southern European was delayed by a few mil-
                                                                                                      Discussion Paper




    25   lennia (Brauer et al., 2007). Thus end-Eemian mid-latitude climate was characterized
         by an increased zonal temperature gradient, an important ingredient for strengthening
         storms.



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         6   Impact of ice melt on storms




                                                                                                       Discussion Paper
         We can draw some conclusions about the effect of ice melt on winds and severe
         weather, despite limitations of our current climate model. Principal model limitations
         are its coarse resolution and unrealistic location of Northern Hemisphere deep water
     5   formation, this latter problem being likely related to the model’s excessive Northern
         Hemisphere sea ice cover.




                                                                                                       |
            Despite these caveats, we have shown that the model realistically simulates zonal
         changes of sea level pressure in response to climate forcings. Specifically, the model




                                                                                                       Discussion Paper
         yields a realistic trend to the positive phase of the Southern Annular Mode (SAM) in
    10   response to decrease of stratospheric ozone and increase of other GHGs (Fig. S17).
            The modeled response of atmospheric pressure to the cooling effect of ice melt
         is large scale, tending to be of a zonal nature that should be handled by our model
         resolution. Freshwater injection onto the North Atlantic and Southern Oceans causes
         increase of sea level pressure at middle latitudes and decrease at polar latitudes




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    15   (Figs. 13, S11). These pressure changes have implications for the strength of pre-




                                                                                                       Discussion Paper
         vailing winds and for severe weather.
            The robust increase of high pressure in the North Atlantic strengthens prevailing
         northeasterly winds blowing onto the Bahamas (Fig. 13). The Eemian-age chevron
         beach structures with consistent southwesterly direction throughout windward shores
    20   in the Bahamas (Sect. 2.2), with wave runup deposits at elevations as much as 20–
         40 m above today’s sea level and reaching as far as a few kilometers inland, must
         have been formed by massive storms in the direction of the prevailing winds. Consis-




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         tent increase of wind speed in the appropriate direction would contribute to creation of




                                                                                                       Discussion Paper
         long wavelength, deep ocean waves that can scour the ocean floor as they reach the
    25   shallow near-shore region. The most extreme events probably required the combined
         effect of these increased prevailing winds and tropical storms, the latter nurtured by
         the unusually warm tropical sea surface temperatures in the late Eemian and guided
         by the strong prevailing winds. On theoretical grounds, it is known that the higher low

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         latitude sea surface temperatures of the late Eemian (Cortijo et al., 1999) would fa-
         vor more powerful tropical storms (Emanuel, 1987). The zonal temperature gradient,            Discussion Paper
         warmer tropics and cooler high latitudes, was enhanced by low obliquity of Earth’s spin
         axis in the late Eemian. Empirical evidence for intense Eemian storms includes stand-
     5   ing forests of 8–10 m trees that were rapidly buried in shelf sand and preserved on
         Bermuda at elevations several meters above sea level (Hearty and Olson, 2011), as
         well as other evidence discussed in Sect. 2.2. The late Eemian is typically associated
                                                                                                       |




         with a massive flux of oolitic shelf sediments mobilized in the offshore shelf environ-
                                                                                                       Discussion Paper




         ment and further transported by intense winds into enormous land-based dunes that
    10   dominate a majority of modern landscapes of the Bahamas archipelago (Hearty and
         Neumann, 2001).
            Shutdown or substantial slowdown of the AMOC, besides possibly contributing to
         extreme end-Eemian events, will cause a more general increase of severe weather.
         This is shown by the change of zonal mean temperature and eddy kinetic energy in
    15   our simulations with and without ice melt (Fig. 26). Without ice melt, surface warm-
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         ing is largest in the Arctic (Fig. 26, left), resulting in a decrease of lower tropospheric
                                                                                                       Discussion Paper




         eddy energy. However, the surface cooling from ice melt increases surface and lower
         tropospheric temperature gradients, and in stark contrast to the case without ice melt,
         there is a large increase of mid-latitude eddy energy throughout the midlatitude tropo-
    20   sphere. The increase of zonal-mean midlatitude baroclinicity that we find (Fig. 26) is
         in agreement with the localized, N. Atlantic-centered increases in baroclinicity found in
         the higher resolution simulations of Jackson et al. (2015) and Brayshaw et al. (2009).
            Increased baroclinicity produced by a stronger temperature gradient provides energy
                                                                                                       |




         for more severe weather events. Many of the most memorable and devastating storms
                                                                                                       Discussion Paper




    25   in eastern North America and western Europe, popularly known as superstorms, have
         been winter cyclonic storms, though sometimes occurring in late fall or early spring,
         that generate near-hurricane force winds and often large amounts of snowfall (Chapter
         11, Hansen, 2009). Continued warming of low latitude oceans in coming decades will
         provide more water vapor to strengthen such storms. If this tropical warming is com-

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         bined with a cooler North Atlantic Ocean from AMOC slowdown and an increase in




                                                                                                       Discussion Paper
         midlatitude eddy energy (Fig. 26), we can anticipate more severe baroclinic storms.
         Increased high pressure due to cooler high latitude ocean (Fig. 13) can make block-
         ing situations more extreme, with a steeper pressure gradient between the storm’s low
     5   pressure center and the blocking high, thus driving stronger North Atlantic storms.
           Large freshwater injection on the North Atlantic Ocean has a different impact on
         winds than freshwater injection on the Southern Ocean (Fig. 13). In the Southern




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         Ocean the increased meridional temperature gradient increases the strength of the




                                                                                                       Discussion Paper
         westerlies in all seasons at all longitudes. In the North Atlantic Ocean the increase of
    10   sea level pressure in the winter slows the westerlies (Fig. 13). Thus instead of a strong
         zonal wind that keeps cold polar air locked in the Arctic, there is a tendency for more
         cold air outbreaks to middle latitudes.


         7     Modern data




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         7.1    Southern Ocean




                                                                                                       Discussion Paper
    15   The Southern Ocean, as the gateway to the global deep ocean, has exerted a powerful
         control over glacial/interglacial climate. However, the Southern Ocean’s control over the
         Antarctic ice sheet, and thus global sea level, will be of greater concern to humanity.
            Our model, due to moderately excessive mixing, may be less sensitive to freshwater
         forcing than the real world. Yet the model (Fig. 27a) indicates that a slowing of Antarctic
         Bottom Water Formation should already be underway, a conclusion consistent with




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    20

         transient tracer observations in the Weddell Sea by Huhn et al. (2013), which reveal




                                                                                                       Discussion Paper
         a 15–21 % reduction in the ventilation of Weddell Sea Bottom Water and Weddell Sea
         Deep Water over the period 1984–2008.
            The Southern Ocean has significant control on release of ocean heat to space. In
    25   an extreme case, polynyas form in the dead of Antarctic winter, as upwelling warm
         water melts the sea ice and raises the air temperature by tens of degrees, increasing
                                                   20111




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         thermal radiation to space, thus serving as a valve that releases ocean heat. Today,
         as surface meltwater stabilizes the vertical water column, that valve is being partially      Discussion Paper
         closed. de Lavergne et al. (2014) relate the absence of large open ocean polynyas in
         recent decades to surface freshening.
     5      Release of heat to the atmosphere and space, which occurs without the need for
         large open ocean polynyas, is slowed by increasing sea ice cover in response to in-
         creasing ice shelf melt (Bintanja et al., 2013). Schmidtko et al. (2014) and Roemmich
                                                                                                       |




         et al. (2015) document changes in the Southern Ocean in recent decades, especially
                                                                                                       Discussion Paper




         warming of Circumpolar Deep Water (CDW), which they and others (Jacobs et al.,
    10   2011; Rignot et al., 2013) note is the likely cause of increased ice shelf melt. Observa-
         tions of ocean surface freshening and freshening of the water column (Rintoul, 2007;
         Jacobs and Giulivi, 2010) and deep ocean warming (Johnson et al., 2007; Purkey and
         Johnson, 2013) leave little doubt that these processes are occurring.
            Loss of ice shelves that buttress the ice sheets potentially can lead to large sea level
    15   rise (Mercer, 1978). The ocean depths with largest warming in response to surface
                                                                                                       |




         freshening (Fig. 16) encompass ice shelf grounding lines that exert the strongest re-
                                                                                                       Discussion Paper




         straining force (Jenkins and Doake, 1991). The impact of warming CDW varies among
         ice shelves because of unique geometries and proximity to the CDW current, but even-
         tually a warming ocean will likely affect them all. As ice shelves weaken and ice sheet
    20   discharge increases the process is self-amplifying via the increasing freshwater dis-
         charge.
            Weber et al. (2014) used ocean cores near Antarctica to study the deglacial evolu-
         tion of the Antarctic ice sheet following the last glacial maximum. They identified eight
                                                                                                       |




         episodes of large iceberg flux, with the largest flux occurring ∼ 14 600 years ago, pro-
                                                                                                       Discussion Paper




    25   viding evidence of an Antarctic contribution to Meltwater Pulse 1A, when sea level rose
                                       −1
         an average of 3–5 m century for a few centuries (Fairbanks, 1989). Ice sheets today
         may not have as much vulnerable ice as they had during the ice age. On the other
         hand, CO2 and the global climate forcing are increasing much more rapidly today, and
         heat is being pumped into the ocean at a high rate via the resulting positive (incoming)

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         planetary energy imbalance (Hansen et al., 2011; Roemmich et al., 2015) providing




                                                                                                         Discussion Paper
         ample energy to spur increasing ice melt.

         7.2   Surface change today

         Ocean surface cooling near Antarctica is emerging now (Fig. 28) and is large by mid-
     5   century (Fig. 20) in our simulations. The modeled sea ice increase is delayed relative to
         observations (Fig. 27b) for reasons noted below. However, freshwater effects already




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         dominate over direct effects of O3 and other GHGs. D. Thompson et al. (2011) sug-




                                                                                                         Discussion Paper
         gested that O3 depletion may account for Antarctic sea ice growth, but Sigmond and
         Fyfe (2014) found that all CMIP5 models yield decreasing sea ice in response to ob-
    10   served changes of O3 and other GHGs. Ferreira et al. (2015) show that O3 depletion
         yields a short time scale sea ice increase that is soon overtaken by warming and sea
         ice decrease with realistic GHG forcing. We conclude that these models are missing
         the dominant driver of change on the Southern Ocean: freshwater input.




                                                                                                         |
            Delay of our modeled sea ice increase relative to observations is probably related




                                                                                                         Discussion Paper
    15   to difficulty in maintaining vertical stratification (Fig. S18), which in turn is a result of
                                                                                                2 −1
         excess small scale mixing from a large background diapycnal diffusivity (0.3 cm s )
         used to damp numerical noise, and the noise itself. Also sea ice increase occurred
         earlier in our experiments with freshwater spread over a broad area rather than being
         placed only in coastal gridboxes. In the real world half of the freshwater is calving (ice-
    20   bergs) that float some distance before melting, which may increase the effectiveness
         of the freshwater flux.




                                                                                                         |
            Depoorter et al. (2012) show that the proportion of calving varies strongly with lo-




                                                                                                         Discussion Paper
         cation (see their Fig. 1). The Weddell and Ross Sea regions have large freshwater
         flux that is mainly icebergs. In contrast, the large Amundsen- Bellingshausen fresh-
    25   water flux is mainly basal melt. This distinctive spatial variation may help account for
         observed sea ice increasing in the Weddell and Ross Seas, while decreasing in the
         Amundsen and Bellingshausen Seas. Note also that the Weddell Sea and Ross Sea
         sectors are respectively the regions where the EDML and TALDICE Antarctic ice cores
                                                     20113




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         are suggestive of expanding sea ice (Masson-Delmotte et al., 2011) at end-Eemian
         time.                                                                                           Discussion Paper
            Observations and our model concur in showing a “global warming hole” near the
         southern tip of Greenland. Drijfhout et al. (2012) find this feature in most models and
     5   conclude that it is a precursor of a weakening AMOC. Freshwater injection in our
         model makes this feature stronger. We note that this feature creates a blocking situa-
         tion (Fig. 13) that may have consequences such as directing winter cold air outbreaks
                                                                                                         |




         southward in Eastern North America. This and possible influence on weather patterns
                                                                                                         Discussion Paper




         in late spring that initiate melt season conditions should be investigated with models
    10   that include the most realistic distribution of Greenland freshwater input (e.g., Fig. 1 of
         Velicogna et al., 2014) as well as melt from ice shelves and small ice caps.

         7.3   Ice sheet mass loss and sea level rise

         The fundamental question we raise is whether ice sheet melt in response to rapid
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         global warming will be nonlinear and better characterized by a doubling time for its rate
                                                                                                         Discussion Paper




    15   of change or whether more linear processes dominate. Hansen (2005, 2007) argued on
         heuristic grounds that ice sheet disintegration is likely to be nonlinear if climate forcings
         continue to grow, and that sea level rise of several meters is possible on a time scale
         of the order of a century. Given current ice sheet melt rates, a 20 year doubling rate
         produces multi-meter sea level rise in a century, while 10 and 40 year doubling times
    20   require 50 and 200 years, respectively.
            The IPCC (2013) report increased estimates of sea level rise compared to prior IPCC
                                                                                                         |




         reports, but scenarios they discuss are close to linear responses to the assumed rising
                                                                                                         Discussion Paper




         climate forcing. The most extreme climate forcing (RCP8.5, 936 ppm CO2 in 2100 and
         GHG forcing 8.5 W m−2 ) is estimated to produce 0.74 m sea level rise in 2100 relative to
    25   the 1986–2005 mean sea level, with the “likely” range of uncertainty 0.52–0.98 m. IPCC
         (2013) also discusses semi-empirical estimates of sea level rise, which yield ∼ 0.7–
         1.5 m for the RCP8.5 scenario, but preference is given to the model-based estimate of
         0.52–0.98 m.
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                                                                                                         |
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            Empirical analyses are needed if we doubt the realism of ice sheet models, but semi-




                                                                                                       Discussion Paper
         empirical analyses lumping multiple processes together may yield a result that is too
         linear. Sea level rises as a warming ocean expands, as water storage on continents
         changes (e.g., in aquifers and behind dams), and as glaciers, small ice caps, and the
     5   Greenland and Antarctic ice sheets melt. We must isolate the ice sheet contribution,
         because only the ice sheets threaten multi-meter sea level rise.
            Hay et al. (2015) reanalyzed tide-gauge data for 1901–1990 in a probabilistic frame-




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         work, including isostatic adjustment at each station, finding global sea level rise




                                                                                                       Discussion Paper
         1.2 ± 0.2 mm yr−1 . Prior tide gauge analyses of 1.6–1.9 mm yr−1 were inconsistent with
    10   estimates for each process, which did not add up to such a large value (IPCC, 2013).
         The reduced 20th century sea level rise alters perceptions of near-linear sea level rise
         (Fig. 13.3, IPCC, 2013). For example, Fig. 29 compares satellite altimetry data for 1993-
         2015 with 20th century sea level change, the latter obtained by multiplying a tide gauge
         analysis (Church and White, 2011) by the factor (0.78) required to yield sea level rise
                   −1
    15   1.2 mm yr for 1901–1990. Different tide gauge analyses could alter the shape of this




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         curve, but the trend toward earlier times must be toward zero due to near-constancy of




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         millennial sea level (IPCC, 2013).
            Figure 29 reveals an accelerating sea level rise, but it includes the effect of all
         processes affecting sea level and thus may understate the growth rate for ice sheet
    20   melt. Recent analysis of satellite gravity measurements (Velicogna et al., 2014) finds
                                                                     −1 3
         Greenland’s mass loss in 2003–2013 to be 280 ± 58 Gt yr , with mass loss accel-
                                      −2                                       −1
         erating by 25.4 ± 1.2 Gt yr , and Antarctic mass loss 67 ± 44 Gt yr accelerating by
                      −2
         11 ± 4 Gt yr (Fig. S20). Their analysis, which is the source of the quantitative mass




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                                                                                                       Discussion Paper
           3
              For comparison, our assumed freshwater injection of 360 Gt yr−1 in 2011 with 10 year
                                                             −1
         doubling yields an average mass loss 292 Gt yr         for 2003–2013. Further, Velicogna et
                                                           −1
         al. (2014) find an ice mass loss of 74 ± 7 Gt yr from nearby Canadian glaciers and ice
         caps with acceleration 10 ± 2 Gt yr−2 , and there is an unknown freshwater input from melt-
         ing ice shelves. Thus our assumed Northern Hemisphere meltwater was conservative.


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         changes in the remainder of this section, is especially useful because it breaks down
         the mass changes on Greenland and Antarctica into several regions.                            Discussion Paper
            Reliability of the inferred mass loss in 2003–2013 is supported by comparison to
         surface mass balance studies in regions with little contribution from ice dynamics
     5   (Velicogna et al., 2014). Mass loss accelerations over 1992–2011 obtained via the
                                                                                    −2
         mass budget method (Rignot et al., 2011) for Greenland (21.9 ± 1 Gt yr ) and Antarc-
                               −2
         tica (14.5 ± 2 Gt yr ) are similar to results from gravity analysis for 2003–2013. A third
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         approach, based on satellite radar altimetry, is consistent with the other two for mass
                                                                                                       Discussion Paper




         loss from Greenland and West Antarctica (Shepherd et al., 2012), including the Amund-
    10   sen Sea sector, which is the dominant contributor to Antarctic ice mass loss (Sutterley
         et al., 2014). Differences among techniques exist in East Antarctica, but mass changes
         there are small (Shepherd et al., 2012).
            Mass loss acceleration for Greenland implies a doubling time of order 10 years, but
         this high rate may not continue. Greenland mass loss in 2003–2013 was affected by a
    15   tendency in 2007–2012 for summer high pressure over Greenland that contributed to
                                                                                                       |




         melt acceleration (Fettweis, 2013; Bellflamme et al., 2015), especially in 2012 (Hanna
                                                                                                       Discussion Paper




         et al., 2013). Extreme 2012 melt was associated an “atmospheric river” of warm moist
         air (Neff et al., 2014), a rare meteorological situation not representative of near-term
         expectations. Yet extreme events are a combination of slow climate change and in-
    20   frequent weather patterns, and additional and more summer extreme events can be
         anticipated if global warming continues (Hansen et al., 2012).
            The Antarctic situation, in contrast, is more threatening than suggested by conti-
         nental mass loss. Net mass loss combines mass loss via ice streams and regions
                                                                                                       |




         of net snow accumulation. Queen Maud Land is gaining 63 ± 6 Gt yr−1 , accelerating
                                                                                                       Discussion Paper




    25   15 ± 1 Gt yr−2 , but this mass gain may be temporary. Our simulations with increasing
         freshwater input indicate that circum-Antarctic cooling and sea ice increase eventually
         will limit precipitation reaching the continent.
            Amundsen Sea glaciers are a gateway to West Antarctic ice with potential for several
         meters of sea level. Mass loss of the Amundsen Sea sector was 116 ± 6 Gt yr−1 in

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                                                                                                       Discussion Paper
         2003–2013, growing 13 ± 2 Gt yr−2 (Velicogna et al., 2014; Rignot et al., 2014; Sutterley
         et al., 2014).
            Totten glacier in East Antarctica fronts the Aurora Subglacial Basin, which has the po-
         tential for ∼ 6.7 m of sea level (Greenbaum et al., 2015). Williams et al. (2011) find that
     5   warm modified Circumpolar Deep Water is penetrating the continental shelf near Totten
         beneath colder surface layers. Details of how warmer water reaches the ice shelf are
         uncertain (Khazendar et al., 2013), but, as in West Antarctica, the inland sloping trough




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         connecting the ocean with the main ice shelf cavity (Greenbaum et al., 2015) makes




                                                                                                       Discussion Paper
         Totten glacier susceptible to unstable retreat (Goldberg et al., 2009). Cook glacier, fur-
    10   ther east in East Antarctica, also rests on a submarine inland-sloping bed and fronts
         ice equivalent to 3–4 m of sea level. The Velicogna et al. (2014) analysis of gravity data
         for 2003–2013 finds the Totten sector of East Antarctica losing 17 ± 4 Gt yr−1 , with the
                                           −2
         loss accelerating by 4 ± 1 Gt yr , and the Victoria/Wilkes sector including Cook glacier
                             −1                                      −2
         losing 16 ± 5 Gt yr , with a small deceleration (2 ± 1 Gt yr ).
            Ice mass losses from Greenland, West Antarctica and Totten/Aurora basin in East




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         Antarctica are growing nonlinearly with doubling times of order 10 years. Continued




                                                                                                       Discussion Paper
         exponential growth at that rate seems unlikely for Greenland, and reduced mass loss
         in the past two years (Fig. S20) is consistent with a slower growth of the mass loss
         rate for Greenland. However, if GHGs continue to grow, the amplifying feedbacks in the
    20   Southern Ocean, including expanded sea ice and SMOC slowdown likely will continue
         to grow and facilitate increasing Antarctic mass loss.

         7.4   The Anthropocene




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                                                                                                       Discussion Paper
         The Anthropocene (Crutzen and Stoermer, 2000), the era in which humans have con-
         tributed to global climate change, is usually assumed to have begun in the past few
    25   centuries. Ruddiman (2003) suggested that it began earlier, with deforestation affect-
         ing CO2 about 8000 years ago. Southern Ocean feedbacks considered in our present
         paper are relevant to that discussion.

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            Ruddiman (2003) assumed that 40 ppm of human-made CO2 was needed to explain
         a 20 ppm CO2 increase in the Holocene (Fig. 24c), because CO2 decreased ∼ 20 ppm,             Discussion Paper
         on average, during several prior interglacials. Such a large human source should have
         left an imprint on δ 13 CO2 that is not observed in ice core CO2 (Elsig et al., 2009).
     5   Ruddiman (2013) suggests that 13 C was taken up in peat formation, but the required
         peat formation would be large and no persuasive evidence has been presented to
         support such a dominant role for peat in the glacial carbon cycle.
                                                                                                       |




            We suggest that Ruddiman overestimated the anthropogenic CO2 needed to prevent
                                                                                                       Discussion Paper




         decline of Antarctic temperature. The CO2 decline in interglacial periods is a climate
    10   feedback: declining Southern Ocean temperature slows the ventilation of the deep
         ocean, thus sequestering CO2 . Avoidance of the cooling and CO2 decline requires
         only human-made CO2 forcing large enough to counteract the weak natural forcing
         trend, not the larger feedback-driven CO2 changes in prior interglacials, because, if the
         natural forcings are counteracted, the feedback does not occur. The required human-
         made contribution to atmospheric CO2 would seem to be at most ∼ 20 ppm, but less if
                                                                                                       |




    15

         human-made CO2 increased deep ocean ventilation. The smaller requirement on the
                                                                                                       Discussion Paper




         human source and the low δ 13 C content of deep-ocean CO2 make the Ruddiman hy-
         pothesis more plausible, but recent carbon cycle models (Kleinen et al., 2015) have
         been able to capture CO2 changes in the Holocene and earlier interglacials without an
    20   anthropogenic source.
            Even if the Anthropocene began millennia ago, a fundamentally different phase, a
         Hyper-Anthropocene, was initiated by explosive 20th century growth of fossil fuel use.
         Human-made climate forcings now overwhelm natural forcings. CO2 , at 400 ppm in
                                                                                                       |




         2015, is off the scale in Fig. 24c. CO2 climate forcing is a reasonable approximation
                                                                                                       Discussion Paper




    25   of the net human forcing, because forcing by other GHGs tends to offset negative
         human forcings, mainly aerosols (IPCC, 2013). Most of the forcing growth occurred in
         the past several decades, and two-thirds of the 0.9 ◦ C global warming (since 1850) has
         occurred since 1975 (update of Hansen et al., 2010, available at http://www.columbia.
         edu/~mhs119/Temperature/).
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            Our analysis paints a different picture than IPCC (2013) for how this Hyper-




                                                                                                          Discussion Paper
         Anthropocene phase is likely to proceed if GHG emissions grow at a rate that con-
         tinues to pump energy at a high rate into the ocean. We conclude that multi-meter sea
         level rise would become practically unavoidable. Social disruption and economic con-
     5   sequences of such large sea level rise could be devastating. It is not difficult to imagine
         that conflicts arising from forced migrations and economic collapse might make the
         planet ungovernable, threatening the fabric of civilization.




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            This image of our planet with accelerating meltwater includes growing climate chaos




                                                                                                          Discussion Paper
         and storminess, as meltwater causes cooling around Antarctica and in the North At-
    10   lantic while the tropics and subtropics continue to warm. Rising seas and more powerful
         storms together are especially threatening, providing strong incentive to phase down
         CO2 emissions rapidly.


         8   Summary implications




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         Humanity faces near certainty of eventual sea level rise of at least Eemian proportions,




                                                                                                          Discussion Paper
    15   5–9 m, if fossil fuel emissions continue on a business-as-usual course, e.g., IPCC sce-
         nario A1B that has CO2 ∼ 700 ppm in 2100 (Fig. S21). It is unlikely that coastal cities
         or low-lying areas such as Bangladesh, European lowlands, and large portions of the
         United States eastern coast and northeast China plains (Fig. S22) could be protected
         against such large sea level rise.
    20      Rapid large sea level rise may begin sooner than generally assumed. Amplifying




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         feedbacks, including slowdown of SMOC and cooling of the near-Antarctic ocean sur-




                                                                                                          Discussion Paper
         face with increasing sea ice, may spur nonlinear growth of Antarctic ice sheet mass
         loss. Deep submarine valleys in West Antarctica and the Wilkes Basin of East Antarc-
         tica, each with access to ice amounting to several meters of sea level, provide gateways
    25   to the ocean. If the Southern Ocean forcing (subsurface warming) of the Antarctic ice
         sheets continues to grow, it likely will become impossible to avoid sea level rise of
         several meters, with the largest uncertainty being how rapidly it will occur.
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            The Greenland ice sheet does not have as much ice subject to rapid nonlinear dis-
         integration, so the speed at which it adds to 21st century sea level rise may be limited.        Discussion Paper
         However, even a slower Greenland ice sheet response is expected to be faster than
         carbon cycle or ocean thermal recovery times. Therefore, if climate forcing continues
     5   to grow rapidly, amplifying feedbacks will assure large eventual mass loss. Also with
         present growth of freshwater injection from Greenland, in combination with increas-
         ing North Atlantic precipitation, we already may be on the verge of substantial North
                                                                                                          |




         Atlantic climate disruption.
                                                                                                          Discussion Paper




            Storms conjoin with sea level rise to cause the most devastating coastal damage.
    10   End-Eemian and projected 21st century conditions are similar in having warm tropics
         and increased freshwater injection. Our simulations imply increasing storm strengths
         for such situations, as a stronger temperature gradient caused by ice melt increases
         baroclinicity and provides energy for more severe weather events. A strengthened
         Bermuda High in the warm season increases prevailing northeasterlies that can help
    15   account for stronger end-Eemian storms. Weakened cold season sea level pressure
                                                                                                          |




         south of Greenland favors occurrence of atmospheric blocking that can increase win-
                                                                                                          Discussion Paper




         tertime Arctic cold air intrusions into northern midlatitudes.
            Effects of freshwater injection and resulting ocean stratification are occurring sooner
         in the real world than in our model. We suggest that this is an effect of excessive small
    20   scale mixing in our model that limits stratification, a problem that may exist in other
         models (Hansen et al., 2011). We encourage similar simulations with other models,
         with special attention to the model’s ability to maintain realistic stratification and pertur-
         bations. This issue may be addressed in our model with increased vertical resolution,
                                                                                                          |




         more accurate finite differencing method in ocean dynamics that reduces noise, and
                                                                                                          Discussion Paper




    25   use of a smaller background diffusivity.
            There are many other practical impacts of continued high fossil fuel emissions via cli-
         mate change and ocean acidification, including irreplaceable loss of many species, as
         reviewed elsewhere (IPCC, 2013, 2014; Hansen et al., 2013a). However, sea level rise
         sets the lowest limit on allowable human-made climate forcing and CO2 , because of the

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         extreme sensitivity of sea level to ocean warming and the devastating economic and




                                                                                                            Discussion Paper
         humanitarian impacts of a multi-meter sea level rise. Ice sheet response time is shorter
         than the time for natural geologic processes to remove CO2 from the climate system,
         so there is no morally defensible excuse to delay phase-out of fossil fuel emissions as
     5   rapidly as possible.
                                     ◦
            We conclude that the 2 C global warming “guardrail”, affirmed in the Copenhagen
         Accord (2009), does not provide safety, as such warming would likely yield sea level




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         rise of several meters along with numerous other severely disruptive consequences for




                                                                                                            Discussion Paper
         human society and ecosystems. The Eemian, less than 2 ◦ C warmer than pre-industrial
    10   Earth, itself provides a clear indication of the danger, even though the orbital drive for
         Eemian warming differed from today’s human-made climate forcing. Ongoing changes
                                                                       ◦
         in the Southern Ocean, while global warming is less than 1 C, provide a strong warn-
         ing, as observed changes tend to confirm the mechanisms amplifying change. Pre-
         dicted effects, such as cooling of the surface ocean around Antarctica, are occurring
    15   even faster than modeled.




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            Our finding of global cooling from ice melt calls into question whether global tem-




                                                                                                            Discussion Paper
         perature is the most fundamental metric for global climate in the 21st century. The first
         order requirement to stabilize climate is to remove Earth’s energy imbalance, which is
         now about +0.6 W m−2 , more energy coming in than going out. If other forcings are
    20   unchanged, removing this imbalance requires reducing atmospheric CO2 from ∼ 400
         to ∼ 350 ppm (Hansen et al., 2008, 2013a).
            The message that the climate science delivers to policymakers, instead of defining
         a safe “guardrail”, is that fossil fuel CO2 emissions must be reduced as rapidly as




                                                                                                            |
         practical. Hansen et al. (2013a) conclude that this implies a need for a rising carbon




                                                                                                            Discussion Paper
    25   fee or tax, an approach that has the potential to be near-global, as opposed to national
         caps or goals for emission reductions. Although a carbon fee is the sine qua non for
         phasing out emissions, the urgency of slowing emissions also implies other needs
         including widespread technical cooperation in clean energy technologies (Hansen et
         al., 2013a).

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            The task of achieving a reduction of atmospheric CO2 is formidable, but not impos-
         sible. Rapid transition to abundant affordable carbon-free electricity is the core require-        Discussion Paper
         ment, as that would also permit production of net-zero-carbon liquid fuels from elec-
         tricity. The rate at which CO2 emissions must be reduced is about 6 % yr−1 to reach
     5   350 ppm atmospheric CO2 by about 2100, under the assumption that improved agri-
         cultural and forestry practices could sequester 100 GtC (Hansen et al., 2013a). The
         amount of CO2 fossil fuel emissions taken up by the ocean, soil and biosphere has
                                                                                                            |




         continued to increase (Fig. S23), thus providing hope that it may be possible to se-
                                                                                                            Discussion Paper




         quester more than 100 GtC. Improved understanding of the carbon cycle and non-CO2
    10   forcings are needed, but it is clear that the essential requirement is to begin to phase
         down fossil fuel CO2 emissions rapidly. It is also clear that continued high emissions
         are likely to lock-in continued global energy imbalance, ocean warming, ice sheet dis-
         integration, and large sea level rise, which young people and future generations would
         not be able to avoid. Given the inertia of the climate and energy systems, and the grave
    15   threat posed by continued high emissions, the matter is urgent and calls for emergency
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         cooperation among nations.
                                                                                                            Discussion Paper




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         sity Earth Institute. That program was initiated in 2013 primarily via support from the Grantham
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         Figure 1. Two boulders (#1 and #2 of Hearty, 1997) on coastal ridge of North Eleuthera Island,
         Bahamas. Scale: person in both photos = 1.6 m. Estimated weight of largest boulder (#1, on
         left) is ∼ 2300 tons.
                                                                                                             |
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                                                                                                                                                                                      Discussion Paper
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                                                                                                                                                                                      Discussion Paper
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                                                                                                                                                                                      Discussion Paper
       Figure 2. Ocean and ice core sites and simplified sketch of upper ocean North Atlantic Current




                                                                                                                                                                                      |
       and North Atlantic Deep Water return flow. In interglacial periods the North Atlantic Current




                                                                                                                                                                                      Discussion Paper
       extends further north, allowing the Greenland-Iceland-Norwegian Sea to become an important
       source of deepwater formation.




                                                                                              20151




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                                                                                                                                                                                      Discussion Paper
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                                                                                                                                                                                      Discussion Paper




                                                   (a) Insolation Anomalies at 60°N                                          (b) Insolation Anomalies at 60°S
                                60                                                                          60
                                       130                                                                                             93
                                40                  107      86                                             40 136
                                         124                                                  13                           115
                                                                                                                     121
              Anomaly (W/m2)




                                                                                                   8                                                                      6
                                20                                                                          20                                                      19

                                 0                                                                           0

                               −20                                                                         −20
                                                                                                                                                                                      |




                               −40                                                                         −40
                                                                                                                                                                                      Discussion Paper




                                                                  Late Spring (Apr−May−Jun)                                                   Late Spring (Oct−Nov−Dec)
                                                                  Summer (Jun−Jul−Aug)                                                        Summer (Dec−Jan−Feb)
                               −60                                                                         −60
                                 140         120       100        80    60      40      20             0     140      120        100         80      60     40      20        0
                                                             Time (ky b2k)                                                                  Time (ky b2k)


                                                                                                                                                                                  ◦
       Figure 3. Summer (Jun–Jul–Aug) and late spring (Apr–May–Jun) insolation anomalies at 60 N
       and summer (Dec–Jan–Feb) and late spring (Oct–Nov–Dec) anomalies at 60◦ S.
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                                                                                                           Discussion Paper
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       Figure 4. Control run zonal-mean mesoscale diffusivity versus time in 1700 year control run.




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       Figure 5. Atlantic Ocean mass stream function for the control run in its 1st, 5th, 10th, 15th and
       20th centuries.
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                                                                                                           Discussion Paper




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                                                                                                                 Discussion Paper
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       Figure 6. Annual mean Atlantic Ocean mass stream function at 28◦ N in the model control run.




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                                                                                                                 Discussion Paper
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                                                                                                                 Discussion Paper




                                                        Climate Response Functions
                                   100
                                                                                                                 |
                                                                                                                 Discussion Paper




                                   80
                    Fraction (%)




                                   60


                                   40
                                                                          Earlier Model E−R
                                                                                                                 |




                                                                          Present Model E−R
                                                                                                                 Discussion Paper




                                   20


                                     0
                                         0   20   40   60   80   100     200       500    1000   2000
                                                                   Year

       Figure 7. Climate response function, R(t), i.e., the fraction of equilibriums surface temperature
                                                                                                                 |




       response for GISS model E-R based on a 2000 year control run (Hansen et al., 2007a). Forcing
       was instant CO2 doubling with fixed ice sheets, vegetation distribution, and other long-lived
                                                                                                                 Discussion Paper




       GHGs.




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                                                                                                                                            Discussion Paper
                                                                                                                                            |
                                                                                                                                            Discussion Paper
                                    (a) Freshwater Melt Flux                                      (b) Resulting Sea Level Rise
                              9                                                             7
                                                                                                5−year doubling
                              8
                                                  5−year doubling                           6   10−year doubling
                              7                   10−year doubling                              20−year doubling




                                                                       Sea Level Rise (m)
                                                                                            5
                              6                   20−year doubling
                  Flux (Sv)




                              5                                                             4

                              4                                                             3
                              3




                                                                                                                                            |
                                                                                            2
                              2




                                                                                                                                            Discussion Paper
                                                                                            1
                              1
                           0                                            0
                          2000 2020 2040 2060 2080 2100 2120 2140 2160 2000 2020 2040 2060 2080 2100 2120 2140 2160


       Figure 8. (a) total fresh water flux added in North Atlantic and Southern Oceans, (b) resulting
       sea level rise. Solid lines for 1 m sea level rise, dotted for 5 m. One Sverdrup (Sv) is 106 m3 s−1 ,
                         4       −1
       which is ∼ 3 × 10 Gt yr .




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       Figure 9. Surface air temperature relative to 1880–1920 in (a) 2065, (b) 2080, and (c) 2096.
       Top row is IPCC scenario A1B. Ice melt with 10 year doubling is added in other scenarios.



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                                                                                                                                     Discussion Paper
                                                                      (a) Global Surface Air Temperature
                                                        Observed Forcings 1880−2003 + IPCC A1B Scenario




                    Temperature Anomaly (°C)
                                                4       Ice Melt in North Atlantic




                                                                                                                                     |
                                                        Ice Melt in Southern Ocean
                                                        Ice Melt in Both Hemispheres
                                                          5−year doubling time




                                                                                                                                     Discussion Paper
                                                2         20−year doubling time


                                                0


                                               −2
                                                1850   1900    1950      2000     2050      2100     2150   2200   2250   2300
                                                                         (b) Global Energy Imbalance




                                                                                                                                     |
                                                        Observed Forcings 1880−2003 + IPCC A1B Scenario
                                                        Ice Melt in North Atlantic




                                                                                                                                     Discussion Paper
                                                4       Ice Melt in Southern Ocean
                 Imbalance (W/m2)




                                                        Ice Melt in Both Hemispheres
                                                          5−year doubling time
                                                2         20−year doubling time


                                                0


                                               −2
                                               1850    1900    1950      2000     2050      2100     2150   2200   2250   2300




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                                                                                                                                     Discussion Paper
       Figure 10. (a) Surface air temperature relative to 1880–1920 for several scenarios. (b) Global
       energy imbalance for the same scenarios.




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       Figure 11. Change in 2078–2082, relative to 1880–1920, of the annual mean (a) planetary
       energy balance, (b) cloud cover, and (c) net energy into the ground, for the same four scenarios
       as in Fig. 9.



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       Figure 12. Ensemble-mean AMOC at 28◦ N versus time for the same four scenarios as in Fig. 9,
       with ice melt reaching 5 m at the end of the 21st century in the three experiments with ice melt.




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       Figure 13. Change of seasonal mean (a) sea level pressure and (b) wind speed in 2078–2082
       relative to 1880–1920, and (c) the wind speed itself, all for the scenario with ice melt in both
       hemispheres.



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       Figure 14. Ensemble-mean AMOC at 28◦ N versus time for six pure freshwater forcing experi-
       ments.




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                                                            Global Surface Air Temperature
                                     (a) Freshwater in North Atlantic               (b) Freshwater in Southern Ocean
                             14.0                                                14.0


                             13.5                                                13.5


                             13.0                                                13.0
                    T (°C)




                             12.5                                                12.5
                                                                                                                                            |




                                                    0.5 m Sea Level Rise                              0.5 m Sea Level Rise
                                                                                                                                            Discussion Paper




                             12.0                                                12.0
                                                    2.5 m Sea Level Rise                              2.5 m Sea Level Rise

                             11.5                                                11.5
                                 0   50    100     150     200    250      300       0   50    100   150    200     250      300



       Figure 15. Ensemble-mean global surface air temperature for experiments (years on x axis)
       with freshwater forcing in either the North Atlantic Ocean (left) or the Southern Ocean (right).
                                                                                                                                            |
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       Figure 16. Change of ocean temperature relative to control run due to freshwater input that
       reaches 2.5 m of global sea level in a hemisphere (thus 5 m sea level rise in the bottom row).




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                                                        (a) Rate of Freshwater Input                                            (b) SMOC (Mean Ocean Overturning at 72°S)
                                100                                                                                    −2
                                                                          0.5 m Sea Level Rise                                                             0.5 m Sea Level Rise
                   Flux (Tt/year)




                                                                                                                       −3
                                                                                                       SMOC (Sv)




                                    10                                    2.5 m Sea Level Rise                                                             2.5 m Sea Level Rise
                                                                                                                       −4
                                                                                                                       −5
                                     1
                                                                                                                       −6
                                     0                                                                                 −7
                                          0        50       100     150       200      250       300                        0        50      100     150       200       250      300
                                              (c) Ocean Temperature at ~1 km Depth at 74°S                                       (d) Sea Ice Cover in Hemisphere of FW Input
                                                                                                                       12
                                    −.6
                                                                          0.5 m Sea Level Rise
                                                                                                       Ice Cover (%)




                                                                                                                       10
                                                                                                                                                                                            |




                                    −.8                                   2.5 m Sea Level Rise                          8                                  Northern Hemisphere
                 T (°C)




                             −1.0                                                                                       6
                                                                                                                                                                                            Discussion Paper




                             −1.2                                                                                       4                                  Southern Hemisphere
                                                                                                                        2
                             −1.4
                                                                                                                        0
                                          0        50       100     150       200      250       300                        0        50      100     150       200       250      300



       Figure 17. (a) Freshwater input to Southern Ocean (1 Tt = 1000 km3 yr−1 ). (b, c, d) Simulated
       overturning strength (Sv) of AABW cell at 72◦ S, temperature at depth 1.13 km at 74◦ S, and
       hemispheric sea ice cover.
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                                                                                                                                                                         Discussion Paper
                                                                       A1B Scenario                                   Modified Forcing Scenario




                                                                                                                                                                         |
                                                         (a)                                                    (c)




                                                                                                                                                                         Discussion Paper
                                                    6                                                       6



                     Effective Forcing (W/m2)
                                                                Greenhouse Gases                                       Greenhouse Gases
                                                                Tropospheric Aerosols                                  Tropospheric Aerosols
                                                    4           Stratospheric Aerosols                      4          Stratospheric Aerosols
                                                                Solar Irradiance                                       Solar Irradiance
                                                                Land Use                                               Land Use
                                                    2                                                       2


                                                    0                                                       0


                                           −2                                                              −2

                                                1850            1900     1950        2000     2050     2100 1850       1900     1950       2000   2050   2100




                                                                                                                                                                         |
                                                    6    (b)                                                6   (d)
                     Effective Forcing (W/m2)




                                                                                                                                                                         Discussion Paper
                                                                Net Forcing                                            Net Forcing
                                                    4                                                       4


                                                    2                                                       2


                                                    0                                                       0


                                           −2                                                              −2

                                                1850            1900     1950        2000     2050     2100 1850       1900     1950       2000   2050   2100




                                                                                                                                                                         |
       Figure 18. Effective global climate forcings in our climate simulations relative to values in 1850.




                                                                                                                                                                         Discussion Paper
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                                                                                                                                                                         Discussion Paper




                                                                                     (a) Global Surface Air Temperature
                                                         3
                             Temperature Anomaly (°C)




                                                                       A1B Scenario
                                                                                                                                                                         |




                                                                       A1B + Modified Forcings, Ice Melt to +1m
                                                         2
                                                                       A1B + Modified Forcings, Ice Melt to +3.8m
                                                                                                                                                                         Discussion Paper




                                                         1

                                                         0

                                                        −1
                                                         1850                 1900              1950                  2000               2050            2100
                                                                                            (b) Global Energy Imbalance
                                                                                                                                                                         |




                                                                       A1B Scenario
                       Imbalance (W/m2)




                                                                       A1B + Modified Forcings, Ice Melt to +1m
                                                         2
                                                                                                                                                                         Discussion Paper




                                                                       A1B + Modified Forcings, Ice Melt to +3.8m


                                                         0


                                                        −2
                                                        1850                  1900              1950                  2000               2050            2100
                                                                                                                                                                         |




       Figure 19. Surface air temperature change relative to 1880–1920 (a) and global energy imbal-
       ance (b) for the modified forcing scenario including cases with global ice melt allowed to reach
                                                                                                                                                                         Discussion Paper




       1 and 3.8 m.




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       Figure 20. Surface air temperature change relative to 1880–1920 in 2055–2060 with the mod-




                                                                                                         |
       ified forcings.




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       Figure 21. SMOC, ocean overturning strength at 72◦ S, including only the mean (Eularian)
       transport (Sect. 4.5). This is the average of a 5-member model ensemble for the modified
       forcing including advanced ice melt (720 Gt yr−1 from Antarctica in 2011) and 10 year doubling.
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                                                                                                         Discussion Paper
       Figure 22. Schematic of stratification and precipitation amplifying feedbacks. Stratification:
       increased freshwater/iceberg flux increases ocean vertical stratification, reduces AABW for-
       mation, traps NADW heat, thus increasing ice shelf melting. Precipitation: increased freshwa-
       ter/iceberg flux cools ocean mixed layer, increases sea ice area, causing increase of precipi-
       tation that falls before it reaches Antarctica, adding to ocean surface freshening and reducing
       ice sheet growth. A substantial amount of ice in West Antarctica and the Wilkes Basin, East




                                                                                                         |
       Antarctica is vulnerable because of the reduced stability of retrograde beds.




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       Figure 23. Maximum mixed layer depth (in km, left, and % of ocean depth, right) in February
       (Northern Hemisphere) and August (Southern Hemisphere) using the mixed layer definition of
       Heuze et al. (2013).
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                                                                                                                                                                                    Discussion Paper
                                             (a) Late Spring Insolation Anomaly at 60°N and 60°S
                                 60
                                    129.5                  107.2 98.3          85.7                                                     13.2 5.8
                                 30              121.1
                                                                                      76.9




                      W/m2
                                  0
                                −30                                                                       60°N, Apr−May−Jun
                                                                                                          60°S, Oct−Nov−Dec
                                −60
                                                                               (b) Greenland δ18O




                                                                                                                                                                                    |
                                                             H 10          9    8      7b 7a          6         5        4   3 2        1




                                                                                                                                                                                    Discussion Paper
                                −35



                     δ18O (o/oo)
                                −40
                                −45
                                            D−O 26 25 24.1 23.1 22                     21 20 19           1715 13 11 9 7 5 3        2.1a 1             400
                                                                     (c) Antarctic δ18O and CO2                                                        350
                                   −40




                                                                                                                                                             CO2 (ppm)
                                                                                                                               δ18O                    300
                      δ18O (o/oo)


                                                                                                                               CO2
                                   −45                                                                                                                 250
                                   −50                                                                                                                 200




                                                                                                                                                                                    |
                                                              (d) CH4 and N2O Ice Core Composite




                                                                                                                                                                                    Discussion Paper
                                   700                                                                                                                 275




                                                                                                                                                               N2O (ppb)
                        CH4 (ppb)




                                   600                                                                                                                 250
                                   500                                                                                                                 225
                                   400                 CH4                                                                                             200
                                                       N2O
                                   300




                                                                                                                                                   ←
                                                                     (e) Greenhouse Gas Forcing
                                                                                                                                                       3W/m2
                                     0                                                                                                                 in 2014
                       Fe (W/m2)




                                    −1
                                    −2              CO2 Forcing




                                                                                                                                                                                    |
                                    −3              Total GHG Forcing




                                                                                                                                                                                    Discussion Paper
                                                             (f) Sea Level and Albedo Forcing
                              45
                                   6        5e       d           c         b     a        4       3                 2              1         H




                                                                                                                                                            F (W/m2)
                                                                                                      Marine Isotope Stage
                         RSL (m)




                               0                                                                                                                       0
                             −45
                                                         Grant et al.
                                                                                                                                                       −2
                             −90                         Lambeck et al.
                                                         Ice Sheet Model
                            −135                                                                                                                       −4
                               140               120             100                 80               60                40         20              0
                                                                                     Time (kyr b2k)


                                                                                       20173




                                                                                                                                                                                    |
       Figure 24. (a) Late spring insolation anomalies relative to the mean for the past million years,
             18
       (b) δ Oice of composite Greenland ice cores (Rassmussen et al., 2014) with Heinrich events of                                                                                Discussion Paper
       Guillevic et al. (2014), (c, d) δ 18 Oice of EDML Antarctic ice core (Ruth et al., 2007), multi-ice core
       CO2 , CH4 , and N2 O based on spline fit with 1000 year cut-off (Schilt et al., 2010), scales are
                               18
       such that CO2 and δ O means coincide and standard deviations have the same magnitude,
       (e) GHG forcings from equations in Table 1 of Hansen et al. (2000), but with the CO2 , CH4 ,
       and N2 O forcings multiplied by factors 1.024, 1.60, and 1.074, respectively, to account for each
       forcing’s “efficacy” (Hansen et al., 2005), with CH4 including factor 1.4 to account for indirect
                                                                                                                                                                                    |




       effect on ozone and stratospheric water vapor, (f) sea level data from Grant et al. (2012) and
                                                                                                                                                                                    Discussion Paper




       Lambeck et al. (2014) and ice sheet model results from de Boer et al. (2010). Marine isotope
       stage boundaries from Lisiecki and Raymo (2005). (b–e) are on AICC2012 time scale (Bazin
       et al., 2013),
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                                                                                                                                                               |
                                                                                                                                                               Discussion Paper
                                                                         (a) Antarctic Temperature Change and CO 2


                    Insolation (W/m2) Temperature (°C)
                                                          5




                                                                                                                                          CO2 (ppm)
                                                                  Temperature                                                       300
                                                          0       CO2
                                                                                                                                    250
                                                         −5
                                                                                                                                    200
                                                         −10
                                                           800   700      600      500         400       300      200     100   0
                                                                  (b) Late Spring Insolation Anomalies at 60°N and 60°S
                                                          60                             60°N, Apr−May−Jun
                                                                                         60°S, Oct−Nov−Dec
                                                          30




                                                                                                                                                               |
                                                           0
                                                         −30




                                                                                                                                                               Discussion Paper
                                                         −60
                                                           800   700      600      500         400       300      200     100   0
                                                                                     Time (EDC3, ky b2k)


       Figure 25. (a) Antarctic (Dome C) temperature relative to last 10 ky (Jouzel et al., 2007) on
       AICC2012 time scale and CO2 amount (Luthi et al., 2008). Temperature scale is such that
       standard deviation of T and CO2 are equal, yielding ∆T (◦ C) = 0.114 ∆CO2 (ppm), (b) Late
       Spring insolation anomalies at 60◦ N and 60◦ S.




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       Figure 26. Simulated zonal mean temperature and eddy kinetic energy in 2078–2082 relative
       to 1880–1920 base period for A1B scenario and A1B plus 2.5 m ice melt in each hemisphere
       (simulations of Sect. 3).
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                                                                                                                                                                     |
                                                                                                                                                                     Discussion Paper
                                             (a) SMOC at 72°S, 2.1 km Depth                               (b) Southern Hemispheic Mean Sea Ice Area Anomaly
                                                                                                      6
                           2
                                                                                                             Model
                                                                                                      4      Observations
              SMOC (Sv)




                                                                                        million km2
                           0

                          −2                                                                          2

                          −4
                                                                                                      0
                          −6
                                                                                           −2
                          1950        1975      2000      2025      2050      2075    2100 1950             1975        2000    2025      2050      2075      2100




                                                                                                                                                                     |
                                                                                                                                           ◦
       Figure 27. (a) SMOC, the global meridional overturning circulation at 72 S, in climate model




                                                                                                                                                                     Discussion Paper
       runs including freshwater injection around Antarctica at a rate 720 Gt yr−1 in 2011, increasing
       with a 10 year doubling time, and half that amount around Greenland. SMOC diagnostic in-
       cludes only the mean (Eulerian) term. (b) Annual-mean Southern Hemisphere sea ice area
       anomaly (relative to 1979–2000) in the five runs.




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                          February Sea Ice
              1979-2015 Trend (%/yr)




                               2015 Area
                                                                                                                                                                     |
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       Figure 28. Observed February sea ice extent (left); modeled and observed SST near Antarc-
       tica and global. Upper: 1979–2015 change based on local linear trend. Lower: 2015 anomaly
       relative to 1951–1980. Sea ice data is update of Fetterer et al. (2002), temperature data is
       update of Hansen et al. (2010).
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                                                                                                                        Discussion Paper
                                                                 Global Mean Sea Level Change
                                           200




                                                                                                                        |
                                                                                                                        Discussion Paper
                                                         Adjusted Tide Gauge Data
                  Sea Level Anomaly (mm)




                                           150
                                                         Satellite Radar Altimetry


                                           100                                                   3.3 mm/yr
                                                                                                 (1993−
                                                   0.6 mm/yr                                     2015)
                                                   (1900−1930)




                                                                                                                        |
                                            50
                                                                                 1.4 mm/yr




                                                                                                                        Discussion Paper
                                                                                 (1930−1992)

                                            0

                                            1900         1920        1940       1960      1980   2000

     Figure 29. Sea level change based on satellite altimetry data (Nerem et al., 2010, updated
     at http://sealevel.colorado.edu) and tide gauge data (Church and White, 2011) with the latter
                                                                                                                        |


                                                                                                −1
     change rate multiplied by 0.78, as required to yield a mean 1901–1990 change rate 1.2 mm yr
     (Hay et al., 2015).
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